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                                                                     The Honorable Robert S. Lasnik
 1                                                                  Consideration Date: May 24, 2019
 2

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 6
                                UNITED STATES DISTRICT COURT
 7                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9   AMAZON.COM, INC., a Delaware
     corporation, AMAZON TECHNOLOGIES,                  CASE NO. 2:17-cv-01830-RSL
10   INC., a Nevada corporation; and AMAZON
     SERVICES, LLC, a Nevada limited liability          DECLARATION OF PHILIP S.
11   company,                                           McCUNE IN SUPPORT OF MOTION
                                                        TO LIFT STAY AND TO DISMISS ALL
12                                                      CLAIMS PURSUANT TO RULE
                                  Plaintiffs,           41(A)(2)
13
                   v.
14
     FBA STORES, LLC, a limited liability
15   company; FBA DISTRIBUTORS, LLC, a
16   limited liability company; FBA
     ADVANTAGE, LLC, a limited liability
17   company; AWS, LLC, a limited liability
     company; ONLINE AUCTION LEARNING
18   CENTER, INC., a corporation;
     CHRISTOPHER BOWSER, an individual;
19   ADAM BOWSER, an individual; and DOE
20   Companies 1 – 20,

21                                Defendants.

22

23          I, PHILIP S. McCUNE, hereby declare as follows:
24          1.     I am one of the attorneys for Plaintiffs Amazon.com, Inc., Amazon Technologies,
25   Inc., and Amazon Services, LLC (collectively, “Amazon”) in this action. I make this declaration
26   based upon my own personal knowledge of the facts and information herein.

     DECLARATION OF PHILIP S. MCCUNE IN SUPPORT OF
     MOTION TO LIFT STAY AND TO DISMISS ALL CLAIMS
                                                                       SUMMIT LAW GROUP PLLC
                                                                         315 FIFTH AVENUE SOUTH, SUITE 1000
     PURSUANT TO RULE 41(A)(2) - 1                                        SEATTLE, WASHINGTON 98104-2682
     CASE NO. 2:17-cv-01830-RSL                                                Telephone: (206) 676-7000
                                                                                  Fax: (206) 676-7001
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 1          2.      Attached hereto as Exhibit 1 is a true and correct copy of the (previously sealed)

 2   Complaint for Permanent Injunction and other Equitable Relief, filed in Fed. Trad. Comm. v.

 3   AWS, LLC, et al., No. 2:18-cv-00442-JCM-PAL (D. Nev., Mar. 12, 2018) (the “FTC Action”).

 4          3.      Attached hereto as Exhibit 2 is a true and correct copy of the (previously sealed)

 5   Temporary Restraining Order entered in the FTC Action on March 14, 2018.

 6          4.      Attached hereto as Exhibit 3 is a true and correct copy of the Stipulated Order for

 7   Permanent Injunction and Monetary Judgment entered in the FTC Action on June 15, 2018.

 8          5.      Attached hereto as Exhibit 4 is a true and correct copy of the Judgment and

 9   Consent Decree entered on November 7, 2018 in State v. Bowser, et al., King County Superior

10   Court Case No. 17-2-31392-1-SEA (the “AG Action”).

11

12          I declare under penalty of perjury under all applicable law that, to the best of my

13   knowledge, information and belief, the foregoing is true and correct.

14

15          EXECUTED this 26th day of April, 2019, at Seattle, Washington.

16
                                                      s/ Philip S. McCune
17                                                    Philip S. McCune
18

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     DECLARATION OF PHILIP S. MCCUNE IN SUPPORT OF
     MOTION TO LIFT STAY AND TO DISMISS ALL CLAIMS
                                                                          SUMMIT LAW GROUP PLLC
                                                                             315 FIFTH AVENUE SOUTH, SUITE 1000
     PURSUANT TO RULE 41(A)(2) - 2                                            SEATTLE, WASHINGTON 98104-2682
     CASE NO. 2:17-cv-01830-RSL                                                    Telephone: (206) 676-7000
                                                                                      Fax: (206) 676-7001
             Case 2:17-cv-01830-RSL Document 49 Filed 04/26/19 Page 3 of 237



                                       CERTIFICATE OF SERVICE
 1
            I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
 2
     Court using the CM/ECF system which will send notification of such filing to the following:
 3
                                    Counsel for Defendants
 4
                                    Bradley S. Keller
 5                                  Keith D. Petrak
                                    Byrnes Keller Cromwell LLP
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                                    Counsel for Receiver, Robb Evans & Associates LLC
17

18                                  Gary Owen Caris, CA SBN 088918
                                    Barnes & Thornburg LLP
19                                  2029 Century Park East, Suite 300
                                    Los Angeles, California 90067
20                                  (310) 284-3880
                                    gcaris@btlaw.com
21

22          DATED this 26th day of April, 2019.
23
                                                           s/ Denise Brandenstein
24                                                         Denise Brandenstein

25

26

     DECLARATION OF PHILIP S. MCCUNE IN SUPPORT OF
     MOTION TO LIFT STAY AND TO DISMISS ALL CLAIMS
                                                                           SUMMIT LAW GROUP PLLC
                                                                             315 FIFTH AVENUE SOUTH, SUITE 1000
     PURSUANT TO RULE 41(A)(2) - 3                                            SEATTLE, WASHINGTON 98104-2682
     CASE NO. 2:17-cv-01830-RSL                                                    Telephone: (206) 676-7000
                                                                                      Fax: (206) 676-7001
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   1   Roberto Anguizola                                                                                      i
       Illinois Bar# 6270874                                               lfAR t 2 2018                      I
   2   (Admitted in the D. Nev. pursuant to LR IA 11-3)                                                       I


       Tel. (202) 326-3284                                               m.JfRK US DISTRICT COURT
   3   Email: ranguizola@ftc.gov                                            DISTRICT OF NEVADA
                                                          - BY:
                                                           L.::.::.:::====:::::=====:==:==:=::::::=:.DEPUf1
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       600 Pennsylvania Avenue, NW
  11   Mail Drop CC-8528
       Washington, DC 20580
  12
       Attorneys for Plaintiff
  13   FEDERAL TRADE COMMISSION

  14

, 15                             UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
  16
        FEDERAL TRADE COMMISSION,
  17
               Plaintiff,                                 2: 18-cv-00442-JCM-PAL
  18
               v.
  19                                                      11LEU U.NUEK ~EAL
        A WS, LLC, a Nevada limited liability company;
  20                                                      COMPLAINT FOR PERMANENT
        FBA DISTRIBUTORS, LLC, a Massachusetts            INJUNCTION AND OTHER
  21    limited liability company;                        EQUITABLE RELIEF

  22    FBA STORES, LLC, a Nevada limited liability
        company;
  23
        INFO PROS, LLC, a Nevada limited liability
        com an ;


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 1
      ONLINE AUCTION LEARNING CENTER,
 2    INC., a Massachusetts corporation;

 3    ONLINE AUCTION LEARNING CENTER,
      INC., a Nevada corporation;
 4
      CHRISTOPHER F. BOWSER, individually and
 5    as an
          officer ofFBA DISTRIBUTORS, LLC,
      FBA STORES, LLC, ONLINE AUCTION
 6    LEARNING CENTER, INC. and ONLINE
      AUCTION LEARNING CENTER, INC.;
 7
      ADAMS. BOWSER, individually and as an
 8    officer of AWS, LLC, FBA DISTRIBUTORS,
      LLC, FBA STORES, LLC, ONLINE AUCTION
 9    LEARNING CENTER, INC. and ONLINE
      AUCTION LEARNING CENTER, INC.; and
10
      JODY MARSHALL, individually and as an
11    officer of INFO PROS, LLC,

12               Defendants.

13

14              Plaintiff, the Federal Trade Commission ("FTC"), for its Complaint in a civil action

15   brought under Sections 13(b) and 19 of the Federal Trade Commission Act ("FTC Act"), 15

16   U.S.C. §§ 53(b) and 57b, and the Business Opportunity Rule, 16 C.F.R. Part 437, to obtain

17   temporary, preliminary, and pe~anent injunctive relief, rescission or reformation of contracts,

18   restitution, the refund of monies paid, disgorgement of ill-gotten monies, and other equitable

19   relief for Defendants' acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C.

20   § 45(a), and in violation of the Business Opportunity Rule, 16 C.F.R. Part 437, respectfully

21   alleges:

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23




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 1                                   JURISDICTION AND VENUE

 2          1.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

 3   and 1345, and 15 U.S.C. §§ 45(a) and 53(b).

 4          2.      Venue is proper in this district under 28 U.S.C. § 1391 (b)(2), (b)(3), (c)(l),

 5   (c)(2), (c)(3), and (d), and 15 U.S.C. §§ 53(b), 56(a)(2)(B) and 57b.

 6                                     SUMMARY OF THE CASE

 7          3.      Defendants lure consumers into purchasing expensive business opportunities with

 8   purported "secrets for making money on Amazon." They represent that purchasers are likely to

 9   "create financial freedom" and earn thousands of dollars a month by implementing Defendants'

10   "systems for success on Amazon." Contrary to Defendants' promises, most, if not virtually all,

11   purchasers do not earn the advertised income. Moreover, many elements of Defendants'

12   "system" violate Amazon.com Inc.'s policies. As a result, purchasers who deploy Defendants'

13   "system" often experience problems with their Amazon stores, including suspension and the loss

14   of their ability to sell on Amazon.com.

15

16          4.      In perpetrating their scheme, Defendants have violated the FTC Act and the

17   Business Opportunity Rule by, among other things: (1) making false or unsubstantiated earnings

18   claims; and (2) failing to furnish prospective purchasers with required disclosure documents.

19                                              PLAINTIFF

20          5.      The FTC is an independent agency of the United States Government created by

21   statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),

22   which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also

23   enforces the Business Opportunity Rule, 16 C.F.R. Part 437. The Business Opportunity Rule




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 1   addresses common deceptive or unfair practices engaged in by fraudulent business opportunity

 2   sellers such as inducing consumers to pay significant sums of money by means of false or

 3   unsubstantiated earnings claims.

 4          6.      The FTC is authorized to initiate federal district court proceedings, by its own

 5   attorneys, to enjoin violations of the FTC Act and the Business Opportunity Rule and to secure

 6   such equitable relief as may be appropriate in each case, including rescission or reformation of

 7   contracts, restitution, the refund of monies paid, and the disgorgement of ill-gotten monies.

 8   15 U.S.C. §§ 53(b) and 56(a)(2)(A), 56(a)(2)(B), 57b, and the Business Opportunity Rule, 16

 9   C.F.R. Part 437.

10                                            DEFENDANTS

11          7.      Defendant AWS, LLC ("AWS") is a Nevada limited liability company with its

12   principal place of business at 293 Libbey Industrial Parkway, Suite 150, Weymouth,

13   Massachusetts 02189. A WS transacts or has transacted business in this district and throughout

14   the United States. At times material to this Complaint, acting alone or in concert with others,

15   AWS has advertised, marketed, distributed, or sold business opportunities to consumers

16   throughout the United States.

17          8.      Defendant FBA Distributors, LLC ("FBA Distributors") is a Massachusetts

18   limited liability company with its principal place of business at 293 Libbey Industrial Parkway,

19   Suite 250, Weymouth, Massachusetts 02189. FBA Distributors transacts or has transacted

20   business in this district and throughout the United States. At times material to this Complaint,

21   acting alone or in concert with others, FBA Distributors has advertised, marketed, distributed, or

22   sold business opportunities to consumers throughout the United States.

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 1          9.        Defendant FBA Stores, LLC ("FBA Stores") is a Nevada limited liability

 2   company with ·its principal place of business at 293 Libbey Industrial Parkway, Suite 250,

 3   Weymouth, Massachusetts 02189-. FBA Stores transacts or has transacted business in this

 4   district and throughout the United States. At times material to this Complaint, acting alone or in

 5   concert with others, FBA Stores has advertised, marketed, distributed, or sold business

 6   opportunities to consumers throughout the United States.

 7          10.       Defendant Info Pros, LLC ("Info Pros") is a Nevada limited liability company

 8   with its principal place of business at 2080 N. Moapa Valley Boulevard, Logandale, Nevada

 9   89021. Info Pros transacts or has transacted business in this district and throughout the United

10   States. At times material to this Complaint, acting alone or in concert with others, Info Pros has

11   advertised, marketed, distributed, ·or sold business opportunities to consumers throughout the

12   United States.

13          11.       Defendant Online Auction Leaming Center, Inc. ("OALC MA") is a

14   Massachusetts corporation with its principal place of business at 293 Libbey Industrial Parkway,

15   Suite 250, Weymouth, Massachusetts 02189. OALC MA transacts or has transacted business in

16   this district and throughout the United States. At times material to this Complaint, acting alone

17   or in concert with others, OALC MA has advertised, marketed, distributed, or sold business

18   opportunities to consumers throughout the United States.

19          12.       Defendant Online Auction Leaming Center, Inc. ("OALC NV") is a Nevada

20   corporation with its principal place of business at 293 Libbey Industrial Parkway, Suite 250,

21   Weymouth, Massachusetts 02189. OALC NV transacts or has transacted business in this district

22   and throughout the United States. At times material to this Complaint, acting alone or in concert

23   with others, OALC NV has advertised, marketed, distributed, or sold business opportunities to




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 1   consumers throughout the United States.

 2           13.      Defendant Christopher F. Bowser is the vice president and a manager of FBA

 3   Distributors, the vice president ofFBA Stores, the president of OALC MA, and the president of

 4   OALC NV. At all times material to this Complaint, acting alone or in concert with others, he

 5   has formulated, directed, controlled, had the authority to control, or participated in the acts and

 6   practices set forth in this Complaint. Defendant Christopher F. Bowser, in connection with the

 7   matters alleged herein, transacts or has transacted business in this district and throughout the

 8   United States.

 9           14.      Defendant Adam S. Bowser is the manager of A WS, a manager and president of

10   FBA Distributors, manager and president of FBA Stores, the secretary and treasurer of OALC

11   MA, and the secretary and treasurer ofOALC NV. At all times material to this Complaint,

12   acting alone or in concert with others, he has formulated, directed, controlled, had the authority

13   to control, or participated in the acts and practices set forth in this Complaint. Defendant Adam

14   S. Bowser, in connection with the matters alleged herein, transacts or has transacted business in

15   this district and throughout the United States.

16           15.      Defendant Jody Marshall is the manager of Info Pros and an owner of FBA

17   Distributors. At all times material to this Complaint, acting alone or in concert with others, he

18   has formulated, directed, controlled, had the authority to control, or participated in the acts and

19   practices set forth in this Complaint. Defendant Jody Marshall resides in this district and, in

20   connection with the matters alleged herein, transacts or has transacted business in this district

21   and throughout the United States.

22           16.      Defendants A WS, FBA Distributors, FBA Stores, Info Pros, OALC MA and

23   OALC NV (collectively, "Corporate Defendants") have operated as a common enterprise while




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 1   engaging in the deceptive acts and practices and other violations of law alleged below.

 2   Defendants have conducted the business practices described below through an interrelated

 3   network of companies that have unified advertising, common ownership, officers, managers,

 4   business functions, employees, warehouse locations, and office locations. Because these

 5   Corporate Defendants have operated as a common enterprise, each of them is jointly and

 6   severally liable for the acts and practices alleged below. Defendants Christopher F. Bowser,

 7   Adam S. Bowser and Jody Marshall have formulated, directed, controlled, had the authority to

 8   control, or participated in the acts and practices of the Corporate Defendants that constitute the

 9   common enterprise.

10                                             COMMERCE

11          17.     At all times material to this Complaint, Defendants have maintained a substantial

12   course of trade in or affecting commerce, as "commerce" is defined in Section 4 of the FTC Act,

13   15 u.s.c. § 44.

14                             DEFENDANTS' BUSINESS ACTIVITIES

15          18.     Since at least 2014, Defendants have advertised, marketed, distributed, promoted

16   and sold business opportunities to consumers throughout the United States.

17          19.     Defendants have marketed their business opportunities under multiple brand

18   names including: A WS, Amazon Wealth Systems, Amazing Wealth Systems, FBA Stores,

19   Insider Online Secrets, Online Auction Learning Center, and Online Seller (collectively the

20   "Amazing Wealth System").

21          20.     Defendants offer the Amazing Wealth System to consumers through a variety of

22   marketing mediums including direct mail, radio, Internet websites, videos disseminated online

23   through YouTube, social media such as Facebook, webinars, and live events.




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 1          21.    Defendants widely disseminate their advertising for the Amazing Wealth System

 2   throughout the United States.

 3          22.    Defendants promote the Amazing Wealth System in multiple languages including

 4   English and Spanish.

 5          23.    Defendants make earnings claims in connection with the offer for sale, sale, and

 6   promotion of the Amazing Wealth System.

 7          24.     In their advertising, Defendants represent that consumers who purchase and

 8   deploy the Amazing Wealth System are likely to profit by selling products on Amazon.com.

 9          25.     Typical representations made in Defendants' advertising include the following:

10                 A.       My name is Adam Bowser, and over the past 18 years I have sold ove

11                          $50 million online. I'm going to be hosting a few local workshops aroun

12                          the Seattle area to share my secrets for making money on Amazon.

13                          will truly be a once-in-a-lifetime opportunity.

14                 B.       Get started selling on Amazon and Make $5,000-$10,000 in the next 3

15                          days ... Even if you have never sold anything online before.

16                  C.      I'll be Giving you Wholesalers You can call up and Get Great Deals fo

17                          Huge profits. Or just make some extra $$ to Pay Your Basic Bills.

18                 D.       For years we have been helping thousands of ordinary people take thei

19                          lives back and create financial freedom by implementing our systems fo

20                          success on Amazon.

21                 E.       Just last year we sold over $12 Million on Amazon.com. Now we want t

22                          help you become our next Amazon success story.

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 1          26.     Defendants' earnings claims regarding the Amazing Wealth System are false or

 2   unsubstantiated.

 3          27.     Few, if any, consumers who purchase Defendants' Amazing Wealth System earn

 4   the income Defendants advertise. Most, if not all, purchasers do not earn any income whatsoeve

 5   with the Amazing Wealth System.

 6          28.     Defendants disseminate industry financial, earnings, or performance information

 7   in connection with the offer for sale, sale, and promotion of the Amazing Wealth System while

 8   lacking written substantiation demonstrating that the information reflects, or does not exceed, the

 9   typical or ordinary financial earnings, or performance experience of purchasers of the Amazing

10   Wealth System.

11          29.     For example, in late July 2017, during a live event promoting the Amazing

12   Wealth System held at the Carson Nuggets Casino Hotel in Carson City, Nevada, Defendants

13   presented consumers with an "Amazon Workshop Manual" containing industry performance

14   information showing, among other e-commerce industry statistics, millions of monthly U.S.

15   visitors across retail websites, increasing e-commerce sales of the largest U.S. internet retailers,

16   including Amazon, and a high average growth rate in e-commerce. This industry information

17   leaves consumers with the impression that they are likely to earn significant income if they

18   purchase and implement the Amazing Wealth System. The industry performance information

19   contained in the "Amazon Workshop Manual" exceeds, or does not reflect, the performance

20   experience of typical purchasers of the Amazing Wealth System.

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 1                                  Amazon's Third-Party Seller Program

 2              30.   Amazon.com is a popular website owned and operated by Amazon.com, Inc.

 3   ("Amazon"). Millions of consumers use Amazon.com every day to purchase a wide range of

 4   products, across dozens of product categories, from Amazon and its authorized third-party

 5   sellers.

 6              31.   Amazon's third-party seller program provides registered sellers access to

 7   Amazon's customer-base, Internet outlets, and other benefits.

 8              32.   To sell products on Amazon.com, third-party sellers must create a "Selling on

 9   Amazon" account ("Amazon Selling Account") using Amazon's Seller Central, the Web

10   interface where third-party sellers open and manage their Internet outlet or "Amazon Store."

11              33.   When they open their Amazon Selling Account, third-party sellers must agree to

12   the Amazon Services Business Solutions Agreement ("Amazon BSA"), which governs access to

13   and use of Amazon's services and sets forth Amazon's rules and restrictions for selling on

14   Amazon.com.

15              34.   After opening an Amazon Selling Account, selling on Amazon.com involves

16   three main steps: (1) listing products; (2) selling the products; and (3) shipping the products to

17   consumers.

18              35.   The first step in selling a product on Amazon.com requires the third-party seller t

19   create a listing accurately identifying the product for sale. Each product sold is assigned a

20   unique Amazon Standard Identification Number ("ASIN"). Pursuant to the Amazon BSA,

21   product listings must be "accurate and complete."

22              36.   After a product is listed, it becomes available for purchase on Amazon.com.

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 1              37.                Products listed for.sale on Amazon.com appear on a product detail page, which

 2   customers typically reach after searching for a product or category of products. The product

 3   detail page includes a "Buy Box" where a listing is given prominence and where customers can

 4   quickly begin the purchasing process by adding items to their electronic shopping carts. A

 5   screenshot of an Amazon.com pr~duct detail page with the "Buy Box" labeled in red appears

 6   below:

 7         https://www.amazon.com/Montblanc-StarWalker-Ballpoint-Midnight-M 105657/dp/B005DSP08W/ref=sr_1_ 3 ?i... 'i
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14                                                                                               Shipping with Amazon Prime
                                   Pnce:   $204.48 & FREE Shipping. Details
15     ~-                          In Stock.
                                   Want it tomorrow, Feb. 147 Order within 5 hrs 46 mins
                                                                                            Ill                    Add to Cart


16                                 and choose One-Day Shipping at checkout. Details          Tum on 1-Click ordering for this browser
                                   Sold by MF & Co and Fulfilled by Amazon. Gift-wrap
                                   available.
17                                                                                           ®   Deliver to washington 20001
                                    , Floating Montblanc emblem in transparent cap-top
                                      Ruthenium-plated clip with embossed Montblanc
18                                                                                             Add to List
       I   in                         brand name and individual serial number
                                    • Black precious resin
19                                  • Ruthenium-plated fittings
                                    o Made in Germany                                               Other Sellers on Amazon

20                                                                                         $204.49                          I Add to Cart I
                                   Compare with similar items
                                                                                           & FREE Shipping on
21                                 New (16) from $192.48.& FREE shipping.                  eLigibleorders. Details
                                                                                           Sold by: Flying Fashion
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 1              38.   Multiple sellers can offer the same product on Amazon.com. If more than one

 2   eligible seller offers a product, they may compete for the Buy Box for that product. Third-party

 3   sellers must meet certain performance-based requirements and metrics (e.g., order defect rate,

 4   chargeback rate, speed of delivery, and experience with the Amazon selling service). to be

 5   eligible to compete for Buy Box placement. For many third-party sellers, Buy Box placement

 6   can lead to increased sales.

 7              39.   Amazon encourages its customers to review the products they purchase and

 8   publishes customer reviews on product detail pages accessible from product listings on

 9   Amazon.com. To review a product, an individual must be an Amazon.com customer and must

10   have an Amazon.com customer account.

11              40.   Amazon expressly prohibits paid reviews and has developed technologies and

12   protocols designed to detect and remove false, misleading and inauthentic reviews from

13   Amazon.com. Amazon routinely suspends third-party sellers that post or purchase fake reviews

14   and has taken legal action against parties who offered to supply paid reviews on Amazon.com.

15          41.       Once a customer places an order on Amazon.com, Amazon notifies the third-

16   party seller. Orders are then fulfilled in one of two ways: (1) by the third-party seller itself; or

17   (2) by Amazon, if the third-party seller is using Amazon's "Fulfillment by Amazon" ("FBA")

18   service.

19          42.       Amazon offers third-party sellers the option of fulfilling orders through its FBA

20   service. With the FBA service, third-party sellers can ship their products to one of the Amazon

21   fulfillment centers located around the country and Amazon will pick, pack, and ship these

22   products to the end customer. Products offered through Amazon's FBA service are displayed

23   with Amazon's Prime logo, indicating to customers that Amazon itself handles the shipping and




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 1   customer service. Products shipped from Amazon's fulfillment centers are also eligible for

 2   Amazon Prime free two-day shipping for Prime members and free shipping for all customers.

 3   Amazon also provides customer service for these products, handling questions, complaints,

 4   returns, and refunds.

 5          43.     Certain product categories are "gated" on Amazon.com (e.g., collectible coins,

 6   fine art, sexual wellness, and wine), which means that third-party sellers must obtain approval

 7   from Amazon before listing products in these restricted product categories. The process of

 8   approving third-party sellers to sell gated products is commonly referred to as "ungating."

 9   Amazon's ungating requirements vary by category and are generally designed to ensure that

10   third-party sellers and their products are reliable and genuine.

11                                 Defendants' Amazing Wealth System

12          44.     Defendants are not affiliated with, or connected to, Amazon in any way.

13          45.     Defendants solicit prospective purchasers to enter into a new business using the

14   Amazing Wealth System to sell products as third-party sellers on Amazon.com.

15          46.     Defendants describe the Amazing Wealth System as an exclusive "plug-and-play

16   system" to assist purchasers in launching and growing a new online business selling products as

17   a third-party seller on Amazon.com.

18          4 7.    Defendants require prospective purchasers to make a payment to purchase the

19   Amazing Wealth System.

20          48.     Defendants represent that they or one or more designated persons, including

21   Amazon, will provide prospective purchasers of the Amazing Wealth System the following:

22                  A.       An Internet outlet in the form of one or more Amazon stores or account

23                  where prospective purchasers will be able to sell products as third-party sellers o




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 1                 Amazon.com;

 2                 B.         Assistance to get up and running on Amazon.com;

 3                  C.        Access to wholesalers and major suppliers;

 4                  D.        Storage, handling, packing, labeling, shipping, and inventorying o

 5                  products to sell on·Amazon.com;

 6                 E.         Exclusive access to authentic products likely to sell at "healthy" profi

 7                 margins on Amazon.com;

 8                 F.         "Tips, tricks, and techniques" to profit and out compete other third-part

 9                  sellers on Amazon·.com; and

10                  G.        Login access to the A WS Members Area, which is described as an onlin

11                  platform that includes step-by-step training videos, top tier wholesale supplier

12                 that can supply purchasers with products for their online business, and tools an

13                  software to help purchasers automate, systematize, and grow their business.

14          49.     The price of the Amazing Wealth System ranges from $995 to more than $35,000

15   depending on what level of"enrollment" or "package" prospective purchasers choose and what

16   "bonuses" they select.

17          50.    For example, the base $995 Amazing Wealth System package provides

18   Defendants' purported "tips, tricks, and techniques" through a three-day live workshop, videos,

19   and webinars. The higher level $34,995 "Diamond Enrollment" offers prospective purchasers

20   "16 Personal 1 on 1 Coaching Sessions" and other purported "bonuses" such as ungating service

21   in addition to the workshop, videos and webinars offered with the base Amazing Wealth System

22   package.

23          51.    During the personal coaching sessions, Defendants typically convey substantially




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 1   similar strategies and content as Defendants' three-day live workshops, videos and webinars.

 2          Defendants' Deceptive Campaigns to Recruit Consumers to Attend Live Events

 3           52.     In an effort to lure consumers into purchasing the Amazing Wealth System,

 4   Defendants conduct free two-hour live events or "workshops."

 5           53.     Defendants have conducted live events throughout the United States and Canada

 6   including in: Austin, Texas; Baltimore, Maryland; Las Vegas, Nevada; Madison, Wisconsin;

 7   Milwaukee, Wisconsin; San Antonio, Texas; San Juan, Puerto Rico; Seattle, Washington;

 8   Louisville, Kentucky; Oakland, California; and Washington, DC.

 9           54.     Defendants promote their live events by targeting consumers that live near an

10   upcoming live event.

11           55.     In October 2017, Defendants disseminated promotional materials, including direct

12   mailers, to consumers in Nevada for a live event in Las Vegas. A true and correct copy of an

13   invitation Defendants mailed to a consumer in Reno, Nevada is attached as Exhibit A.

14           56.     In November 2017, Defendants disseminated promotional materials, including

15   direct mailers, to consumers in California's Bay Area. A true and correct copy of an invitation

16   Defendants mailed to a consumer in the Bay Area is attached as Exhibit B.

17           57.     In September 2017, Defendants disseminated Spanish language promotional

18   materials, including direct mailers, to consumers in Puerto Rico. A true and correct copy of a

19   Spanish language invitation Defendants mailed to a consumer in Puerto Rico is attached as

20   ExhibitC.

21           58.     Defendants' direct mail invitations typically urge consumers to call a toll-free

22   number immediately and register to attend a free two-hour "exclusive LIVE Amazon Workshop"

23   in their local area.




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 1          59.     Defendants' direct mail invitations typically offer the free two-hour workshops

 2   over 4-5 days at multiple hotels in the targeted area.

 3          60.     Defendants' direct mail invitations typically include earnings claims such as "Get

 4   started selling on Amazon and Make $5,000-$10,000 in the next 30 days ... Even if you have

 5   never sold anything online before."

 6          61.     In addition to using direct mail, Defendants use email, social media and radio

 7   advertisements to promote their free two-hour workshops.

 8                               Defendants' Free Two-Hour Workshops

 9          62.     During the free two-hour workshops, Defendants attempt to convince consumers

10   to purchase their "system" and enroll in their "3-Day Amazon Profits Workshop," which they

11   typically offer at a "special discount" of $995.

12          63.     Defendants make _earnings claims throughout the free two-hour workshops and

13   share examples and testimonials of purportedly successful purchasers of the Amazing Wealth

14   System.

15          64.     For example, on July 7, 2017, "Skylar," one of Defendants' presenters, made the

16   following oral representations during a free two-hour workshop held at the Renaissance Hotel in

17   Seattle, Washington:

18                  A.      "How many of you would love to be able to learn how you can make an

19                          extra $5,000 to $10,000 a month by spending 30 minutes to an hour a day

20                          learning and implementing a plug-and-play system I'm going to share wit

21                          you here in a moment."

22                  B.      "You're selling Amazon, you're now making more money. That means

23                          that whatever you have invested into inventory, whatever you start with,




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 1                         you've gotten that money back plus a what? ... Plus a profit, or what is

 2                         called an ROI, which stands for a return on investment ... See, in our

 3                         system - again, write this down - the minimum ROI, minimum net return

 4                         on investmentthat our students are making right now, their target

 5                         minimum net ROI, is 20 percent. Write that down. Twenty percent.

 6                         Minimum net ROI of20 percent."

 7                 C.      "All right, guys. So what did John Bean do? ... Took $1,000, turned it

 8                         into ... $65,000. Now, do you think that John Bean stopped there?

 9                         ... How many of you would not stop there by raise of hand. See, here's

10                         what we know, folks. You go to the three-day workshop, you learn the

11                         system, you start selling on Amazon, once you've made your first, second,

12                         third sale, what are you proving to yourself? ... That you can do it, right,

13                         that you can do it. ... So, again, like I said, John Bean started out with

14                         what -with $1,000, turned that into $65,000. Now, by the way, we're

15                         going to talk about the time frame that John Bean did that in. However, he

16                         was working on a very compressed time frame because he said I don't

17                         have five years, 10 years, to be able to build my retirement level up. He

18                         says, I've got to do this now."

19          65.    In some instances, Defendants display an "earnings disclaimer" on a screen

20   shortly after beginning their free two-hour workshops. One such earnings disclaimer stated:

21                 Any student examples showing profits or other earnings are NOT

22                 interpreted as Average [sic], or normal. The typical, expected or

23                 normal individual does not ever start a business. So, by having a




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 1                  business at all, they are already above average. All profits shown

 2                  are potential returns. There is no assurance that your profits and

 3                  income will match what we present.

 4          66.     In some instances, Defendants will also make oral earnings disclaimers during the

 5   course of the free two-hour workshops. For example, during a free two-hour workshop in

 6   Seattle, the presenter stated as follows:

 7                  Just because I share with you a testimonial or an example of

 8                  someone that, let's say, is making $10,000 a month, am I

 9                  guaranteeing that you're also going to make $10,000 a month? ...

10                  Absolutely not.

11          67.     Despite the brief earnings disclaimers, Defendants' presentation during the free

12   two-hour workshops leaves consumers with the net impression that they are likely to profit

13   implementing the Amazing Wealth System to sell on Amazon.

14          68.     Defendants also tell consumers who attend the free two-hour workshops that it's

15   not possible to teach them everything in two hours and that to fully understand Defendants'

16   system and receive the necessary software ''tools" and access to a network of wholesalers,

17   consumers need to purchase the Amazing Wealth System and attend Defendants' "3-Day

18   Amazon Profits Workshop" ("3-Day Workshop").

19          69.     Defendants typically offer the Amazing Wealth System base package, which

20   includes enrollment in a 3-Day Workshop, for $995.

21          70.     The base Amazing Wealth System package also includes, among other things, a

22   set of books and DVDs bearing the label "Amazon Riches Home Study System."

23          71.     Defendants require consumers purchasing the Amazing Wealth System base




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 1   package to sign a purchase order. Attached as Exhibit D is a true and correct copy of a purchase

 2   order enrolling a consumer in a 3-Day Workshop scheduled to take place in Oakland, California

 3   on December 8-10, 2017.

 4                                   Defendants' 3-Day Workshops

 5          72.     Defendants hold 3-Day Workshops throughout the United States and Canada.

 6          73.     Defendants typically hold their 3-Day Workshops _within a month of, and in close

 7   proximity to the location of, the free two-hour workshops.

 8          74.     During the 3-Day Workshops, Defendants attempt to convince consumers to

 9   upgrade to more expensive enrollment levels of the Amazing Wealth System and buy additional

10   products and services. A true and correct copy of a brochure Defendants distributed during a 3-

11   Day Workshop is attached as Exhibit E.

12          75.     Defendants typically offer "Diamond," "Platinum," and "Gold" enrollments for

13   $34,995, $19,995, and $9,995 respectively. True and correct copies of package breakdown

14   handouts used by Defendants to describe and sell higher level enrollments of the Amazing

15   Wealth System are attached as Exhibits F and G.

16          76.     Defendants require consumers enrolling in a higher level enrollment such as the

17   "Platinum Enrollment" to sign a written agreement. Attached as Exhibit H is a true and correct

18   copy of a written agreement for the "Platinum Enrollment."

19          77.     Defendants' higher level enrollments for the Amazing Wealth System typically

20   feature "Personal 1-on-1 Coaching Sessions" and other "bonuses," such as ungating services and

21   access to the "Fulfillment By Adam" service. A true and correct copy of a handout Defendants

22   use to describe some of the "bonuses" they offer is attached as Exhibit I.

23          78.     Defendants' FulfilJment By Adam service purportedly receives orders from




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 1   wholesalers exclusively on behalf of purchasers of the Amazing Wealth System and packs and

 2   ships those products to Amazon's fulfillment centers. According to Defendants, ''this service is

 3   designed so that [purchasers] can focus on making more money ... "

 4          79.     During the course of the 3-Day Workshops, Defendants repeat, reinforce, and

 5   expand on the earnings claims made in their initial advertising campaign and in the free two-hou

 6   workshop. They do so through additional testimonials and specific examples designed to give

 7   prospective purchasers the impression that they will likely realize high profit margins using the

 8   Amazing Wealth System.

 9          80.     For example, on December 8, 2017, Nathan Rossi, one of Defendants' presenters,

10   made the following oral representations during a 3-Day Workshop held at the Red Lion Hotel in

11   Oakland, California:

12                  A.      "I'm going to show you how to build a business to whatever size you want

13                          it to be online, on Amazon. So whether you want an extra $20- to $30,000

14                          a year or you want to create a million dollar a year business, I'm going to

15                          show you how to do either of those."

16                  B.      "This is you starting a legitimate e-commerce business, right? I'm going

17                          to show you some stuff this weekend that's going to blow your hair back a

18                          little bit. I'm going to show you products that are going to give you ROI

19                          50, 80, 100, 200, 500 percent return on your money."

20                  C.      "You see, I regularly beat Amazon because I know how to win the buy

21                          box and I know their tricks. And so I deploy the same tricks and I can

22                          actually win the buy box. So we'll get into that."

23                  D.      "Whether - you know, if you come to me and say, Nathan, I'm retired,




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 1                         I've got $250,000 to start this business, I've got great credit and all the

 2                         time in the world, well, great, we've got a plan for that. If you come and

 3                         you say, I work two jobs, I'm a single mother, my credit score starts with

 4                         decimal point and I could scrape together 500 bucks to get started, well,

 5                         we've got a plan for that, too. It's a different plan and both plans will

 6                         make money, but it's just different ways. What types of products should

 7                         you start with, where do you begin, you know, what niches do you start

 8                         with, what categories, things like that."

 9          81.     During the 3-Day Workshops, defendants also provide consumers with ''tips,

10   tricks, and techniques" to purport~dly profit and outcompete other third-party sellers on

11   Amazon.com.

12          82.     Much of the information Defendants convey to consumers during the 3-Day

13   Workshops, in their videos and webinars, and during coaching sessions is basic information

14   regarding Amazon.com and Ama?:on' s FBA service that is available free of charge on the

15   "Resources and Tutorials" section of the Amazon services website.

16          83.     Many of the strategies and techniques Defendants urge consumers to deploy are

17   deceptive and violate the Amazon BSA.

18          84.     For example, Defendants instruct purchasers of the Amazing Wealth System to

19   obtain fraudulent or fake product reviews for the products purchasers list on Amazon.com. The

20   posting of fraudulent reviews by third-party sellers violates Amazon's Anti-Manipulation Policy

21   for Customer Reviews.

22          85.     Defendants instruct purchasers of the Amazing Wealth System to obtain and

23   deploy multiple Amazon Selling Accounts through a variety of ruses in an effort to "win the Buy




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 1   Box" over other third-party sellers. Amazon strictly prohibits third-party sellers from using

 2   multiple seller accounts without express permission from Amazon.

 3             86.    Amazon prohibits third-party sellers from listing counterfeit or inaccurately

 4   described products on Amazon.com. Nevertheless, in many instances, Defendants or

 5   wholesalers recommended by the Defendants sell counterfeit or inaccurately described products

 6   to purchasers of the Amazing Wealth System. As a result, many purchasers, especially those

 7   relying on the Fulfillment By Adam service, list counterfeit or inaccurately described products

 8   on Amazon.com, thus violating Amazon's BSA.

 9             87.    According to an internal analysis conducted by Amazon, purchasers of the

10   Amazing Wealth System "are more likely than other third party sellers on Amazon to experience

11   problems with their Amazon seller accounts." See Complaint, Amazon.com, Inc. v. FBA Stores,

12   LLC eta/., Case No. 2:17-cv-01830-JPD (W.D. Wash. filed Dec. 6, 2017) (ECF No. 1) at 36,

13   ,r 131.   More than a quarter of the Amazing Wealth System third-party seller accounts identified

14   by Amazon "have received warnings from Amazon or been suspended, including for possible

15   trademark infringement, suspicion of product review abuse, poor delivery performance, high

16   order defect rates, or other violations of Amazon's BSA and incorporated Seller policies." Id.

17   The Amazing Wealth System third-party seller accounts identified by Amazon "have also

18   performed worse than other Amazon sellers, as demonstrated by their higher-than-average rate o

19   customer returns and lower average sales volume and revenue." Id.

20             88.    Contrary to Defendants' representations, consumers who purchase the Amazing

21   Wealth System and attempt to deploy the strategies conveyed during the 3-Day Workshops, in

22   Defendants' videos and webinars, and during the personal coaching sessions are unlikely to earn

23   the income that Defendants advertise.




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 1           Defendants' Failure to Provide Disclosure and Earnings Claims Statements

 2          89.     Defendants fail to provide a written disclosure document to consumers prior to

 3   consumers' purchase of Defendants' business opportunities as required by the Business

 4   Opportunity Rule.

 5          90.     Although Defendants make claims to consumers about their likely earnings, they

 6   fail to provide consumers with an earnings claim statement as required by the Business

 7   Opportunity Rule.

 8                                  VIOLATIONS OF THE FTC ACT

 9          91.     Section 5(a) ofthe·FTC Act, 15 U.S.C. § 45(a), prohibits "unfair or deceptive acts

10   or practices in or affecting commerce."

11          92.     Misrepresentations or deceptive omissions of material fact constitute deceptive

12   acts or practices prohibited by Section 5(a) of the FTC Act.

13                         Count I-· Misrepresentations Regarding Earnings

14          93.     In numerous instances, in connection with the advertising, marketing, promotion,

15   offering for sale, or sale of business opportunities, Defendants have represented, directly or

16   indirectly, expressly or by implication, that consumers who purchase and use Defendants'

17   business opportunities are likely to earn a specific level or range of actual or potential sales, or

18   gross or net income or profits. Such representations include that consumers who purchase and

19   use the Amazing Wealth System are likely to earn several thousand dollars a month.

20          94.     The representations set forth in Paragraph 93 of this Complaint are false or

21   misleading or were not substantiated at the time the representations were made.

22          95.     Therefore, Defendants' representations as set forth in Paragraph 93 of this

23   Complaint constitute deceptive acts or practices in violation of Section 5(a) of the FTC Act, 15




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 1   U.S.C. § 45(a). ·

 2                    VIOLATIONS       OF THE BUSINESS OPPORTUNITY RULE
 3           96.    The FTC brings this action under the amended Business Opportunity Rule, 16

 4   C.F.R. Part 437, which was extended in scope to cover certain work-at-home opportunities,

 5   became effective on March 1, 2012, and has since that date remained in full force and effect.

 6           97.    Defendants are "sellers" who have sold or offered to sell "business opportunities"

 7   as defined by the Business.Opportunity Rule, 16 C.F.R. § 437.l(c) and (q). Under the Business

 8   Opportunity Rule, a "seller" is a person who offers for sale or sells a business opportunity. 16

 9   C.F.R. § 437.l(q). Under the Rule, a "business opportunity" means a "commercial arrangement"

10   in which a "seller solicits a prospective purchaser to enter into a new business;" the "prospective

11   purchaser makes a required payment;" and the "seller, expressly or by implication, orally or in

12   writing, represents that the seller or one or more designated persons will ... [p]rovide outlets,

13   accounts, or customers, including, but not limited to, Internet outlets, accounts, or customers, for

14   the purchaser's goods or services.-" 16 C.F.R. 437.1 (c).

15           98.    Among other things, the Business Opportunity Rule requires sellers to provide

16   prospective purchasers with a disclosure document in the form and using the language set forth

17   in the Business Opportunity Rule and its Appendix A, and any required attachments. In the

18   disclosure document, the seller must disclose to prospective purchasers five categories of

19   information, including basic identifying information about the seller, any earnings claims the

20   seller makes, the seller's litigation history, any cancellation and refund policy the seller offers,

21   and contact information of prior purchasers. 16 C.F.R. § 437.3(a)(l)-(5). Furthermore, this

22   information must be disclosed at least seven (7) days before the prospective purchaser signs a

23   contract or makes a payment. 16 C.F.R. § 437.2. The pre-sale disclosure of this information




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 1   enables a prospective purchaser to contact prior purchasers and take other steps to assess the

 2   potential risks involved in the purchase of the business opportunity.

 3           99.     Defendants have made earnings claims in connection with the sale of their

 4   business opportunities, as defined by the Business Opportunity Rule, 16 C.F.R. § 437.l(f).

 5   Under the Business Opportunity Rule, an "earnings claim" means "any oral, written, or visual

 6   representation to a prospective purchaser that conveys, expressly or by implication, a specific

 7   level or range of actual or potential sales, or gross or net income or profits." 16 C.F .R. §

 8   437.l(f).

 9           100.    The Business Opportunity Rule prohibits sellers from making earnings claims

10   unless the seller: (1) has a reasonable basis for the claim at the time it is made; (2) has in its

11   possession written materials to substantiate the claim at the time it is made; (3) furnishes an

12   Earnings Claim statement to prospective purchasers in conjunction with the disclosure document

13   containing, among other things, information regarding the time frame captured by the earnings

14   claim, the characteristics of the purchasers, and the number and percentage of all persons who

15   purchased the business opportunity within the time frame who achieved at least the stated level

16   of earnings; and (4) makes written substantiation of the earnings claim available to any

17   prospective purchaser who requests it. 16 C.F.R. § 437.4(a).

18           101.    Defendants have also made earnings claims in connection with the sale of their

19   business opportunities in the general media, as defined by the Business Opportunity Rule, 16

20   C.F.R. § 437.l(h). Under the Business Opportunity Rule, "general media" means "any

21   instrumentality through which a person may communicate with the public, including, but not

22   limited to, television, radio, print, Internet, billboard, Web site, commercial bulk email, and

23   mobile communications." 16 C.F.R. § 437.l(h).




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 1            102.   The Business Opportunity Rule prohibits sellers from making earnings claims in

 2   the general media unless the seller has a reasonable basis for and written substantiation of any

 3   earnings claims and states in immediate conjunction with those claims the beginning and ending

 4   dates when the represented earnings were achieved, and the number and percentage of all

 5   persons who purchased Defendants' business opportunity prior to that ending date who achieved

 6   at least the stated level of earnings. 16 C.F .R. § 43 7.4(b).

 7            103.   Defendants have disseminated industry financial, earnings, or performance

 8   information in connection with the offering for sale, sale, or promotion of a business opportunity.

 9            104.   The Business Opportunity Rule prohibits sellers from disseminating industry

10   financial, earnings, or performance information unless the seller has written substantiation

11   demonstrating that the information reflects, or does not exceed, the typical or ordinary financial

12   earnings, or performance experiei:ice of purchasers of the business opportunity being offered for

13   sale. 16 C.F.R. § 437.4(c).

14            105.   Pursuant to Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of

15   the Business Opportunity Rule constitutes an unfair or deceptive act or practice in or affecting

16   commerce in violation of Section.5(a) of the FTC Act, 15 U.S.C. § 45(a).

17                     Count II- Misrepresentations Regarding Income or Profits

18            106.   In numerous instances, Defendants have misrepresented the amount of sales, or

19   gross or net income or profits a prospective purchaser may earn or that prior purchasers have

20   earned in connection with the offering for sale, sale, or promotion of a business opportunity.

21            107.   Defendants' acts and practices, as described in Paragraph 106 above, violate the

22   Business Opportunity Rule, 16 C.F.R. § 437.6(d) and Section 5(a) of the FTC Act, 15 U.S.C. §

23   45(a).




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 1                   Counts III-Earnings Claims to Prospective Purchasers Violations

 2            108.    In numerous instances, Defendants have made earnings claims to prospective

 3   purchasers in connection with the offering for sale, sale, or promotion of a business opportunity

 4   while, among other things: (1) lacking a reasonable basis for the earnings claim at the time it was

 5   made; (2) lacking written substantiation for the earnings claim at the time it was made; or (3)

 6   failing to provide an earnings claim statement to the prospective purchaser, as required by the

 7   Business Opportunity Rule.

 8            109.    Defendants' acts and practices, as described in Paragraph 108 above, violate the

 9   Business Opportunity Rule, 16 C.F.R. § 437.4(a) and Section 5(a) of the FTC Act, 15 U.S.C. §

10   45(a).

11                        Count IV - General Media Earnings Claims Violations

12            110.    In numerous instances, Defendants have made earnings claims in the general

13   media in connection with the offering for sale, sale, or promotion of a business opportunity

14   while, among other things: (1) lacking a reasonable basis for the earnings claim at the time it was

15   made; (2) lacking written substantiation for the earnings claim at the time it was made; or (3)

16   failing to state in immediate conjunction with those claims (i) the beginning and ending dates

17   when the represented earnings were achieved, and (ii) the number and percentage of all persons

18   who purchased Defendants' business opportunity prior to that ending date who achieved at least

19   the stated level of earnings.

20            111.    Defendants' acts and practices, as described in Paragraph 110 above, violate the

21   Business Opportunity Rule, 16 C.F.R. § 437.4(b) and Section 5(a) of the FTC Act. 15 U.S.C. §

22   45(a).

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 1        Count V -     Industry Financial, Earnings, or Performance Information Violations

 2            112.   In numerous instances, Defendants have disseminated industry financial,

 3   earnings, or performance information in connection with the offering for sale, sale, or promotion

 4   of a business opportunity while lacking written substantiation demonstrating that the information

 5   reflects, or does not exceed, the typical or ordinary financial earnings, or performance experience

 6   of purchasers of the business opportunity being offered for sale.

 7            113.   Defendants' acts and practices, as described in Paragraph 112 above, violate the

 8   Business Opportunity Rule, 16 C.F.R. § 437.4(c) and Section 5(a) of the FTC Act, 15 U.S.C. §

 9   45(a).

1O                             Count VI - Disclosure Document Violations

11            114.   In numerous instances in connection with the offer for sale, sale, or promotion of

12   business opportunities, Defendants have failed to furnish prospective purchasers with the

13   disclosure document and attachments required by the Business Opportunity Rule, within the time

14   period prescribed by the Rule.

15            115.   Defendants' acts ~d practices, as described in Paragraph 114 above, violate the

16   Business Opportunity Rule, 16 C.F.R. §§ 437.2 and 437.3(a), and Section 5(a) of the FTC Act,

17   15 U.S.C. § 45(a).

18                                         CONSUMER INJURY

19            116.   Consumers have s1,1ffered and will continue to suffer substantial injury as a result

20   of Defendants' violations of the FTC Act and the Business Opportunity Rule. In addition,

21   Defendants have been unjustly enriched as a result of their unlawful acts or practices. Absent

22   injunctive relief by this Court, Defendants are likely to continue to injure consumers, reap unjust

23   enrichment, and harm the public interest.




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 1                              THE COURT'S POWER TO GRANT RELIEF

 2           117.   Section I3(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

 3   injunctive and such other relief as the Court may deem appropriate to halt and redress violations

 4   of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

 5   jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

 6   restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

 7   remedy any violation of any provision of law enforced by the FTC.

 8           118.   Section 19 of the FTC Act, 15 U.S.C. § 57b, authorizes this Court to grant such

 9   relief as the Court finds necessary to redress injury to consumers resulting from Defendants'

10   violations of the Business Opportunity Rule, including the rescission or reformation of contracts,

11   and the refund of money.

12                                        PRAYER FOR RELIEF

13           Wherefore, Plaintiff FTC, pursuant to Sections I3(b) and 19 of the FTC Act, 15 U.S.C.

14   §§ 53(b) and 57b, and the Business Opportunity Rule, and the Court's own equitable powers,

15   requests that the Court:

16          A.      Award Plaintiff such preliminary injunctive and ancillary relief as may be

17   necessary to avert the likelihood of consumer injury during the pendency of this action and to

18   preserve the possibility of effective final relief, including but not limited to, temporary and

19   preliminary injunctions, an -order freezing assets, immediate access, appointment of a receiver;

20          B.      Enter a permanent.injunction to prevent future violations of the FTC Act and the

21   Business Opportunity Rule by Defendants;

22          C.      Award such relief as the Court finds necessary to redress injury to consumers

23   resulting from Defendants' violations of the FTC Act and the Business Opportunity Rule,




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 1   including but not limited to, rescission or reformation of contracts, restitution, the refund of

 2   monies paid, and the disgorgement of ill-gotten monies; and

 3          D.      Award Plaintiff the costs of bringing this action, as well as such other and

 4   additional relief as the Court may determine to be just and proper.

 5                                                 Respectfully submitted,

 6                                                  David C. Shonka
                                                    Acting General Counsel
 7

 8

 9
     Dated: March 1±:_, 2018
                                                  ~~Illinois Bar# 6270874
                                                    (Admitted in the D. Nev. pursuant to LR IA 11-3)
10                                                  Tel. (202) 326-3284
                                                    Email: ranguizola@ftc.gov
11
                                                    Miry Kim
12                                                  Washington Bar # 31456
                                                    (Seeking admission pursuant to LR IA 11-3)
13                                                  Tel. (202) 326-3622
                                                    Email: mkim@ftc.gov
14
                                                    Gregory J. Evans
15                                                  DC Bar# 1033184
                                                    (Seeking admission pursuant to LR IA 11-3)
16                                                  Tel. (202) 326-3425
                                                    Email: gevans2@ftc.gov
17
                                                    Federal Trade Commission
18                                                  600 Pennsylvania A venue, N. W.
                                                    Mail Drop CC-8528
19                                                  Washington, DC 20580

20                                               , Attorneys for Plaintiff
                                                   FEDERAL TRADE COMMISSION
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       Live Amazon .4-0ay Summit
To   Register Call 909-340-9974 ·immediately!
        Seating is limited to the first 500 registrants.




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                                                                  Amazon 4-Day Summit that is coming to Las Vegas. This will truly be a
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 To Register Call 909-340-9974 immediately!                       At this summit you will see how to:
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                                                                  v Work with our ELITE TEAM of Online Business Strategists and
                                                                     Professional Amazon Sellers to build your Elite Business on Amazon.
                                   Our :1;~1nun!t and             ,/ Learn how you can realistically generate $10,000+ revenue on

       Learn How to Make                                             Amazon in the next 30-40 days.
                                                                  ,/ Start a REAL BUSINESS, and create a new source of income.

        Amazing Wealth                                            ,/ Have PROFESSIONAL SELLERS ACCOUNT and be prepared to
                                                                     begin selling before you leave our summit.

         Using Amazon                                             ,/ Creating your business the RIGHT WAY is very hard - we make it
                                                                     easy and show you what NOT t~ do.
                                                                  ,/ Reach millions of online shoppers who TRUST the Amazon brand.
                                                                  ,/ SAVE time, money, and effort on shipping and warehousing.
                                   FOUR DAYS!                     ,/ Learn from our experts how to advertise within Amazon's platform
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                                                                  ,/ Offer your products WORLD-WIDE to the specific people searching
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   people take their lives back and create financial freedom by implementing                                                                                         ..... rl    j                                            WI'~
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   our systems for success on Amazon. We are not affiliated with or connected
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    MIiiion on Amazon.com. Now we want to help you become our next Amazon
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   Amazon has created this amazing system where they will store, inventory, ship
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                                                                                  Congratulations! You've been chosen to attend an exclusive LIVE
              SPECIAL INVITATION                                                  Amazon Workshop that is coming to the greater San Francisco area. My
                                                                                  name is Adam Bowser, and over the past 18 years I have sold over $50
    Choose a location and call 800-328-1244 immediately!                          Million online. I'm going to be hosting a few local workshops around
         Participation is limited to the first 100 registrants.                   the SF area to share my secrets for making money on Amazon. This will




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                                                                                  truly be a once-in-a-lifetime opportunity. At this workshop you will see
                                                                                  howto:
                                                                                  ti' Get started selling on Amazon and Make $5,000-$10,000 in the next
                                                                                      30 days...Even if you have never sold anything online before
                                                                                  ti' You can Create Your Own Amazon Seller's Account the Moment
                                                                                      You Leave the Workshop
All registered attendees will receive these valuable FREE gifts:
ti' Revealing Free Report Online Selling Blueprint                                ti' Have Amazon Store & Inventory all of Your Products, Ship Out Your
ti' Revealing Free Man~al: Best Selling Produ~ on Amazon                              All Your Orders & We11 even show you the Hottest Products that
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    Plus, the first 100 callers who attend are registered to
    win a FREE iPad in our One-of-Twenty iPad Giveaway!!!                         ti' Start an Online Business with No Money out of your pocket Setting
                                                                                      up an Amazon Account is 100% Free
                            FIVE DAYS ONLYI                                       ti' I'll be GMng you Wholesalers You can call up and Get Great Deals
                                                                                      for Huge profits. Or just make some extra $$ to Pay Your Ba~ic Bills
       CONCORD                     BERKELEY                 UNION CITY
  Tuesday, November 14th    Wednesday, November 15th Thursday, November 16th      You will not want to miss this amazing opportunity! I personally sold
     CROWNE PLAZA            HOTEL SHATTUCK PLAZA         CROWNE PLAZA            over $12 Million on Amazon last year and this exclusive program is
   45 John Glenn Drive           2086 Allston Way      32083 Alvarado-Niles Rd    limited to the first 100 registrants.
    Concord, CA 94520           Berkeley,CA 94704          Union City, CA 94587
                                                                                  Call 800-328-1244. If you are not one of the first 100 registrants, your
9am-11 or 12-2pm or 6-Spm   9am-11 or 12-2pm or 6-Spm 9am-11 or 12-2pm or 6-Spm
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               OAKLAND                               MILPITAS                     like this before. We guarantee it. Don't miss this event.
          Friday, November 1"l'h              Saturday, November 1Sth             Adam Bowser, Amazon Wealth ·systems
              HOLIDAY INN                            SHERATON
         77 Hegenberger Road                     1801 Barber Lane
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· oo-313-7063. Si usted no es uno de los primeros
os. su nombre sera puesto en una lista de espera.
 experimentado nada como esto antes. Nosotros lo
~os. No se pierda este evento.
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 A\NS
     Amazon Wea/th Systems es una empresa codiciada de entrenamiento de
     Amazon, que ha dirigi~o audiencias grandes y pequerias alrededor del mund~.
    Habiendo entrenado en 18 paises diferentes, hemos tenido suerte de compart1r
    escenarios con /ideres como Jack Canfield, Tony Robbins, Hansen y muchos otros.

   Durante anos hemos estado ayudando a miles de personas com ousted a to mar
   sus vidas y crear libertad financiera mediante la implementaci6n de nuestros
  sistemas para el exito en. Amazon. No es ta mos afiliados ni conectados con
  Amazon, pero nos encan_ta Amazon. Solo el ano pasado vendimos mas $12
 mil/ones con Amazon.com. Ahora queremos ayudarle a convertirse en nuestra
pr6xima historia de !!xito con Amazon.Venga a es           !al , y descubra el pod er de
Amazon FBA. Amazon ha creado este sistf:'rr!21
inventario, envian y todos de su servicoci ,31/i       . broso donde se almacena,
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Date     t/    i ( }· (f T
                                                  A\NS
                                                 293 Ubbey Industrial Parkkway, Ste. 150
                                                         Weymouth. MA 02189
                                                                       866-319-4192
                                                   support@amazlngwealthsystems.com

                      PLEASE PRINT CLEARLY & PRESS HARD FOR ALL COPIES

     Name
     Shipping Address

       City _,_;..(V~:f...::.::W;...:.:tJ__\;_...__ _ _ _ _ _ State               -l=-----A---- Zip Code
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       Cell Phone
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Name on Card :
Billing Address (If Different From Above) _____~.....
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The material purchased me copyrighted; they an: for your personal use and copying them is prohibited by law. You the buyer may cancel this transaction al
any lime prior to midnight of the 3rd business day after the date  is tnmsaclion. Sec the attached tcnDs and conditions form for an explanation of chis right.

Signature (Required):                                                                                        .               Date      ll./{ 1 / lJ
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                                            A\NS·.
           AWS
           293 Libbey Industrial Parkway, Ste.150
           Weymouth, MA 0218902184         ·
           866-319-4192
           support@amazlngwealthsystems.com
           Event Dates & Locations

           Event dates and locations are subject to change. Non-attendance at the event does not constitute
           grounds for a refund, nor release from this agreement. All deposits, advance payments, finance
           fonns and tickets are non-refundable- and held as in-house credit toward future enrollment and/or
           purchase.                                                        .
                                                                              _ _ _ _ (Initial Here)

               Product Return PoUdes and Procedures

           You. die buyer, may cancel this agreement at any time prior to midnight of the 3rd day after the
           date of this agreement. excluding Sundays and holidays. Should you choose to request a
           cancellation on or before the 3rd business day from the date of purchase, you must submit the
           front of this agreement along wid1 a written request slating your reason for cancelling to
           retum@amazonwealthsystems.com. Upon approval of your return request. you will be
           directed as to the instructions for returning your materials.
                                                                              _ _ _ _ (Initial Here)

               Declined Credit Cards ond Checks

               In the event a credit card is returned as "declined", we will attempt to claim funds from your card
               up to three separate times  before a suspension occurs. Checks may be accepted as a form of
               payment at our live events as a courtesy to our customers. However, you, ihe buyer will be solely
               responsible for paying all returned checks and/or bank fees, processing charges, and past monthly
               fees. Checks that ·are non-negotiable, for any reason (insufficient famds, closed accoamts, stop
               paymenls, etc.) are subject to imm~diate collection and prosecu- tion to the fullest extent of the
               law, including all expenses involved in collection, and will be subject to an additional fee if the
               account is forwarded to a 3rd party collection agency.
                                                                                   - - - - (Initial Here)
               Dispute Resolution Policy: By e~ecuting this Purchase Order, the Customer and the Company
               hereby agree that any and all disputes that arise between them concerning the Purchase Order or
               any of the terms thereof or that concern any aspect of the relationship between the Customer and
               the Company, shall be decided exclusively in binding arbitration conducted by the American
               Arbitration Association c··AAA"). The dispute will be decided by o single arbitrator who will
               apply the AAA's Commercial Arbitration rµles. The arbitrator docs not have authority to make
               an order for costs or attorneys fe.es, and will only award contract damages if any. If, however, a
               party files a suit in Coun in violation of this written arbitration agreement, the party that is made
               to defend the suit in Court is entitled to an immediate stay and dismissal of such Court
               proceeding, and shall be entitled lo an award ofall reasonable attorneys fees and costs in
               connection with such Court proceedings. ·1n order to keep costs down, the arbitration will be
               conducted through written submissions only, and the arbitrator will not require any live
               hearings. Customer waives all rights to a class arbitration. Customer and Company further agree
               that each party will bear it's own costs and attorney's fees incurred in connection with the AAA
               arbitration proceeding
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       The AWS Members Area is an online
      platform that delivers video training to
      help you launch and grow your onllne
     business. This information is broken out
         into several different categories:

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                                                                  Personal Coaching can help
                                                                  you acquire the skills necessary
                                                                  to become a successful onllne
                                                                  marketer.

                                                                  Our Amazon expert coaches
                                                                  have years of experience
                                                                  actively running their own
                                                                  successful online businesses
                                                                  - experience that can give you
                                                              i   the inside-track to Amazon



                                                             ~
                                                                  success.

                                                                  Worl:<ing closely with your coach
                                                                  can help you develop the same
                                                                  skills and success mindset to
                                                                  take your business to the next
                                                                  level.




    1. Your Amazon Expert Coach                                                    .
    As an AWS Coaching Client, you will have the chance to work with a top-level Amazon expert
    who is there to guide you along your Journey to become a successful Amazon seller.


    2. AWS Coaching Hotline
    We have· Amazon specialists on-call and ready to assist you Monday - Friday from 8:00am to
    8:00pm (Mountain Time Zone) that can assist you with any questions you might have. This
    private line is reserved exclusively for coaching students.




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           2-Day On-Site 1-on-1 Office Visit (Live Training)
     Following your 3-Day Amazon Explosion Workshop, you'll have the chance to visit the Boston office.




    Contact us:
    To help you set up your schedule and provide recommendations for flight and hotel
    accommodations. During these 2 days at our office. By design, the visit is highly personalized to
    YOUR business.


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      WAREHOUSE TOUR:
      You wlll experience hands on exactly what AWS does on a daily basrs from sourcing to
      sorting to fulfilling thousands of products on a weekly basis. You will see exactly how a multi-
      million dollar business operates.                                  ,

     DINNER WITH AWS TEAM:
     The night of your visit AWS team will bring you out for a great seafood dinner. You will have an
     opportunity to network with our team in a relaxing setting.




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                                                                    DALLAS, & SAN FRANCISCO

                                                                  This incredible Jam- packed
                                                                  4-day event is the type of
                                                                  signature event that can
                                                                  change your life.

                                                                  You will seldom have the
                                                                  opportunity to acquire
                                                                  knowledge directly from
                                                                  wholesale suppliers that can
                                                                  supply your business money-
                                                                  making products for many
                                                                  years to come.

                                                                 Learn exactly how AWS
                                                               , team interact, negotiate and
                                                                 acquires deals from the top
                                                                 suppliers in the world carrying
                                                                 some of the host selling
                                                                 products for Amazon.




TRADE SHOW EXPERIENCE:
Trade shows are huge in this business. We will bring you with us to either a trade show we
host personally for our students, or we will take you to one of the biggest In the country. The
goal is to help you meet and greet with top level wholesale suppliers. This face to face
Interaction with suppliers will start the business relationships that can elevate your business to
the next level.
AMAZON ELITE SELLER PANEL:
You'll have the opportunity to meet other successful online sellers in our "Network" that are
looking to increase their business. At this live event you will ind top suppliers, trends and
upcoming product releases that is only going to increase the amount of sales you do onllne.
TRAVEL & ACCOMMODATIONS:
We will help assist you with flights & hotel, we believe staying together as a team is essential in
the trade show experience. While the fun you have with us will be world-class, make no
mistake that the knowledge and experience you acquire from the event can pay for Itself over
and over again.
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    The key component to running
    an online business and making
    money is finding products that
    sell with a healthy profit margin                                                                             \I
    for your storefront on a weekly
    basis.

    "Fulfillment by Adam" Is the                                                                                   I
    perfect service to enable your
                                                                                                                   !:
    store to grow as profitable as
                                                                                                                   I:
    you want.                                                                                                     r
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      THE FULFILLMENT BY ADAM TEAM
     Fulfillment by Adam consists of over 15 employees that have years of experience labeling, packing
     and shipping products all over the world. This service is designed so that you can focus on making
     more money in your business and letting Fulfillment by Adam service all your products to Amazon for
     you. The way this service works is when you purchase products from any wholesaler you visit our
     exclusive website and process the order through the website and tell your supplier to ship the goods
     to our Boston facility. There is a $0.20 per piece for every order you place which is 1/3 of the cost of
     any other service. This service eliminates you from ever having to pack and ship products to
     Amazon's fulfillment centers and the need for additional overhead.


      UPS PARTNERSHIP
     AWS has partnered with UPS to offer our students the least expensive and most reliable shipping
     options•. Utilize UPS through our site to take advantage of up to 60% discounts on shipping to us.


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           Amazon Ungating Services - Two Categories
    Diversifying your inventory Is much easier when you can sell in multiple categories, which Is why
                        AWS maintains a partnership with CategoryApproved.com




       ~ APPROVED

    TWO CATEGORIES UNGATED FOR. YOU:
    CategoryApproved provides ungating services to those who register with them. After applying
    the coupon ($400 value) given to you from AWS, you will be designated with an Ungatlng Spe-
    cialist who will coordinate with you every step of the process.

    From the initial phone call, to the confirmation email of your account approval, CategoryAp-
    proved will do all the grunt work for you. Forms, application letters, negotiations with Amazon
    representatives, are all handled by their experienced & well-trained staff.


    CUSTOMER SATISFACTION GUARANTEE:
    CategoryApproved aims to excel & help Amazon Sellers grow & expand their businesses. They
    are aware despite high success rates, Amazon will unfortunately reject some of their applica-
    tions to keep category competition controlled. CategoryApproved promises to our students that
    if their application Is rejected, Category approved will obtain approval for you In 2 categories no
    matter what!


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CONTINUING EDUCATION
ADVANCED EDUCATION PROGRAM§
                                                                                            Full Price     Discount
MASTERMIND        3x YEAR                                                                 [ INVITATION    I ONLY I
                                                                    Full Price          Discount         Onsite Investment
DIAMOND ENROLLMENT                                                               :J ~                    l 2 $34,995 .I
• 16 Personal 1 on 1 Coaching Sessions                                  Included
Held every week at a scheduled time with our Amazon Coach
• Access to FBA Stores Angel Supplier Rolodex                            Included
Lifetime supply of product with great deals for your store
• FBA Stores Deal Analysis & Partnering Program:                         Included
We will analyze any deal you get offered & partner with you on deals
• Fulfillment by Adam (FBA)                      ·                       Included
We fulfill any product orders to Amazon warehouses
• 3 Day "Amazon Summit" Trade Show Event                                Included
Las Vegas ASD & CES Trade Show twice a year
• Unlimited Access to "The Network"                                      Included
Wholesale products to & through our network of onllne sellers
• Unga_ting: In 2 categories in first store                              Included

                                                                    Full Price          Discount         Onsite Investment
PLATINUM ENROLLMENT                                                                                      1~$19.995 il
• 8 Personal 1 on 1 Coaching Sessions                                   Included
Held every week at a scheduled time with our Amazon Coach
• Access to FBA Stores Angel Supplier Rolodex                            Included
Lifetime supply of product with great deals for your store
• 3 Day "Amazon Summit'' Trade S.how Event                               Included
Las Vegas ASD & CES Trade Show twice a year
• Unlimited Access to "The Network"                                      Included
Wholesale products to & through our network of online sellers


                                                                    Full Price          Discount         Onsite Investment
GOLD ENROLLMENT                                                 L                                        I+      $9,995 ·1
• 4 Personal 1 on 1 Coaching Sessions                                    Included
 Held every week at a scheduled time with our Amazon Coach
• Access to FBA Stores Angel Supplier Rolodex                            Included
 Lifetime supply of product with great deals for your store
• Unlimited Access to "The Network"                                      Included
Wholesale products to & through our network of onllne sellers
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                                                                                     Full Price     Discount
                                                                                 IINVITATIO~ _QNLY __ ]
DIAMOND ENROLLMENT                                       Full Price           Discount            Onsite Investment
                                                    L----=__=ic _____==i
• 12 Personal 1-on-1 Coaching Sessio.ns                                        Included
Held every week at a scheduled time with our Amazon Coach
• Access to AWS Angel Supplier Rolodex                                         Included
Lifetime supply of product suppliers with great deals for your store
• AWS Deal Analysis & Partnering Pr~gram                                       Included
We will analyze any deal you get offered & partner with you on deals
• Fulfillment by Adam (FBA)                                                    Included
We fulfill product orders to Amazon warehouses for you
• Exclusive 4-Day"Amazon Summit" Event                                         Included
Incredible Networking and Business-building Workshop
• Unlimited Access to "The Network"                                            Included
Wholesale products to & through our network of on line sellers
• Ungating: In 2 categories In first store                                     Included


PLATINUM ENROLLMENT                                      Full Price           Discount            Onsite .Investment
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• 6 Personal 1-on-1 Coaching Sessions                                          Included
Held every week at a scheduled time with our Amazon Coach
• Access to AWS Angel Supplier Rolodex                                         Included
Lifetime supply of product suppliers with great deals for your store
• Exclusive 4-Day "Amazon Summit" Event                                        Included
Incredlble Networking and Business-building Workshop
• Unlimited Access to"The Network"                                             Included
Wholesale products to & through our network of onllne sellers


GOLD ENROLLMENT                                          Full Price          Discount           Onsite Investment
                                                    [-                 _][--~~- -~ ... ~~.... I I . ·-- ... - -· __ :=]
• 2 Personal 1-on-1 Coaching Sessions                                         Included
Held every week at a scheduled time with our Amazon Coach
• Access to AWS Angel Supplier Rolodex                                        Included
Lifetime supply of product suppliers with great deals for your store
• Unlimited Access to"The Network".                                           Included
Wholesale products to & through our network of online sellers
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"Amazing Wealth Systems" Coaching Program
                               Platinum Coaching

Benefits You Are Receiving as A Member of AWS Platinum Coaching
Program:

#1 6 Weeks of Personal 1 on 1 Coaching Sessions
   • 1-0N-1 COACHING SESSIONS
     30-60 Min One on One Calls with one of our Coaches.
   • Computer Sharing where we can see your computer screen, control
     your mouse, so you will see every step.
   • Tips, tricks, and techniques that will increase all aspects of your
     business.

#2 AWS Deal Analysis & Partnering Program
   • Send any deal to deals@amazingwealthsystems.com and we'll
     analyze the deal and tell you if you should buy it or not.
   • AWS will partner with you on approved deals that have a MOQ that is
     too high for you.
   • Ability to Negotiate Utilizing Our Buying Power.

#3 One Amazon Trade Show/ Summit Event
   • 4 Days, where "All In" students come to give and receive, network,
     and get to the next level.
   • Biggest trade shows in the United States.
   • (2) Tickets to 1 of our AWS Summit event and trade show for you to
     attend.
   • Top Suppliers Trends & Upcoming Product Releases.
   • Meet suppliers with the help of AWS staff and know how to
     negotiate and find good reputable suppliers.

#4 Unlimited Access to "The Network"
  • Partner on deals with students inside the network.
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  • Access to Daily Deals.
  • Leverage the Network to Sell Your bulk deals to other students, or
    your product.
  • The Network Always has Students looking to place Capital in good
    Product deals.

#5 Access to Affordable Ungating Service
  • Access to ungating service (www.categoryapproved.com) to get any
    other category ungated. 1

ACT NOW BONUSES (only included the weekend of the live event)

Bonus #1: 2 Additional Weeks of Personal 1 on 1 Coaching Sessions

Bonus #2: Access to AWS Angel Supplier Rolodex
  • Immediate Access to Product: Immediately start buying products of
    your choice from AWS top 15 Suppliers that they do business with
    every week.
  • Deals with Great Profit Margins.
  • Working with our team constantly to implement NEW suppliers.

Bonus #3: Elite Coaching Hotline
  • Monday - Friday from 8am-8pm MST get a live Amazon support
    specialist to answer your questions and help you move forward.
  • Direct Hotline just for coaching students (877-282".'0817).


(BONUSES EXPIRE WITHIN 90 DAYS IF NOT SCHEDULED
BEFOREHAND)
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               Amazing Wealth Systems Program Terms and Conditions.

The following terms and conditions govern your relationship with AWS.
 1. By signing this Agreement customer agrees to join Amazing Wealth System Program.
Amazing Wealth Systems and AWS are wholly owned subsidiaries of FBA Stores, LLC.
The purpose of this program is to increase customer's core competency skills to be able
to successfully run an ecommerce business, properly purchase product, and to leverage
AWS as a fulfillment center if needed.
2. In consideration for the training, Customer's purchase price will be $19,995.00.
3. The program includes 6 weeks of one-on-one coaching sessions that will expire 3
months after joining the program if not scheduled already. All Bonuses provided within
your package will expire 90 days after joining the program if not scheduled or registered
for the event before.
4. Customer will be assigned a coach and will be given a mutually agreed upon time slot
when the coach will be available for calls. A phone number will be provided by the
coach. If Customer neglects to call in or fails to reschedule prior to the call, the coach is
under no obligation to reschedule any missed sessions and Customer's next contact
with the coach will be at the regularly scheduled time.
5. Customer will receive assignments to be completed and these assignments will play
a critical role in success online. Therefore, Customer hereby commits to completing all
assignments given in the time frame required and to act with the information given.
6. When purchasing product from suppliers that AWS recommends, Customer
understands that there potentially could be Product Policies and Procedures, which
include but are not limited to; pricing guidelines, Minimum Advertised Price (MAP),
Minimum Order Quantities (MOQ), and that all product orders cannot be shipped until
Customer has sent in all the appropriate items in their entirety. Failure to obey the
aforementioned Policies and Procedures can result in partners of AWS terminating their
relationship with you.
7. Customer accepts and recognizes that other than the product return/cancellation
provided herein there are no refunds for the Amazing Wealth System Program, as
access to all online training materials are delivered at the point of sale.
8.AWS commits that as long as Customer applies the techniques and strategies that
they teach, AWS will remain by customer's side.
9. Customer agrees to protect AWS Intellectual Property, and to maintain the
confidentiality of all information shared by AWS. Amazing Wealth Systems and AWS,
LLC are wholly owned subsidiaries of FBA Stores, Inc.
10. ARBITRATION AND DAMAGES. Customer and AWS agree that any dispute,
controversy or claim arising out of, relating to or about this contract, including
the breach, termination or validity thereof, shall be finally resolved by AAA
Arbitration. The dispute will J:,e decided by a single arbitrator who will apply the
AAA Commercial Arbitration rules. The arbitrator shall have the power to rule on
any challenge to Its own jurisdiction or to the validity or enforceability of any
portion of the agreement to arbitrate. The parties agree to arbitrate solely on an
individual basis, and that this agreement does not permit class arbitration or any
claims brought as a plaintiff or class member in any class or representative
arbitration proceeding. The arbitrator may not consolidate more than one
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person's claims, and may not otherwise preside over any form of a representative
or class proceeding. In the event the prohibition on class arbitration is deemed
invalid or unenforceable, then the remaining portions of the arbitration agreement
will remain in force. Customer shall have the right to request that the arbitration
be conducted through written submissions only. Any live hearing will be required
to be In Boston Massachusetts. IN NO EVENT, SHALL AWS BE LIABLE TO
CUSTOMER OR ANY THIRD PARTY FOR CONSEQUENTIAL, INDIRECT,
INCIDENTAL, SPECIAL, EXEMPLARY, PUNITIVE OR ENHANCED DAMAGES,
LOST PROFITS OR REVENUES ARISING OUT OF, OR RELATING TO, AND/OR IN
CONNECTION WITH ANY BREACH OF THIS AGREEMENT, REGARDLESS OF (A)
WHETHER SUCH DAMAGES WERE FORESEEABLE, (B) WHETHER CUSTOMER
WAS ADVISED OF THE POSSIBILITY OF SUCH DAMAGES AND (C) THE LEGAL
OR EQUITABLE THEORY UPON WHICH THE CLAIM IS BASED.
11. Except as expressly set forth in this document, AWS makes no warranties, express
or implied. All other warranties, express or implied, are hereby disclaimed by AWS.
12. These terms and conditions shall be governed by and interpreted under the AWS of
the State of Delaware without regard to its conflicts of law principles.
13. I understand and acknowledge that any and all testimonials shared by AWS are not
typical and my results will vary depending on my product selection, effort, time, applying
the principles taught, price, and marketing efforts. You, the buyer may cancel this
transaction at any time prior to midnight of the third business day after the date of this
transaction. See the attached Notice of Cancellation form ·tor an explanation of this right.
I acknowledge that the only representations under which I have made this purchase are
those providing in writing and in this agreement.
14. AWS may provide your contact information to one of our pre-approved affiliates that
we feel could potentially assist you with growing your business. If you wish to opt out of
receiving third party information you may do so by emailing
optout@amazingwealthsystems.com.
16. Prices are subject to change at any time and without notice.
17. If Coaching Calls are put off longer than 90 days without notice, or are not
scheduled within 3 months of this contract, AWS has the right to mail you a DVD copy
of the coaching sessions and consider you coaching package fulfilled.
18. Customer agrees to hold AWS, its owners and employees, and any or all companies
or persons associated with the same harmless of any liability related to any of the
products purchased under this· agreement.                     ·

My signature below represents my agreement with each of the statements and
requirements of these Terms and Conditions.


Name: (Please Print) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _Date: _ _ _ __
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NOTICE OF CANCELLATION:

You may cancel this transaction, without penalty or obligation, within three business
days no later than midnight from the above date. If you cancel, any property traded in,
any payments made by you under the contract or sale, and any negotiable instrument
executed by you will be returned within 1Odays following receipt by the seller of your
cancellation notice, and any security Interest arising out of the transaction will be
cancelled. U you cancel, you must make available to the seller at your residence, in
substantially as good condition as when received; any goods delivered to you under this
contract or sale, or you may, if you wish, comply with the Instructions of the seller
regarding the return shipment of the goods at the seller's expense and risk. If you do
make the goods available to the seller and the seller does not pick them up within 20
days of the date of your notice of cancellation, you may retafn or dispose of the goods
without any further obligation. If you fail to make the goods available to the seller, or if
you agree to return the goods to the seller, and fail to do so, then you remain liable for
performance of all obligations under the contract. To cancel this transaction, either (1)
fax a signed and dated copy of this cancellation notice to (339)201-7683, (2) mail or
deliver a signed and dated copy of this cancellation notice to AWS 293 Libbey Industrial
Parkway Suite 150 Weymouth MA. 02189, or (3) email a request to
returns@amazingwealthsystems.com.

I hereby cancel this t r a n s a c t i o n · - - - - - - - - - - , - - - - - - - - - -
Purchaser's' Signature ( r e q u i r e d ) : - - - - - - - - - - - - - - - - -
Date (required): _ _ _ _ _ _ __
Clearly Print Your First and Last Name (required):._ _ _ _ _ _ _ _ _ _ __
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NOTICE OF CANCELLATION:

You may cancel this transaction, without penalty or obligation, within three business
days no later than midnight from the above date. If you cancel, any property traded in,
any payments made by you urider the contract or sale, and any negotiable instrument
executed by you will be returned within 10 days following receipt by the seller of your
cancellation notice, and any security interest arising out of the transaction will be
cancelled. If you cancel, you must make available to the seller at your residence, in
substantially as good condition as when received, any goods delivered to you under this
contract or sale, or you may, if you wish, comply with the instructions of the seller
regarding the return shipment of the goods at the seller's expense and risk. If you do
make the goods available to the seller and the seller does not pick them up within 20
days of the date of your notice· of cancellation, you may retain or dispose of the goods
without any further obligation. If you fail to make the goods available to the seller, or if
you agree to return the goods to the seller, and fail to do so, then you remain liable for
performance of all obligations under the contract. To cancel this transaction, either (1)
fax a signed and dated copy of this cancellation notice to (339)201-7683, (2) mail or
deliver a signed and dated copy of this cancellation notice to AWS 293 Libbey Industrial
Parkway Suite 150 Weymouth MA. 02189, or (3) email a request to
returns@amazingwealthsystems.com.

I hereby cancel this transaction. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Purchaser's' Signature ( r e q u i r e d ) : - - - - - - - - - - - - - - - - - -
Date (required):--------
Clearly Print Your First and Last Name (required):, _ _ _ _ _ _ _ _ _ _ _ __
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                       Diamond Coaching Bonuses

ACT NOW BONUSES (only included the weekend of the live event)
Bonus #1: TWO Days In Boston with Chris and Adam's Team

   Advanced Business Setup In our Office
   • (2) Days of Personal Coaching with Chris and Adam's team
   • Complete Business Integration and Startup
   • See how we operate and everything we do on a day-to-day basis
   • Leave with your business set up around your schedule and lifestyle
   • Night Out: Seafood Dinner on Boston Harbor

Bonus #2: Private Labeling Marketing Campaign
  • When your business is fully operational and ready our team will help you white label or
     private label a product from sourcing to marketing.
  • Direct Manufactures from China with sourcing we already have in place.
  • The opportunity to sell a product with 1OO°A.+ markup with NO competition

Bonus #3: 2m1 Store Setup in Boston with fully loaded laptop & Mlfl
  • We create your 2nd Amazon store so that you can double your income and sell your
     products twice as fast. Suppliers Trends & Upcoming Product Releases
  • We provide you with the 2nd computer to run and manage your business from so that
     you don't link both accounts together. We show you how to keep everything separate so
     Amazon will never link your accounts.

Bonus #4: Elite Coaching Hotline
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            "Amazon Insider Network" Mentoring Program
                                        Diamond Coaching

#116 Personal 1 on 1 Coaching Sessions
   • 1-0N-1 COACHING SESSIONS
         - 30-60 Min One on One Calls With one of our Coaches
   •     3 Life Unn - Direct Access to your Coach, When YOU Need Him
   •     Online Training where we can see your computer screen, control your mouse, so you will
         understand every step.
   •     Tips, tricks, and technlqun that will increase all aspects of your business.

#2 Done 4 You WHOLESALE Fulfillment
   •     immsdiate Access to Product With 20% Profit Margins: Immediately start buying products from
         our Wholesale Program:
             - Done For You Deals with Great Profit Margins
             - No Monthly overhead
             - Deal Analysis Before Placing an Order
             - Access to Our Supplier Rolodex
             - Ability to Negotiate Utilizing Our Buying Power
             - Working our team constantly to implement NEW suppliers
             - Shipped right to you

#3 (FBA) Fulfillment by Adam
   • FBAMembersArea.com Will fulfill all your shipments and send your products to Amazon
    •    FBA Warehouse To Send your Products to and we fulfill to Amazon
    •    We Label & Pack all your products and do all the manual labor for you
    •    Eliminate Shipping and Labor from your business entirely
    •    Eliminate the need to run your own warehouse
    •    No Monthly overhead, No Employees

#4 Two Full Immersion Trade Show Events Per Year
   • 3 Days, where all of my aAII ln° students come to give and receive, network, and get to the next
      level                        ·
    • CES Tradeshow in Las Vegas,
    • January & August, admission will be $4,995 AnnuaUv, today I will grandfather you in for Life as a
      Bonus
    • Top Suppliers Trends & Upcoming Product Releases
    • Ways Others & You can Give Back
    • Current Systems and Updates
    • What you need in Your Business Now
    • What you can give to others, give and take
    • Obstacles and barriers to overcome and how

#6 Unlimited Access to "The Network
    •    Product Board:
            • Order Products Directly From our Warehouse, Easy Pay, Shipped to You
            • Access to Daily Deals
            • Access to Monthly Syndicate Deal, First Come First Serve
            • Leverage Network to Sell Your.bulk deals to other students, or your product
            • The Network Always has Students looking to place Capital in good Product deals

#6 Ungating In two main product categories
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                                   Online Resource Center


        The FBA Members Area education center is an online platform that delivers
        video training to help you launch and grow your online business.
        This information is broken out into several different categories.


        1. FBA Coaching

        The FBA Coaching page is filled with all types of modules, training videos &
        content to help educate you on the different areas of your online business.
        With step-by-step videos training you on how to run a successful online
        business you will have the availability to reference all the resources you
        need.

        2. Wholesalers

        Our wholesalers page is filled with top tier wholesale suppliers that you can
        contact and build relationships with more companies that can supply you
        products consistently for your online business.

        3. Tools & Software's

        Our Tools & Software page has every resource and company you may work
        with in order to help automate your business along the way. With listing,
        shipping, tax, & many other software's at your fingertips you will know
        exactly where to go to help systematize your business as you grow.


        You will be given login access to www.fbamembersarea.com to access the
        site.


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Personal 1-on-1 Coaching with our Amazon Experts &
    Access to our entire mentoring fulfillment team.


Personal coaching will help you acquire the skills necessary to run a 6
figure online business. Our Amazon expert coaches have years of
experience and are actively running successful business online and
throughout working with them you will develop the mindset of a
successful business owner.


1. Your Amazon Expert Coach

We will be assigning our top level.Amazon experts that fits your wants and
needs to coach you along this journey. This coach will mentor and guide
you on the path to being successful in this business.

2. Product Representative

You will be assigned a product representative that will be available Monday
through Friday to assist you with any questions you have and help you with
any product purchases you need.

3. Coaching Managers

Adam Bowser the co-founder of FBA Stores and Jason Brown the coaching
manager are managing and assisting you along the way throughout your
coaching journey. You will have their help and assistance at anytime you
are stuck or need additional training on any area of your business.
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                      2- Day On Site Office Visit
                                 ~Live Training)




    ~t's All About You
    In the weeks or months following your 3-Day Amazon Explosion Workshop,
    you'll have the chance to visit (1) of our office locations either in Boston or
    Las Vegas. Our travel coordinator will schedule a time for you to come visit
    and take care of your accommodations during these 2 days at our office. By
    design, the visit is highly personalized to YOUR business.
    2nd Amazon Store Front
    During your office visit we will supply you with a Brand New computer and
    wifi card and assist you on setting up a 2nd Amazon store for your business.
    This will be setup by your request and customized around what you want
    your 2nd store to be.
    Warehouse Tour
    You will experience hands on exactly what FBA Stores does on a daily basis
    from sourcing to sorting to fulfilling thousands of products on a weekly
    basis. You will see exactly how a multi-million dollar wholesale company
    operates.
    Dinner With Adam & The Team
    The night of your visit Adam & his team will find a restaurant of your choice
    to fine dine and map out your business plan and find out exactly what areas
    of the business you need help in along with determining the goals you want
    to achieve from this business.

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3 Day FBA Stores "Full Immersion" Trade Show Event
             Las Vegas - (Live Training)




Held in Las Vegas Nevada, this incredible Jam- packed 3-day event is the type of
signature event that can change your life. You will seldom have the opportunity to
acquire knowledge directly from wholesale suppliers that can supply your business
money-making products for many years to come. Learn exactly how Adam and his team
interact, negotiate and acquires deals from the top suppliers in the world carrying some
of the hottest selling products for Amazon.

On Site Visit In Our Las Vegas Office
We spend 1 day educating you on what you want to accomplish at the ASD or CES trade
show and how to best take advantage of your time at the largest trade show in the
world. The other 2 days will be spent at the convention center walking around meeting
new suppliers.

Amazon Elite Seller Panel
You'll have the opportunity to meet other successful online sellers in our "Network" that
are looking to increase their business. At this live event you will find top suppliers,
trends and upcoming product releases that is only going to increase the amount of sales
you do online.

Travel And Accommodations

We will help assist you with flights & hotel, we believe staying together as a team is
essential in the trade show experience. While the fun you have in Las Vegas will be
world-class, make no mistake that the knowledge and experience you acquire. from the
event can pay for itself over and over again.
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                        Fulfillment By Adam

 Boston Warehouse & Las Vegas Warehouse

The key component to running an online business and making money is
   finding products that sell and have a healthy profit margin for your
storefront on a weekly basis. Fulfillment by Adam is your exact answer
 on providing you with great selling products for many years to come.



Adam Bowser
Adam Bowser the co     -founder of FBA Stores is in complete control of Fulfillment by
Adam and sourcing the hottest products in the market for you to buy and resell. Adam
and his team have developed a competitive edge in the worldwide supply chain in order
for you to buy products a quality prices and resell them on line for great profits. Adam
has over 12 years of experience in the on line business and will be assisting you on your
journey of becoming a successful online seller.




The Fulfillment by Adam Team
Fulfillment by Adam consists of over 30 employees that are experts in market analysis,
sourcing, packaging and shipping t_he right products for your business. With offices in
Boston & Vegas we handle thousands of products and service them directly to hundreds
of Amazon's fulfillment centers. The hard work this team puts in on a daily basis is what
will help grow your business for years to come.
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                  eBay Riches Online Course

          {On Demand in FBA Members Area)


   The 2nd largest online marketplace to offer products is eBay and
  therefore you need to learn how to sell products on eBay and have
                             Amazon fulfill your orders.


      eBay Riches Course
Adam Bowser the co - founder of FBA Stores is in complete control of Fulfillment by
Adam and sourcing the hottest products in the market for you to buy and resell. Adam
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    Roberto Anguizola
    Illinois Bar# 6270874                                   -FILED _ _ _ _
    (Admitted in the D. Nev. pursuant to LR IA 11-3)        -ENTERED              - - - eccEIVErJl
    Tel. (202) 326-3284                                                     , _ -:;-.--Si:.RVFO (1/i i
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    Email: ranguizola@ftc.gov                                                             L

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    Miry Kim
    Washington Bar# 31456
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    (Seeking admission pursuant to LR IA 11-3)
    Tel. (202) 326-3622                                           CURK: fJlS DISTRICT COURf
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    Federal Trade Commission.
    600 Pennsylvania A venue, NW
    Mail Drop CC-8528
    Washington, DC 20580

    Attorneys for Plaintiff
    FEDERAL TRADE COMMISSION

                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
     FEDERAL TRADE COMMISSION,

            Plaintiff,                                 Case No. 2:18-cv-00442-JCM-PAL
            v.

     A WS, LLC, a Nevada limited liability company;    FILED UNDER SEAL
     FBA DISTRIBUTORS, LLC, a Massachusetts
     limited liability company; FBA STORES, LLC, a     TEMPORARY RESTRAINING
     Nevada limited liability company; INFO PROS,      ORDER
     LLC, a Nevada limited liability company;
     ONLINE AUCTION LEARNING CENTER,
     INC., a Massachusetts corporation; ONLINE
     AUCTION LEARNING CENTER, INC., a
     Nevada corporation; CHRISTOPHER F.
     BOWSER; ADAMS. BOWSER; and JODY
     MARSHALL,

            Defendants.



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            Plaintiff, the Federal Trade Commission ("Commission"), has filed its Complaint for

    Permanent Injunction and Other Equitable Relief pursuant to Sections 13(b) and 19 of the

    Federal Trade Commission Act ("FTC Act"), 15 U.S.C. §§ 53(b) and 57b, and the Business

    Opportunity Rule, 16 C.F.R. Part 437, and has moved, pursuant to Fed. R. Civ. P. 65(b), for a

    temporary restraining order, asset freeze, other equitable relief, and an order to show cause why a

    preliminary injunction should not issue.

                                           FINDINGS OF FACT

            The Court, having considered the Complaint, the ex parte Motion for a·Temporary

    Restraining Order, declarations, exhibits, and the memorandum of points and authorities filed in

    support thereof, and being otherwise advised, finds that:

            A.     This Court has jurisdiction over the subject matter of this case, and there is good

    cause to believe that it will have jurisdiction over all parties hereto and that venue in this District

    1s proper.

            B.     There is good cause to believe that Defendants A WS, LLC, FBA Distributors,

    LLC, FBA Stores, LLC, Info Pros, LLC, Online Auction Learning Center, Inc. (Mass. Corp.),

    Online Auction Leaming Center, Inc. (Nev. Corp.), Christopher F. Bowser, Adam S. Bowser,

    and Jody Marshall have advertised, marketed, distributed, promoted, or sold business

    opportunities to consumers in this District and throughout the United States.

           C.      There is good cause to believe that Defendants have engaged in and are likely to

    engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), and

    multiple sections of the Business Opportunity Rule, 16 C.F.R. Part 437, as amended, and that the

    Commission is therefore likely to prevail on the merits of this action.




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            D.     As demonstrated by the Commission investigator declarations, the declaration of

    the Commission's expert Randy Hlavac, consumer declarations, Defendants' mail and Internet

    advertising, transcripts of undercover recordings, financial records, public records, and additional

    evidence contained in the volumes of exhibits filed by the Commission in support of its ex parte

    Motion for Temporary Restraining Order, the Commission has established a likelihood of

    success in showing that Defendants have: (1) made false or unsubstantiated earnings claims

    regarding the business opportunities they market and sell to consumer, and (2) failed to furnish

    prospective purchasers of Defendants' business opportunities with the disclosure documents and

    earnings claim statements required by the Business Opportunity Rule.

           E.      There is good cause to believe that immediate and irreparable harm will result

    from Defendants' ongoing violations of the FTC Act and the Business Opportunity Rule unless

    Defendants are restrained and enjoined by order of this Court.

           F.      There is good cause to believe that immediate and irreparable damage to the

    Court's ability to grant effective final relief for consumers - including monetary restitution,

    rescission, disgorgement, or refunds - will occur from the sale, transfer, destruction or other

    disposition or concealment by Defendants of their assets or records, unless Defendants are

    immediately restrained and enjoined by order of this Court; and that, in accordance with

    Fed. R. Civ. P. 65(b), the interests of justice require that this Order be granted without prior

    notice to Defendants. Thus, there is good cause for relieving the Commission of the duty to

    provide Defendants with prior notice of its Motion for a Temporary Restraining Order.

           G.      Good cause exists for appointing a temporary receiver over the Corporate

                                          .
    Defendants AWS, LLC, FBA Distributors, LLC, FBA Stores, LLC, Info Pros, LLC, Online

    Auction Learning Center, Inc. (Mass. Corp.), Online Auction Learning Center, Inc. (Nev. Corp.);



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    freezing Defendants' assets; permitting the Commission and the receiver immediate access to the

    Defendants' business premises; and permitting the Commission and the receiver to take

    expedited discovery.

            H.      Weighing the equities and considering the Commission's likelihood of ultimate

    success on the merits, a temporary restraining order with an asset freeze, the appointment of a

    temporary receiver, immediate access to business premises, expedited discovery, and other

    equitable relief is in the public interest.

            I.      This Court has authority to issue this Order pursuant to Sections 13(b) and 19 of

    the FTC Act, 15 U.S.C. §§ 53(b) and§ 57b; Federal Rule of Civil Procedure 65; and the All

    Writs Act, 28 U.S.C. § 1651.

            J.      No security is required of any agency of the United States for issuance of a

    temporary restraining order. Fed. R. Civ. P. 65(c).

                                                  DEFINITIONS

    For the purpose of this Order, the following definitions shall apply:

           A.       "Asset" means property of all kinds, including any legal or equitable interest in,

    right to, or claim to, any tangible or intangible property, and any real or personal property,

    wherever located and by whomever held.

           B.       "Corporate Defendants" means A WS, LLC, FBA Distributors, LLC, FBA

    Stores, LLC, Info Pros, LLC, Online Auction Learning Center, Inc. (Mass. Corp.), Online

    Auction Learning Center, Inc. (Nev. Corp.) and each of their subsidiaries, affiliates, successors,

    and assigns.

           C.      "Defendants" means each Corporate Defendant, Christopher F. Bowser, Adam S.

    Bowser, and Jody Marshall, individually, collectively, or in any combination.



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            D.     "Document" is synonymous in meaning and equal in scope to the usage of

     "document" and "electronically stored information" in Federal Rule of Civil Procedure 34(a),

     Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs, sound and

     video recordings, images, internet sites, web pages, websites, electronic correspondence,

     including e-mail and instant messages, contracts, accounting data, advertisements (including

     advertisements placed on the World Wide Web), FTP Logs, Server Access Logs, USENET

    Newsgroup postings, books, written or printed records, handwritten notes, telephone logs,

    telephone scripts, receipt books, ledgers, personal and business canceled checks and check

     registers, bank statements, appointment books, computer records, customer or sales databases,

     and any other electronically stored information, including Documents located on remote servers

     or cloud computing systems, and other data or data compilations from which information can be

    obtained directly or, if necessary, after translation into a reasonably usable form. A draft or non-

    identical copy is a separate document within the meaning of the term.

            E.     "Earnings Claim" means any oral, written, or visual representation to a

    consumer, prospective purchaser or investor that conveys, expressly or by implication, a specific

    level or range of actual or potential sales, or gross or net income or profits. Earnings claims

    include, but are not limited to any: (1) chart, table, or.mathematical calculation that

    demonstrates possible results based upon a combination of variable; and (2) statements from

    which a consumer, prospective purchaser or investor can reasonably infer that he or she will earn

    a minimum level of income (e.g., "earn enough to buy a Porsche," "earn a six-figure income," or

    "earn your investment back within one year").

            F.     "Electronic Data Host" means any person or entity in the business of storing,

    hosting, or otherwise maintaining electronically stored information. This includes, but is not



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    limited to, any entity hosting a website or server, and any entity providing "cloud based"

    electronic storage.

            G.     "Individual Defendants" means Christopher F. Bowser, Adam S. Bowser, and

    Jody Marshall, individually or collectively.

            H.     "Person" means a natural person, organization, or legal entity, including a

    corporation, partnership, proprietorship, association, cooperative, government or governmental

    subdivision or agency, or any other group or combination acting as an entity.

           I.      "Receiver" means the temporary receiver appointed in Section XI of this Order

    and any deputy receivers that shall be named by the temporary receiver.
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           J.      "Receivership Entities" means the Corporate Defendants as well as any other

    entity that the Receiver determines is controlled or owned by any Defendant and (1) conducted

    any business related to Defendants' advertising, marketing, distributing, promoting, or selling of

    business opportunities, (2) commingled or pooled Assets with any Defendant, or (3) otherwise

    participated in the transfer of Assets stemming from the advertising, marketing, distributing,

    promoting, or selling of business opportunities. Upon determining that a nonparty entity is a

    Receivership Entity, the Receiver shall promptly notify the entity as well as the parties, and shall

    inform the entity that it can challenge the Receiver' determination by filing a motion with the

    Court. Provided, however, that the Receiver may delay providing such notice for up to 48 hours

    if the Receiver determines that notice to the entity or the parties before the Receiver establishes

    control over the entity may result in the destruction of records, dissipation of Assets, or any other

    obstruction of the Receiver's control of the entity.




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                                                   ORDER

                            I.      PROHIBITED BUSINESS ACTIVITIES

            IT IS THEREFORE ORDERED that Defendants, Defendants' officers, agents,

    employees, and attorneys, and all other Persons in active concert or participation with them, who

    receive actual notice of this Order, whether acting directly or indirectly, in connection with

    promoting or offering for sale any good or service, are temporarily restrained and enjoined from:

            A.      making any earnings claim, unless the earnings claim is non-misleading, and, at

    the time such claim is made, Defendants: (1) have a reasonable basis for their claim; (2) have in

    their possession written materials that substantiate the claim; and (3) make the written

    substantiation available upon request to the consumer, potential purchaser or investor, the

    Receiver, and to the Commission;

            B.      misrepresenting or assisting others in misrepresenting, expressly or by implication

    any other fact material to consumers concerning any product or service, such as the total costs;

    any material restrictions, limitations, or conditions; or any material aspect of its performance,

    efficacy, nature, or central characteristics; or

           C.       from violating the Business Opportunity Rule, 16 C.F.R. Part 437, a copy of

    which is attached as Attachment A.

            II.      PROHIBITION ON RELEASE OF CUSTOMER INFORMATION

           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

    and attorneys, and all other Persons in active concert or participation with any of them, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from:

           A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name, address,

    birth date, telephone number, email address, credit card number, bank account number, Social

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     Security number, or other financial or identifying information of any person that any Defendant

     obtained in connection with any activity that pertains to the subject matter of this Order; and

             B.     Benefitting from or using the name, address, birth date, telephone number, email

     address, credit card number, bank account number, Social Security number, or other financial or

     identifying information of any person that any Defendant obtained in connection with any

     activity that pertains to the subject matter of this Order.

             Provided, however, that Defendants may disclose such identifying information to a law

     enforcement agency, as required by any law, regulation, or court order, or in any filings,

     pleadings or discovery in this action, provided the Defendants comply with any protective order

     in the case.

                                           III.    ASSET FREEZE

             IT IS FURTHER ORDERED that Defendants and their officers, agents, employees,

     and attorneys, and all other Persons in active concert or participation with any of them, who

    receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

    restrained and enjoined from:

            A.      Transferring, liquidating, converting, encumbering, pledging, loaning, selling,

    concealing, dissipating, disbursing, assigning, relinquishing, spending, withdrawing, granting a

     lien or security interest or other interest in, or otherwise disposing of any Assets, wherever

    located, including outside the United States, that are:

                    1.      owned or controlled, directly or indirectly, by any Defendant;

                    2.      held, in part or in whole, for the benefit of any Defendant;

                    3.      in the actual or constructive possession of any Defendant; or

                    4.      owned or controlled by, in the actual or constructive possession of, or

                            otherwise held for the benefit of, any corporation, partnership, asset

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                            protection trust, or other entity that is directly or indirectly owned,

                            managed or controlled by any Defendant, including any Assets held by,

                            for, or subject to access by, any Defendant at any bank or savings and loan

                            institution, or with any broker-dealer, escrow agent, title company,

                            insurance company, commodity trading company, precious metal dealer,

                            payment processor, credit card processor, acquiring bank, merchant bank,

                            independent sales organization, third party processor, payment gateway, or

                            other financial institution or depository of any kind.

            B.      Opening or causing to be opened any safe deposit boxes, commercial mail boxes,

     or storage facilities titled in the name of any Defendant or subject to access by any Defendant,

     except as necessary to comply with written requests from the Receiver acting pursuant to its

     authority under this Order;

            C.      Incurring liens or other encumbrances on real property, personal property, or

     other Assets held, controlled, or subject to access by, or held for the benefit of, any Defendant or

     any corporation, partnership, or other entity directly or indirectly owned, managed, or controlled

     by any Defendant;

            D.      Incurring charges or cash advances on any credit or bank card issued in the name,

     individually or jointly, of any Corporate Defendant or any corporation, partnership, or other

     entity directly or indirectly owned, managed, or controlled by any Defendant or of which any

     Defendant is an officer, director, member, or manager. This includes any corporate bankcard or

     corporate credit card account for which any Defendant is, or was on the date that this Order was

     signed, an authorized signor; or




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             E.     Cashing any checks or depositing any money orders or cash received from

     consumers, clients, or customers of any Defendant.

             Provided that the Assets affected by this Section shall include: (1) all Assets of

     Defendants as of the time this Order is entered; and (2) Assets obtained by Defendants after this

     Order is entered if those Assets are derived from any activity that is the subject of the Complaint

     in this matter or that is prohibited by this Order.

             This Section does not prohibit transfers to the Receiver, as specifically required in

     Section XIII (Transfer of Receivership Property to Receiver) of this Order, nor does it prohibit

     the repatriation of foreign Assets, as specifically required in Section VI (Foreign Asset

     Repatriation) of this Order.·

                     IV.     DUTIES OF HOLDERS OF DEFENDANTS' ASSETS

             IT IS FURTHER ORDERED that any financial or brokerage institution, Electronic

     Data Host, credit card processor, payment processor, merchant bank, acquiring bank,

     independent sales organization, third party processor, payment gateway, insurance company,

     business entity, or Person who receives actual notice of this Order (by service or otherwise) that

     (a) holds, controls, or maintains custody of any electronically stored information or Document on

     behalf of any Defendant, any Asset subject to Section III or any account holding any Asset

     subject to Section III; (b) holds, controls, or maintains custody of any Document or any Asset

     associated with credits, debits or charges made on behalf of any Defendant, including reserve

     funds held by payment processors, credit card processors, merchant banks, acquiring banks,

     independent sales organizations, third party processors, payment gateways, insurance companies,

     or other entities; or (c) has held, controlled, or maintained custody of any such Document, Asset,

     or account at any time since the date of entry of this Order shall:



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             A.     Hold, preserve, and retain within its control and prohibit the withdrawal, removal,

     alteration, assignment, transfer, pledge, encumbrance, disbursement, dissipation, relinquishment,

     conversion, sale, or other disposal of any such Document or Asset, as well as all Documents or

     other property related to such Assets, except by further order of this Court;

             B.     Deny any Person, except the Receiver, access to any safe deposit box, commercial

     mail box, or storage facility that is titled in the name of any Defendant, either individually or

     jointly, or otherwise subject to access by any Defendant;

             C.     Provide Commission counsel and the Receiver, within five (5) days of receiving

     a copy of this Order, a sworn statement setting forth:

                    1.      The identification number of each such account or Asset;

                    2.      The balance of each such account, or a description of the nature and value

                            of each such Asset as of the close of business on the day on which this

                            Order is served, and, if the account or other Asset has been closed or

                            removed, the date closed or removed, the total funds removed in order to

                            close the account, and the name of the Person to whom such account or

                            other Asset was remitted; and

                    3.      The identification of any safe deposit box, commercial mail box, or

                            storage facility that is either titled in the name, individually or jointly, of

                            any Defendant, or is otherwise subject to access by any Defendant; and

            D.      Upon the request of Commission counsel or the Receiver, promptly provide

     Commission counsel and the Receiver with copies of all records or other Documents pertaining

     to such account or Asset, including originals or copies of account applications, account

     statements, signature cards, checks, drafts, deposit tickets, transfers to and from the accounts,



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     including wire transfers and wire transfer instructions, all other debit and credit instruments or

     slips, currency transaction reports, 1099 forms, and all logs and records pertaining to safe deposit

     boxes, commercial mail boxes, and storage facilities.

                                     V.     FINANCIAL DISCLOSURES

               IT IS FURTHER ORDERED that each Defendant, within five (5) days of service of

     this Order upon them, shall prepare and deliver to Commission counsel and the Receiver

     completed financial statements on the forms attached to this Order as Attachment B (Financial

     Statement of Individual Defendant) for each Individual Defendant, and Attachment C (Financial

     Statement of Corporate Defendant) for each Corporate Defendant.

                               VI.        FOREIGN ASSET REPATRIATION

               IT IS FURTHER ORDERED that within five (5) days following the service of this

     Order, each Defendant shall:

               A.    Provide Commission counsel and the Receiver with a full accounting, verified

     under oath and accurate as of the date of this Order, of all Assets, Documents, and accounts

     outside of the United States which are: (1) titled in the name, individually or jointly, of any

     Defendant; (2) held by any Person for the benefit of any Defendant or for the benefit of, any

     corporation, partnership, asset protection trust, or other entity that is directly or indirectly owned,

     managed or controlled by any Defendant; or (3) under the direct or indirect control, whether

     jointly or individually, of any Defendant;

               B.    Take all steps necessary to provide Commission counsel and the Receiver access

     to all Documents and records of the accounts or Assets described above in subsection A,

     including signing the Consent to Release of Financial Records appended to this Order as

     Attachment D and serving this Order on any financial institution or other entity holding the

     assets;

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             C.         Transfer to the territory of the United States and deliver to the Receiver all

     Documents and Assets located in foreign countries which are: (1) titled in the name, jointly or

     individually, of any Defendant; (2) held by any Person for the benefit of any Defendant or for the

     benefit of, any corporation, partnership, asset protection trust, or other entity that is directly or

     indirectly owned, managed or controlled by any Defendant; or (3) under the direct or indirect

     control, whether jointly or individually, of any Defendant; and

             D.         The same business day as any repatriation, (1) notify the Receiver and counsel

     for the Commission of the name and location of the financial institution or other entity that is the

     recipient of such Documents or Assets; and (2) serve this Order on any such financial institution

     or other entity.

                           VII.   NON-INTERFERENCE WITH REPATRIATION

             IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

     and attorneys, and all other Persons in active concert or participation with any of them, who

     receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

     restrained and enjoined from taking any action, directly or indirectly, which may result in the

     encumbrance or dissipation of foreign Assets, or in the hindrance of the repatriation required by

     this Order, including, but not limited to:

             A.         Sending any communication or engaging in any other act, directly or indirectly,

     .that results in a determination by a foreign trustee or other entity that a "duress" event has

     occurred under the terms of a foreign trust agreement until such time that all Defendants' Assets

     have been fully repatriated pursuant to this Order; or

            B.      Notifying any trustee, protector or other agent of any foreign trust or other related

     entities of either the existence of this Order, or of the fact that repatriation is required pursuant to



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     a court order, until such time that all Defendants' Assets have been fully repatriated pursuant to

     this Order.

                                VIII. CONSUMER CREDIT REPORTS

             IT IS FURTHER ORDERED that any consumer reporting agency served with this

     Order shall:

             A.     Promptly furnish consumer reports as requested concerning any Defendant to the

     Commission, pursuant to Section 604(a)(l) of the Fair Credit Reporting Act,

     15 U.S.C. § 1681b(a)(l); and

             B.     Promptly furnish any Documents related to any dispute of the accuracy of

     information contained in a credit report initiated by any Defendant, including, but not limited to,

     correspondence and other Documents submitted by any Defendant to the consumer reporting

     agency and any response from the consumer reporting agency to any Defendant.

                                IX.     PRESERVATION OF RECORDS

            IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

     and attorneys, and all other Persons in active concert or participation with any of them, who

     receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

     restrained and enjoined from:

            A.      Destroying, erasing, falsifying, writing over, mutilating, concealing, altering,

     transferring, or otherwise disposing of, in any manner, directly or indirectly, Documents that

     relate to: (1) the business, business practices, Assets, or business or personal finances of any

     Defendant; (2) the business practices or finances of entities directly or indirectly under the

     control of any Defendant; or (3) the business practices or finances of entities directly or

     indirectly under common control with any other Defendant; and



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             B.     Failing to create and maintain Documents that, in reasonable detail, accurately,

     fairly, and completely reflect Defendants' incomes, disbursements, transactions, and use of

     Defendants' Assets.

                            X.     REPORT OF NEW BUSINESS ACTIVITY

             IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents, employees,

     and attorneys, and all other Persons in active concert or participation with any of them, who

     receive actual notice of this Order, whether acting directly or indirectly, are hereby temporarily

     restrained and enjoined from creating, operating, or exercising any control over any business

     entity, whether newly formed or previously inactive, including any partnership, limited

     partnership, joint venture, sole proprietorship, or corporation, without first providing

     Commission counsel and the Receiver with a written statement disclosing: (1) the name of the

     business entity; (2) the address and telephone number of the business entity; (3) the names of the

     business entity's officers, directors, principals, managers, and employees; and (4) a detailed

     description of the business entity's intended activities.

                                    XI.     TEMPORARY RECEIVER

            IT IS FURTHER ORDERED that Robb Evans and Associates LLC is appointed as

     temporary receiver of the Receivership Entities with full powers of an equity receiver. The

     Receiver shall be solely the agent of this Court in acting as Receiver under this Order.

                           XII.   DUTIES AND AUTHORITY OF RECEIVER

     IT IS FURTHER ORDERED that the Receiver is directed and authorized to accomplish the

     following:

            A.      Assume full control of Receivership Entities by removing, as the Receiver deems

     necessary or advisable, any director, officer, independent contractor, employee, attorney, or



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     agent of any Receivership Entity from control of, management of, or participation in, the affairs

     of the Receivership Entity;

            B.      Take exclusive custody, control, and possession of all Assets and Documents of,

     or in the possession, custody, or under the control of, any Receivership Entity, wherever situated;

            C.      Conserve, hold, manage, and prevent the loss of all Assets of the Receivership

     Entities, and perform all acts necessary or advisable to preserve the value of those Assets. The

     Receiver shall assume control over the income and profits therefrom and all sums of money now

     or hereafter due or owing to the Receivership Entities. The Receiver shall have full power to sue

     for, collect, and receive, all Assets of the Receivership Entities and of other Persons whose

     interests are now under the direction, possession, custody, or control of, the Receivership

     Entities. Provided, however, that the Receiver shall not attempt to collect any amount from a

     consumer if the Receiver believes the consumer's debt to the Receivership Entities has resulted

     from the deceptive acts or practices or other violations of law alleged in the Complaint in this

     matter, without prior Court approval;

            D.      Obtain, conserve, hold, manage, and prevent the loss of all Documents of the

     Receivership Entities, and perform all acts necessary or advisable to preserve such Documents.

     The Receiver shall: divert mail; preserve all Documents of the Receivership Entities that are

     accessible via electronic means (such as online access to financial accounts and access to

     electronic documents held onsite or by internet service providers (cloud service, email service

     and web hosts)), by changing usemames, passwords, or other log-in credentials; and take

     possession of all electronic Documents of the Receivership Entities stored onsite or remotely;




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             E.     Choose, engage, and employ attorneys, accountants, appraisers, and other

     independent contractors and technical specialists, as the Receiver deems advisable or necessary

     in the performance of duties and responsibilities under the authority granted by this Order;

             F.     Make payments and disbursements from the receivership estate that are necessary

     or advisable for carrying out the directions of, or exercising the authority granted by, this Order,

     and to incur, or authorize the making of, such agreements as may be necessary and advisable in

     discharging his or her duties as Receiver. The Receiver shall apply to the Court for prior

    .approval of any payment of any debt or obligation incurred by the Receivership Entities prior to

     the date of entry of this Order, except payments that the Receiver deems necessary or advisable

     to secure Assets of the Receivership Entities, such as rental payments;

            G.      Suspend business operations of the Receivership Entities if in the judgment of the

     Receiver such operations cannot be continued legally and profitably;

            H.      Take all steps necessary to secure and take exclusive custody of each location

     from which the Receivership Entities operate their businesses. Such steps may include, but are

     not limited to, any of the following, as the Receiver deems necessary or advisable: (1) securing

     the location by changing the locks and alarm codes and disconnecting any internet access or

     other means of access to the computers, internet, or any records maintained at that location; and

     (2) requiring any persons present at the location to leave the premises, to provide the Receiver

     with proof of identification, and/or to demonstrate to the satisfaction of the Receiver that such

     persons are not removing from the premises Documents or Assets of the Receivership Entities.

     Law enforcement personnel, including, but not limited to, police or sheriffs, may assist the

     Receiver in implementing these provisions in order to keep the peace and maintain security. If

     requested by the Receiver, the United States Marshal will provide appropriate and necessary



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     assistance to the Receiver to implement this Order and is authorized to use any necessary and

     reasonable force to do so;

           I.       Take all steps necessary to prevent the modification, destruction, or erasure of any

     web page or website registered to and operated, in whole or in part, by any of the Defendants,

     and to provide access to all such web page or websites to the Commission's representatives,

           J.       Enter into and cancel contracts and purchase insurance as advisable or necessary;

           K.       Prevent the inequitable distribution of Assets and determine, adjust, and protect

     the interests of consumers who have transacted business with the Receivership Entities;

           L.       Make an accounting, as soon as practicable, of the Assets and financial condition

     of the receivership and file the accounting with the Court and deliver copies thereof to all parties;

           M.       Institute, compromise, adjust, appear in, intervene in, defend, dispose of, or

     otherwise become party to any legal action in state, federal, or foreign courts, or arbitration

     proceedings as the Receiver deems necessary and advisable to preserve or recover the Assets of

     the Receivership Defendants, or to carry out the Receiver's mandate under this Order, including

     but not limited to, actions challenging fraudulent or voidable transfers;

           N.       Issue subpoenas to obtain Documents and records pertaining to the Receivership,

     and conduct discovery in this action on behalf of the receivership estate;

           0.       Open one or more bank accounts at designated depositories for funds of the

     Receivership Defendants. The Receiver shall deposit all funds of the Receivership Defendants in

     such a designated account and shall make all payments and disbursements from the receivership

     estate from such an account. The Receiver shall serve copies of monthly account statements on

     all parties;

           P.       Maintain accurate records of all receipts and expenditures incurred as Receiver;


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           Q.          Allow the Commission's representatives, agents, and assistants, as well as

     Defendants' representatives and Defendants themselves, reasonable access to the premises of the

     Receivership Entities, or any other premises where the Receivership Entities conduct business.

     The purpose of this access shall be to inspect and copy any books, records, Documents, accounts,

     and other property owned by, or in the possession of, the Receivership Entities or their agents.

     The Receiver shall have the discretion to determine the time, manner, and reasonable conditions

     of such access;

          R.           Allow the Commission's representatives, agents, and assistants, as well as

     Defendants and their representatives reasonable access to all Documents in the possession,

     custody, or control of the Receivership Entities, including, but not limited to electronic

     Documents; and

          S.           Cooperate with reasonable requests for information or assistance from any state or

     federal civil or criminal law enforcement agency.

                 XIII. TRANSFER OF RECEIVERSHIP PROPERTY TO RECEIVER

            IT IS FURTHER ORDERED that the Defendants, their Representatives, and any other

     Person with possession, custody, or control of property of, or records relating to, the

     Receivership Entities shall, upon notice of this Order by personal service or otherwise, fully

     cooperate with and assist the Receiver in taking and maintaining possession, custody, or control

     of the Assets and Documents of the Receivership Entities and immediately transfer or deliver to

     the Receiver possession, custody, and control of, the following:

            A.      All Assets held by or for the benefit of the Receivership Entities;

            B.      All Documents of the Receivership Entities;




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             C.      All computers, electronic devices, mobile devices, and machines used to conduct

      ~e business of the Receivership Entities;

             D.      All Assets and Documents belonging to other Persons whose interests are under

      the direction, possession, custody, or control of the Receivership Entities; and

             E.      All keys, codes,. user names and passwords necessary to gain or to secure access

      to any Assets or Documents of the Receivership Entities, including access to their business

      premises, means of communication, accounts, computer systems (onsite and remote), remote

      computing service,. or other property.

             In the event that any Person fails to deliver or transfer any Asset or Document, or

     otherwise fails to comply with any provision of this Section, the Receiver may file an Affidavit

      of Non-Compliance regarding the failure and a motion seeking compliance or a contempt

     citation.

                       XIV~ PROVISION OF INFORMATION TO RECEIVER

             IT IS FURTHER ORDERED that Defendants shall immediately provide to the

     Receiver:

             A.      A list of all Assets 'and property, including accounts, of the Receivership Entities

     that are .held in any name other than the name of a Receivership Entity, or by any Person other

     than a Receivership Entity;

             B.      A list of all agents, employees, officers, attorneys, servants and those Persons in

     active concert and participation with the Receivership Entities, or who have been associated or

     done business with the Receivership Entities; and




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             C.     A description of any documents covered by attorney-client privilege or attorney

     work product, including files where such documents are likely to be located, authors or recipients

     of such documents, and search terms likely to identify such electronic documents.

                           XV.     COOPERATION WITH THE RECEIVER

             IT IS FURTHER ORDERED that Defendants, Receivership Entities, Defendants' or

     Receivership Entities' officers, agents, employees, and attorneys, and all other Persons in active

     concert or participation with any of them, who receive actual notice of this Order; and any other

     Person served with a copy of this Order shall fully cooperate with and assist the Receiver. This

     cooperation and assistance shall include, but is not limited to, providing information to the

     Receiver that the Receiver deems necessary to exercise the authority and discharge the

     responsibilities of the Receiver under this Order; providing any username and password required

     to access any computer (onsite or remotely) and any cloud account (including specific method to

     access account), electronic file, or telephonic data in any medium; advising all Persons who owe

     money to any Corporate Defendant that all debts should be paid directly to the Receiver; and

     transferring funds at the Receiver's direction and producing records related to the Assets and

     sales of the Receivership Entities.

                          XVI. INTERFERENCE WITH THE RECEIVER

             IT IS FURTHER ORDERED that Defendants, Receivership Entities, Defendants' or

     Receivership Entities' officers, agents, employees, attorneys, and all other Persons in active

     concert or participation with any of them, who receive actual notice of this Order, and any other

     Person served with a copy of this Order, are hereby restrained and enjoined from directly or

     indirectly:

             A.     Interfering with the Receiver's efforts to manage, or take custody, control, or

     possession of, the Assets or Documents subject to the receivership;

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             B.        Transacting any of the business of the Receivership Entities;

             C.        Transferring, receiving, altering, selling, encumbering, pledging, assigning,

     liquidating, or otherwise disposing of any Assets owned, controlled, or in the possession or

     custody of, or in which an interest is held or claimed by, the Receivership Entities; or

             D.        Refusing to cooperate with the Receiver or the Receiver's duly authorized agents

     in the exercise of their duties or authority under any order of this Court.

                                          XVII. STAY OF ACTIONS

             IT IS FURTHER ORDERED that, except by leave of this Court, during the pendency

     of the receivership, Defendants, Defendants' officers, agents, employees, attorneys, and all other

     Persons in active concert or participation with any of them, who receive actual notice of this

     Order, and their corporations, subsidiaries, divisions, or affiliates, and all investors, creditors,

     stockholders, lessors, customers and other Persons seeking to establish or enforce any claim,

     right, or interest against or on behalf of Defendants, and all others acting for or on behalf of such

     Persons, are hereby enjoined from taking action that would interfere with the exclusive

     jurisdiction of this Court over the Assets or Documents of Receivership Entities, including, but

     not limited to:

            A.         Filing or assisting in the filing of a petition for relief under the Bankruptcy Code,

     11 U.S.C. § 101 et seq., or of any similar insolvency proceeding on behalf of Corporate

     Defendants;

            B.         Commencing, prosecuting, or continuing a judicial, administrative, or other action

     or proceeding against the Receivership Entities, including the issuance or employment of process

     against the Receivership Entities, except that such actions may be commenced if necessary to toll

     any applicable statute of limitations; or

            C.         Filing or enforcing any lien on any asset of the Receivership Entities, taking or

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     attempting to take possession, custody, or control of any Asset of the Receivership Entities; or

     attempting to foreclose, forfeit, alter, or terminate any interest in any Asset of the Receivership

      Entities, whether such acts are part of a judicial proceeding, are acts of self-help, or otherwise.

              Provided, however, that this Order does not stay: (1) the commencement or continuation

     of a criminal action or proceeding; (2) the commencement or continuation of an action or

     proceeding by a governmental unit to enforce such governmental unit's police or regulatory

     power; or (3) the enforcement of a judgment, other than a money judgment, obtained in an action

     or proceeding by a governmental unit to enforce such governmental unit's police or regulatory

     power.

                                XVIII. COMPENSATION OF RECEIVER

              IT IS FURTHER ORDERED that the Receiver and all personnel hired by the Receiver

     as herein authorized, including counsel to the Receiver and accountants, are entitled to

     reasonable compensation for the performance of duties pursuant to this Order and for the cost of

     actual out-of-pocket expenses incurred by them, from the Assets now held by, in the possession

     or control of, or which may be received by, the Receivership Entities. The Receiver shall file

     with the Court and serve on the parties periodic requests for the payment of such reasonable

     compensation, with the first such request filed no more than sixty (60) days after the date of

     entry of this Order. The Receiver shall not increase the hourly rates used as the bases for such

     fee applications without prior approval of the Court.

                                        XIX.    RECEIVER'S BOND

              IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this Court a

     bond in the sum of $20,000.00 with sureties to be approved by the Court, conditioned that the

     Receiver will well and truly perform the duties of the office and abide by and perform all acts the

     Court directs. 28 U.S.C. § 754.

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               XX.   IMMEDIATE ACCESS TO BUSINESS PREMISES AND RECORDS

               IT IS FURTHER ORDERED that:

               A.    In order to allow the Commission and the Receiver to preserve Assets and

     evidence relevant to this action and to expedite discovery, the Commission and the Receiver, and

     their representatives, agents, contractors, and assistants, shall have immediate access to the

     business premises and storage facilities, owned, controlled, or used by the Corporate Defendants.

     Such locations include, but are not limited to, 293 Libbey Industrial Parkway, Suites 150 & 250,

     Weymouth, Massachusetts 02189; 197 East California Avenue, #260, Las Vegas, Nevada 89104;

     350 South 400 West, Lindon, Utah 84042; 114 New South Road, Hicksville, New York 11801;

     110 New South Road, Hicksville, New York 11801; and any offsite location, storage unit, or

     commercial mailbox used by any Corporate Defendant. The Receiver may exclude Defendants,

     Receivership Entities, and their employees from the business premises during the immediate

     access;

               B.    The Commission and the Receiver, and their representatives, agents, contractors,

     and assistants are authorized to remove Documents from the Corporate Defendant's premises in

     order that they may be inspected, inventoried, and copied. The Commission shall return any

     removed materials to the Receiver within seven (7) days of completing inventorying and

     copying, or such time as is agreed upon by the Commission and the Receiver;

               C.    The Commission's access to the Receivership Entities' documents pursuant to this

     Section shall not provide grounds for any Defendant to object to any subsequent request for

     documents served by the Commission;

               D.    If any Documents, computers, or electronic storage devices containing

     information related to the business practices or finances of the Receivership Entities are at a

     location other than those listed herein, including personal residence(s) of any Defendant, then,

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     immediately upon receiving notice of this order, Defendants and Receivership Entities shall

     produce to the Receiver all such Documents, computers, and electronic storage devices, along

     with any codes or passwords needed for access. In order to prevent the destruction of computer

     data, upon service of this Order, any such computers or electronic storage devices shall be

     powered down in the normal course of the operating system used on such devices and shall not

     be powered up or used until produced for copying and inspection; and

            E.      If any communications or records of a Corporate Defendant are stored with a

     remote computing service, such Defendant shall, immediately upon receiving notice of this

     order, provide the Receiver with the username, passwords, and any other login credential needed .

     to access the communications and records, and shall not attempt to access the communications or

     records.

                       XXI.    DISTRIBUTION OF ORDER BY DEFENDANTS

            IT IS FURTHER ORDERED that Defendants shall immediately provide a copy ohhis

     Order to each affiliate, telemarketer, marketer, sales entity, successor, assign, member, officer,

     director, employee, agent, independent contractor, client, attorney, spouse, subsidiary, division,

     and representative of any Defendant, and shall, within fourteen (14) days from the date of entry

     of this Order, and provide the Commission and the Receiver with a sworn statement that this

     provision of the Order has been satisfied, which statement shall include the names, physical

     addresses, phone number, and email addresses of each such Person who received a copy of the

     Order. Furthermore, Defendants shall not take any action that would encourage officers, agents,

     members, directors, employees, salespersons, independent contractors, attorneys, subsidiaries,

     affiliates, successors, assigns or other Persons in active concert or participation with them to

     disregard this Order or believe that they are not bound by its provisions.



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                                   XXII.    EXPEDITED DISCOVERY

            IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R. Civ. P.

     26(d) and (f) and 30(a)(2)(c), and pursuant to Fed. R. Civ. P. 30(a), 34, and 45, discovery in this

     case shall commence upon entry of this Order. The Commission is also granted leave, at any

     time after service of this Order, to conduct limited expedited discovery for the purpose of

     discovering: (1) the nature, location, status, and extent of Defendants' Assets; (2) the nature,

     location, and extent of Defendants' businesses transactions and operations; (3) Documents

     reflecting Defendants' business transactions and operations; (4) the existence and identity of

     other Persons who were or are engaged in the conduct alleged in the Complaint in active concert

     or participation with the Defendants; or (5) compliance with this Order. The expedited discovery

     set forth in this Section shall be designated as such by marking any notices or written discovery

     requests as "Expedited" and proceed as follows:

            A.      The Commission and the Receiver may take the expedited deposition of parties

     and non-parties. Notice of forty-eight (48) hours shall be sufficient notice for such depositions.

     The limitations and conditions set forth in Rules 30(a)(2)(B) and 31(a)(2)(B) of the Federal

     Rules of Civil Procedure regarding subsequent depositions of an individual shall not apply to

     depositions taken pursuant to this Section. Any such deposition taken pursuant to this sub-

     section shall not be counted towards the deposition limit set forth in Rules 30(a)(2)(A) and

     31(a)(2)(A) and depositions may be taken by telephone or other remote electronic means;

            B.      The Commission and the Receiver may serve upon parties expedited requests for

     production of Documents or inspection that require production or inspection within seven (7)

     days of service, provided that three (3) days of notice shall be deemed sufficient for the

     production of any such Documents that are maintained or stored only in an electronic format;



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            C.        The Commission and the Receiver may serve upon parties expedited

     interrogatories that require response within seven (7) calendar days after the Commission serves

     such interrogatories;

            D.        The Commission and the Receiver may serve expedited subpoenas upon non-

     parties that direct production or inspection within seven (7) days of service;

            E.        Service of expedited discovery upon a party to this action, taken pursuant to this

     Section, shall be sufficient if made by facsimile, email, or by overnight delivery;

            F.        Any expedited discovery taken pursuant to this Section is in addition to, and is not

     subject to, the limits on discovery set forth in the Federal Rules of Civil Procedure and the Local

     Rules of this Court. The expedited discovery permitted by this Section does not require a

     meeting or conference of the parties, pursuant to Rules 26(d) & (f) of the Federal Rules of Civil

     Procedure; and

            G.      The Parties are exempted from conferring under Fed. R. Civ. P. 26(f) and making

     initial disclosures under Fed. R. Civ. P. 26(a)(l) until further order of this Court.

                                   XXIII. SERVICE OF THIS ORDER

            IT IS FURTHER ORDERED that copies of this Order as well as the Motion for

     Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

     contemporaneously with that Motion (other than the complaint and summons), may be served by

     any means, including facsimile transmission, electronic mail or other electronic messaging,

     personal or overnight delivery, U.S. Mail or FedEx, by agents and employees of Commission, by

     any law enforcement agency, or by private process server, upon any Defendant or any Person

     (including any financial institution) that may have possession, custody, or control of any

     property, property right, Document, or Asset of any Defendant, or that may be subject to any

     provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of Civil Procedure. For

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     purposes of this Section, service upon any branch, subsidiary, affiliate or office of any entity

     shall effect service upon the entire entity. This Order shall bind Persons that may be subject to

     any provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of Civil Procedure

     upon such Person's receipt of actual notice, by personal service or otherwise, of this Order.

              XXIV. CORRESPONDENCE AND SERVICE ON THE COMMISSION

            IT IS FURTHER ORDERED that, for the purpose of this Order, all correspondence

     and service of pleadings on the Commission shall be addressed to:

                                           Roberto Anguizola
                                               Miry Kim
                                            Gregory J. Evans
                                       Federal Trade Commission
                                     600 Pennsylvania A venue NW
                                          Mail Drop CC-8528
                                        Washington, D.C. 20580
                                          Fax: (202) 326-3395
                      Email: ranguizola@ftc.gov; mkim@ftc.gov; gevans2@ftc.gov

                          XXV.     PRELIMINARY INJUNCTION HEARING

            IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Counsel for the

     Commission and Defendants shall appear before this Court on March 27, 2018, at 10AM

     (Pacific Standard Time) at the United States Courthouse, 333 S. Las Vegas Blvd, Las Vegas,

     NV 89101 in Courtroom 6A, for an evidentiary hearing on the Commission's motion for a

     preliminary injunction, pending final ruling on the Complaint against Defendants, enjoining the

     violations of the law alleged in the Complaint, continuing the freeze of Defendants' Assets,

     continuing the receivership, and imposing such additional relief as may be appropriate.

       XXVI. BRIEFS AND AFFIDAVITS CONCERNING PRELIMINARY INJUNCTION

            IT IS FURTHER ORDERED that:

            A.      The Defendants shall file with the Court, and serve on Commission counsel, any

     pleadings concerning preliminary injunction, including responses or oppositions, affidavits,

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     motions, expert reports or declarations, or legal memoranda no later than March 22, 2018. The

     Commission shall file a proposed preliminary injunction order no later than March 26, 2018.

     The Commission may reply and file responsive or supplemental pleadings, materials, affidavits,

     or memoranda with the Court and serve the same on Defendants no later than March 26, 2018;

     and

              B.     The parties must serve any filings or pleading concerning preliminary injunction

     by personal or overnight delivery, or by email, to be rec~ived by the other party or parties no

     later than 5:00 PM (Pacific Standard Time) on the applicable dates set forth in subsection A,

     above.

                              XXVII.         DURATION OF THE ORDER

              IT IS FURTHER ORDERED that this Order shall expire on March 27, 2018, unless

     the Order is extended for an additional period pursuant to Fed. R. Civ. P. 65(b)(2). The

     Commission shall file any request to extend the duration of this Order no later than March 26,

     2018.

                            XXVIII.        RETENTION OF JURISDICTION

              IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

     all purposes.

                                                          IT IS SO ORDERED:


                                                              ~ c . ..M~
                                                          W
                                                          - ~STJ\TES DISTRICT JUDGE
                                                                 March 14, 2018
                                                          DATED: - - - - - - -
                                                               1:30 p.m.
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                              Part II


                              Federal Trade Commission
                              16 CFR Part 437
                              Business Opportunity Rule; Final Rule
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  FEDERAL TRADE COMMISSION                    Opportunity Rule, the compliance               I. Introduction
                                              burden is reduced. Specifically, in
  16 CFR Part 437                                                                            A. Overview of the Franchise Rule and
                                              contrast to the extensive disclosures
                                              previously required, the final Rule now          the Evolution of the Interim Business
  RIN 3084-AB04                                                                                Opportunity Rule
                                              requires that business opportunity
  Business Opportunity Rule                   sellers provide prospective customers            1. The Franchise Rule
                                              with a substantially simplified and                 On December 21, 1978, the
  AGENCY:  Federal Trade Commission           streamlined one-page disclosure
  (FTC or Commission).                                                                         Commission promulgated a Trade
                                              document. The final Rule also adds               Regulation Rule entitled "Disclosure
  ACTION: Final rule.                         affirmative prohibitions on                      Requirements and Prohibitions
                                              misrepresentations and omissions, as             Concerning Franchising and Business
  SUMMARY:    The Commission is adopting      well as disclosure requirements for sales
   final amendments to its Trade                                                               Opportunity Ventures" (the "Original
                                              conducted in Spanish and other                   Franchise Rule"), to address deceptive
  Regulation Rule entitled "Disclosure        languages besides English.
  Requirements and Prohibitions                                                                and unfair practices in the sale of
  Concerning Business Opportunities"          Statement of Basis and Purpose                   franchises and business opportunity
   ("Business Opportunity Rule" or                                                            ventures. 1 The Original Franchise Rule
                                              Key Terms and Abbreviations Used
   "Rule"). Among other things, the           Throughout This Statement of Basis and
                                                                                               covered, in a single Code of Federal
  Business Opportunity Rule has been          Purpose                                         Regulations part, both franchises and
  amended to broaden its scope to cover                                                        certain business opportunity ventures.
                                              "Amended Franchise Rule" refers to the           With franchises, the franchisee sells
  business opportunity sellers not covered       amended Franchise Rule published at 72
  by the interim Business Opportunity            FR 15444 (Mar. 30, 2007) and codified at     goods   or services that are associated
  Rule, such as sellers of work-at-home          16 CFR436.                                    with the franchisor's trademark, and the
  opportunities, and to streamline and        "ANPR" refers to the Trade Regulation Rule       franchisee is subject to significant
  simplify the disclosures that sellers          on Franchising and Business Opportunity      control by, or receives significant
  must provide to prospective purchasers.        Ventures: Advanced Notice of Proposed        assistance from, the franchisor. The
  The final Rule is based upon the              Rulemaking, 62 FR 9115 (Feb. 28, 1997).        franchisee typically distributes goods or
  comments received in response to an         "Initial Proposed Disclosure Document"          services supplied by the seller or an
  Advance Notice of Proposed                     refers to the original version of the        affiliate and receives accounts or
  Rulemaking ("ANPR"), an Initial Notice        Disclosure Document that was proposed in locations in which lo conduct the
                                                the INPR in 2006.                             business. By contrast, business .
  of Proposed Rulemaking ("INPR"), a          "INPR" refers to the Initial Notice of
  Revised Notice of Proposed Rulemaking         Proposed Rulemaking for the l:lnsiness
                                                                                              opportunities   often do not involve a
  ("RNPR"), a public workshop, a Staff          Opportunity Rule, 71 FR 9054 (Apr. 12,        trademark. Vending machines or rack
  Report, and other information discussed       2006).                                        display routes are typical examples of
  herein. This document also contains the     "Interim Business Opportunity Rule" refers      business opportunities. Based upon the
  text of the final Rule and the Rule's         to the Business Opportunity Rule, codified original mlemaking record, the
  Statement of Basis and Purpose ("SBP"),       at 16 CFR 437 that is currently in effect and Commission found that unfair and
  including a Regulatory Analysis.              is the subject of these amendment             deceptive practices were widespread in
                                                proceedings.                                  the sale of franchises and business
  DATES: The provisions of the final Rule
                                              "IPBOR" refers to the Initial Proposed          opportunities, causing serious economic
  will become effective on March 1, 2012.       Business Opportunity Rule, which was          harm to consumers.
  ADDRESSES: Requests for copies of the         proposed in the INPR in 2006 ..                  The Commission adopted the Original
  final Rule and the SBP should be sent       "Macro Report" refers to Macro International,
                                                                                              Franchise   Rule to prevent unfair and
  to Public Reference Branch, Room 130,         Inc.'s report to the FTC on the Disclosure
                                                Form, available at http://www.ftc.gov/bcp/    deceptive practices in the sale of
  Federal Trade Commission, 600                                                               franchises and business opportunities
  Pennsylvania Avenue NW., Washington,          workshopslbizopps/disclosure-form-
                                                report.pdf.                                   through pre-sale disclosure of specified
  DC 20580. The complete record of this       "Original Franchise Rule" refers to the         items of material information. The
  proceeding is also available at that          original Franchise Ruic published at 43 FR purpose of the Original Franchise Rule
  address. Relevant portions of the             59614 (Dec. 21, 1978).                        was neither to regulate the substantive
  proceeding, including the final Rule and    "RJ>JPR" refers to the Revised Notice of        terms of a franchise or business
  SBP, are available al http://www.ftc.gov.     Proposed Rulemaking for the Business          opportunity agreement nor to regulate
  FOR FURTHER INFORMATION CONTACT:              Opportunity Rule, 73 FR 16110 (Mar. 26,       the relationship between the seller and
  Christine M. Todaro, (202) 326-3711,          2008).
                                              "RPBOR" refers to the Revised Proposed          the buyer. Rather, it was to ensure that
  Division of Marketing Practices, Room                                                       sellers disclose material information to
  H-286, Bureau of Consumer Protection,         Business Opportunity Rule, which was
                                                proposed in the RNPR in 2008.                 prospective buyers. The Original          ·
  Federal Trade Commission, 600               "Staff Report" refers to FTC staffs Staff       Franchise Rule was posited on the
  Pennsylvania Avenue NW., Washington,          Report to the Federal Trade Commission        notion that a fully informed prospective
  DC 20580.                                     and Proposed Revised Trade Regulation         buyer can determine whether a
  SUPPLEMENTARY INFORMATION: The final          Rule (16 CFR Part 437). The Staff Report      particular offering is in his or her best
  Rule modifies the interim Business            is available at littp:llwww.ftc.gov/os/fedreg interest.
  Opportunity Rule in two significant           /201O!october/101028business                     The Original Franchise Rule required
  ways. First, the final Rule contains an       opportunitiesstaffreport.pdf.                 extensive disclosures on a score of
  expanded definition of "business            "Workshop" refers to the June 1, 2009, public
                                                workshop held in Washington, DC, to
                                                                                              specified topics, such as, information
  opportunity" aimed at extending the           discuss the proposed Disclosure Document about the seller; the business
  scope of the Rule to business                 and other aspects of the Business             background of the seller's principals
  opportunities previously not covered,         Opportunity Rule.                             and their litigation and bankruptcy
  such as work-at-home programs.              "Workshop Notice" refers to the Federal         histories; the terms and conditions of
  Second, although the final Rule's scope       Register Notice announcing the Workshop,
  is broader than the interim Business          74 FR 18712 (Apr. 24, 2009).                  1   43 FR 59614 (Dec. 21, 1978).
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   the offer; statistical analyses of existing    significant consumer injury, such as        to serve a vital purpose and that pre-sale
   franchised and company-owned outlets;          vending machines, rack displays, and        disclosure was necessary to protect
   information about prior purchasers,            similar opportunities, which frequently     purchasers of franchises and business
   including the names and addresses of at        were sold through deceptive conduct. A      opportunities from fraudulent and
   least 10 purchasers nearest the                feature common to these types of            deceptive sales practices. At the same
   prospective buyer; and audited financial       opportunities was the promise of            time, however, the Commission agreed
   statements.                                    assistance in securing locations or         with the overwhelming view of the
      The Commission recognized that              accounts. Thus, the Commission              commenters who suggested that there
   requiring these extensive disclosures          incorporated this characteristic into the   are material differences between
   would likely impose significant                Original Franchise Rule's definitional      franchises and business opportunities
   compliance costs on businesses covered         elements to ensure coverage of              and that these two types of distinct
   by the Original Franchise Rule. It             demonstrably injurious schemes. Other       business arrangements require separate
   therefore sought to strike the proper          forms of assistance that business           disclosure approaches. For example,
   balance between prospective                    opportunity sellers frequently offer-       many of the Original Franchise Rule's
   purchasers' need for pre-sale disclosure       such as training and the buy-back and       pre-sale disclosures, in particular those
   and the burden imposed on those                resale of goods assembled by the            pertaining to the structure of the parties'
   selling business ventures covered by the       purchaser (an element of many craft         relationship, do not apply to the sale of
   Rule. To achieve this balance, the             assembly opportunities) did not bring a     most business opportunities because
   Commission limited the scope of the            business opportunity within the scope       those sales typically involve
   Original Franchise Rule's coverage in          of the Original Franchise Rule's            comparatively simple contracts. In
   three significant ways.                        coverage.                                   addition, the Commission recognized
      First, the Original Franchise Rule            In addition to these limits on the        that the Original Franchise Rule's
   covered only those opportunities that          scope of the Original Franchise Rule's      detailed disclosure obligations may
   required a purchaser to make a payment        coverage-driven by balancing                 create barriers to entry for legitimate
   of al least $500 within the first six          prospective purchasers' need for pre-       business opportunity sellers. 4
   months of operation. In transactions           sale disclosure against the burden          Accordingly, in 1999, the Commission
   where a purchaser may incur high              imposed on business opportunity              announced its intention to conduct a
   financial losses if the seller withholds      sellers-another aspect of the Original       separate rulemaking proceeding for
   material information, the benefit for         Franchise Rule's language further            business opportunity sales. 5
   prospective purchasers of the Original        limited the scope of coverage.
   Franchise Rule's pre-sale disclosure          Specifically, the Original Franchise Rule    2. The Interim Business Opportunity
  requirements outweighs the sellers' cost        provided that a business opportunity        Rule
  to make those disclosures. By contrast,        was covered only if the purchaser of the        Much of the information revealed by
  when the investment required to                opportunity sells goods or services          the Commission's regulatory review of
  purchase a business opportunity is             directly to end-users other than the         the Original Franchise Rule highlighted
  comparatively small, prospective               business opportunity seller. The effect      the differences between franchises and
  purchasers face a relatively small             of this limitation was to exclude many       business opportunity ventures, and the
  financial risk. In such circumstances,         work-at-home opportunities-such as           distinct regulatory challenges presented
  compliance costs may outweigh the              envelope stuffing and craft assembly         by these two types of offerings-that
  benefits of pre-sale disclosure.               ventures-from Original Franchise Rule        franchises typically are expensive and
  Therefore, the Original Franchise Rule         coverage. In those opportunities, the        involve complex contractual licensing
  did not reach opportunities that charged       purchaser typically performs work for        relationships, while business
  lower fees.                                    the seller or produces various goods for     opportunity sales are generally less
     Second, the "inventory exemption"           the seller, who then purportedly             costly and involve comparatively simple
  excluded certain types of payments             distributes them to end-users.               purchase agreements that pose less of a
  from the Original Franchise Rule's $500           In 1995, as part of its systematic        financial risk to purchasers. Based on
  minimum cost threshold. The                    review of FTC rules, the Commission          the record amassed during the review
  "inventory exemption" is the franchise         published in the Federal Register a          proceeding, the Commission concluded
  industry's shorthand term for the              request for comment on the Original          that the Original Franchise Rule's
  Commission's determination that, as a          Franchise Rule to determine its              extensive disclosure requirements
  matter of policy, voluntary purchases of       continued effectiveness and impact. 2        imposed unnecessary compliance costs
  reasonable amounts of inventory at bona        Based upon the comments received             on boili business opportunity sellers
  fide wholesale prices for resale do not        during the rule review, the Commission       and buyers, and determined to bifurcate
  count toward the required threshold            tentatively determined to retain the         the Original Franchise Rule into two
  payment. An important consequence of           Original Franchise Rule, but sought          separate parts-one covering the sale of
  this policy determination was to               additional comment on possible               business format franchises 6 and one to
  eliminate from Original Franchise Rule         amendments. To that end, in February         govern the sale of business
  coverage many pyramid marketing plans          1997, the Commission published an            opportunities. Accordingly, in the
  because purchasers of such plans               ANPR, seeking comment on various             ANPR, the Commission solicited
  typically do not make a required               issues, including whether the
  payment of or exceeding $500, but              Commission should separate the                 4 64 FR 57296 (Oct. 22, 1999).
  instead make voluntary purchases of            disclosure requirements for business
                                                                                                5 /d.
  inventory in reasonable amounts and at                                                         "The industry term "business format franchise"
                                                 opportunities from those for franchises. 3   specifically refors to franchises in which
  bona fide wholesale prices for resale.            Based upon comments responding to         franchisees operate under a common trademark or
     Third, in addition to franchise             the ANPR, the Commission found that          other commercial symbol and are required to
  opportunities, the Commission focused          the Original Franchise Rule continued        adhere to the specific business format or method of
  the Original Franchise Rule on the types                                                    doing business prescribed by the franchisor.
                                                                                              Business format franchises are commonly called
  of business opportunities that the record       260 FR 17656 (Apr. 7, 1995).                "franchises" by the general public, and the two
  showed were likely to result in                 '62 FR 9115 (Feb. 28, 1997).                terms are used interchangeably here.
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  comment on several proposed               contained an expansive definition of                                 exact form and language set forth by the
  regulatory modifications, including the   "business opportunity" that                                          Commission and to include information
  creation of a separate trade regulation   encompassed business opportunities                                   regarding (1) the seller; (2) earnings
  rule governing the sale of business       previously covered by the Original                                   claims; (3) legal actions involving the
  opportunities. 7                          Franchise Rule as well as work-at home,                              offered business and its key personnel;
    Subsequently, the Commission            medical billing, and multi-level                                     (4) the existence of cancellation or
  completed all procedural steps            marketing (MLM) 1a operations. It also                               refund policies; (5) the number of
  prescribed by Section 18 of the FTC Act   eliminated the $500 threshold for Rule                               cancellation or refund requests; and (6)
  to finalize the Amended Franchise Rule,   coverage.14                                                          references. 18
  along with a Statement of Basis and          Streamlining the interim Business                                    In response to the INPR, the
  Purpose, in March 2007. 8 At that time,   Opportunity Rule and tailoring it to fit                             Commission received more than 17,000
  the Amended Franchise Rule-no             business opportunities (as opposed to                                comments, the overwhelming majority
  longer covering business                  business format franchises) has been a                               of which came from individuals active
  opportunities-was codified at Part 436    primary focus of this proceeding. Both                               in the MLM industry. 1 9 MLM
  in Title 16 of the CFR. The Original      the Original Franchise Rule and the                                  companies, their representatives and
  Franchise Rule with all definitional      interim Business Opportunity Rule                                    trade associations, as well as individual
  elements and references regarding         require extensive disclosures covering                               participants in various MLM plans,
  business format franchising deleted, was  over twenty specified topics. In the                                 expressed grave concern about the
  retained and redesignated as Part 437.   ·INPR, the Commission recognized that                                 burdens the IPBOR would impose on
  Part 437 was titled the "interim          these extensive disclosure requirements                              them and urged the Commission to
  Business Opportunity Rule." n The         entail disproportionate compliance                                   exclude them from the scope of the
  interim Business Opportunity Rule         costs for sellers of comparatively low-                              IPBOR, to implement various safe
  contained no new substantive              cost business opportunity ventures.15                                harbor provisions, and to reduce the
  disclosure requirements or prohibitions,  Therefore, the Commission proposed to                                required disclosures. 20 The Commission
  and in all material respects was          mitigate the compliance burden by                                    also received approximately 187
  substantially identical to the Original   simplifying and streamlining the                                     comments, primarily from individual
  Franchise Rule. Until the final Rule      disclosure requirements. rn                                          consumers or consumer groups, in favor
  becomes effective, Part 437 governs          Specifically, the INPR proposed a                                 of the IPBOR. 21 Only a handful of
  sales of non-franchise business           one-page business opportunity pre-sale                               comments came from non-MLM
  opportunities. 10                         disclosure document (the "initial                                    companies and industry groups,
                                            proposed disclosure document") with                                  expressing various concerns about
  B. Rule Amendment Proceedings             only six required material disclosures.17                            obligations that the IPBOR would
  1. Initial Notice of Proposed Rulemaking The initial proposed disclosure                                       impose upon them. 22 None of the
  and Initial Proposed Business             document was intended to provide                                     comments addressed the form of the
  Opportunity Rule                          prospective purchasers with essential                                initial proposed disclosure document.
     In 2006, having determined that a      material    information they could use in                            2. The Revised Notice of Proposed
  separate business opportunity rule was    making a purchase decision. The INPR                                 Rulemaking and Revised Proposed
  necessary, the Commission published       proposed to require sellers to use the                               Business Opportunity Rule
  an Initial Notice of Proposed                                                                                     Based on an extensive review of the
                                            Proposed Rulemaking, with a 60-day common!
  Rulemaking ("INPR"), announcing its       period, followed by a 40-day rebuttal period. In                     comments received in response to the
  intention to proceed with its proposal    addition. pursuant to Section 18(c) or the FTC Act.                  INPR and the Commission's law
  for a separate Business Opportunity       the Commission announced that il would hold                          enforcement history, the Commission
  Rule (the "initial proposed Business      hearings with cross-examination and rebuttal
                                            submissions only if an interested party requested a                  issued a revised Notice of Proposed
  Opportunity Rule" or "IPBOR"). 11 The     hearing. The Commission also stated that, if                         Rulemaking ("RNPR") on March 28,
  INPR proposed to amend the interim        requested to do so, it would contemplate holding                     2008, that set forth a revised proposed
  Business Opportunity Rule by updating one or more informal public workshops in lieu of                         Rule (the "Revised Proposed Business
  it, streamlining it, and expanding its    hearings. Finally, pursuant to 16 CFR 1.13(0. the
                                            Commission announced that staff would issue a                        Opportunity Rule" or "RPBOR") that
  scope of coverage. 12 The IPBOR           Report on the Business Opportunity Rule ("'Staff                     was more narrowly tailored than the
                                                         Report"). which would be subject lo additional          IPBOR. 23
    7  62 FR at 9115. In response lo !he ANPR. the       public comment. 71 FR at 19079--110.                       In the RNPR, the Commission
  Commission received 166 written comments. The             13 Multi-level marketing is one form of direct
  staff also held six public workshops on the issues     selling. and refers to a business model in which a
                                                                                                                 recognized that there were two main
  raised in the conm1ents, three of which specifically   company distributes products through a network of       problems with the IPBOR's breadth of
  addressed business opportunities.                      distributors who earn income from their ov.'Il retail   coverage. First, the IPBOR would have
    "72 FR 15444 (Mar. 30, 2007).                        sales of the product and from retail sales made by      unintentionally swept in numerous
    • For example, references to "franchisor" and        the distributors' direct and indirect recruits.         commercial arrangements, including
  "franchisee" used in the Original Franchise Rule       Because they earn a commission from the sales their
  were changed in the interim Business Opportunity       recruits make, each member in the MLM network
  Rule to "business opporlunity seller" and "business    has an incentive to continue recruiting additional        1a  71 FR al 19068.
  opportunity purchaser," and the Original Franchise     sales representatives into their "down lines." See        10  Comments responding to the INPR are available
  Rule's definition of •'franchise" was c.hanged to      Peter J. Vander Nat & William W. Keep, Marketing        at http:l!www.ftc.gov/os/comment.•I
  "business opportunity." See id.                        Fraud: An Approach to Differentiating Multilevel        businessopprule!index.shtm. References to INPR
     rn73 FR 16111, 16112 (Mar. 26, 2008).               Marketing from Pyramid Schemes, 21 J. Pub. Pol'y        comments are cited herein as: Name of the
    11 71 FR 19054 (Apr. 12, 2006).                      & Marketing 140 (Spring 2002).                          commenter-INPR (e.g., Avon-INPR).
                                                            1 4 Promoters of business opportunities were able       20 Thousands of comments were form letters
    ·12 The lNPR also specified the process the
  Commission would follow in amending the                to evade coverage under the Original Franchise          submitted by participants in various MLM
  Business Opportunity Rule. Pursuant lo the             Rule and the interim Business Opportunity Rule by       programs. 73 FR at 16113.
  Commission's Rules of Practice, 16 CFR 1.20, the       pricing their offerings oppmiunities below $500,           21 Numerous letters came from individuals having


  Commission determined to use a modified version        the monetary threshold of coverage.                     negative experiences with various Ml.Ms. 73 FR at
  of the rulemaking process set forth in section 1.13       1s 71 FR at 19057.                                   16113 n.37.
  of those Rules. Specifically, the C.ommission            16Jd.                                                    22 73 FR at 16113.

  announced that it would publish a Notice of              11   71 FR at 19091.                                    "Id. at 16110.
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  retail product distribution, training and/             about legal actions pertaining to a                   3. Consumer Testing of Disclosure
  or educational organizations, where                    business opportunity selle(s sales                    Document and Public Workshop
  there was little or no evidence that fraud             personnel, and the number of                             In the RNPR, the Commission
  was occurring. 2 4 Recognizing this                    cancellation or refund requests the                   announced that it had retained a
  legitimate concern, the Commission, in                 seller received. 28 Eliminating the                   consultant to assess the proposed
  the RNPR, proposed to narrow the                       disclosure of legal actions involving                 disclosure document, with the objective
  definition of "business opportunity."                  sales employees was based on the                      of achieving the proper format and
  Specifically, the RPBOR provided that                  Commission's recognition that the                     content for communicating material
  the "required payment" prong of the                    burden of collecting litigation histories             information to consumers. Following
  business opportunity definition would                  for every sales person was not                        publication of the RNPR, Macro
  not include payments for the purchase                  outweighed by the corresponding                       International, Inc. ("Macro"), the FTC's
  of reasonable amounts of inventory at                  benefit to prospective purchasers. 29                 consultant, conducted extensive
  bona fide wholesale prices; 2 a                        With respect to the disclosure of the                 consumer testing of the initial proposed
  eliminated as an element of the business               number of cancellation or refund                      disclosure document that resulted in
  opportunity definition the making of an                                                                      substantial improvement to both the
  earnings claim; 26 and narrowed the                    requests received, the Commission
                                                         determined that such disclosure was not               layout and the wording of the form. 37
  types of "business assistance" that                                                                          The Commission made Macro's report
  would trigger the business opportunity                 useful, and further, may have had the
                                                         perverse effect of discouraging                       as well as the revised proposed Business
  definition to just those types of                                                                            Opportunity Disclosure Document
  assistance that are the hallmark of                    legitimate businesses from offering
                                                         refunds. 30                                           ("revised proposed disclosure
  business opportunity fraud: Location,                                                                        document") 3 8 public in a Federal
  account, and "buy-back" assistance. 27                    The RNPR sought public comment on                  Register Notice ("Workshop Notice")
    Second, the Commission determined                    issues relevant to the Commission's                   that also announced a one-day public
  that the IPBOR was unworkable with                     consideration of the RPBOR, including                 workshop in Washington, DC. 39 The
  respect to MLMs and would have                         whether the RPBOR would adequately                    Workshop Notice focused on whether
  imposed greater burdens on the MLM                     accomplish the Commission's stated                    the revised proposed disclosure
  industry than other types of business                  purpose of protecting consumers against               document was an effective means of
  opportunity sellers without sufficient                 fraud and, if it did not, what alternatives           conveying material information to
  countervailing benefits to consumers.                  the Commission could consider. 31 In                  prospective purchasers of business
  After careful consideration of the                     contrast to the INPR, which generated                 opportunities. The Workshop Notice
  record, the Commission decided to                      more than 17,000 comments, the                        also sought comment to further develop
  narrow the scope of the RPBOR to avoid                 Commission received fewer than 125                    the public record on issues that had
  broadly sweeping in all sellers of MLM                 comments and rebuttal comments in                     been raised in the comments received in
  opportunities. This decision was based                 response to the RNPR. 32 Again,                       response to the RNPR. Five individuals
  on the overwhelming majority of the                    however, the vast majority of                         who represented a range of interests in
  approximately 17,000 comments that                     commenters were from the MLM                          the proposed Rule were chosen to
  argued that the IPBOR failed to                        industry, but this time they supported                participate as panelists, including a
  differentiate between unlawful pyramid                 the Commission's proposal to narrow                   federal law enforcer, a state law
  schemes-which the Commission                           the scope of the Business Opportunity                 enforcer, a consumer advocate, the
  intended to cover-and legitimate                                                                             general counsel of a national multi-level
                                                         Rule, albeit with suggestions for fine-
  companies using an MLM model.                                                                                marketing company, and a former
    Finallv, the RPBOR eliminated two                    tuning. 33 It is noteworthy that only one
                                                         comment came from a business                          director of the FTC's Bureau of
  disclosu~es that would have been                                                                             Consumer Protection. 40 Staff convened
  required by the IPBOR-information                      opportunity seller. 34 The Commission
                                                         also received comments from two                       the public workshop with these five
                                                         consumer groups 35 and approximately                  panelists in Washington, DC, on June 1,
     2• Id. As one commenter described it, the IPBOR                                                           2009. At the conclusion of the workshop
  would have swept in traditional arrangements for       twelve individuals :rn who expressed
  distribution of "food and beverages, construction      their disappointment that the FTC's                   discussion of the revised proposed
  equipment, manufactured homes, electronic
                                                         proposed rule would exclude MLMs                      disclosure document, panelists and
  components, computer systems, medical supplies                                                               audience members were invited to
  and equipment, automotive parts, automotive tools      from coverage.
  and other tools, petroleum products, industrial
                                                                                                               express their views about other issues
  chemicals, office supplies and equipment, and                                                                related to the RPBOR. 41 Following
                                                           2• 1d. at 16125.
  magazines." IBA-INPR at 5; see also Timberland-          20/d.
  INPR (noting that numerous manufacturers                                                                       37 A copy of the expert's report to the FTC,
                                                           30/d.
  structure their retail distribution in this manner).                                                         "Design and Testing of Business Opportunity
     25 This amendment was based on concerns raised        ,·11d. at 16133.                                    Disclosures," ("Macro Report") is available at
  by some commenters that if a "required payment"          n Comments responding to the RNPR are               http://www.ftc.gov!bcp!workshops!bizoppsl
  did not exclude the purchase of inventory, many        available at http://www.ftc.gov/os/commcnts!          disclosum-form-report.pdf.
  traditional product distribution arrangements could    bizoprevised!index.shtm. References to RNPR             :rn The version of the revised proposed disclosure
  be brought within the scope of the Rule. 73 FR at      comrnenls are cited herein as: Nmne of commenter-     document that was tested by Macro inadvertently
  16113.                                                 RNPR.                                                 omitted the phrase "or pay any money" fr_om the
     2o This amendment was based on concerns raised        33 Some commenters suggested changes to the         conclusion of the penultimate sentence of the
  by some commenters that a broad range of               language of certain definitions proposed in the       revised proposed disclosure docwnent. Macro
  commercial arrangements easily would fall under        RNPR to ensure that the multi-level marketing         determined that this omission had no effect on the
  the business opportunity definition if the company     industry was not inadvertently swept into the ambit   results of its testing. See Macro Report at 2.
  made some representation about sales or profits        of the rule. Soc, e.g.. DSA-RNPR; Babener-RNPR;         '" See 74 FR 18712 (Apr. 24, 2009).
  sufficient to constitute an earnings claim. Id. at     IBA-RNPR.                                               40 Commission staff selected individuals as
  16114; see also infra Section lll.A.3.                   34 Planet Antams-RNPR.                              panelists based upon their comments, backgrounds,
     21 Id. at 16123. The Commission eliminated two        35 The two consumer groups are the Consurnt.Jr      and interest in the subject matter.
  additional types of assistance that would have         Awareness Institute ("CAI") and Pyramid Scheme          •·• A copy of the transcript of the June l, 2009
  triggered the Rule's strictures and disclosure         Alert ("PSA").                                        workshop is available at http://www.ftc.gov!bcp!
  obligations-tracking payments and providing              36 Some letters came from individuals having        worksliopslbizopps/index.shtml. References lo the
  training.                                              negative experiences with MLMs.                                                                  Continued
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  robust discussion on various topics, the               submitted by CAI and PSA, opposed the                  practices. As discussed below, the final
  Commission received follow-up written                  Commission's decision to narrow the                    Rule (1) extends coverage to those types
  comment from six individuals and                       scope of the Rule to avoid broadly                     of opportunities that previously were
  entities. 42                                           sweeping in MLMs. 48 In crafting the                   not covered under the Original
  4. Staff Report
                                                         final Rule, the Commission has carefully               Franchise Rule and the interim Business
                                                         considered the comments received in                    Opportunity Rule; (2) continues to cover
     Pursuant to the Rule amendment                      response to the Staff Report and                       business opportunities that previously
  process announced in the INPR, the                     throughout the Rule amendment                          were covered under the Original
  Commission's Bureau of Consumer                        proceeding. 49                                         Franchise Rule and interim Business
  Protection issued a Staff Report on the                                                                       Opportunity Rule; and (3) avoids
  Business Opportunity Rule in November                  C. Overview of the Final Rule
                                                                                                                broadly sweeping in MLMs and certain
  2010. 4 :i The Staff Report explained in                  The final Rule significantly modifies               other types of arrangements that are not
  detail the history of the Rule                         the scope, disclosure requirements, and                characterized by the deceptive and
  amendment proceeding and                               prohibitions of the interim Business                   unfair practices the final Rule aims to
  summarized the issues raised during the                Opportunity Rule. This proceeding was,                 prevent.
  various notice and comment periods,                    in major part, prompted by the
  particularly those raised in response to               recognition that the interim Business                  a. The Final Rule Covers Many Business
  the RNPR. It also addressed the public                 Opportunity Rule's extensive disclosure                Opportunities That Previously Escaped
  workshop discussion and subsequent                     requirements are ill-suited to many                    Coverage
  comments, as well as additional issues                 business opportunities and place                          The final Rule includes an expansive
  that the staff raised on its own initiative,           unnecessary compliance costs on both                   definition of "business opportunity"
  based on the Commission's law                          business opportunity sellers and buyers.               aimed at extending the scope of the Rule
  enforcement experience.                                Similarly, commenters have observed                    to certain business opportunities-
     Twenty-seven comments were                          that business opportunities and                        namely work-at-home opportunities
  submitted in response to the Staff                     business format franchises are distinct                such as envelope-stuffing, product
  Report, 44 including eleven comments                   business arrangements that pose very                   assembly, and medical billing-that
  submitted by consumer group Consumer                   different regulatory challenges. To                    often were not covered by the interim
  Awareness Institute ("CAI"). The                       account for these differences, to avoid                Business Opportunity Rule. The .
  Commission also received comments                      unnecessary compliance burdens, and                    Commission's law enforcement
  from the Departmf!nt of Justice ("DOJ"),               to ensure that consumers are best                      experience and complaint data show
  the Direct Selling Association ("DSA"),                protected against deceptive practices in               that these types of business
  MLM companies, 45 one franchise lead                   the sale of business opportunities, the                opportunities are sources of prevalent
  generator, a consumer group named                      Commission has amended the interim                     and persistent problems. These
  Pyramid Scheme Alert ("PSA"), and ten                  Rule to:                                               opportunities, however, often escaped
  individuals. A few commenters                             (1) Expand its scope to cover many                  coverage of the Original Franchise Rule
  suggested changes to some of the Rule's                business opportunities that were not                   and the interim Business Opportunity
  definitions and the scope of coverage, 46              covered under the interim Business                     Rule due to the following two
  while others encouraged the                            Opportunity Rule;                                      limitations: (1) A minimum payment
  Commission to adopt the Rule as                           (2) Streamline pre-sale disclosures;                threshold set at $500; and (2) coverage
  recommended in the Staff Report. 47 The                   (3) Prohibit various specific                       was limited to business opportunities in
  majority of comments submitted by                      misrepresentations and other                           which products were sold directly to
  individuals, and the comments                          misleading practices often engaged in by               third party end-users, rather than back
                                                         fraudulent business opportunity sellers;               to the business opportunity seller. 50
  transcript from the June 2009 Business Opportunity     and                                                    Each limitation is discussed below.
  Rule public workshop are cited herein as: Name of         (4) Require that for offers conducted                  First, the Original Franchise Rule and
  commenter, June 09 Tr at page no. (e.g., Jost, June    in Spanish or other languages besides                  the interim Business Opportunity Rule
  09 Tr at 12).                                          English, that the disclosures be
    42 Comments   received in response to the                                                                   covered only business opportunity
                                                         provided in the same language as the                   ventures costing $500 or more. Ventures
  Workshop Notice arc available at http://www.ftc.
  gov/oslcomments/bizoprulerevt4Tkshp/index.shtm.        offer is made. The sections that follow                such as product assembly, medical
  Reforences Lo workshop comments are cited herein       describe these four aspects of the final               billing, and envelope stuffing, however,
  as: Name of commenter-Workshop.                        Rule.                                                  often require payments of less than $500
    43 See Bureau of Consumer Protection, Staff
  Repo,t to the Federal Trade Commission mid             1. Scope of the Final Rule                             and thus were not covered by the
  Proposed Revised Trade Regulation Rule (16 CFR           The definition of "business                          interim Business Opporlunity Rule.51
  Part 437) (Nov. 2010) ("Staff Report"). The Staff
  Report is available at http://www.ftc.gov!os/fedreg/   opportunity" dictates the scope of
                                                                                                                  50  73 FR at 16112.
  2010/october/                                          coverage under the final Rule. To ensure                 51  See, e.g., FTCv. Med. Billers Network, Inc., No.
  10102 Bbusinessopportunitiesstaffreport.pdf In         appropriate coverage, this definition has              05 C1V 2014 (RJH) (S.D.N.Y. 2005) ($200-$295 fee);
  November, the Commission published a notice in         been crafted to capture the sale of                    FTCv. Sun Ray Tmding, No. Civ. 05-20402-CIV-
  the Federal Register announcing the availability of,
                                                         business opportunities that historically               Seitz/Bandslra (S.D. Fla. 2005) ($160 fee]; FTC v.
  and seo0,king comment on, the Slaff Report. See 75
  FR 68559 (Nov. 8, 2010].                               have been associated with deceptive                    Wholesale Mktg. Gmup. LLC, No. 05 CV 6485 (N.D.
    44 Conunents received in response to the Staff
                                                                                                                Ill. 2005) ($65 to $175 registration fees): FTC v,
                                                                                                                Vinyard Enters .. Inc., No. 03-23291-CIV-
  Report are available at http://www.ftc.gov/os/          • •n E.g., CAI-Staff Report; PSA-Staff-Report;        ALTONAGA (S.D. Fla. 2003) ($139 fee); FTCv.
  comments/bizoppstaffreport/index.shtm.                 O'Handley-Staff Report; Brooks-Staff Report;           Leading Edge Processing, Inc., 6:02-CV-681-0RL-
  References to Staff Report comments are cited          Johnson-Staff Report.                                  19 DAB (M.D. Fla. 2002) ($150 fee); FTCv.
  herein as: Name of commenter-Staff Report.                4 • Tho Staff Report comments addressing specific   Healthcare Claims Ni,twork, Inc., No. 2:02-CV-
    45 Comments on behalf of the MLM industry were
                                                         provisions of the Rule are discussed within the        4569 MMM (AMWx) (C.D. Cal. 2002] ($485 fee);
  submilted by Tupperware and Primerica.                 substantive discussions on the relevant provisions.    FTCv. Stujfi11gforc11sl1.com, Corp., No. 92 C 5022
    46 E.g., Dub-Staff Report; Tupperware-Slaff
                                                         The comments regarding MLMs are discussed in           (N.D. 111. 2002) ($45 fee): FTC v. Kamoco Int'/, No.
  Report.                                                Subsection C.1.c below, addressing the                 CV 02-04566 LGB (RNBx] (C.D. Cal. 2002] ($42 fee];
    47 DOJ-Staff Report; Primerica-Staff Report; DSA-    Commission's decision Lo exclude MLMs from             FTC v. Medicor U.C, No. CVOl-1896 (CBM] (C.D.
  Staff Report.                                          coverage.                                              Cal. 2001) ($375 fee): FTCv. SkyBiz.com, No. 01-
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  Some commenters asserted that setting                   previously had been covered, such as                     vending machines, 50 rack displays,57
  the threshold for coverage at a specific                vending machine opportunities, rack                      public telephones, 58 Internet kiosks,59
  dollar amount simply provides scam                      display opportunities, and similar                       and 900-number ventures, 60 among
  operators a means to circumvent the                     arrangements. The Commission's law                       others. These persistent scams will
  Rule, noting that sellers of business                   enforcement experience demonstrates                      continue to be covered under the final
  opportunities may charge less than $500                 that sales of these types of opportunities               Rule.
  to skirt the interim Business                           are fraught with unfair and deceptive
  Opportunity Rule's disclosure                                                                                    c. The Final Rule Avoids Broadly
                                                          practices, in particular, false or                       Sweeping in MLMs
  requirements. 52 The Commission has                     unsubstantiated earnings claims.
  concluded that the scope of the final                                                                               The final Rule's definition of business
                                                          Indeed, such practices are widespread                    opportunity avoids broadly sweeping in
  Rule should be broad enough to reach
  business opportunities that the                         in promotion and sale of such business                   all sellers of MLM opportunities. '11 The
  Commission's law enforcement history                    opportunities. Since 1995, the                           decision in the RPBOR to exclude
  and consumer complaints show are a                      Commission has brought over 80 law                       MLMs from the scope of the Rule's
  widespread and persistent problem,                      enforcement actions 54 in connection                     coverage was based on the
  regardless of the price at which they are               with more than ten law enforcement                       overwhelming majority of the
  offered. Accordingly, the final Rule                    sweeps 55 that targeted business                         approximately 17,000 comments that
  eliminates the monetary threshold.                      opportunity scams involving the sale of                  argued that the IPBOR failed to
     A second limitation to the Original                                                                           differentiate between unlawful pyramid
  Franchise Rule and the interim Business
  Opportunity Rule's scope of coverage                       5 4 In bringing these FTC law enforcement actions,        so See . e.g., United States v. Lifestyle Vending,
  was the requirement that the purchaser                  the FTC partnered with sister federal agencies--          Inc ... No. CV-06-6421 (E.D.N.Y. 2006); FTCv. Am.
                                                          such as the DOJ and tho United States Postal              Entm't Distribs., lnc., No. 04-22431-CIV-Huck
  of the opportunity had to sell goods or                                                                           (2004); FTCv. Inspired Ventures, Inc., No. 02-
                                                          Inspection Service-and with the various state
  services directly to third party end-                   attorneys general, including the District of              21760-CIV-Jordan (S.D. Fla. 2002); FTCv. Es.~ex
  users-someone other than the business                   Columbia. Thus, these "sweeps" entailed many
                                                                                                                    Ml<tg. Group, Inc., No. 2:02-cv--03415-TCP-AKT
  opportunity seller. The effect of this                                                                            (E.D.N.Y 2002); United States v. Univend, TJ,C, No.
                                                          more actions besides those brought by the FTC.            02--0433-P-L (S.D. Ala. 2002); FTCv. Pathway
  limitation was to exclude most work-at-                   ss E.g., Project Fal$e Hope$, see FTC News              Merch., Inc., No. 01-CIV-8987 (S.D.N.Y. 2001);
  home opportunities-such as envelope                     Release: Federal, State Law Enforcers Complete            United States v. Photo Vend lnt'l, Inc., No. 98-
  stuffing and craft assembly ventures-                   Bogus Business Opportunity Sweep (Dec. 12, 2006],         6935-CIV-Ferg,ison (S.D. Fla. 1998); FTCv. 1li
  from coverage. Promoters of these types                 available cit http://www.ftc.gov/os/caselist/             Tech Mint Sys., Inc., No. 98 CIV 5881 (JES)
                                                          projectfalsehopes.shtm; Project Biz Opp Flop, see        (S.D.N.Y. 1998); FTCv. Claude A. Blanc, Jr... No.
  of opportunities often tell prospective                                                                          2:92-CV-129-WCO (N.D. Ga. 1992); see also FTC
                                                          FTC News Release: Criminal and Civil Enforcement
  purchasers that they (1) will work                                                                                News Release: FTC Announces "Operation Vend
                                                          Agencies Launch Major Assault Against .Promoters
  directly for the seller or a third party the            of Business Opportunity and Work-at-Home
                                                                                                                   Up Broke" (Sept. 3, 1998), available at http://
  seller identifies or (2) will produce                                                                             www.ftc.gov/opal1998/09/vendup2.shtm (FTC and
                                                          Schemes (Feb. 22, 2005), available at http://            10 states announce 40 enforcement actions against
  various goods for the seller, who will                  www.ftc.gov/opol2005/02/bizoppflop.btm; Project          fraudulent vending business opportunities).
  then purportedly distribute the goods to                Busted Opportunity, see FTC News Release: State,            5 7 See, e.g., United States v. Elite Designs, Inc.,
  end-users or retail markets. 5 :i In order to           Federal Law Enforcers Launch Sting on Business           No. CA 05 058 (D.R.!. 2005); United States. v. QX
  reach these types of business                           Opportunity, Work-at-Home Scams (June 20, 2002).         Int'/, No. 398-CV--0453-D (N.D. Tex. 1998); FTCv.
  opportunities, coverage of the final Rule               availoble ot http://www.ftc.gov/opo/2002/06/              Corousel of Toys, No. 97-8587-CIV-Ungaro-
                                                          bizopswe.shtm: Project Biz-illion$, see FTC News         Benages (S.D. Fla. 1997); FTCv. Roymond Urso, No.
  is not limited to transactions where the                                                                         97-2680-CIV-Ungaro-Benages (S.D. Fla. 1997); FTC
                                                          Release: Slate-Federal Crackdow11 on Phony
  purchaser of the opportunity sells goods                Business Opportunities Intensifies (March 6, 2000),      v. Infinity Multimedia, Inc., No. 96-6671-CIV-
  or services directly to individuals other               available ot http://www.ftc.gov/opa/2000/03/
                                                                                                                   Gonzalez (S.D. Fla. 1996); FTC v. O'Rourke, No. 93-
  than the business opportunity seller.                                                                            6511-CIV-Ferguson (S.D. Fla. 1993); see also FTC
                                                          biz.shtm; Operation Money Pit, see FTC News              News Release: Display Rar:lc.s for Trade-Named Toys
                                                          Release: "Operation Mo11Ay Pit" Targets Fraudulent       and Trinkets are the Latest in Business Opportunity
  b. The Final Rule Continues To Cover                    Business Opportunity Schemes (Feb. 20, 1998),            Fraud Schemes (Aug. 5, 1997), available at http://
  Those Types of Opportunities Covered                    availohle at bttp://.,.,ww.ftc.gav/npa/1998/02/          www.ftc.gov/opal1997/08/tradenom.htm (FTC and
  Under the Original Franchise Rule and                   moneypit.shtm; Project Vend Up Broke, see FTC            8 states filed 18 enforcement actions against sellers
  the Interim Business Opportunity Rule                   News Release: FTC Announces "Operation Vend              of bogus display opportunities that use trademarks
                                                          Up Broke" (Sept. 3, 1998), available ot http://          of well-known companies).
     In addition to those types of business                                                                           58 See, e.g., FTCv. Advonced Pub. Commc'ns
                                                          www.ftc.gov/opal1998/09lvendup2.shtm: Project
  opportunities that often evaded                         Trade Name Games, see FTC Nows Release: Display          Corp., No. 00-00515-CTV-lJngaro-Benages (S.D.
  coverage under the Original Franchise                   Racks for Trade-Named Toys and Trinkets rre              Fla. 2000); FTC v. Amerilel Payphone Dis/ribs., Inc.,
  Rule and Interim Business Opportunity                   Lastest in Business Opportunity Fraud Schemes
                                                                                                                   No. 00-0514-CIV-Gold (S.D. Fla. 2000); FTCv.
  Rule, the final Rule continues to cover                                                                          ComTel Commc'ns Global Network, Inc ... No. 96-
                                                          (Aug. 5, 1997). available at http:llwv,;w.ftc.gov/opa/   3134-CIV-Highsmith (S.D. Fla. 1996); FTCv.
  the types of business opportunities that                1997/013/tradenam.shtm; Operation Missed Fortune         Intellipay, Inc .. No. H92 2325 (S.D. Tex. 1992).
                                                          FTC News Release: Operation Missed Fortune (Nov.            so See, e.g., FTCv. Bikini Vending Corp., No. CV-
  CV--0396-EA (X) (N.D. Okla. 2001) ($125 foe); FTC       13, 1996]. available at http://www.ftc.gov/opal          S-05-0439-LDG-RJJ (D. Nev. 2005); FJ'Cv.
  v. Para-Unk Int'/, No. 8:00-CV-2114-T-27E (M.D.         1996/11/misdfort.shtm; Project Telesweep, see FTC        Network Serv. Depot, Inc., No. CV-SD-05-0440-
  Fla. 2000) ($395 to $495 fee); see also Consumer        News Release: Major State-Fed Crackdown Targets          LDG-LRL (D. Nev. 2005); United States v. Am.
  Fraud in the United States: The Second FTC Survey       Business Opportunity Scam "Epidemic" (July 18,           Merch. Tech., No. 05-20443-CIV-Huck (S.D. Fla.
  (October 2007) at 48, available at http://              1995), avoilable at http://www.ftc.gov/opa/1995/07/      2005); FTCv. Hart Mktg. Enter. Ltd., Inc., No. 98-
  www.ftc.gov/opa/2007/10/fraud.pdf(indicating a          scmn.shtm. Recent law enforcement sweeps                 222-CIV-T-23 E (M.D. Fla. 1998); see also FTCv.
  median payment for work-at-home schemes of              "Operation Bottom Dollar" and "Operation Short           FutureNet, Inc., No. CV-98-1113 GHK (BQRx) (C.D.
  $200).                                                                                                           Cal. 1998); FTCv. TouchNet, Inc., No. C98-0176
                                                          Change," challenged, among other things, "work-at-
     52 See 71 FR at 19079 (citing comments submitted                                                              (W.D. Wash. 1998).
                                                          home" opportunities. See FTC News Release: FTC
  in earlier proceedings by NCL, SBA Advocacy,                                                                        oo See, e.g., FTC v. Bureau 2000 Int'}, Inc., No.
                                                          Cracks Down on Scammers Trying to Take
  Finnigan, and Purvin).                                                                                           2:96-cv-01473-WMB-RC (C.D. Cal. 1996); FTCv.
                                                          Advantage of lht.! Economic Downturn (Feb. 17,           Genesis One CoqJ., No. CV-96-1516-MRP (MCX)
     53 E.g., FTCv. Dorling Angel Pin Creations, lr>c.,
  No. 8:10-cv--00335-JSM-TGW (M.D. Fla. Feb.              2010), avoilable at http://www.ftc.gov!opa/2010/02/      (C.D. Cal. 1996); FTCv. Innovative Telemedia, Irie.,
  2010); FTCv. Indep. Mktg. Exch. Inc., No. 1:10-cv-      bottomdollar.shtm; FTC News Reloase: FTC Targets         No. 96-8140-CIV-Ferguson (S.D. Fla. 1996); FTC
  00568-NLH-KMW (D.N.J. Feb. 2010); FTCv.                 Scams Spawned by Economic Downturn (July 1,              v. Ad-Com Int'}, No. 96-1472 LGB (VAP) (C.D. Cal.
  Preferred Platinum Svcs. Network LLC. No. 3:10-         2009], availoble at bttp:l/www.jlc.gov/opa/2009/07/      1996).
  cv-00538-MLC-LHG (D.N.J. Feb. 2010).                    shortchange.shtm.                                           "' See 73 FR at 16120.
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   schemes-which the Commission                  legitimate companies. 69 The                              Specifically, 19 comments opposed the
  intended to cover-and legitimate               commenters also asserted that MLMs                        Commission's decision, 72 one
  companies using an MLM model.                  deceptively market their                                  commenter agreed with the decision to
     As detailed more fully in the RNPR,         distributorships as a low-risk                            narrow the scope of the Rule, but
  several common themes emerged from             opportunity with high earnings                            suggested modifying the Rule to contain
  the numerous comments submitted by             potential, when in fact, the costs of                     bright line exemptions and to clarify the
  the MLM industry. Many commenters              participating in an MLM can be high                       definition of "required payment," 7 3 and
   suggested that the low economic risks of      and the earnings comparatively small.7°                   two commenters advocated that the
   participating in a typical MLM do not           In the RNPR, the Commission                             Commission adopt the Rule as
  justify imposing burdensome                    concluded that although there is                          recommended. 74
   regulations that would threaten to            significant concern that some pyramid                        Commenters opposing the decision to
  strangle the MLM industry. 6 2 These           schemes may masquerade as legitimate                      avoid sweeping MLMs within the scope
  commenters focused on the low fees-            MLMs, assessing the incidence of such                     of the Rule's coverage set forth the same
  often less than $100-that top MLM              practices is difficult.and indeed,                        basic premise-that MLMs frequently
  companies charge prospective                   determining whether an MLM is a                           misrepresent the level of earnings
  distributors for the right to sell their       pyramid scheme requires a fact-                           achieved by their distributors and
  products, and on the relatively low risk      intensive, case-by-case analysis.                          therefore, should be subject to
  that consumers would lose money on            Further, the record developed was                          regulation. 75 More specifically, many of
  large purchases of inventory. 63 In           insufficient as a basis for crafting MLM                   the commenters advocated that the
  addition, industry commenters                  disclosures that would effectively help                   MLM industry should be required to
  contended that the various disclosure         consumers make an informed decision                        disclose the average income of their
  requirements were ill-suited for the          about the risks of joining a particular                    participants. 76 The Commission has
  MLM business model and that many of           MLM.                                                       carefully considered the comments
  the disclosure obligations would show            Based on the record and the                             submitted in response to the Staff
  direct selling companies in a distorting      Commission's law enforcement                               Report on the issue of MLMs. While
  negative light. 64 For example, according     experience, the RNPR announced the                         some of the comm enters provided an
  to one commenter, the requirement to          Commission's determination that it                         analysis of the MLM industry with
  disclose prior legal actions would cast       would not be practicable to apply the                      concrete examples of the types of
  successful and long-established               requirements of the proposed Rule to                       problems that exist within that
  companies in a worse light than fly-by-       MLM companies. Drawing on its law                          industry, 77 many did not. Instead, many
  night frauds simply because larger            enforcement experience, the                                commenters expressed in general terms
  companies with more sales                     Commission acknowledged that some                          their low opinion of MLMs and their
  representatives and more years of             MLMs do engage in unfair or deceptive                      general opinion that MLMs should be
  operation are likely to get involved in a     acts or practices, including operating                     regulated. 78 More to the point, none of
  larger number of lawsuits. 65 Moreover,       pyramid schemes or making                                  the commenters provided persuasive
  industry commenters uniformly asserted        unsubstantiated earnings claims that                       arguments for why the Business
  that the cost of compliance with the          cause consumer harm. The Commission,                       Opportunity Rule is the proper vehicle
  IPBOR would be extremely high for             however, was not persuaded that                            to address the problems they identified
  them-first, from the burden of                workable, meaningful disclosures could                     within the MLM industry.
  developing, providing and keeping             be devised that would help consumers                          Before discussing the comments in
  records of proposed disclosures, and          identify a fraudulent pyramid scheme.                      further detail, however, one point in the
  second, from the impaired ability to          This being the case, the Commission                        rulemaking record requires clarification.
  recruit prospective distributors. 66          decided that the proposed Rule was too                     Several comments focused on the
  Finally, industry commenters argued           blunt an instrument to alleviate fraud in
                                                the sale of MLMs. The Commission                              12 These included eleven comments submitted by
  that unlike traditional business                                                                         consumer group CAI, as w~ll as comments
                                                therefore determined to continue to
  opportunities, the MLM industry is not                                                                   submitted by PSA and seven individuals. In
  permeated with fraud.B7                       challenge unfair or deceptive practices                    addition, two individuals submitted comments
     In contrast to the overwhelming            in the MLM industry through law                            supporting the statistical analysis provided by CAI
  majority of comments that opposed             enforcement actions alleging violations                    President, Jon Taylor. See McKee-Staff Report;
                                                of Section 5 of the FTC Act and not                        Ashby-Staff Report.
  regulating MLMs through the Business                                                                        '"Tupperware-Staff Report.
  Opportunity Rule, only a small minority       through the Business Opportunity Rule.                        7 • DSA-Staff Report; Primerica-Staff Report.
                                                The Staff Report's recommendations
  of commenters were in favor of a mle                                                                        "' See, e.g., O'Handley-Staff Report ("I personally
  that would cover MLMs. These                  were consistent with this decision. 71                     believe that this industry is a borderline scam at
                                                   In response to the Staff Report, the                    best and needs MORE oversight than everyone else-
  commenters included two consumer              Commission received 24 comments                            NOT LESS.'"); Welling-Staff Report("! find it
  groups, CAI and PSA, a few consumer           addressing the Commission's decision                       amazing that • * * the MLM industry has little or
  advocates, individuals who regretted          to narrow the scope of the Rule to avoid                   no regulations.").
  becoming involved in MLMs, and other          broadly sweeping in MLMs.
                                                                                                             10 See, e.g., Barrett-Staff Report (FTC should

  MLM participants. 68 Many of the                                                                         "demand truthful disclosure of income potentials
                                                                                                           for MLM"); Brooks-Staff Report (MLM~ should
  consumer advocates contended that the            o• C'.AJ-INPR at 2 ("I can certify that MIM /sic) are   produce "actual, verifiable data concerning the
  MLM industry is comprised primarily of        not direct selling programs, but chain selling             earnings and losses of their distributors"); CAI-Staff
  pyramid schemes masquerading as               progmms'1; CAI-INPR Rebuttal of DSA Comments               Report at 7-3 (advocating for the disclosure of
                                                at 3 ("The Direct Selling Association (DSA).               "information supporting earnings claims").
                                                recently taken over by chain sellers now promotes            77 See. e.g., CAI-Staff Report (reporting research
   • 2 Id. at 16114.
                                                chain selling (pyramid marketing)-evon more than           on the MLM industry and quoting representations
   ""Id.                                        legitimate direct selling"); soe alsQ Brooks-lNPR at       made by various MLMs).
   64 ld. al 16115.
                                                2 ("In my opinion, most MLM firms operate in a               1a See, e.g., Craig-Staff Report (there is "ample
   os Id.                                       deceptive or fraudolent manner").                          evidence of problems with MLM lo warrant
   00 Id. at 16116.                                1upsA-INPR.at 3-4; Brooks-INPR at 4; Johnson-           inclusion in the rule"); Afoa-Staff Report
   117 Id. al 16114.                            INPR at 1.                                                 (commenting on personal experience with one
   ••Id.at 16116.                                  11 Staff Report at 20.                                  MLM).
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   following language contained in the                    far as the Commission is aware, does not               and therefore would be unlikely to face
   Staff Report: "Two key problems                        arise in other forms of business                       further recruitment by the prior
   emerged with the IPBOR's breadth of                    opportunities.                                         purchaser. 88
   coverage. First, the IPBOR would have                     Furthermore, it may be difficult to                    The Commission finds these
   unintentionally swept in numerous                      determine retail income if the MLM is                  arguments unpersuasive. To the extent
   commercial arrangements where there is                 not in a position lo verify the extent to              there is any financial incentive for a
   little or no evidence that fraud is                    which a distributor has resold the                    reference to puff or exaggerate the
   occurring." 79 The commenters suggest,                 product at retail, is warehousing the                 benefits of buying into a business, that
   incorrectly, that the quoted language                  product, or bought the product for his                 reference obviously cannot provide a
  reveals a finding by the Commission                     or her own personal consumption. Even                  disinterested opinion to the prospect.
  that there is little or no evidence of                  where the MLM has policies in place                   The MLM model is inherently
   fraud occurring within the MLM                         purportedly to ensure that a portion of                structured to create financial incentives
   industry. 110 This language, however,                  its distributors' income is derived from               for distributors to recruit prospects into
  referred to a passage from the RNPR that                retail sales, these policies could go                  their downlines. 89 Thus, those financial
   addressed traditional product                          unenforced, or even where ostensibly                   incentives are present whenever a
   distribution arrangements, not MLMs. 81                enforced, could be circumvented by                    potential recruit enquires into the
  The Commission has not made a finding                   distributors who may have an incentive                business. To illustrate the point, even
  that there is little or no evidence of                  to "inflate" their retail sales by                     dissatisfied distributors have an
  fraud within the MLM industry; to the                   "certifying" that such sales occurred in              incentive to refrain from disparaging the
  contrary, it has specifically recognized,               order to qualify for higher levels of                 MLM because any losses they have
  through its own law enforcement                        commissions. In light of these                         suffered could potentially be recouped
  experience, that some MLMs may be                       difficulties, and because the comments                by the recruitment of the prospect into
  pyramid schemes in masquerade and                       submitted in response to the Staff                    their downline. Whether they are
  may make false and unsubstantiated                      Report did not refute these findings, the             ultimately successful in their attempt to
  earnings claims.112                                    Commission continues to believe that                   woo a recruit from another distributor is
      In any event, the comments submitted                developing a standard, useful, and                    immaterial; they have every incentive to
  in response to the Staff Report do not                  understandable earnings disclosure that               try/10
  persuade the Commission that the                        would apply to both the MLM industry                     Thus, the Commission continues to
  Business Opportunity Rule is the proper                and the other business opportunities                   believe that the final Rule's reference
  tool to address these problems. 11 a Two of            covered by the Rule remains elusive.s5                 disclosure would not provide
  the affirmative disclosure requirements                    Second; the reference disclosure                   prospective MLM participants with an
  illustrate the difficulty in applying the              required under the final Rule would                    accurate account of the MLM experience
  Rule to MLMs: (1) The disclosure of                    make little sense in the MLM context.                  or with information necessary to make
  substantiation for earnings claims; and                As the Commission has previously                       an informed purchasing decision.
  (2) the disclosure of references.                      recognized, those prior purchasers                     Moreover, these challenges appear to be
      First, as the Commission has                       appearing on the reference list likely                 unique to MLMs, and as far as the
  acknowledged, the varied and complex                   would stand to receive a financial                     Commission is aware, are not inherent
  structure of MLMs makes it exceedingly                 benefit if they could convince a                       in the other types of business
  difficult to make an accurate earnings                 prospect to enroll into their downline. 86             opportunities addressed by the final
  disclosure and likely would require                    Under these circumstances, information                 Rule.
  different disclosures for different levels             provided by such a reference might not                    Accordingly, while the Commission
  of participation in the company. For                   be a reliable indicator of the potential               recognizes that problems may exist
  instance, it would be difficult to craft an            risk and rewards of enrollment in the                  within the MLM industry, it continues
  accurate earnings disclosure that would                MLM.                                                   to find that the Business Opportunity
  account for "inactive" participants that                  In response lo the Staff Report, the                Rule is not the appropriate vehicle
  use their distributorship as a "buyers                 Commission received one comment                        through which to address them. Rather,
  club" and are interested only in                       attempting to refute this reasoning. The               the Commission will continue to
  purchasing goods at a wholesale price                  commenter argued that, contrary to the                 challenge unfair or deceptive practices
  for their own use. 84 This problem                     Commission's view, prior purchasers                    in the MLM industry through Section 5
  appears to be unique to MLMs and, so                   would have little incentive to                         of the FTC Act. Thus, the final Rule has
                                                         misrepresent the success of the MLM
     79 See, e.g., CAI-Staff Report at l, 10-41; PSA-                                                              88 ld.
                                                         because that incentive would exist only
  Staff Report.                                          if the prospective purchaser would                        "" Multi-level marketing is a business model in
     •°CAI-StaffReport at 10-41; PSA-Staff Report                                                               which a company distributes products through a
  ("The basis of the exclusion appears to be the         become part of the prior purchaser's                   network of distributors who earn income from their
  extraordinary claim that there is insufficient         downline, which the commenter                          own retail sales of the product and from retail sales
  evidence of widespread fraud in the multi-level        implies would not always be the case.H7                made bv the distributors' direct and indirect
  marketing field.").                                                                                           recruits. Because they earn a commission from the
     81 Indeed, the language quoted by CAI and PSA
                                                         The commenter further argued that the                  sales their rec:mils make, each member in the MLM
  contains a footnote referencing the section of the     fact that the prospective purchaser had                network has an incentive lo continue recruiting
  RNPR that discussed traditional product                received the disclosure document                       additional sales representatives into their "down
  clislribulion arrangements. See Staff Report at 30     would indicate that the prospective                    lines." See Vander Nat & Keep, supra note 13.
  (citing 73 FR at 16113).                                                                                         11 °Comments submitted in response to the Staff
    82 See 73 FR al 16119; see also Slaff Repm1 al 20.
                                                         purchaser had already been recruited,
                                                                                                                Report did not refute these arguments, but actually
    na Indeed, one commenter recommended a                                                                      bolstered them. For instance, one commenter noted
  completely separate set of disclosures for MLM           a 5 While CAI presented its proposal for an          that MLM recruiters will often pretend they are
  opportunities, further suggesting that the Business    earnings disclosure, it is clear that the disclosure   wealthy when they are not, simply to entice others
  Opportunity Rule is a poor fil for the MLM             would be specific lo MLMs and would have no            to join the MLM. See O'Handley-Slaff Ropm1 al 2;
  industry. See Johnson-Staff Report (recommending       application lo the other types of business             see also GAi-Siaff Report al 5 (noting that in MLMs,
  that the FTC convert its consumer education on         opportunities addressed by the Rule. See CAI-Staff     "every major victim is of necessity a perpetrator
  investing with an MLM into a series of disclosures     Report at 7-33.                                        (recruiter) because lo have any hope of recouping
  that would be MLM-specific).                             ar; See 73 FR at 16121.                              their ongoing investments * * * they must recruit
    11• See 73 FR at 16120.                                87 Brooks-Staff Report at 8.                         others to do what they have done").
Case 2:18-cv-00442-JCM-PAL
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  been crafted to avoid broadly sweeping                      demonstrates that earnings claims are          engaging in a number of deceptive
  inMLMs. 91                                                 highly relevant to consumers in making          practices, which were absent from the
  2. Streamlined Disclosure Requirements
                                                             their investment decisions and are often        interim Business Opportunity Rule. In
                                                             the single most decisive factor in such         drafting the final Rule, the Commission
     Although the scope of coverage is                       decisions. Furthermore, the presence of         relied heavily on its experience in
  broader, the compliance burden is                           a legal action against the seller or its key   addressing a wide array of deceptive
  lighter under the final Rule than under                    personnel may warn the purchaser of             and unfair business opportunity
  the interim Business Opportunity Rule.                     potential risk associated with the              practices through law enforcement
  In contrast to the voluminous                              business opportunity. Information about         actions under the Original Franchise
  disclosures that business opportunity                      the seller's cancellation or refund policy      Rule, the interim Business Opportunity
  sellers are required to make under the                     is relevant to consumers when weighing          Rule, and Section 5 of the FTC Act. The
  interim Business Opportunity Rule, the                     their investment risks. Finally,                Commission also relied on the staffs
  final Rule has significantly streamlined                   providing the contact information for           analysis of consumer complaints
  the disclosures to focus on the types of                   prior purchasers will allow prospective         submitted to the FTC. By far, the most
  information most material to business                      purchasers to discuss the business              frequent allegations in Commission
  opportunity purchasers: (1) The seller's                   opportunity with other purchasers prior
  identifying information; (2) whether the                                                                   business opportunity cases pertain to
                                                             to committing themselves to the                 false or unsubstantiated earnings
  seller makes an earnings claim; 92 (3)                     business opportunity venture.
  whether the seller, its affiliates, or key                                                                 claims. 95 False testimonials or fictitious
                                                                 These streamlined disclosure                references and misrepresentations
  personnel, have been involved in any                       requirements strike the appropriate
  legal actions; 9 :i (4) whether the seller                                                                 concerning the profitability of locations,
                                                             balance by providing consumers with             availability of support and assistance,
  has a cancellation or refund policy; and                   material information in a
  (5) a list of purchasers who have bought                                                                   nature of the products or services sold,
                                                             straightforward and focused document
  the business opportunity within the                        that will allow them to make informed           prior success of the seller or locator, full
  previous three years. The final Rule also                  purchasing decisions. At the same time,         extent of investment costs, and refund
  requires the disclosure of                                 the streamlined form eases the                  policies are also prevalent in
  supplementary information that                             compliance burden currently imposed             Commission business opportunity
  substantiates earnings claims, identifies                  on business opportunity sellers. Like the       cases/H, These alleged material
  legal actions, and states the material                     Original Franchise Rule and the interim         misrepresentations or omissions also
  terms of the seller's cancellation or                      Business Opportunity Rule, the final            were frequently mentioned in
  refund policy. These disclosures are                       Rulo is posited on the notion that a fully      complaints to the Commission
  consistent with the Commission's                           informed consumer is in a better                submitted by business opportunity
  experience concerning common                               position to determine whether a                 purchasers. fJ 7
  practices in the sale of business                          particular offering is in his or her best
  opportunities, and the types of                            interest when sellers are required to              "' See, e.g., FTCv. Darling A11gel Pin Creatio11s,
  information most meaningful to                                                                             Inc., No. 8:10-Cv-00335-JSM-TGW (M.D. Fla. Feb.
                                                             disclose to them material information.          2010) (representing likely earnings of $500 per
  prospective purchasers. 94 For example,                    Consumers should be protected against           week); FTCv. Route Wizard, Inc., No. 1:06-cv-
  the Commission's experience                                receiving inaccurate information and            00815-KD-B (S.D. Ala. 2006) (representing that
                                                             self-serving unsubstantiated statements         purchasers could earn $3,000 a month); FTC v. Bus.
                                                                                                             Card Experts, Inc., No. 06--CV-4671 (PJS/RLE) (D.
     " 1 The final Rule, however, does not explicitly        from business opportunity sellers.              Minn. 2006) (claiming likely earnings of $150,000
  exempt MLMs from coverage, but instead contains            Accordingly, the final Rule requires that
  a narrow delinition of "business opportunity." As                                                          in first vear); FTC v. Richardson d/b/a Mid-South
  discussed in Section III.A.3 infra, the final Rule's       business opportunity sellers disclose           Distril,i., No. CV-06-8-4754-NW (N.D. Ala. 2006)
  definition of "business opportunity" eliminates two        just the types of information that the          (representing likely earnings of over $2,000 a month
  types of business assistance that previously would         Commission has determined am most               or $65,000 a year); FTCv. Accent Mktg., Inc., et al.,
  have triggered the Rule's coverage ofMLMs: (1)                                                             No. 02-405-CB-M (S.D. Ala. 2002) (representing
  Tracking or paying commissions or other
                                                             material to potential purchasers in             likely earnings of $3,200 per month to $16,000 per
  compensation for recruitment or sales; and (2)             making a purchasing decision: The               month).
  providing generalized training or advice for the           seller's identifying information; whether          •• See, e.g., FTC v. Bus. Carel Experts, Inc., No.
  business. The final Rule is thus more narrowly             the seller makes an earnings claim, and         06-CV-4671 (PJS/RLE) (D. Minn. 2006) (used paid
  tailored to those types of deceptive business              if so, the substantiation for that claim;       references); FTC: v. Route Wizard, Inc., No. 1:06-cv-
  assistance representations that are the hallmark of                                                        00815-KD-B (S.D. Ala. 2006) (misrepresented
  fraudulent business opportunity schemes: location,         whether the seller offers a refund or           location assistance); FTC v. Richardson d/b/a Mid-
  account, and "buy back" assistance. 73 FR at 16123.        cancellation policy, and if so, the             South Dis/ribs., No. CV-06-8-4754-NW (N.D. Ala.
     9 2 If the business opportunity seller indicates that
                                                             material terms of that policy; whether          2006) (promised high-traffic, high-prolit locations);
  it does make earnings claims, then it must complete        the seller or its affiliates and key            FTC v. Am. Entm't Dis/ribs., Inc., No. 04-22431-
  a separate earnings claim statement setting forth the                                                      Civ-Martinez (S.D. Fla. 2004) (used fictitious
  earnings claim, the number and percentage of               personnel have been the subject of prior        references, misrepesented locations); FTCv.
  purchasers who achieved the represented level of           legal actions; and the names and                Fidelity A TM, Inc., No. 06-81101-Civ-Hurley/
  earnings, the date range during which the                  business telephone numbers of prior             Hopkins (S.D. Fla. 2004) (misrepresented level of
  represented earnings were achieved, and additional         purchasers to contact. The Commission           support or assistance); FTC: v. Accent Mktg .. Inc., et
  information.                                                                                               al., No. 02-405-CB-M (S.D. Ala. 2002)
     "" If the business opportunity seller indicates that    has determined that these streamlined           [misrepresented that references purchased the
  it or its affiliates or key personnel have been subject    disclosure requirements will provide            business venture or would provide reliable
  to legal actions, then it must complete a separate         potential purchasers with the tools they        descriptions of their experience); FTC v. Associated
  attachment setting forth the full caption of each          need to protect themselves from false           Record Distribs., Inc., No. 02-21754-C!V-Graham/
  action, and may choose to include a brief 100-word                                                         Garber (S.D. Fla. 2002) (misrepresented business
  description of the action.                                 claims, while at the same time                  assistance and that references either purchased the
     0
       • To fully develop the rulemaking record on
                                                             minimizing compliance costs for                 business venture or would provide reliable
  business opportunities, in the ANPR, the                   legitimate business opportunity sellers.        descriptions of their experience).
  Commission solicittid comment about what pre-sale                                                             "'In 2010, the Commission logged over 12,000
  disclosures would ensure that business opportunity         3. Express Prohibitions                         complaints against franchises, business
  purchasers receive material information necessary                                                          opportunities, and work-at-home schemes. &m
  to make an investment decision and prevent fraud
                                                                In addition to mandating disclosures         Consumer Sentinel Network Databook (March 2011)
  in the sale of business opportunities. 62 FR at 9121,      to prospective purchasers, the final Rule       at 76, available at littp://ftc.gov/sentinel/reports/
  Questions 15 & 16.                                         includes prohibitions on sellers from           se11tine/-01,nual-reportslsentinel-cy2010.pdf.
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     Therefore, among other things, under                on this experience, the Staff Report                 of Practice. 101 This authority permits
  the final Rule, business opportunity                   discussed the limited utility ofEnglish-             the Commission to promulgate, modify,
  sellers are prohibited from                            language disclosures for business                    and repeal trade regulation rules that
  misrepresenting: (1) Earnings; (2) the                 opportunities marketed in Spanish.                   define with specificity acts or practices
  cost, efficacy, nature, or central                     Specifically, the staff questioned                   that are unfair or deceptive in or
  characteristics of the business                        whether the disclosure document could                affecting commerce within the meaning
  opportunity or the goods or services                   be made more effective by translating it             of Section 5(a)(1) of the FTC Act. 15
  sold to the purchaser as part of the                   into Spanish and requiring that when a               U.S.C. 45(a)(1).
  business opportunity; (3) their                        business opportunity is marketed in                     The Commission's Rules of Practice
  cancellation or refund policies; (4)                   Spanish, the disclosure document and                 further provide that if the Commission
  promised assistance; (5) the calculation               any disclosures required by the Rule be              determines to promulgate a rule, it shall
  and distribution of commissions,                       provided in Spanish. The Staff Report                adopt a Statement of Basis and Purpose
  bonuses, incentives, premiums, or other                further suggested that when a business               ("SBP"), which must address four
  payments from the seller; (6) the                      opportunity seller purposefully reaches              factors: (1) The prevalence of the acts or
  likelihood of finding locations for                    out to a particular population by                    practices addressed by the rule; (2) the
  equipment or accounts for services; (7)                marketing in the foreign language                    manner and context in which the acts or
  that the business opportunity is an offer              spoken by members of that community,                 practices are unfair or deceptive; (3) the
  of employment; (8) territorial                         all of the disclosures required by the               economic effect of the rule, taking into
  exclusivity or more limited territorial                Rule should be accessible and                        account the effect on small businesses
  protections; (9) endorsements; and (10)                comprehensible to each of those                      and consumers; and (4) the effect of Lhe
  references. The final Rule also prohibits              potential purchasers. The Staff Report               rule on state and local laws. 102 In this
  business opportunity sellers from failing              recommended, therefore, that because                 section, the Commission summarizes its
  to make promised refunds, and from                     the Commission has specific law                      findings regarding each of these
  assigning to any purchaser a purported                 enforcement experience with business                 factors. 103
  exclusive territory that has been sold to              opportunities marketed in Spanish, a                 A. Prevalence of Acts or Practices
  another purchaser.                                     Spanish translation of the disclosure                Addressed by the Rule
     The final Rule prohibits entities                   document was necessary to attach as an
  covered by the Rule from engaging in                   appendix to the final Rule. It further                  The Commission promulgated the
  the specific acts or practices identified              recommended that where the business                  Original Franchise Rule in 1978 based
  as deceptive or unfair through the                     opportunity is marketed in a language                upon its finding of prevalent deception
  Commission's law enforcement                           other than Spanish, the business                     in the offer and sale of franchises and
  experience, as well as the rulemaking                  opportunity seller should be required to             business opportunity ventures, leading
  record. Engaging in any of those acts or               translate the disclosure document into               to significant consumer injury. Since
  practices is a violation of both the final             the language of the sale and provide all             1995, when the Commission
  Rule and Section 5 of the FTC Act. oe Of               the disclosures required by the Rule in              commenced a regulatory review of the
  course, the Commission, under Section                  that language.                                       Original Franchise Rule to ensure that
  5, also may challenge any conduct that                    It is the long-held policy of the                 the Original Franchise Rule continued
  is not enumerated in the final Rule if the             Commission that disclosures required                 to serve a useful purpose, the
  Commission determines that such                        by Commission orders, rules, or guides               Commission has sought comment
  conduct constitutes an unfair or                       should be made in the predominant                    several times to ascertain the need for a
  deceptive act or practice.                             language used in the related                         separate trade regulation rule to address
                                                         advertisement or sales material.too Upon             widespread fraud in the sale of business
  4. Disclosures in Spanish or Other                                                                          opportunities. 104
  Languages Besides English                              consideration of this policy, the staffs
                                                         recommendation, and the rationale for                   Throughout the Rule amendment
     The Commission's law enforcement                    the staff's recommendation, the                      proceedings, the Commission has
  history demonstrates that some business                Commission agrees with the staff's                   described its experience in combating a
  opportunities are marketed primarily to                recommendation. Accordingly, the final               wide array of business opportunity
  Spanish speaking consumers. 99 Based                   Rule contains a new provision,§ 437.5,               fraud through law enforcement actions.
                                                         which specifies the disclosure                       Indeed, the Commission's law
     98 15 U.S.C. 57a(d)(3).
                                                         requirements for sales conducted in                  enforcement experience in conducting
     •• E.g., FTC v. Zoi/o Cruz, No. 3:08-cv-01877-JP
                                                         Spanish or other languages besides                   numerous sweeps of the business
  (D. P.R. 2008) (envelope stuffing sc.heme marketed                                                          opportunity industry demonstrates that
  in Spanish-language newspapers and on a Web site       English.
  available in Spanish and English); FTC v. Integrity                                                         deceptive and unfair practices in the
  Mktg. Team, Inc., No. 07-cv-61152 (S.D. Fla. 2007)     II. The Legal Standard for Amending                  sale of business opportunities are not
  (envelope stuffing scheme marketed in Spanish-         the Rule                                             only prevalent but persistent. 105
  language classified advertisements); FTCv.
  Hispanexo, Jnc., No. 1:06-cv-00424-fCG-TRf (E.D.          The Commission is amending 16 CFR
                                                                                                                10116   CFR 1.7, 5 U.S.C. 551 et seq.
  Va. 2006) (assistance in starting a c:onslmclion,      Part 437 pursuant to Section 18 of the
                                                                                                                102Rules of Practice, 16 CFR 1.14(a)(1)(i]-(iv). In
  gardening, or cleaning business marketed through       FTC Act, 15 U.S.C. 57a et seq., and Part             addition, in accordance with 16 CFR 1.14(a)(l)(v),
  Spanish-language television and radio stations);       1, subpart B of the Commission's Rules               the regulatory analysis is provided at Section V of
  FTCv. Juan Matos, No. 06-61429-CIV-Altonaga
                                                                                                              this Statement of Basis and Purpose.
  (S.D. Fla. 2006) (craft assembly business marketed
                                                                                                                10 " Support in the record for each factor is set
  through Spanish-language advertisements); FTCv.        (work at home assembly scheme offered through
  Nat'] Vending Consultants, Inc., CV-S-05-0160-         Spanish-language newspapers and magazines); FTC      forth in the substantive discussion of each
  RCJ (PAL) (D. Nev. 2005) (deceptively marketed         v. Estoban Borrios Vega, No. H--04-1478 (S.D. Tex.   provision of tho final Rule.
  vending machine business opportunities-with            2004) (docoptivc product assembly opportunity          rn 4 Seo 60 FR at 17657: 62 FR at 9117; 71 FR at
  many marketing efforts specifically targeting          marketrn.1 through Spanish-language newspaptlr and   19084: 73 FR at 161~3; 74 FR al 18172; 75 FR at
  Spanish-speaking consumers); FTC v. Amoda              n1agazine advttrtisements).                          68559.
  Guerm, No. 6:04-CV-1395 (M.D. Fla. 2004)                  100 FTC Enforcenumt Policy Stalernenl               10s Since 1995, the Commission has conducted
  (product assembly scheme telemarketed to Spanish-      Concerning Clear and Conspicuous Disclosures in      more than 18 law enforcement sweeps to combat
  speaking consumers]; FTCv. USS Elder E11ter., l11c.,   Foreign Language Advertising and Sales Materials,    deceptive business opportunity programs, many
  No. SACV--04-1039 AHS (Anx] (C.D. Cal. 2004)           16 CFR 14.9.                                                                                      Continued
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     The Commission ha:s amended the                       Since 1990 the Commission has                         and the like, which, as the
  interim Rule to address the sale of                    brought over 75 work-at-home cases.106                  Commission's experience demonstrates,
  deceptive work-at-home schemes, where                  These actions have targeted a variety of                have been a persistently fertile ground
  unfair and deceptive practices have                    schemes, ranging from envelope stuffing                 for fraud and deception.110 The
  been both prevalent and persistent.                    and craft assembly programs, to                         Commission has conducted numerous
  These schemes prey upon stay-at-home                   technology-driven opportunities and                     law enforcement sweeps that targeted a
  parents, the physically disabled, those                medical billing plans.107                               wide variety of business opportunity
  who do not speak English, and others                     Data compiled by the Commission                       scams involving the sale of vending
  who cannot obtain employment outside                   demonstrate the prevalence ofwork-at-                   machines, rack displays, and other
  of the home. Sellers of fraudulent work-               home opportunities that do not deliver                  opportunities covered by the Original
  at-home opportunities deceive their                    the represented level of earnings.                      Franchise Rule and the interim Business
  victims with promises of an ongoing                    Indeed, the Commission's 2005                           Opportunity Rule. 111 Consumer
  relationship in which the seller will buy              consumer fraud survey revealed that                     complaint data indicates that these
  the output that business opportunity                   work-at-home plans from which the                       types of business opportunities continue
  purchasers produce, often                              respondents who had purchased them                      to be a significant source of consumer
  misrepresenting to purchasers that there               did not earn at least half the level of                 injury.112
  is a market for the purchasers' goods                  promised earnings ranked fifth in terms
  and services. In addition, the                         of the estimated number of victims and                  B. Manner and Context in Which the
  Commission's law enforcement                           third in terms of estimated number of                   Acts or Practices Are Deceptive or
  experience demonstrates that fraudulent                incidents reported during the year.tos                  Unfair
  work-at-home opportunity sellers                       According to the survey, an estimated                      The final Rule has been carefully
  frequently invent undisclosed                          2.4 million individuals experienced                     crafted to address common deceptive or
  conditions and limitations for rejecting               work-at-home fraud, and there were an                   unfair practices engaged in by
  the work performed by purchasers and                   estimated 3.8 million incidents during                  fraudulent business opportunity
  refusing to buy back the goods the                     the one year period surveyed. 109                       sellers. 11 :i By far, the most frequent
  purchasers produce. Similarly, these                     Consumer complaints, survey data,                     allegations in the Commission's
  sellers' promises of continuing support                and the Commission's law enforcement                    business opportunity cases pertain to
  and assistance frequently prove empty,                 experience convince the Commission                      inducing consumers to pay significant
  leaving work-at-home opportunity                       that deception is prevalent in work-at-                 amounts of money by means of false or
  purchasers with no help in figuring out                home offers. The final Rule's disclosure                unsubstantiated earnings claims. 114 This
  how to assemble misshapen                              requirements and prohibitions provide                   is followed by inducement through false
  components into finished products.                     potential work-at-home purchasers with                  testimonials or fictitious references and
  Finally, as the Commission's cases and                 the tools they need to protect                          by misrepresentations concerning: The
  complaint data demonstrate, con artists                themselves from false claims.                           profitability of locations; t~e availability
  who promote fraudulent work-at-home                      In addition to work-at-home                           of assistance; the nature of the products
  schemes frequently dupe consumers                      opportunities, the final Rule also covers               or services being sold; the prior success
  with false earnings claims.                            the same types of business opportunities                of third-party entities in finding
                                                         that previously were covered under the                  successful locations; the full extent of
  with other law enforcement partners. E.g.,             Original Franchise Rule and the interim
  Operation Bottom Dollar (2010); Operation Short        Business Opportunity Rule, such as                         1 10 See id. at 16 (reporting that an estimated

  Change (2009); Project Fal$e Hope$ (2006); Project     opportunities involving vending                         800,000 individuals were victims of business
  Biz Opp Flop (2005); Project Bustod Opportunity                                                                opportunity fraud during the year surveyed).
  (2002); Project Teleswtlep (1995); Project Biz-illion$
                                                         machines, rack displays, Internet kiosks,                  ''' E.g., Project Fal$e Hope$ (2006) (vending
  (1999); Operation Money Pit (1998); Project Vend                                                               machine and rack display opportunities); Project
  Up Broke (1998); Project Trade Name Games (1997);         10
                                                              a Many of these cases were brought in              Biz Opp Flop (2005) (vending machine
  and Operation Missed Fortune (1996). In addition       connection with law enforcement sweeps af               opportunities); Project Busted Opportunity (2002)
  to joint law enforcement sweeps, the Commission        frandulent work-at-home and related employment          (vending machine and rack display opportunities);
  also targeted specific business opportunity ventures opportunities, including Operation Bottom Dollar          Project Biz-illion$ (1999); Operation Money Pit
  such as envelope stuffing (Operation Pushing the       (2010); Operation Short Change (2009); Project          (1998) (rack display opportunities); Project Vend
  Envelope. see FTC News Release: Agencies               Fal$e Hope$ (2006); Project Biz Opp Flop (2005];        Up Broke (1998) (vending machine opportunities);
  "Pushing the Envelope" to Protect Consumers (Dec.      Project   Homework (2001); Operation Top Ten Dot        Project Trade Name Games (1997) (rack display
  16, 2003), available at http://www.ftc.gavlapal        Con,   see FTC News Release: Law Enforcers Target       opportunilies); Operation Missed Fortune (1996);
  2003112/pushenve/ope.shtm); medical billing            "Top 10" Online Scams (Oct. 31, 2000), available        Project Telesweep (1995) (vending machine and
  (Operation Dialing for Deception, see FTC News         at http://www.ftc.gov/opa/2000/1O/topten.shtn1;         rack display opportunities); see also supra note 55.
  Release: FTC Sweep Protects Consumers from             and Operation Missed Fortune, see FTC News                112 See Consumer Sentinel Network Databook
  "Dialing for Deception" (Apr. 15, 2002), available     Release: FTC, State Enforcers Target Get-Rich-Quick     (Marc.h 2011) at p. 76, available at http://ftc.gov/
  at http://www.ftc.gov/opa/2002/04/dialing.shtm         Self-Employment Schemes (Nov. 13, 1996),                sentinel!reports/sentinel-annual-reports/sentinel-
  and Project Housecall, see FTC News Release:           available at http://www.ftc.gov/opa/1996/11/            cy2010.pdf (reporting that in 2010, over 12,000
  Bogus Business Opportunity Scams Targeted by           misdfort.shtm.                                          complaints were filed against franchises, business
  FTC (Jan. 28, 1998), available at http://www.ftc.gov/     101 See, e.g., FTCv. Real Wealth . Inc., 10-CV-      opportunities, and work-at-home schemes).
  opa/1998/01/housecal.shtm); seminars (Operation        0060-W-FJG (W.D. Mo. 2010) (envelope stuffing);            '"' An act or practice is deceptive under Section
  Showtime, set, Operation "Show Time" Targets           Fl'Cv.   Darling Angel Pin Creations, Inc., No. B:10-   5(a) if it involves a material representation or
  Seminars Selling Frandulent Business                   c:v-00335-JSM-TGW (M.D. Fla. 2010) (craft               omission that is likely to mislead consumers, acting
  Opportunities and Investments (May 5, 1998),           assembly); FTC v. The Results Group L.L.C, No. CV       reasonably under the circumstances, to their
  available at http://www.ftc.gov/opa/1998/05/           06 2843 PHX )AT (D. Ariz. 2006) (work-at-home           detrimeni. See FTC Policy Statement on Deception,
  sl10wtime.shtm); Internet-related services (Net        involving becoming a Web-based affiliate); FTCv.        appended to Cliffcfole Associates, Inc ... 103 F.T.C.
  Opportunities 1998); vending machines (Operation       Mazzoni & Son, Inc., No.1:06CV2385 (N.D. Ohio           110, 174 (1984). An act or practice is unfair under
  Yankee Trader, see FTC News Release: Operation         2006) (medical billing).                                Section 5 if: (1) It causes or is likely to cause
                                                            108 See Consumer Fraud in the United States: The
  "Yankee Trader" Targets Bogus Vending Machine                                                                  substantial injury to consumers; (2) the ham1 to
  Business Opportunities (Sept. 11, 1997), available     Second i,-rc Survey (October 2007) at 22, available     consumers is not outweighed by any countervailing
  at http://www.ftc.gov!opa/1997/09/still.shtm); and     at http://www.ftc.gov/opa/2007/10/fmud.pdf              benefits; and (3) the harm is not reasonably
  900 numbers (Project Buylines, see FTC News            (studying consumer experience with a variety of         avoidable by consumers. See FTC Policy Statement
  Release: Newest Business Opportunily Fraud Is For ·products and services, including \.veight·loss              on Unfairness, appended to In re International
  900-Number Lines, Warns Federal Trade                  products, foreign lotteries, and prize promotions,      Harvester. 104 F.T.C. 949, 1062 (1984]. See 15
  Commission (March 7, 1996), available at http://       among others).                                          U.S.C. 45(n).
  www.ftc.gov/opa/1996/03/buyline.shtm).                    rno Id.                                                11• See supra note 95.
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  the investment costs; and refund                  claims are deceptive and unlawful                    purchasers that the references were paid
  policies. 115 The numerous business               under Section 5 of the FTC Act.11s                   or otherwise received a benefit for
  opportunity complaints that consumers                Under the Original Franchise Rule                providing a favorable account of the
  submit to the Commission each year                and the interim Business Opportunity                 opportunity. The use of fictitious
  consistently reference these same                 Rule, the Commission sought to ensure               references is an objectionable, but very
  concerns. The disclosure requirements             the accuracy and reliability of earnings            effective means of misleading
  under the final Rule address each of              claims, both written and oral, express or           consumers about a highly material
  these deceptive or unfair practices.              implied, by prohibiting sellers from                fact-whether other purchasers have
                                                    making an earnings claim, unless the                actually achieved earnings as the seller
   1.   Earnings Claims                             seller possessed a reasonable basis for             represents, and whether those
                                                    the claim, along with written                       purchasers' overall experience of
      In the Commission's experience,               substantiation for the claim, at the time
   earnings claims are highly material to                                                               operating the business has been
                                                    the claim was made. Sellers were also               positive. When the information a
   consumers in making their investment             required to provide prospective                     reference provides on these questions is
   decisions and typically are the single           purchasers with a separate earnings                 fictitious, a prospective purchaser has
   most decisive factor in such decisions.          claims statement that set forth the claim           no way of knowing the information is
   Earnings claims lie al the heart of              and the substantiation for that claim.              false and unreliable. Thus, the use of
   business opportunity fraud, and are              The final Rule continues to address false           fictitious references-shills-is a
   typically the enticement that persuades          and deceptive earnings claims by                    deceptive practice.120
   consumers to invest their money. In the          requiring business opportunity sellers to
   overwhelming majority of the                     disclose whether they make an earnings                 The Original Franchise Rule and the
   Commission's more than 245 cases                 claim. Sellers who make earnings claims             interim Business Opportunity Rule
   against business opportunity sellers, the        must attach to the required disclosure              sought to remedy this deceptive practice
                                                    document an earnings claim statement                by requiring business opportunity
  business opportunity seller has lured                                                                 sellers to provide prospective
   unsuspecting consumers through false             setting forth the earnings claim, the
                                                    number and percentage of purchasers                 purchasers with the names and contact
   or deceptive earnings representations.                                                               information for at least 10 current
  These claims have taken the form of               who achieved the represented level of
                                                    earnings, the date range during which               purchasers of the opportunity. The final
  purported historical earnings statistics                                                              Rule continues to remedy this deceptive
   (e.g., "Our operators have earned                the -represented earnings were achieved,
                                                    and other information. These disclosure             practice by requiring a business
  $100,000 a year"), as well as wild and                                                                opportunity seller to disclose a list of all
  unsupported earnings projections (e.g.,           requirements are designed to help
                                                    consumers identify and evaluate an                  prior purchasers of the business
   "You will earn $100,000 in your first                                                                opportunity during the previous three
                                                    earnings claim, if one is made, or to
  year"). Promoters of work-at-home                                                                     years. The disclosure of prior
                                                    arouse suspicion if an earnings claim is
  opportunities frequently dupe                     made orally but is disclaimed in                    purchasers is instrumental in preventing
  consumers with false earnings claims.             writing. The final Rule, in§ 437.6(d),              fraud because it enables prospective
  For example, in one recent envelope-              also prohibits misrepresenting "the                 purchasers to independently verify the
  stuffing case brought under Section 5 of          amount of sales, or gross or net income             seller's claims. The final Rule also, in
  the FTC Act, the defendants promised              or profits a prospective purchaser may              § 437.6(q), prohibits misrepresenting
  purchasers weekly earnings ranging                earn, or that prior purchasers have                 that any person has purchased a
  from $1,200 to $4,40o. 11 n In another            earned."                                            business opportunity, or that any person
  case targeting Spanish-speaking                                                                       can provide an independent assessment
  consumers, the defendants promised         2. References                                              of the offering, when such is not the
  that purchasers could earn $1,400 per         The use of paid references or "shills"                  case.
  week stuffing envelopes from home. 117     is a common practice in the sale of                        3. Refund Policies
  Often earnings claims are express, but     fraudulent business opportunities. In
  may be implied. Sellers often convey       many of the Commission's cases against                        Fraudulent business opportunity
  these false and unsubstantiated earnings fraudulent business opportunity sellers,                     sellers often offer prospective
  claims orally, although it is not unusual the defendants had offered to provide                       purchasers the right to cancel or to seek
  for such claims to be in writing. Nor is   prospective purchasers with                                a whole or partial refund, but when a
  it unusual for these false earnings        purportedly independent references,                        purchaser seeks to cancel, he finds there
  claims to contradict inconspicuous         who in reality were nothing more than                      are hidden limitations or conditions on
  disclaimers the seller has hidden in       paid shills-individuals who were                           the refund policy. More often, the seller
  contracts or other printed materials. At   compensated by the defendants to claim                     simply ignores the purchaser's request.
  any rate, false or unsubstantiated         that they were successful operators of                     Thus, refund offers are frequently just
  earnings claims are inherently likely to   defendants' business ventures. 119 The                     illusory, and misleading. Cancellation
  mislead consumers. Certainly, no aspect business opportunity sellers, however,                        or refund offers are material to
  of the sales transaction is more material had not disclosed to prospective                            prospective purchasers because they
  than the level of earnings a purchaser                                                                purport to reflect the potential risk of
                                               110 See FTC Policy Statement on Deception,
  can reasonably expect. Moreover,                                                                      the proposed transaction, and may
                                             appended to Cliffdale Associates, Inc., 103 F.T.C.
  prospective purchasers reasonably          110, 174 (1984).
                                                                                                        create the impression that the business
  interpret earnings claims at face value.     11• E.g., FTC v. Am. Entm't Distribs., Inc., No. 04-
                                                                                                        opportunity offer is either risk free or a
  Thus, false or unsubstantiated earnings    22431-CIV-Martincz (S.D. Fla. 2004); U.S. v.               low financial risk. Purchasers
                                                   Vaughn, No. 01-20077-01-KHV (D. Kan. 2001);          reasonably interpret a refund policy to
                                                   FTCv. Harl Mktg. Enter. Ltd., Inc., No. 98-222-      be, in fact, as stated. Thus, representing
    11 5See supra note 96.                         CIV-T-23 E (M.D. Fla. 1998); FTC v. lnetintl.nom,
    116 FTC v. Global U.S. Resources, No. 10-CV-
                                                   No. 98-2140 (C.D. Cal. 1998); FTCv. Infinity
  1457 (RNCJ (D. Conn. 2010).                      Multimedia, Inc., No. 96-6671-CIV-Gonzalez (S.D.       120 See FTC Policy Statement on Deception,
    117 FTC v. Zoilo Cruz, No. 3:08-cv-01877-JP
                                                   Fla. 1996); FTCv. Allstate Bus. Consultants Group,   appended to Cliffdale Associates, Inc., 103 F.T.C.
  (D.P.R. 2008).                                   Inc., No. 95-6634-CIV-Ryskamp (S.D. Fla. 1995).      110, 174 (1984).
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  an illusory refund policy is deceptive                alert a prospective purchaser of a          investigate the litigation history of the
  under Section 5 of the FTC Act.                       likelihood of fraud.12:1                    seller, identify the seller's refund or
    Moreover, the failure to honor refund                  One of the key indicia of a seller's     cancellation policy, and check on the
  promises is an unfair practice in                     reliability and trustworthiness is          experiences of other purchasers. By ·
  violation of Section 5(n) of the FTC                  whether there have been law                 providing consumers with access to this
  Act. 121 It often results in substantial              enforcement actions or lawsuits for         information before money changes
  injury to business opportunity                        fraud and similar infractions targeting     hands, the final Rule will substantially
  purchasers that they cannot reasonably                that seller. Accordingly, und.er the        reduce economic harm caused by
  avoid. 122 Moreover, the record is devoid             Original Franchise Rule and the interim     misleading sales practices.
  of any evidence suggesting that this                  Business Opportunity Rule, the                 The Commission has attempted to
  harm is outweighed by any                             Commission required sellers to disclose     reduce sellers' compliance costs
  countervailing benefits.                              certain legal actions in which they or      wherever possible. In general,
                                                        their principals have been involved.        compliance with the final Rule's
    To remedy this practice, under the                  Similarly, the final Rule requires a        disclosure requirements is significantly
  Original Franchise Rule and the interim               business opportunity seller to disclose     less burdensome than with the Original
  Business Opportunity Rule, it was a                   any legal actions that the seller, its      Franchise Rule or the interim Business
  violation for a seller to fail to refund a            affiliates, and certain key personnel       Opportunity Rule. Most notably, the
  purchaser's funds, in certain instances.              have been involved in during the            final Rule streamlines the more than 20
  The final Rule continues to address this              previous ten years involving                separate categories of disclosures
  practice. Under§ 437.3(a)(4) of the final             misrepresentation, fraud, securities law    required by the interim Business
  Rule, a seller is not required to have a              violations, or unfair or deceptive          Opportunity Rule to just five. The final
  refund or cancellation policy. The                    practices, including violations of any      Rule also employs specific prohibitions
  seller, however, is required to disclose              FTC Rule. Knowledge of such legal           in place of affirmative disclosures
  whether it has either a refund or                     actions against the seller and other key    wherever possible in an attempt to
  cancellation policy, and if so, the seller            persons associated with the seller is       further reduce compliance costs.
  must disclose, in an attachment to the                material to a prospective purchaser's          A variety of other amendments have
  disclosure document, the material terms               decision to go forward with the             been made in an attempt to reduce
  of the policy. Moreover, §437.6(k)                    transaction.                                compliance costs for business
  prohibits any misrepresentation of a                     These disclosure requirements are        opportunity sellers. For example, in the
  seller's refund or cancellation policies,             tailored to address common deceptive        RNPR, the Commission eliminated the
  and§ 437.6(1) prohibits failure to                    or unfair practices in the sale of          requirement that sellers disclose the
  provide a refund or cancellation when                 business opportunities, as demonstrated     litigation histories of their sales
  the purchaser has satisfied the terms                 by the Commission's extensive law           personnel, recognizing that such
  and conditions disclosed.                             enforcement experience with business        disclosure would place a burden on
  4. Legal Actions                                      opportunity fraud. In addition to these    business opportunity sellers that would
                                                        disclosures, the final Rule requires        not be outweighed by countervailing
      The Commission's law enforcement                  sellers to disclose certain identifying    benefits to prospective purchasers.124
  experience amply demonstrates that                    information about themselves and           The final Rule also does not require
  fraudulent business opportunity sellers               expressly prohibits a variety of material   sellers with prior legal actions against
  often operate through multiple related                misrepresentations and omissions that      them to detail the nature of the legal
  affiliates, or use, sequentially or                   the Commission's experience                action, but rather, permits sellers to
  simultaneously, a variety of corporate                demonstrates to be most commonly           provide a brief 100-word description of
  identities in order to obscure their                  associated with deceptive and unfair       the case if they so choose. Also, in an
  negative reputation or to avoid alerting              practices in the sale of business          attempt to reduce compliance costs, the
  consumers of the potential for fraud.                 opportunities.                             final Rule permits sellers to comply
  This subterfuge is designed to mislead,                                                          with the cancellation or refund
  and actually does mislead prospective                    C. The Economic Effect of the Rule      disclosure requirement by attaching to
  business opportunity purchasers about a                    At every stage of the Rule amendment the disclosure document a copy of a pre-
  crucially material fact: The reliability                 proceeding, the Commission solicited    existing document-such as a company
  and trustworthiness of the seller with                   comment on the economic impact of the brochure-that details the seller's
  whom the consumer is transacting. It is                  Rule, as well as the costs and benefits cancellation or refund policy. The final
  not unreasonable for a consumer lo                       of each proposed Rule amendment. In     ~ule also provides sellers with a less
  believe that a seller is as represented;                 issuing the final Rule, the Commission  burdensome means of complying with
  the consumer is not obliged to suspect                   has carefully considered the comments   the reference disclosure requirement: In
  an apparently legitimate seller has a                    received and the costs and benefits of  lieu of a list of the 10 prior purchasers
  history of fraud hidden behind multiple each amendment. As discussed                             nearest the prospect, a seller may
  defunct or impossible to trace corporate throughout this SBP, the final Rule's                   provide a prospect with a national list
  entities. Thus, it is a deceptive practice               disclosure requirements and specific    of all purchasers. For example, a seller
  and a violation of Section 5 for a seller                prohibitions will provide a substantial making disclosures online could simply
  to obfuscate past activities that would                  benefit to consumers weighing the risks maintain an electronic list of purchasers
                                                           of investing their money in specific    that it updates periodically. This would
     12 1 An act or practice is unfair if it 'causes or is
                                      1
                                                           business opportunity offers. In         enable the seller to avoid having to
  likely to cause substantial injury to consumers          particular, the mandated disclosures    tailor the disclosure to each prospective
  which is not reasonably avoidable by consumers           will help consumers   evaluate the
  themselves and not outweighed by countervailing                                                     tz• 73 FR at 16126. The Commission's decision to
  be11el1ts to consumers or to competition." 15 U.S.C.     earnings claims made by a seller,       11a1Tow the Rule so that MLMs would not be
  5(n).                                                                                                        burdened with unworkable disclosure requirements
    122See. e.g., In re Orkin Exterminating Co., 108        See FTC Policy Statement on Deception,
                                                          123                                                  was similarly prompted by concern that any
  F.T.C. 263 (1986). afrd, Orkin Exterminatfog Co. v.   appended to Cliffdale Associates, Inc ... 103 F.T.C.   potential benefits would be outweighed by
  FTC, 849 F.2d 1354 (11 Cir. 1988).                    110, 174 (1984).                                       compliance costs. Id. at 16119-21.
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  purc:haser, thereby further reduc:ing        Amended Franc:hise Rule. Finally, two                     affiliates or prior businesses.
  compliance costs.                            administrative sections-437.9 and                         Information about litigation history
  D. The Effect of the Rule on State and       437.10-address other laws, rules, and                     based on allegations of
  Local Laws                                   orders, and severability. The sections                    misrepresentation, fraud, securities law
                                               that follow discuss each of these rule                    violations, or unfair or deceptive
     Section 437.9(b) of the final Rule        provisions in turn.                                       practices is highly material to assessing
  provides that the Commission does not                                                                  investment risk. Discovering that a
  intend to preempt state or local business    A. Section 437.1: Definitions
                                                                                                         seller has a history of violating laws and
  opportunity laws, except to the extent          The final Rule begins with a list of                   regulations is perhaps the best
  that they conflict with the Rule. A law      defined terms in alphabetical order. In                   indication that a particular business
  does not conflict with the Rule if it        several instances, the final Rule's                       opportunity is a high-risk investment.
  affords prospective purchasers equal or      definitions closely track those contained                    The definition of "action" is intended
  greater protection, such as a                in the interim Business Opportunity                       to make clear that disclosures involving
  requirement for registration of              Rule or the Commission's                                  prior litigation include not only civil
  disclosure documents or more extensive       interpretations of the Original Franchise                 actions brought before a court but also
  disclosures.                                 Rule. 126 These include the definitions                   matters before arbitrators. 130 It also is
     Although state laws offering equal or     for the terms "action," "affiliate,"                      intended to make clear that an "action"
  greater protections are not preempted,       "disclose or state," "ean1ings claim,"                    includes all government actions,
  §437.6(c) of the final Rule, which           "person," and "written or in writing."                    including criminal matters and actions
  addresses extraneous materials,              In addition, the final Rule includes                      brought to enforce FTC Rules, as well as
  prohibits sellers from providing             definitions for the terms "business                       administrative law enforcement actions,
  disclosures required under state law in      opportunity," "designated person,"                        such as cease and desist orders or
  the same document with the disclosures       "exclusive territory," "general media,"                   assurances of voluntary compliance. 131
  required under the final Rule. One of        "new business," "prior business,"                            During the Business Opportunity
  the main goals of revising and tailoring     "providing locations, outlets, accounts,                  workshop, a panelist representing the
  the disclosure requirements for business     or customers," "purchaser,"                               DOJ suggested that bankruptcy is
  opportunity sellers is to simplify and       "quarterly," "required payment," and                      another type of legal action that should
  streamline the disclosures into a single-    "seller," each of which was proposed in                   be disclosed to potential purchasers
  page document. The Commission has            the JPBOR and, in certain                                 because a bankruptcy filing could be a
  determined, therefore, that allowing         circumstances, modified in the RPBOR                      red flag warning of potential risk
  business opportunity sellers to mix          and the proposed Final Rule attached to                   associated with a business
  federal and state disclosures into one       the Staff Report. Finally, the final Rule                 opportunity. 132 A panelist from the
  document would be a means for sellers        includes two new definitions that were                    Maryland Attorney General's Office
  to present lengthy and confusing             recommended in the Staff Report: (1)                      disagreed, arguing that this additional
  information to prospective purchasers,       "Material" and (2) "signature or                          disclosure would not benefit potential
  and would be contrary to the                 signed." 127 Each definition, including                   business opportunity purchasers
  Commission's goal of requiring sellers to    the record support for the definition and                 because, in his experience, fraudulent
  provide a simple, clear, and concise         the Commission's analysis, is addressed                   business opportunities do not typically
  disclosure document. 125                     below.                                                    file for bankruptcy protection. 133
  III. Section-by-Section Analysis of Part     1. Section 437.1(a): Action                               Instead, in that panelist's experience,
  437                                                                                                    fraudulent business opportunity
                                                  The term "action" appears in                           promoters shutter their premises and
    The final Rule is divided into ten         § 437.3(a)(3), which requires business
  sections. Section 437.1 defines 19 key                                                                 reopen as an entirely new fraudulent
                                               opportunity sellers to disclose material                  entity. Another panelist posited that
  terms employed in the Rule's text.           information about the business
  Section 437.2 establishes the business                                                                 disclosure of the existence of a
                                               opportunity seller's litigation history. 12 "             bankruptcy by the business opportunity
  opportunity seller's obligation to furnish   Specifically, § 437.3(a)(3) of the final
  prospective purchasers with material                                                                   or its key personnel was not likely to
                                               Rule requires the disclosure of material                  identify fraudulent or problematic
  information in the form of a written         information about certain civil or
  basic disclosure document. Section                                                                     business opportunities that would not
                                               criminal actions within the previous ten                  already be identified through the
  437.3 specifies the content and form of      years involving the business
  the disclosure document. Section 437.4                                                                 existing proposed categories of legal
                                               opportunity seller, its directors, and                    actions. 134
  sets forth the requirements that business    certain key employees, 129 as well as its                    The Commission has determined not
  opportunity sellers must follow if they                                                                to include bankruptcy as a type of legal
  elect to make representations regarding         120 See 16 CFR 437.1; Final Interpretive Guides
                                                                                                         action that a business opportunity seller
  earnings. Section 437.5 addresses sales      ("Interpretive Guides") accompanying the Original
                                               Franchise Rule, 44 FR 49966 (Aug. 24, 1978).              must disclose. The Commission's law
  conducted in Spanish or other                                                                          enforcement experience indicates that
                                                  121 At the same time, the final Rule eliminates
  languages besides English, and the           nine of the interim Business Opportunity Rule's           when targeted by law enforcement,
  disclosure requirements for those sales.     terms and their definitions. which are no longer
  Section 437.6 prohibits a number of          necessary: "prospective business opportunity
                                                                                                         a function similar to an officer, director, or sales
  specific deceptive claims and other          purchaser," "business day," "time for making of
                                               disclosures," "fractional business opportunity,"          manager of the seller." See §437.3(a)(3){i)(c).
  deceptive practices in connection with       "business opportunity broker," "sale of a business           uo 71 FR at 19061.
  business opportunity sales. Section          opportunity," "cooperative association," "fiscal             131Jd.
  437.7 sets forth the Rule's recordkeeping    vear," and "personal meeting."                               132 fost, fune 09 Tr at 32. A second panelist
  provisions. Section 437.8 expressly          • 12a Section 437.3(a)(3) requires rlisclosurn of "any    (Taylor, June 09 Tr at 35), and a commenter
                                               civil or crimiiial action for misrepresentation, fraud,   (Brooks-Workshop comment) agreed that existence
  exempts from the Rule those business         securities law violations, or unfair or deceptive         of a bankruptcy might be relevant to a potential
  arrangements that are covered by the         practices, including violations of any FTC Rule."         purchaser.
                                                 120 The final Rule covers "any sales managers, or         133cantone, June 09 Tr at 37.
   12,   73 FR at 16128.                       any individual who occupies a position or performs          134 MacLeod, June 09 Tr at 33.
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  rather than file for bankruptcy,                         final Rule defines the term "affiliate" to            the 11e.me time, the definition of
  fraudulent business opportunity sellers                  mean: "An entity controlled by, ·                     "business opportunity" has been
  tend to vanish and then simply reopen                    controlling, or under common control                  narrowly tailored to avoid inadvertently
  under new company names. 1 :rn Thus,                     with a business opportunity seller."                  sweeping in other business
  there is little meaningful correlation                   This definition also covers litigation                arrangements, such as traditional
  between filing for bankruptcy and                        involving a parent or subsidiary of the               product distribution. This has been
  promoting a fraudulent business                          business opportunity seller.        .                 accomplished primarily through
  opportunity. Yet, many legitimate                          The definition of "affiliate," as                   narrowing the types of business
  businesses have been forced by                           proposed in the INPR and RNPR, and                    assistance that will trigger the Rule's
  circumstances to seek the protection of                  recommended in the Staff Report,                      coverage from the five categories
  bankruptcy courts. Therefore,                            received no comment, and the final Rule               originally proposed in the IPBOR to the
  bankruptcy filing would not seem to be                   adopts this definition of" affiliate" as              three categories described above.
  a reliable marker for potential fraud, and               recommended.                                             Consistent with the approach
  would not likely help business                                                                                 proposed in the RPBOR, the final Rule's
  opportunity purchasers avoid being         3. Section 437.l(c): Business                                       definition of business opportunity
  defrauded. Therefore, the final Rule's     Opportunity                                                         eliminates two types of business
  definition of action does not contain         The definition of "business                                      assistance that under the IPBOR would
  reference to bankruptcy.136                opportunity" delineates the scope of the                            have triggered the Rule's strictures and
     Finally, the Staff Report noted that    Rule's coverage. Under the final Rule, a                            disclosure obligations: (1) Tracking or
  some state administrative proceedings      "business opportunity'' is a commercial                             paying, or purporting to track or pay,
  result in parties entering into assurances arrangement that possesses three                                    commissions or other compensation;
  of voluntary compliance, while other       required elements. First, a seller must                             and (2) providing other advice or
  states refer to such orders as assurances  solicit a prospective purchaser to enter                            training assistance. The sections below
  of discontinuance. The staff               into a new business. 137 Second, the                                describe the evolution of the business
  recommended, therefore, adding             prospective purchaser of the business                               opportunity definition, including the
  "assurance of discontinuance" to the       opportunity must make a "required                                   rationale for eliminating these types of
  categories of legal actions enumerated in  payment." 138 And third, the seller must                            assistance from the definition of
  the proposed definition. The               represent that the seller or one or more                            business opportunity.
  Commission agrees with the staffs          designated persons will provide any of                                 In the IPBOR, the proposed definition
  recommendation and the final Rule's        three types of business assistance: (1)                             of "business opportunity" was designed
  definition of "action" now includes that   Providing locations for the purchaser's                             to be broad enough to cover the sale of
  phrase. Accordingly, §437.l(a) of the      use or operation of equipment, displays,                            virtually any type of business
  final Rule defines "action" as follows:    vending machines, or similar devices;                               opportunity, including two types in
  "A criminal information, indictment, or    (2) providing outlets, accounts, or                                 particular that historically had fallen
  proceeding; a civil complaint, cross       customers to the prospective purchaser;                             outside the scope of the Original
  claim, counterclaim, or third party        or (3) buying back any or all of the                                Franchise Rule-work-at-home and
  complaint in a judicial action or          goods or services Lhat the purchaser                                pyramid marketing opportunities. 140 As
  proceeding; arbitration; or any            makes, including providing payment for                              explained more fully in the INPR, the
  governmental administrative                such services as, for example, stuffing                             Commission's law enforcement
  proceeding, including, but not limited     envelopes from the purchaser's home.                                experience and consumer complaints
  to, an action to obtain or issue a cease      Because this section triggers the                                demonstrate that these two types of
  and desist order, an assurance of          strictures and requirements of the Rule,                            opportunities arc sources of prevalent
  voluntary compliance, and an assurance     the definition of "business                                         and persistent problems, 141 which the
  of discontinuance."                                                                                            Commission has traditionally
                                             opportunity," and in particular, its                                challenged under Section 5 of the FTC
     The definition of "action," as          specification of the types of "business
  recommended in the Staff Report,                                                                               Act.142
                                             assistance" that characterize a covered                                In order to reach these two types of
  received no comment, and the final Rule
  adopts this definition of "action" as      business, has generated substantial                                 opportunities, the INPR proposed a
  recommended.                               comment throughout this proceeding.                                 broad definition of "business
                                             After careful consideration of the                                  opportunity" comprised of three
  2. Section 437.l(b): Affiliate             amassed record, the Commission has
     The term "affiliate" appears in several crafted the final Rule's business                                   services directly to end-users other than the
  sections of the final Rule, most notably   opportunity definition to ensure that it                            business opportunity seller. These changes extend
  in§ 437.3(a)(3), which requires a          is broad enough to encompass many                                   the scope of coverage to many business
                                             business opportunities that historically                            opportunities that previously escaped coverage.
  business opportunity seller to disclose                                                                           1•0 71 FR at 19059.
  not only litigation in which the seller    were not covered under the Original                                    111 In 2010, pyramid schemes generated
  was named as a party, but any litigation Franchise Rule or the interim Business                                approximately 2,000 consumer complaints, while
  naming any of the seller's "affiliates" or Opportunity Rule, but which have                                    work-at-home schemes generated over 8,000
                                                                                                                 complaints. See Consumer Sentinel Network
  prior businesses. Section 437. l(b) of the routinely been shown to be associated                               Databook (March 2011 J at 76, 79, available at http://
                                             with unfair or deceptive practices. 139 At                          ftc.gov/sentinel/reports/sentinel-annual-reports/
     135 See, e.g., FTC v. Nat'] Ve11ding Can.sulta11ts,                                                         sentinel-cy2010.pdf.
  Inc., CV-S-05-0160-RCJ-PAL (D. Nev. 2005); FTC             u, Section 437.l(j) defines "new business" as "a       142 Many of these schemes fell outside the ambit
  v. USA Beverages, Inc., CV-05-61682 (S.D. Fla.           business in which the prospective purchaser is not    of the Original Franchise Rule because: (1) The
  2004): FTC v. Allstate Bus. Distributian Ctr., Inc.,     currently engaged. or a new line or typo of           purchase price was less than $500, the minimum
  CV-00-10335AHM (C.D. Cal. 2001); FTC v ..                business."                                            payment necessary to trigger coverage; (2) required
  O'Rourke, No. 93-6511-Civ-Gonzalez [S.D. Fla.              13a See§ 437.l(p) [defining "required payment").    payments were primarily for inventory, which did
  1993); FTC v. Inv. Dr,v., Inc., 1989 U.S. Dist. LEXIS      139 As discussed supra in Section I.C, the          not count toward the $500 monetary threshold; (3)
  6502 (E.D. La. June 7, 1989).                            definition of business opportunity no longer          the scheme did not offer location or account
     136 Similarly, the scope of 437.3(c)[3)(i) has        excludes transactions falling below a minimum         assistance; or (4) the scheme involved the sale of
  remained unchanged and does not require the              monetary payment threshold nor does it require        products to the business opportunity seller rather
  disclosure of bankruptcy filings.                        that the purchaser of the opportunity sell goods or   than to end-users. See 71 FR at 19055, 19059.
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  element1: (1) A 11olicitation to enter into   been broad enough to cover other typH                  relation1hip11"n that had been
   a new business; (2) payment of                of commercial arrangements, such as                   inadvertently swept into the IPBOR. 157
   consideration, directly or indirectly         bona fide educational programs offered                   The majority of comments in response
   through a third party; and (3) the            by colleges and universities, the sale of             to the RNPR focused on whether the
   making of either an "earnings claim" or      certain books by publishers or book                    revisions to the proposed Rule would
   an offer to provide "business                 stores, and even the relationship                     capture MLMs. 158 The majority of
   assistance." 143 The IPBOR's definition       between newspapers and independent                    commenters applauded the
   of "business assistance" included            carriers who distribute the newspapers                 Commission's decision to narrow the
   assistance in the form of "tracking or       to homes and businesses.151                            scope of the rule, while others
   paying, or purporting to track or pay,       Recognizing the unintended                             expressed concern that the MLM
   commissions or other compensation             overbreadth of the Rule to sweep in                   industry would continue to be subject to
  based upon the purchaser's sale of             these types of commercial aITangements                the RPBOR despite the more narrowed
  goods or services or recruitment of other     as well as the unworkability of applying               definition of "business opportunity." 15 9
   persons to sell goods or services." 144       the Rule to MLMs, the Commission                      For example, some commenters
   The Commission noted that many                proposed the RPBOR with a narrower                    expressed concern that the buy-back
   pyramid schemes offer this type of            definition of "business opportunity."                 provision, set forth in§ 437.1(c)(3)(iii),
   assistance, purporting to compensate         The RPBOR "business opportunity"                       would sweep in MLM companies that
  participants not only for their own           definition narrowed the types of                       offer to buy back their distributors'
   product sales but also for sales made by      "business assistance" that would trigger              unused inventory. 160 These commenters
  their participants' downline recruits. 145    Rule coverage by deleting from the Rule                suggested amending this provision to
   Under the IPBOR, "business assistance"       text: (1) Tracking payments or                         strike the word "provides" from
  also included providing other advice or       commissions and (2) providing other                    § 437.1(c)(3)(iii), so that the definition of
   training assistance.14n                      advice or training assistance.1 5 2 The                "business opportunity" would clearly
     In response to the INPR, many                                                                     not encompass a return of unused
                                                RPBOR definition also eliminated the
  commenters argued that the IPBOR              "earnings claim" element from the                      materials or merchandise. rn 1
  would have unintentionally swept in                                                                     The Commission is not persuaded
                                                definition. 153 But for this modification,
  numerous commercial arrangements                                                                     that such a change is necessary. In the
  where there is little or no evidence that     any business or commercial                             RNPR, the Commission made clear that
  fraud is occurring. 147 Several               arrangement that made an earnings                      §437.l(c)(3)(iii) was intended to capture
  commenters contended that the IPBOR           claim could have been a "business                      work-at-home business opportunities in
  would have regulated a wide range of          opportunity," as defined by the Rule. To               which the seller provides the purchaser
  legitimate and traditional product            avoid transforming common commercial                   with some supplies and the purchaser
  distribution arrangements that were not       transactions into "business                            converts those supplies into a product
  associated with the types of fraud that       opportunities," some commenters
  business opportunity laws are designed        suggested narrowing the definition of                     15 " For example, commenlers lo the JNPR noted


  to remedy. For example, one commenter         "earnings claim." 154 In the RNPR.                      that the IPBOR would cover "manufacturers,
                                                however, the Commission determined                      suppliers and other traditional distribution firms
  suggested that the IPBOR could be read                                                               that have relied on the bona fide wholesale price
  to cover product distribution through         that the better approach to address                    exclusion to avoid coverage" under the Rule.
  retail stores simply because the retailer     concerns about overbreadth was to tailor               Sonnenschein-INPR at 1-2. The Cosmetic, Toiletry
  pays for inventory and the manufacturer       the substantive scope of the Rule, in                  and Fragrance Association posited that the IPBOR
                                                part, by unlinking the definition of                   would cover the relationship between a
  provides sales training to its retail                                                                manufacturer and an independent contractor who
  accounts. 148 The commenter suggested         "business opportunity" from the making                 sells the product to beauty supply companies,
  that its business operations would meet       of an earnings claim. 155 The Staff Report             salons, and others. CTFA-INPR; see also LHD&L-
  the IPBOR's definition of business            recommended that the Commission                        INPR at 2 (noting that the IPBOR could cover the
                                                adopt this modification in the final                   relationship between a manufacturer and a regional
  opportunity because: (1) The "payment"                                                               distributor of products).
  prong of the definition did not exempt        Rule. No comments received in                             151 73 FR at 16133.
  voluntary purchases of inventory; and         response to the Staff Report addressed                    150 DSA-RNPR. In addition, the Commission
  (2) providing retail staff with sales         this change.                                           received more than 40 comments from various
  training would have satisfied the                                                                    MLMs thal oxpressed support and concurrence with
                                                   In the RNPR. the Commission                         DSA's comments. See, e.g., Big Ear-RNPR; Jafra
  "business assistance" prong of the            solicited comment as to whether the                    Cosmelics-RNPR; Lia Sophia-RNPR; Longaberger-
  definition.149 Other commenters noted         narrowed Rule would adequately reach                   RNPR; Princess House-RNPR; Shaklee-RNPR. Some
  that even if a company provided no            the field of business opportunity                      commenters expressed disappointment that the
  "business assistance," iL easily could                                                               Commission proposed to exclude MLMs from
                                                promoters who are likely to engage in                  coverage by the Rule. See. e.g., CAI-RNPR; Durand-
  have fallen under the "business               unfair or deceptive practices, and                     RNPR; PSA-RNPR; Aird-RNPR (Rebuttal);
  opportunity" definition if the company        conversely, queried whether the newly-                 l'arrington-RNPR. As previously noted, the
  made some representation about sales or       proposed narrowing of the definition,                  Commission decided to narrow the scope of the
  profits sufficient to constitute an                                                                  Rule lo avoid broadly sweeping in MLMs.
                                                and, hence, the scope of the RPBOR's                      "" See, e.g., DSA-RNPR; Avon-RNPR; Bates-
  earnings claim. 1so                           coverage, was sufficient to exclude from               RNPR; IBA-RNPR; MMS-RNPR; Mary Kay-RNPR;
     Other commenters in response to the        the rule traditional distributor                       Melaleuca-RNPR; Primerica-RNPR; Pre-Paid Legal-
  INPR argued that the IPBOR would have                                                                RNPR; IDS-RNPR; Tupperware-RNPR; Venable-
                                                                                                       RNPR.
                                                  151 Venable-JNPR at 2-3; NAA-INPR at 1-3.               1•0 DSA requires that its members offer to buy
   ,., See 71 FR at 19087.
                                                  152 In addition, the RPBOR clarified that a          back, at 90% of the salesperson's cost, all resalable
   .,.. Id.
                                                "required payment" does not includo payments for       inventory and other sales materials. DSA-INPR at
   ,.. Id. at 19063 & n.106.                    the purchase of roasonable amounts of inventory at     35.
   1••Id. al 19087 (IPBOR §437.1(cl(v)).        bona fide prices. The final Rule iiu::orporates this     rn1 DSA-RNPR at 6 n.14 (noling !hat "the buy-
   1•1 See 73 FR at 16113-14.                   clarification.                                         back provision is the cornerstone of the DSA's self
   1••  Timberland-INPR at 2.                     1s3 73 FR at 16124.
                                                                                                       regulatory regime and a valuable protection for
   1•0 Id.                                        154Id.                                               individual direct sellers"); Mary Kay-RNPR at 6;
   ,so IBA-INPR at 4; see also PMI-INPR at 3.     155   Id.                                            Babener-RNPR; Melaleuca-RNPR.
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  or other "good" for repurchase by the                     No comments responding to the Staff                 Rule defines the term "designated
  seller or other person. 162 As the Staff               Report addressed this proposal. The                    person" to mean "any person, other
  Report noted, it would require a labored               Commission adopts the change                           than the seller, whose goods or services
  reading of this section to suggest that                recommended in the Staff Report. This                  the seller suggests, recommends, or
  the word "provides" means "to return                   change clarifies that the third prong of               requires that the purchaser use in
  unused inventory the purchaser bought                  the "business opportunity" definition is               establishing or operating a new
  from the seller but was not able to                    triggered only when the seller offers to               business." 172
  sell." 163 Moreover, the Commission has                provide the purchaser, directly or                       One commenter argued that the
  explicitly stated that this provision                  through an intermediary, with locations                proposed definition of "designated
  "would not include the offer to buy                    in which to place equipment, displays,                 person" was overbroad and that its
  back inventory or equipment needed to                  vending machines, or similar devices                   application would result in many multi-
  start a business." 164                                 that the purchaser controls. This change               level marketing opportunities being
     In addition, some commenters argued                 will not compromise the. long-standing                 swept into the Rule. 173 For instance, if
  that §437.1(c)(3)(i) would inadvertently               coverage of the Rule, and will allow                   an MLM company requires its managers
  cover entities that offer, at no cost to               legitimate sellers to offer beneficial                 to provide the use of office space,
  purchasers, the use of office space and                assistance to purchasers, at no cost to                equipment and supplies, and general
  equipment for the operation of the                     those purchasers.169                                   business advice to new agents (and
  purchasers' business. 165 These                                                                               presumably to describe these types of
  commenters were concerned that such                    4. Section 437.l(d): Designated Person                 assistance to prospective purchasers as
  offers could be construed under                           The term "designated person"                        part of a sales pitch), 174 one could argue
  §437.1(c)(3)(i) to be providing                        appears in the definition of "business                 that the company would be covered by
  "locations for the use or operation of                 opportunity" to ensure coverage over                   the Rule. 175 The commenter offered
  equipment * * * on premises neither                    those transactions in which a seller                   several suggested revisions to resolve
  owned nor leased by the purchaser." In                 refers a purchaser to a third party for the            this problem, one of which was to
  the RNPR, the Commission stated that                   provision of business locations,                       specify that "designated person" does
  this provision was intended to capture                 accounts, or assistance such as buy-back               not include entities that receive no
  fraudulent vending machine and rack                    services, as specified in §437.1(c)(3).                payment from the purchaser in order to
  display schemes, 166 as well as schemes                That section makes clear that in order to              receive the services provided. 176 The
  where a purchaser is forced to lease                   fall within the scope of the business                  Staff Report noted that alternate
  office space, telephones and other                     opportunity definition, the business                   resolutions were more appropriate-
  equipment for operation of his or her                  assistance being offered need not he                   namely the modification to the
  business. 167 Noting that the Commission               provided to the purchaser by the seller                definitions of "business opportunity"
  did not intend to capture the incidental               directly. Rather, a seller who represents              and "providing locations, outlets,
  use of office space and equipment that                 that business assistance may or will be                accounts, or customers," and
  the purchaser does not own, lease, or                  provided by a third party, such as a                   recommended, therefore, that the
  control, and for which the purchaser                   locator or a supplier, wi.11 still be                  definition of "designated person" be
  makes no payment, the Staff Report                     covered by the Rule. Section 437.1(c)(3)               adopted in the form proposed in the
  recommended a slight modification to                   uses the term "designated person" to                   RNPR. No comments in response to the
  § 437.1(c)(3)(i), amending it to state:                refer to any third parties who would                   Staff Report addressed this definition,
  "provide locations for the use or                      provide business assistance to a                       and the final Rule adopts the definition
  operation of equipment, displays,                      business opportunity purchaser and to                  as recommended.
  vending machines, or similar devices,                  close a potential loophole. For example, 5. Section 437.l(e): Disclose or State
  owned, leased, controlled, or paid for by              a fraudulent vending machine route
  the purchaser." 168                                    seller would not be able to circumvent                Section 437.l(e) of the final Rule
                                                         the final Rule by representing to a                 defines  "disclose or state" to mean "to
     rn2 See 73 FR at 16123.                                                                                 give information in writing that is clear
                                                         prospective purchaser that a specific
    10, Staff Report at 34.                                                                                  and conspicuous, accurate, concise, and
                                                         locator will place machines for the
     !64 See 71 FR at 19062.
                                                                       170                                   legible." 177 The purpose of this
                                                         purchaser. The referral to a third
    16 • For example, Primerica, an MLM that sells
                                                                                                             definition is to ensure that a prospective
  insurance products and services, requires that its     party would be sufficient to bring the              purchaser will receive complete
  regional managers provide at no cost lo "downline"     transaction within the ambit of the                 information in a form that a prospective
  sales agents the use of office space, supplies, and    Rule.1 71 Section 437.l(d) of the final
  equipment (such as computers and printers) for the                                                         purchaser easily can read. For example,
  operation of his or her business. Primeri.ca noted
                                                         superfluous, as a buyer would never need a seller's
                                                                                                             the furnishing of a disclosure document
  that, as a practical matter, it must require this                                                          without punctuation or appropriate
  assistance, as the regulatory structure in which       assistance in identifying locations that the buyer
  Primerica operates necessitates that regional          already owns or leases. The Commission agrees,
  managers exercise compliance oversight functions       and the final Rule does not include this language.        1 n This approach is consistent with the Amended

  with respect to the agents in their downlines.            ••• In the final Rule, a non-substantive change     Franchise Rule's analogous defmitional elements,
  Primerica-RNPR; see also Avon-RNPR; Tnpperwaro-        was made to the definition of "business                extending the scope of that rule's coverage to reac.h
  RNPR.                                                  opportunity" proposed in the Staff Report-the          transactions in which the franchisor provides to the
    rnn 73 FR at 16123 (citing FTCv. Am. Entm't          colon and number signaling the first element of the    franchisee the services of a person able to secure
  Dis/ribs., No. 04-22431-CIV-Martinez (S.D. Fla.        definition was moved. This change simply makes         the retail outlets, accounts, sites, or locations. See
  2004); FTCv. Advanced Pub. Commc'ns Corp., No.         the sentence structure parallel.                       16 CFR 436.l(j).
  00-00515-CIV-Ungaro-Benages (S.D. Fla. 2000);            ""The Commission's law enforcement                     173J'rimerica-RNPR at 11.
  FTC v. Ameritel Payphone Distribs., Inc., No. 00-      experience demonstrates that closing this potential       114 The MLM company compensates managers for

  0514-CIV-Gold (S.D. Fla. 2000); FTCv. Mktg. and        loophole is necossary. For example, in FTC v.          this service; there is no cost to down-line agents.
  Vending Concepts, No. 00-1131 [S.D.N.Y. 2000)).        Greeting Cards of Am .. Inc .. No. 03-60746-CJV-       Primerica-RNPR at 11.
    101 FTCv. Equinox, Int'], No. CV-S-99-0969-          Gold (S.D. Fla. 2003). thu FTC alleged that the          17s Id.
  JAR-RLH (D. Nev: 1999).                                business opportunity seller represented that a third      11• Id. at 13.

    10a The Staff Report recommended that the            party locator would secure locations for the              11 7 See FTC Policy Statement on Deception,
  Commission strike the final clause of this provision   prospective purchaser, and the locator failed to do    appended to Cliffdale Associates, Inc., 103 F.T.C.
  of the RPBOR-"on premises neither owned or             so.                                                    110, 174 (1984) (discussing the standard for clear
  leased by the p'urchaser"-noting that the clause is      1,1 See 71 FR at 19064.                              and conspicuous disclosures).
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  spacing between words would not be                       prevalence of earnings claims in           made by business opportunity sellers to
  "clear." Similarly, required information                business opportunity sales, the             lure consumers Into believing that a
  such as the number and percentage of                     Commission believes that a broad           purchase poses little financial risk. 186
  prior purchasers who obtained a                          earnings disclosure requirement is            Section 437.l(g) of the final Rule
  represented level of earnings would not                  necessary to prevent fraud. Therefore,     defines the term "exclusive territory" as
  be "conspicuous" if set in small type,                   the final Rule is not limited to express   "a specified geographic or other actual
  printed in a low-contrast ink, or buried                 earnings claims, but also includes         or implied marketing area in which the
  amid extraneous information.                             implied claims, Indeed, such implied       seller promises not to locate additional
     The proposed definition of "disclose                  claims are at least as likely to mislead   purchasers or offer the same or similar
  or state" received no comment. The                       prospective purchasers as express          goods or services as the purchaser
  final definition, therefore, is adopted as              claims. 111 2 The final Rule's definition   through alternative channels of
  proposed.                                                includes three specific examples           distribution." This definition reflects
  6. Section 437.1(0: Earnings Claim                       illustrative of this type of earnings      the common industry practice of
                                                           claim, as follows: "Earn enough to buy     establishing geographically delimited
     The final Rule's key feature is the                  a Porsche," "earn a six-figure income,"     territories-such as a city, county, or
  disclosure document, which provides a                   and "earn your investment back within       state borders-as well as other
  potential purchaser of a business                        one year." Each of these three             marketing areas, such as those
  opportunity with five items of material                 illustrative examples implies a             delineated by population. lfl 7 The
   information, including \.\Titten                       minimum value-the cost of the lowest        definition includes both representations
  disclosure of all "earnings claims" made                priced Porsche in the first· example; at    that other business opportunity
  by the seller, before the purchaser pays                least $100,000 in the second; and an        purchasers will not be allowed to
  any money or executes a contract. This                  amount equal to the purchaser's initial     compete with a new purchaser within
  will allow a potential purchaser to                     investment in the third. Accordingly,       the territory, as well as representations
  compare a seller's written                              this language makes clear that these        that the business opportunity seller
  representations with any oral                           types of representations are                itself or other purchasers will not
  representations made. The term                          indistinguishable from direct, express      compete with the new purchaser
  "earnings claim" is defined in the final                earnings claims.                            through alternative means of
  Rule as "any oral, written, or visual                       Some commenters have argued that        distribution, such as through Internet
  representation to a prospective                         the definition of "earnings claim" is       sales.
  purchaser that conveys, expressly or by                 overly broad and that the Commission           The definition also covers implied
  implication, a specific level or range of               should narrow the definition. rn:i          marketing areas, such as representations
  actual or potential sales, or gross or net              Earnings claims, however, lie at the        that the seller or other operators will not
  income or profits." 178 This                            heart of business opportunity fraud and     compete with the purchaser, without
  intentionally broad definition will cover               typically entice consumers into             delineating a specific territory, or stating
  all variations of earnings representations              investing their money. The Commission       a vague or undefined territory, such as
  that the Commission's law enforcement                   has determined that narrowing the           "in the metropolitan area" or "in this
  experience shows are associated with                    definition of "earnings claim" could        region." If untrue, any of these kinds of
  business opportunity fraud. 17 9                        allow business opportunity sellers to       representations can mislead a prospect
     For illustrative purposes, the                       avoid disclosing critical information to    about the likelihood of his or her
  definition includes two examples of                     prospective purchasers. Accordingly,        success. 188
  communications that constitute                          the definition of "earnings claim," as         The definition of "exclusive territory"
  earnings claims. The first of these                     proposed in the RPBOR and                   received no comment. Accordingly, the
  examples describes common types of                      recommended in the Staff Report, is         definition of "exclusive territory," as
  potentially fraudulent earnings claims:                 adopted without change.                     proposed in the RNPR and
  "A chart, table, or mathematical                                                                    recommended in the Staff Report, is
  calculation that demonstrates possible                  7. Section 437.l(g): Exclusive Territory    adopted without change.
  results based upon a combination of                         This term is defined because it is
  variables." This example is intended to                                                             8. Section 437.l(h): General Media
                                                          referenced in §437.6(11), which
  clarify that sales matrices that purport to             prohibits misrepresentations concerning        The term "general media" appears in
  show income from an array of "vends"                    territory exclusivity. Representations      § 437.4(b), which prohibits business
  per day from a vending machine, for                     about exclusive territories are material    opportunity sellers from making
  example, would constitute an "earnings                  because they purport to assure a            unsubstantiated earnings claims in the
  claim" under the final Rule.rno                         potential purchaser that he or she will     "general media." rn 9 Section 43 7.1 (h) of
     The second example incorporates the                  not face competition from other
  principle, as expressed in the                          purchasers of the same business               mo E.g., FTCv. Vendors Fin. Seiv., Inc., No. 98-
  Interpretive Guides to the Original                                                                 1832 (D. Colo. 1998); FTCv. Jnt'l Computer
                                                          opportunity in his or her chosen            Concepts, lnc., No. 1:94CV1678 (N.D. Ohio 1994);
  Franchise Rule, that "any statements                    location, or from the seller offering the   FTC v. O'Rourke, No. 93--6511--CIV-Ferguson (S.D.
  from which a prospective purchaser can                  same goods or services through              Fla. 1993); FTC v. Am. Safe Mktg., No. 1:89--CV-
  reasonably infer that he or she will earn               alternative channels of distribution.1 84   462-RLV (N.D. Ga. 1989).
                                                                                                        181 71 FR at 19065.
  a minimum level of income" constitute                   Exclusive territory promises go to the
  an earnings claim. 181 Given the                        viability of the business opportunity
                                                                                                        188   Id.
                                                                                                        1 "" Thisprovision is based on an analogous
                                                          and to the level of risk entailed in the    provision in the Amended Franchise Rule. 16 CFR
    110 This definition is substantially similar to the   purchase. 185 Indeed, misrepresentations    436.l(o). The Commission has challenged allegedly
  Amended Franchise Rule's definition of "financial                                                   unsubstantiated earnings claims made through the
  performance representation," which is the               about territories have commonly been
                                                                                                      general media in numerous cases, e.g., FTC v.
  Amended Franchise Rule's equivalent of an                                                           Wealth Sys .• Inc., No. CV 05 0394 PHX )AT (D. Ariz.
  earnings claim. See 16 CFR 436.l(e).                     182 Jnlerprelive Guides, 44 FR 49966.      2005); United States v. Am. Coin-Op Servs., Inc.,
    110 71 FR at 19065.                                    103 73 FR at 16124.                        No. 00-0125 (N.D.N.Y. 2000); United Stoles v. Cigar
    mo Id.                                                 18• See 71 FR at 19065.                    Facto,v Outlet, Inc., No. 00-6209--CIV--Graham-
    rn1   44 FR at 49982.                                  185   Id.                                          r                                  Continued
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  the final Rule defines "general media"                  information that should be disclosed. 193               the term "business opportunity." zoo
  to mean: "Any instrumentality through                   In the Staff Report, the staff                          Section 437.l(j) of the final Rule defines
  which a person may communicate with                     recommended that "material" be                          "new business" as a "business in which
  the public, including, but not limited to,              defined to mean as "likely to affect a                  the prospective purchaser is not
  television, radio, print, Internet,                     person's choice of, or conduct regarding,               currently engaged, or a new line or type
  billboard, Web site, commercial bulk                    goods or services." 194 This definition is              of business." Because it is reasonable to
  email, and mobile communications." t9n                  consistent with the definition of                       assume that a veteran businessperson
  Due to the explosive growth of                          "material" used in the Telemarketing                    may need the final Rule's protections as
  advertising through mobile devices, the                 Sales Rule ("TSR").19s                                  much as a novice, 201 the latter language
  Staff Report recommended adding the                        The definition of "material"                         of the definition covers the sale of
  phrase "mobile communications" to the                   recommended in the Staff Report                         business opportunities to persons who
  list of instrumentalities enumerated in                 received one comment. rnn The                           may already be involved in some type
  the definition.19 1                                     commenter expressed concern that the                    of business other than that which is
     The definition of general media                      definition could be used by sellers as a                being offered by the seller.202
  recommended in the Staff Report                         potential loophole. The commenter                         The proposed definition of "new
  received no comment. The Commission                     suggested that the definition effectively               business" received no comment.
  has determined to adopt the staffs                      would permit a seller to avoid                          Accordingly, the Commission adopts
  recommendation and has therefore                        disclosing the information required by                  the definition of "new business," as
  modified the definition of general media                the Rule by arguing that such                           proposed in the RNPR and
  to include mobile communications.                       information is not likely to affect a                   recommended in the Staff Report.
  Moreover, the definition of general                     buyer's decision. 197 The commenter
  media is not intended to contain an                     further stated that if the Commission                   11. Section 437.l(k): Person
  exhaustive list of instrumentalities, and               retained the recommended definition,           Section 437.l(k) of the final Rule
  other current (and future) types of mass                the Rule should contain the following       defines the term "person," a term used
  communication could also fall within                    language: "Even though this Rule            in many of the final Rule's definitional
  the general media definition.                           imposes various requirements for            or substantive provisions. 203 The Staff
  9. Section 437.l(i): Material
                                                          specific disclosures, sellers are           Report recommended that the term be
                                                          permitted to dispense with any              defined as "an individual, group,
     The term "material" is used in several               disclosures which would not be likely       association, limited or general
  sections of the final Rule.1 92 Section                 to affect a buyer's choice of, or conduct   partnership, corporation, or any other
  437.3(a)(4) of the final Rule requires                  regarding goods or services." nm            entity." zo4
  sellers that offer refunds and                            The Commission disagrees with the            The Commission received no
  cancellations to "state all material terms              commenter. The final Rule mandates the      comments related to the proposed
  and conditions of the refund or                         disclosure of certain types of              definition of "person." The Commission
  cancellation policy in an attachment to                 information, which the Commission has       adopts the definition of "person" as
  the disclosure document." The term                      determined are material to a purchaser's    recommended in the Staff Report, with
  "material" is also used in other                        investment decision. 199 The language       one slight modification. To clarify that
  provisions ofthe Rule. For example,                     the commenter proposes does nothing to      the term encompasses entities that are
  under§ 437.2 (the obligation to furnish                 close any perceived loophole. The           businesses, the Commission added the
  written documents), it is a violation of                Commission is not persuaded that the        word "business" to the last clause of the
  the Rule for the seller to fail to disclose             commenter's suggested change will           definition. Accordingly, the final Rule
  the "material" information specified in                 improve clarity. In fact, it may obscure    defines the term as "an individual,
  § 437.3. Section 437.3, in turn, specifies              the definition. The Commission is           group, association, limited or general
  the items of "material" information that                persuaded by the Staff Report that a        partnership, corporation, or any other
  must be disclosed. The definition of                    definition of "material" is necessary and   business entity." 205 The term "person"
  "material" at§ 437. l(i) was added to the               adopts the definition as recommended.       is to be read broadly to refer to natural
  final Rule because some workshop                                                                    persons, businesses, associations, and
  participants expressed concern that                     10. Section 437.l(j): New Business
                                                                                                      other business entities. Where the Rule
  §437.3(a)(4) as originally proposed                       The term "new business" appears in        refers to a natural person only, it uses
  would not provide sellers with                          the first of three definitional elements of the term "individual." 206
  sufficient guidance about the types of
                                                             '"' Morrissey, June 09 Tr at 41; Taylor, June 09       wo The first of the three detlnitional elements of
  Turnoff (S.D. Fla. 2000); United States v. Emily        Tr at 43; Cantone, June 09 Tr at 47.
                                                                                                                  a "business opportunity" is a" solicitation to enter
  Water & Beverage Co., Inc., No. 4-00-00131 (W.D.           1•• Under the TSR, the Commission requires           into a "new business." Section 437.l(c)(l). This
  Mo. 2000); and United States v. Greeting Card           sellers to disclose all material terms and conditions
                                                                                                                  element distinguishes the sale of a business
  Depot, Inc., No. OD-6212--CIV-Gold (S.D. Fla. 2000).    of the seller's refund policy if the seller makes a
                                                                                                                  opportunity from the ordinary sale or products and
     rno See Interpretive Guides, 44 FR at 49984-85       representation about tho refund policy. See 16 CFR
                                                          310.3(a)(l)(iii).                                       services. 71 FR at 19066.
  (earnings claims made "for general dissemination"                                                                 201 71 FR at 19066.
  inc.Jude "claims made in advertising (radio,               ms See 16 CFR 310.2(q) (detlning "material" to
                                                                                                                    202 For example, an existing tire business owner
  television. magazines, newspapers. billboards, etc.)    mean "likely to affect a person's choice of, or
                                                          conduct regarding, goods or services or a charitable    could purchase a vending machine route, or a
  as well as those contained in speeches or press
  roleasos"). The Commission notes that tho               contribution"); see also FTC Policy Statement on        beverage vending machine route owner could
  Interpretive Guides recognize several exemptions to     Deception, appended to G1iffdafo Associates, Inc ..     purchase an envelope stuffing opportunity.
  the general media claim, such as claims made to the     103 F.T.C. 110, 174 (1984) (defining "material"           2,n E.g.,§§ 437.1; 437.6(q).
  press in connection with bona tlde news stories, as     misrepresentation or practice to mean "one which          20 4 This definition is consistent with the

  well as claims made directly to lending institutions.   is likely to affect a consnmer's choice of or condnct   detlnition of the term "person" in both the interim
  Id. The Commission has proposed that future             regarding a product").                                  Business Opportunity Rule and the Amended
  Compliance Guides to the new Business                      1•a Dub-Staff Report.                                Franchise Rulo. See 16 CFR 436.l(n); interim
  Opportunity Rule retain these standard general             1•1 Id. at 2-3.                                      Business Opportunity Rule 437.2(b).
  media claims exemptions. See 71 FR at 19065.               ma Id. at 2.                                           20s This definition is consistent with the

     101 Staff Report at 42-43.                              rn• See supra Section J.C.2 discussing the tlve      detlnition of the term "person" in the TSR. See
    102 See§§ 437.1, 437.2, 437.3, 437.4, 437.6, 437.7,   substantive disc:losurn items and why they are          16 CFR 310.Z(v).
  and 437.8.                                              material to consumers.                                    20s 71 FR at 19066.
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  12. Section 437.1(1): Prior Business                      § 437.3(a)(3)(i)(B) requires disclosure of             "providing locations, outlets, accounts,
     The final Rule requires sellers to                     legal actions pertaining to a prior                    or customers" as:
  disclose certain civil and criminal                       business "of the seller," and so                       furnishing the prospective purchaser with
  actions against them, including actions                   including the seller's key personnel in                existing or potential locations, outlets,
  against a "prior business of the                          the definition of "prior business" is                  accounts, or customers; requiring,
  seller." 207 Section 437.1(1) of the final                confusing. Second,§ 437.3(a)(3)(i)(C)                  recommending, or suggesting one or more
                                                            separately requires disclosure oflegal                 locators or lead generating companies;
  Rule defines "prior business" to mean:                                                                           providing a list of locator or lead generating
     (1) A business from which the seller                   actions pertaining to the seller's key                 companies; collecting a fee on behalf of one
  acquired, directly or indirectly, the                     personnel, namely; "the seller's officers,             or more locators or lead generating
  major portion of the business' assets; or                 directors, sales managers, or by any                   companies; offering to furnish a list of
     (2) Any business previously owned or                   other individual who occupies a                        locations; or otherwise assisting the
  operated by the seller, in whole or in                    position or performs a function similar                prospective purchaser in obtaining his or her
  part.                                                     to that of an officer, director, or sales              own locations, outlets, accounts, or
     This definition is intended to include                 manager of the seller." The change,                    customers, provided, however, that
  not only an entity from which a seller                    therefore, does not affect the scope of                advertising and general advice about
                                                                                                                   business development 011d training shall not
  acquired the major portion of the seller's                the required disclosure of legal actions,              be considered as "providing locations,
  assets, but also businesses that the seller               but rather clarifies a term that is                    outlets, accounts, or customers." 216
  previously owned or operated.2011 A                       otherwise confusing and somewhat
  broad definition of "prior business" is                   redundant. Accordingly, the                       The proviso, underscored above, has
  necessary to capture all of a seller's                    Commission adopts the definition of            been added to the definition put forth in
  prior operations. 209 The Commission's                                                                   the RNPR. As originally proposed in the
                                                            "prior business" with the modification
  law enforcement experience shows that                                                                    INPR, the definition ended immediately
                                                            recommended by the staff.                      after the clause "otherwise assisting the
  sellers of fraudulent business
  opportunities frequently ply their trade                  13. Section 437.l(m): Providing                prospective purchaser in obtaining his
  through multiple companies                                Locations, Outlets, Accounts, or               or her own locations, outlets, accounts,
  simultaneously or sequentially,                           Customers                                      or customers." In the RNPR, however,
  disappearing in order to avoid                                                                           the Commission stated that in
  detection, and then reemerging in some                       The definition of "providing                interpreting this unqualified clause, it
  new form or in a different part of the                    locations, outlets, accounts, or               would "continue Lo apply its
  country under new names.210 The                           customers" relates to the third prong of longstanding analysis, which considers
  definition thus requires a more                           the "business opportunity" definition,         the kinds of assistance the seller offers
  complete disclosure of the seller's                       which sets forth the types of assistance       and the significance of that assistance to
  business history.                                         the seller represents it will provide to       the prospective purchaser (e.g., whether
    The final definition of "prior                          the purchasers of its business                 the assistance is likely to induce
  business" differs from the definition                     opportunity. 213 The Commission's law          reliance on the part of the prospective
  included in the RPBOR. 211 The Staff                      enforcement history shows that                 purchaser)." 217 In the RNPR, the
  Report recommended that the definition                    fraudulent business opportunity sellers        Commission solicited comment on three
  eliminate a reference to the prior                        often falsely promise to assist                issues related to the "otherwise
  businesses of the seller's key personnel.                 purchasers in obtaining key elements           assisting" clause of the definition: (1)
  Namely, the second prong of the                           necessary for the success of the               Whether the "otherwise assisting"
  original definition defined prior                         proposed, business: A source of                clause adequately covered all of the
  business to include businesses owned or                   customers, locations, outlets, or              business opportunity arrangements that
  operated by both the seller and the                       accounts. For example, deceptive               should be within the scope of the rule;
  seller's key personnel.2 12 The                           representations concerning location            (2) whether inclusion of the "otherwise
  Commission agrees that this change is                     assistance are the hallmark of fraudulent assisting" clause in the definition would
  necessary for two reasons. First,                         vending machine and rack display               cause traditional product distribution
                                                            opportunities, 214 while deceptive             arrangements, educational institutions,
    207   §437.3(a)(3).                                     representations concerning the                 or how-to books to be subject to the
    208   The definition of prior business is broader       provision of accounts or customers are         Rule; and (3) whether the clause would
  than the definition of "predecessor" found in the
  Amended Franchise Rule, which covers only an
                                                            typical of medical billing schemes.21s In result in the inclusion of multi-level
                                                            such schemes, the seller itself may            marketing relationships that otherwise
  entity from which a seller acquired the major
  portion of the seller's assets. See 16 CFR 436.l(p).      purport to secure locations, outlets,          would   nol be covered by the Rule.21s
    200 71 FR at 19066.             .                       accounts, or customers, or may                   The majority of commenters who
    2 1 0 E.g., FTCv. Nat'] Vending Consultants . Inc.,
                                                            represent that third parties will do so.       addressed this definition in response to
  No. 05--0160 (D. Nev. 2005); FTCv. /osoph Hayes,
                                                            Therefore, the final Rule defines              the RNPR focused on when the
  No. 4:96CV06126 SNL (E.D. Mo. 1996); FTCv.                                                               "otherwise assisting'.' clause of the
  O'Rourkt1, No. 93-6511-CIV-Ferguson (S.D. Fla.
  1993); FTCv. Inv. Dev. Inc., No. 89--0642 [E.D. La.         m See§ 437.1(c)(3).
                                                                                                           definition would be triggered.
  1989).                                                      Z14E.g., FTCv. Am. Entm·t Distribs., No. 04-
                                                                                                           Commenters from the MLM industry
    211 Proposed § 437. l(k) of the RPBOR would have
                                                            22431-CIV-Martinez (S.D. Fla. 2004]; FTCv.
  defined "prior business" to mean:                         Advanced Pub. Commc'ns Corp., No. 00--00515-              21n The proposed definition was intended to
    (1) A business from which the seller acquired,          CIV-Ungaro-Benages (S.D. Fla. 2000); FTCv.             capture offers to provide locations that have already
  directly or indirectly, the major portion of the          Ameritel Payphone Distribs., Inc., No. 00-0514-        been found, as well as offers to furnish a list of
  business' assets. or                                      CIV-Cold (S.D. Fla. 2000); FTCv. Mktg. and             potential locations; and includes not only directly
    (2) Any business previously owned or operated           Vending Concepts, No. 00-1131 (S.D.N.Y. 2000).         furnishing locations, but also ·'recommending to
  by the seller, in whole or in part, by any or the           21s E.g., FTC v. Medi works, Inc., No. 00-01079      prospective purchaser specific locators, providing
  seller's officers, directors, sales managers, or by any   (C.D. Cal. 2000); FTC v. Home Professions. Inc., No.   lists or locators who will furnish the locations, and
  other individual who occupies a position or               00-111 (C.D. Cal. 2000); FTCv. Dato Mt1d. Capital,     training or otherwise assisting prospects in finding
  performs a function similar to that of an officer,        Inc., No. SACV-99-1266 (C.D. Cal. 1999); see also      their own locations." 71 FR at 19066.
                                                                                                                      217 73 FR at 16124.
  director, or sales manager of the seller.                 FTCv. AMP Publ'ns, Inc., No. SACV--00-112-AHS-
    212 Id.                                                 ANx (C.D. Cal. 2000).                                     2m Id. at 16133.
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  were concerned that various types of                     training. 227 Some commenters suggested               offered.2:n DOJ also agreed with the
  optional or no-cost assistance that MLM                  eliminating the concept of "potential                 stafrs recommendation to include the
  companies frequently offer their sales                   customers" from the scope of the                      proviso, but objected to further
  representatives could be considered to                   "otherwise assisting" language.2211                   narrowing of coverage, arguing that any
  be "otherwise assisting." 219 These                      Finally, one commenter suggested                      loophole would be vigorously exploited
  include such things as general advice                    revising the definition of "business                  by fraudulent business opportunity
  and training about how to succeed in a                   opportunity" to require that the seller's             sellers.2 33 Tupperware similarly
  new business venture, 220 general                        assistance in providing outlets, accounts             encouraged the Commission to adopt
  advertising for the purpose of promoting                 or customers be a "material                           the proviso as recommended, stating
  the MLM's products or services, 221                      inducement" to the purchaser.229                      that the proviso will allow businesses to
  occasional ad hoc referrals from                            The Staff Report noted a concern with              continue to provide general business
  consumers who contact the company                        narrowing the definition in the ways the              advice and training without the risk of
  directly,222 and optional business tools,                commenters suggested, because it would                inadvertently falling under the aegis of
  such as web templates and links to                       allow promoters of fraudulent schemes                 the Rule. 234
  corporate Web sites that some MLM                        to craft their sales pitches carefully to                The Commission is persuaded by the
  companies offer for sale to its sales                    evade the Rule. The staff disagreed with              Staff Report's recommendation not to
  representatives. Additionally, one                       commenters who recommended                            eliminate the word "customers" from
  commenter expressed concern that                         excising the word "customers" from the                the "otherwise assisting" clause of the
  because of this open-ended clause,                       definition or diluting it in some fashion.            definition, and to add qualifying
  sellers of general training services, such               Instead, the Staff Report recommended                 language to the definition to tailor
  as training on how to start a new                        that the Commission continue its long-                coverage more appropriately. Providing
  business and advice about how to obtain                  standing policy of analyzing the                      the prospective purchaser with
  customers, would be covered by the                       significance of assistance in the context             assistance in obtaining customers is a
  Rule.22a                                                 of the of the specific business                       feature common to many business
     Commenters made a number of                           opportunity, focusing on whether the                  opportunities and should be included in
  suggestions to cure what they perceived                  seller's offer is "reasonably likely to               Lhe definition. For instance, in the cases
  to be the overbreadth of this provision.                 have the effect of inducing reliance on               the Commission has brought against
  Some commenters suggested omitting                       [the seller] to provide a prepackaged                 medical billing opportunities, it is
  the word "customers" from the                            business." 230                                        typical for sellers to offer to provide
  "otherwise assisting" provision and the                     While urging that the word                         assistance to the potential purchaser in
  corresponding provisions of the                          "customers" remain in the definition,                 finding customers for the medical
  "business opportunity" definition.2 24                   the Staff Report did recommend new                    billing service.235 Although the RNPR
  Other commenters recommended that                        qualifying language to address the                    made clear that the "otherwise
  the definition distinguish customers                     concern that the definition could be                  assisting" provision of the definition
  from "near customers" so as to exclude                   read more broadly than intended.                      was not intended to apply to
  the provision of potential customers or                  Specifically, the Staff Report                        advertising, no-cost offers of general
  businesses that the seller obtains from                  recommended adding a short proviso to                 business advice, and training described
  publicly available records. 225 Others                   the "otherwise assisting" clause as                   by the various commenters, 236 the
  suggested adding a statement that no-                    follows: "provided, however, that                     qualifying language is necessary to
  cost general business advice is not                      advertising and general advice about                  prevent the definition from a broader
  "providing customers." 226 Another                       business development and training shall               reading than the Commission intends.
  commenter suggested adding a new                         not be considered as 'providing                       The final Rule, therefore, contains the
  clause to the· definition of business                    locations, outlets, accounts, or                      proviso recommended in the Staff
  opportunity that would create an                         customers.' " 2:n
                                                              The language recommended in the                    Report.
  exception when the assistance offered
  by the seller is limited to advice or                    Staff Report received two comments.                   14. Section 437.l(n): Purchaser
                                                           DOJ strongly agreed that "customers"                    The final Rule defines the term
     210 E.g., DSA-RNPR at 5 (tools are intended to        should remain in the definition, noting               "purchaser" to mean "a person who
  maintain brand uniformity and promote effective          that the allure of a business opportunity             buys a business opportunity." By
  customer service).                                       is the purported ready cash flow to the
     220 E.g., Primeric:a-RNPR at 5 (provides advice and                                                         operation of the definition of
  training about how to identify potential customers
                                                           purchaser, which can come either from                 "person," z:n a natural person, as well as
  and how to make effective sales presentations);          locations or customers, depending on                  any other entity, would qualify as a
  Tupperware-RNPR at 4 (provides training about            the nature of the opportunity being                   business opportunity purchaser. The
  how new representatives can develop own
  customer bases); Venable-RNPR.                             227  Pre-Paid Legal-RNPR.
                                                                                                                 definition of "purchaser" received no
     221 DSA-RNPR at 4 (5/27/2008); Primerica-RNPR           22• Mary   Kay-RNPR at 7 (as an alternative Mary
  at 6.                                                    Kay suggests that in tho commentary to tho Final         232DOJ-StaffReport at 1-2.
     222 E.g., Avon-RNPR at 3 (noting that this practice   Rule, the Commission make clear that passing on          23 3 Id. at 2.
  is designed to help potential customers find a sales     ad hoc referrals of customers who contact the            2,•Tupperware-StaffReport at 2.
  representative, not to help sales representatives find   company directly would not trigger this provision).      23s See, e.g., FTC v. Med. Billers Network, Inc.,
  potential customers); Mary Kay-RNPR at 7                    220 Melaleuca-RNPR.                                No. 05-CV-2014 (S.D.N.Y. 2005); FTCv. Med.-
  (suggesting that merely providing the ability to            230 Staff Advisory Opinion 95-10, Business         Billing.com, Inc., No. 3-02CV0702CP (N.D. Tex.
  search for a sales associate on the company's Web        Franchise Guide (CCH) '!16475 (1995).                 2002); FTCv. Electronic Med. Billing. Inc., No.
  site should not trigger the "providing locations"                                                              SACV02-368 AHS (C.D. Cal. 2002): see also FTC v.
                                                              2a1 For example, this new proviso was designed
  factor of the "business opportunity" definition);                                                              StC1r Publ'g Group, Inc., No. 00cv-023D (D. Wyo.
                                                           to make clear that giving advice about how to
  DSA-RNPR at 5; Melaleuca-RNPR at 2.                                                                            2000) (offering to everything necessary to earn
                                                           demonstrate products, complete product order
     22, Venable-RNPR at 2.                                forms and how lo process returns (Tupperware-         money processing HUD refunds); FTCv. AMP
     22• DSA-RNPR al 5; Venable Rebuttal-RNPR at 3;        RNPR); or providing product advertising in the        Publ'ns, Inc., SACV-00-112-AHS-Anx (C.D. C,al.
  Primerica-RNPR at 5.                                     general media and training in customer and            2000) (offering to provide list of companies in need
     22 5 Venable-RNPR.                                    business development (Primerica-RNPR), would not      of consumer's home-based computer services).
     22n Primerica-RNPR at 8; Tupperware-RNPR at 6;        be considered as "providing locations. outlets.          2an 73 FR at 16123.

  Avon-RNPR; Mary Kay-RNPR.                                accounts, and customers."                                2a, Section 437.l(k).
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  comment, and the final Rule includes                        in the RNPR, that traditional product                     the MLM business model often requires
  the definition as proposed.                                 distribution nrrangomonts should not bo                   that new sales representatives purchase
  15. Section 437.l(o): Quarterly
                                                              covered by the Business Opportunity                       materials, supplies, or equipment to
                                                              Rule. 241 Manufacturers, suppliers, and                   facilitate his or her sales to
    To ensure accuracy and reliability of                     other traditional distribution firms                      consumers. 249 At least one commenter
  disclosures, § 437 .3 (instructions for                     "have relied solely on the bona fide                      also noted that individuals sometimes
  completing the disclosure document)                         wholesale price exclusion to avoid                        pay to become sales consultants solely
  requires sellers to revise their                            coverage as a franchise." 242                             to obtain the products that are part of
  disclosures at least "quarterly." 2 :18 The                    The IPBOR had eliminated this                          the company's sales kit for personal use
  definition of "quarterly" sets forth a                      inventory exemption in an attempt to                      at less than retail cost.250 These
  bright line rule that is easy to follow and                 bring pyramid schemes that engaged in                     commenters argued that without
  that ensures uniformity of disclosures:                     "inventory loading" within the ambit of                   expanding the exemption, MLMs would
  "Quarterly" means "as of January 1,                         the Rule. 243 Several commenters                          be swept within the scope of the
  April 1, July 1, and October 1." Thus,                      contended that the IPBOR would have                       Rule.251
  the final Rule requires sellers to update                   regulated a wide range of legitimate and                     The Staff Report noted these
  their disclosure by those specific dates                    traditional product distribution                          concerns, but opined that they were
  each year. The definition of "quarterly"                    arrangements that were not associated                     misplaced and that the suggested
  received no comment, and the final Rule                     with the types of fraud that business                     changes to the definition of "required
  includes the definition as proposed.                        opportunity laws are designed to                          payment" were unnccessary. 252 The
  16. Section 437.l(p}: Required Payment                      remedy. For example, one commenter                        staff recognized, however, that without
                                                              suggested that the IPBOR could be read                    making the changes suggested by the
    Under the final Rule's definition of                      to cover product distribution through                     commenters, some MLM companies
  "business opportunity," the Rule                            retail stores simply because the retailer                 could indeed meet the "required
  reaches only those opportunities where                      pays for inventory.2 44 This commenter                    payment" prong of the business
  the prospective purchaser of a business                     suggested that its business operations                    opportunity definition. 25 H But, as noted
  opportunity makes a "required                               would meet the IPBOR's definition of                      previously, in order to be covered by the
  payment" to the seller. Section 437.l(p)                    business opportunity because, among                       Rule, an entity must meet each of the
  of the final Rule defines a "required                       other reasons, the "payment" prong of                     three definitional components of the
  payment" to mean:                                           the definition did not exempt voluntary                   term "business opportunity." 254
  all consideration that the purchaser must pay                                                                         Meeting one prong is insufficient to
  to the seller or an affiliate, either by contract           purchases of inventory.245
  or by practical necessity, as a condition of                   Because the application of the IPBOR                   come within the scope of the Rule.
  obtaining or commencing operation of the                    to these types of arrangements was
  business opportunity. Such payment may be                   unintended, the RPBOR narrowed the                        "business materials, supplies, and equipment sold
  made directly or indirectly through a third                 definition of "business opportunity" by                   on a not-for-profit basis"); Mary Kay-RNPR at 2
                                                                                                                        (same); Avon-RNPR at 2 (exemption should extend
  party. A required payment does not include                  clarifying that a "required payment"                      to "sales aid or kits al cost"); Tupperwam-RNPR at
  payments for the purchase of reasonable                     does not include payments for the                         4 (required payment should not include payments
  amounts of inventory at bona fide wholesale                 purchase of reasonable amounts of                         for the purchase of reasonable amounts of inventory
  prices for resale or lease.                                                                                           al bona fide wholesale pricP.s, which may be used
                                                              inventory at bona fide wholesale                          for resale, lease or display, or payments for
  The final definition of "required                           prices. 246 Moreover, in the RNPR, the                    products for personal use). Also, one commenter
  payment" is the same as proposed in the                     Commission determined that                                expressed concern that under the proposed
  RNPR and is substantially similar to that                   challenging deceptive pyramid schemes                     definition, voluntary payments made to third
  employed in the Amended Franchise                                                                                     parties unaffiliated with the seller for items or
                                                              in targeted law enforcement actions                       equipment to be used in a purchaser's business
  Rule. It differs in that it includes                        brought under Section 5 of the FTC Act                    could be considored a "required payment." See
  language that reaches situations where a                    is a more cost-effective approach than                    IBA-RNPR at 4. The Commission disagrees. By its
  payment is made directly to a seller or                     attempting to address pyramid schemes                     very words. the definition is not intended to
  indirectly through a third party. The                                                                                 capture payments of the type described by the
                                                              through the elimination of the inventory                  commenter, as such payments are not made directly
  RPBOR included this definition because                      exemption as proposed in the IPBOR. 247                   or indirectly to the seller.
  without such a modification, fraudulent                        In response to the RNPR, MLM                              240 DSA-RNPR at 4: Tupperware-RNPR at 2
  business opportunity sellers could                          industry commenters urged the                             (explaining that it requires purchase of a starter
  circumvent the Rule by requiring                            Commission to expand the inventory                        Business Kit that contains a selection of
  payment Lo a third party with which the                                                                               Tupperware products sold below retail value for
                                                              exemption additionally to exempt sales                    demonstration at parties); Mary Kay-RNPR at 4
  seller has a formal or informal business                    of business materials, supplies, and                      (initial sales kit, sold to consultant al below cost,
  relationship. 239                                           equipment to purchasers on a not-for-                     is used to demonstrate products lo customers):
    The last sentence of the definition                       profit basis. 248 Commenters slated that                  Avon-RNPR at 2 (sales kits, which explain business
  excludes payments for reasonable                                                                                      fundamentals and provide necessary equipment
                                                                                                                        such as sales brochures, sales receipts, a tote bag.
  amounts of inventory at bona fide                              241 73 FR at 16122.                                    and product samples, are sold to independent sales
  wholesale prices. 240 This effectuates the                     242/d.                                                 representatives without a profit).
  Commission's determination articulated                         "" 71 FR at 19055. Inventory loading occurs               200Tupperware-RNPR at 2 (products in starter
                                                              when a company's incentive program forces recruits        Business Kit sold to sales consultants for $79 or
     23 • Section 437.3{b) requires that until a seller has   to buy more products than they could ever sell,           $129 have retail value of $350 and $550
  at least 10 purchasers, the list of references must be      often at inflated prices. If this occurs throughout the   respectively).
  updated monthly.                                            company's distribution system. the people at the             251 DSA-RNPR; Mary Kay-RNPR: Tupperware-
     2,073 FR at 16122.                                       top of the pyramid reap substantial profits, even         RNPR: Pre-Paid Legal-RNPR.
     240 The inventory exemption was originally set           though little or no product moves to market.                 252 Staff Report at 58.
                                                                244 73 FR at 16113-14.                                     25 " Id. at 57.
  forth by the Commission in its 1979 Final
  Interpretative Guide to the Franchise Rule. 44 FR              2•• Id.                                                   254/d. Those components are: [1] A solicitation to
                                                                 246 fd. at 16114.                                      enter into a new business; (2) a required payment
  at 49967. The rationale for excluding payments for
  inventory was to exc:lude "[aJgenc:y relationships in         241 73 FR at 16122.                                     made to the seller: and (3) a representation that the
  which independent agents, compensated by                      248 Commenters suggested various ways to                seller will provide assistance in the form of
  commission, sell goods or services" (e.g., insurance        expand the exemption. See DSA-RNPR at 4                   securing locations, securing accounts, or buying
  salespersons). Id at 49967-68.                              (recommending that the exemption include                  back goods produced by the business. Id. at n.186.
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  Furthermore, the other clarifications               opportunity" definition to avoid           affirmative steps to authenticate his or
  and changes to the definitions of                   covorago under the Rule.2sn                her identity." It includes a person's
   "business opportunity" and "providing                 This argument is not persuasive. The    handwritten signature, as well as an
   locations, outlets, accounts, or                   definition of "required payment"           electronic or digital form of signature to
   customers" under the final Rule tailor             already excludes payments for the          the extent that such signature is
   coverage appropriately, and make the               purchase of inventory at bona fide         recognized as a valid signature under
   additional suggested changes to the                wholesale prices. To the extent that the   applicable federal law or state contract
   "required payment" definition                      business opportunity seller offers         law." 2112 This definition effectively
   unnecessary. Accordingly, the Staff                inventory at prices above wholesale,       permits business opportunity sellers to
   Report recommended that the definition such a payment would generate profit to comply with the Rule electronically,
   of "required payment" be adopted in                the seller. If the Rule were modified to   consistent with the Electronic
   the form proposed in the RNPR.2 5 5                exempt payments for inventory not just Signatures in Global and National
                                                      at wholesale but also retail prices, such  Commerce Act, 15 U.S.C. 7001, 263 and
      Moreover, the Commission is                     a change would give sellers an incentive is consistent with other rules enforced
   concerned that expanding the                      to structure their payment schemes to
   exemption as the commenters suggested require only payment for inventory, in                  by the FTC. 204 For example, a seller
   would create enforcement problems. For order to avoid coverage by the Rule.                   could obtain the digital signature of a
   example, when a "required payment"                                                            purchaser by providing the disclosure
                                                     Moreover, granting an exemption to          document      to the purchaser as a word
   includes both an inventory and non-               sellers that offer to buy back some
   inventory component, it would be                                                              processing document and require the
                                                     percentage of unused inventory within       purchaser to type his or her name into
   difficult to determine whether non-                12 months is problematic in light of the the form in the space provided for the
   inventory products-such as sales kits             Commission's experience that
   or display-related materials-were, in                                                         signature. Alternalively, the seller could
                                                     fraudulent business opportunity sellers     direct the purchaser to a web page that
   fact, being sold to purchasers at less            could go out of business, change names, contains an electronic version of the
   than the seller's cost. Finally, the              or disappear d\iring that time. ~ 25 1
   suggested changes could have the                                                              disclosure document and require the
                                                     Accordingly, the final Rule incorporates purchaser to input his or her name
  unintended effect of allowing some                 the definition of "required payment" as before submitting the web-based form
   fraudulent business operators to be               recommended in the Staff Report.           electronically.
  excluded from the Rule's coverage. 25 n
                                                     17. Section 437.l(q): Seller                19. Section 437.l(s): Written or In
      In response to the Staff Report, the
  Commission received one comment                       The final Rule defines the term         Writing
  addressing the "required payment"                  "seller" to mean: "A person who offers
                                                     for sale or sells a business opportunity."    The final Rule, like the version
  definition. The commenter set forth the                                                       proposed in the INPR, defines the terms
  same suggestion it had provided in                 Like  the "purchaser"    definition,  it
                                                                                                "written" or "in writing," which are
  response to the RNPR-that a "required contemplates that both natural persons                  used throughout the Rule 265 as "any
  payment" should not include situations             and  entities  may  be business
                                                                                                document or information in printed
  where the seller agrees to buy back from opportunity sellers. The definition of form or in any form capable of being
                                                                            260


  the purchaser any unused inventory                 "seller"  is unchanged     from the INPR,
  within 12 months of purchase for at                received no comment, either in response downloaded, printed, or otherwise
                                                     to the RNPR or the Staff Report, and the preserved in tangible form and read. It
  least 90 percent of the purchaser's                final Rule adopts the definition as        includes: type-set, word processed, or
  cost.zs7 The commenter, a large MLM                                                           handwritten documents; information on
                                                     recommended in the Staff Report.
  company, continued to argue that                                                              computer disk or CD-ROM; information
  incorporating this change into the                 18. Section 437.l(r): Signalure or Signed sent via email; or information posted on
  definition of "required payment" would                Under §437.3(a)(6) of the final Rule,   the Internet. It does not include mere
  assist in creating regulatory certainty            business opportunity sellers are           oral statements." This definition is
  that the Rule would not cover this                 required to attach a duplicate copy of     designed to capture information stored
  situation. The commenter disagreed                 the disclosure document, which is to be on computer disks, CD-ROMs, or
  with one of the justifications given in            signed and dated by the purchaser. A       through new or emerging technologies,
  the Staff Report for urging no                     designation for the signature and date is as well as information sent via email or
  modification of the definition-namely, included at the bottom of the disclosure posted on the Internet. Nevertheless, the
  that satisfying the "required payment"             document. The Staff Report                 definition seeks a balance, attempting to
  definition, by itself, is insufficient to          recommended adding a definition of         minimize compliance costs while at the
  bring an entity within the scope of the            "signature" to the Rule to clarify that a  same time preventing fraud. To that
  Rule. The commenter argued that                    signature may include any electronic or end, the definition would make clear
  legitimate companies that might satisfy            digital form of signature to the extent    that all electronic media must be in a
  the "required payment" prong have too that such signatures are valid under                    form "capable of being downloaded,
  much at stake to rely on one of the other applicable law. 261 The recommended                 printed, or otherwise preserved in
  two prongs of the "business                        definition of "signature" received no      tangible form and read," thus ensuring
                                                     comment.                                   that a prospective purchaser who
     255 fd.                                            As recommended in the Staff Report,     receives disclosures electronically can
     256 For example, in United States v. Universal  §437.l(r) of the final Rule stales:
  Adver.., lnc., No. 1:06-cv-152-DAK (D. Utah 2006), "Signature or signed" means "a person's
  the fraudulent business opportunity seller told                                                 202 This definition is consistent with the

  purchasers they could earn significant money by                                                               definition of signature in the TSR. See 16 CFR
  signing up business owners to pay monthly foes to         250 Id.                                             310.3(a)(3).
  display their business cards in rack display "profit      250 See DOJ-Staff Report at 2 (noting that many       """ See 71 FR at 19067 n.142.
  centers." In that case, the entire purchase cost went   business opportunities begin and end within a short     20• Se" TSR, 16 CFR 310.3(a](3](i); Amended
  towards the rack display profit centers, which could    period of tin1e).                                     Franchise Rule, 16 CFR 436.3(u) (containing similar
  he characterized as "display-related materials."          2no 71 FR at 1906 7.                                definitions).
    251 Tupperware-Staff Report at 3.                       201 Staff Report at 59.                               2n5 E.g., §§437.2, 437.3(a), 437.4(a).
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  read them, share them with an advisor      before a potential purchaser pays any                                  these categories. Section 437.3(a)
  and retain them for future use.266     '   fee or executes any agreement in                                       requires that sellers provide prospective
    In response to the Staff Report, one     connection with the sale.270 In the                                    purchasers with information about the
  commenter expressed concern that the        INPR, the Commission proposed                                         seller, th~ seller's litigation history, any
  Rule would be overly burdensome if         shortening the period of time business                                canc~llahon. and refund policy, any
  electronic compliance were not              opp~rtunity s~llers would be required to                              earnmgs claims, and references "in the
  permitted. 267 As discussed above,          provide the disclosures to potential                                  form and using the language set forth in
  however, the definition of "written" or     purchasers. 271 The Commission                                        Appendix A" to the Rule. In addition    1

  "in writing" and the definition of         det~r~1ine~ that seven calendar days is                                the final Rule adds a clause to§ 437.3 (a)
  "signature" or "signed" each makes         sufficient time to enable a prospective                                requiring that if the offer for sale, sale,
  clear that sellers can comply with the     purchaser to review the information                                   ?r promotion _of a business opportunity
  Rule electronically. 268 Thus, the          contained on the simplified and                                       is conducted m Spanish, the seller must
  Commission adopts the definition as        streamlined basic disclosure document                                  provide the Spanish version of the
  recommended in the Staff Report.           and any earnings claims statements, as                                 disclosure document (Appendix B to the
   B. Section 437.2: The Obligation To       we~l as to conduct a due diligence                                    Rule) and provide any required
   Furnish Written Documents                 review ?f the offering, including                                     disclosures in Spanish. For sales
                                             c.ontactu:_ig references. 27 2 The seven day                          conducted in a language other than
   . The next section of the Rule, § 437.2,  time period was proposed in the                                       English or Spanish, the seller must use
   imposes a core requirement of the         RNPR.273                                                               the form and an accurate translation of
   Rule-the obligation of sellers to furnish     Only one comment received in                                      the lan_guage set forth in Appendix A
   prospective purchasers with a single-     response to the RNPR addressed this                                       All disclosures, regardless of the ·
   page disclosure document before           provision. The commenter argued,                                      language they are in, must be presented
   purchasers execute a contract or pay any ~ithout providing any evidence, that                                   in a "single written document." The
   ~oney. As noted previously, the           imposing a "waiting period" of any                                    Co~mission concludes that the single
   disclosure document required under the                                                                          written document requirement is
  .Original Franchise Rule and interim       length     before a prospective purchaser
                                             signs a binding agreement or makes a                                  necessary to ensure that disclosures are
   Business Opportunity Rule was often                                                                             not furnished in piecemeal fashion that
   extremely lengthy, cumbersome, and in payment to a seller would chill the sale                                  easily could be overlooked or lost,zn In
   some ways ill-suited to business          of legitimate business opportunities.274
                                             T~e Comrr_iission is not persuaded by ·                               addition, requiring that the disclosure
   opportunity transactions. Through the                                                                           information be presented in the
  INPR and the RNPR, the Commission          this ass.ert1on, as both the Original
                                             Franchise       Rule and interim Business                             specified format will prevent sellers
   sought to simplify and streamline this                                                                          from circumventing the Rule by
   document in order to make the             ~pportunity Rule have waiting periods
                                             m excess of seven days. 275 Furthermore,                              presenting damaging information in a
   disclosures more meaningful to                                                                                  format that is not sufficiently prominent
  consumers.                                 a  waiting period is particularly
                                             necessary in the sale of business                                     to be noticed or understood, or that is
     The disclosure document mandated                                                                              not readily accessible. 278 Failure to
  by §437.2 must be furnished at least       opportunities, where consumers are
                                             often rushed into making investment                                   follow the form and language of the
  seven calendar days before one of two                                                                            appropriate disclosure document would
  events: Either (1) the execution of any    decisions. 270 No Staff Report comments
                                             addressed       this provision. The                                   constitute a violation of Section 5 of the
  contract in connection with the business                                                                         FTC Act. 279
  opportunity sale; or (2) the payment of    Commission concludes that seven
                                                                                                                       Section 437.3(a)(6) requires that a
  any consideration to the seller.zog This   calendar days is sufficient time for
                                             purchasers to review the disclosure                                   seller provide the potential purchaser
  provision is intended to ensure a                                                                                with two copies of the disclosure
  uniform standard for determining when information and to conduct due                                             document, one of which is for the
  sellers must furnish disclosures before    diligence, and adopts §437.2 as
                                             recommended in the Staff Report.                                      prospective purchaser to sign, date, and
  potential purchasers must put their                                                                              return to the seller to maintain in
  money at risk. Section 437.2 clarifies     C. Section 437.3: Disclosure Document                                 accordance with §437.7. Section
  that "payment to the seller" refers to                                                                           437.3(b) specifies that it is an unfair or
  payments made either directly to the           Section 437 .3(a) of the final Rule
                                             instructs     business opportunity sellers                            deceptive practice and a violation of
  seller, or indirectly through a third                                                                            Section 5 of the FTC Act for a seller to
  party, such as a broker, lead generator,   how to prepare the basic disclosure
                                             document, identifies the categories of                                fail to update the required disclosures at
  or locator.                                                                                                      least quarterly to reflect changes in the
     The seven calendar-day period was       required disclosure, and specifies what
                                             information must be included in each of                               five required categories of information,
  modeled on the Original Franchise                                                                                provided, however, that the list of
  Rule's requirement that sellers furnish                                                                          refe_rences must be updated monthly,
                                              • 270 sr;e 71 FR at 19067. When tho Original
  prospective purchasers with a              Franchise Rulo was amended, the time period was                       unt!l the seller has 10 purchasers, after
  completed copy of the disclosure           extendod to 14 calendar days. The interim Business                    which quarterly updates are required.
  document at least ten business days        Opportunity Rule maintained the 10 business-day                          The sections that follow discuss the
                                                          period. See 72 FR al 15468, 15570.
                                                            271 See 71 FR al 19067.
                                                                                                                   evolution of the disclosure document's
    266 71 FR at 19067.                                                                                            formal and substance, the commentary
    207 NG Franchise-Staff Report.                          272/d.

    w• See also supra note 261.
                                                            27 " See 73 FR at 16134.                               received about the disclosure document,
    269 Section 437.l{s) allows the disclosure              274  Planet Antares-RNPR at 13-14.                     further revisions to the document
  document to be provided to purchasers                      275 See 16 CFR 436.2(a) (fourteen calendar days);     recommended in Staff Report, and the
  electronically, such as by posting in on the Internet   §437.2(g) of the interim Business Opportunity Rule       Commission's analysis of the comments
  sending it via email, etc. Providing the disclosure '   (ten business days).                                     and recommendations.
  document through one of these alternative methods          276 See, e.g., FTC v. Bus. Carel Experts, Inc., No.

  does nol, however, relieve the seller of the            06-CV-4671 (PJS/RLE) (D. Minn. 2006)
  obligation t~ obtain and maintain copies of signed      (r1;pr_esentatives told consumers they must invest
                                                                                                                    277 71 FR at 19067.
                                                                                                                    27 "See id.
  and dated disclosure documents provided to              w1thm one or two weeks in order to take advantage
                                                          of special "promotional" rate).                           270 See §437.3(a).
  purchasers.
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  1. The Format of the Disclosure                          consumer testing that resulted in the                    director of the FTC's Bureau of
  Document                                                 revised proposed disclosure document                     Consumer Protection.2 9 ~
  a. Background                                            that the Commission concluded                              Workshop panelists uniformly
                                                           substantially improved both the layout                   approved the revised proposed
     As noted above, a major goal of this                  and the wording of the form.2s4                          disclosure document, and applauded
  rulemaking has been to streamline the                      Some of the changes suggested by the                   the Commission's goal of streamlining
  lengthy disclosure document that was                     consultant included: Changing the title                  and simplifying the form.zg4 All
  appropriate in the sale of business                      of the form from "Business Opportunity                   workshop panelists believed that the
  format franchises, but ill-suited to the                 Disclosures" to "Disclosure oflmportant                  disclosure document generally
  sale of traditional business                             Information about Business                               accomplished the Commission's stated
  opportunities. The interim Business                      Opportunity"; revising the preamble of                   purposes of streamlining and
  Opportunity Rule, modeled on the                         the disclosure to make it more readable;                 simplifying the form to make it more
  Original Franchise Rule, required sellers                adding a description of the Federal                      useful to prospective business
  to make more than 20 separate                            Trade Commission for consumers who                       opportunity purchasers, although they
  disclosures to potential purchasers.2Bo                  may not be familiar with the agency;                     did have some minor suggestions
  Requiring sellers to make these                          clarifying that the information on the                   related both to the proposed disclosure
  extensive disclosures imposes                            form relates specifically to the business                document and some of the substantive
  significant compliance costs on covered                  opportunity the reader is being offered;                 disclosure requirements, which arc
  businesses, and many of the disclosures,                 reformatting the sections that address                   discussed below.
  which are m,aterial in the context of                    earnings, legal actions, and cancellation
  franchise sales are not well-suited to                   or refund policies, to make those                        2. Section 437.3(a): Disclosure
  business opportunity sales. The final                    sections easier to understand; and                       Requirements
  Rule aims to strike the proper balance                   adding a note below the signature line
                                                           stating that the FTC requires that the        Section 437.3 requires that business
  between prospective purchasers' need                                                                opportunity sellers give prospective
  for pre-sale disclosure and the burden                   business opportunity seller give
                                                           potential buyers at least seven calendar   purchasers five items of material
  imposed on those selling business                                                                   information, in a basic disclosure
  opportunities.281                                        days before asking him or her to sign a
                                                           purchase contract. 285 A copy of the       document. 295 Each required disclosure
     Thus, the Commission proposed a                                                                  is intended to help prospective
  single-page disclosure document both in                  revised proposed disclosure document,
                                                           which incorporated the consultant's        purchasers make informed investment
  the INPR and the RNPR. The                                                                          decisions. First, sellers must state their
  Commission invited public comment                        suggested revisions, was included in the
                                                           Workshop Notice announcing that the        name, business address, and telephone
  about the form, including whether the                                                               number, the name of the salesperson
  overall presentation of information                      FTC would hold a public workshop on
                                                           June 1, 2009.211t1                         offering the opportunity, and the date
  could be improved to make it more                                                                   when the disclosure document is
  useful and understandable, and whether                   b. Public Workshop                         furnished to the prospective purchaser.
  the substantive disclosure sections                                                                 Second, sellers must disclose whether
  would capture the information that                          On June 1, 2009, the staff held a one-
  would most benefit potential                             day public workshop in Washington, DC or not they make earnings claims and,
                                                           to get public input about the revised      if so, must state the claim or claims in
  purchasers. 282 The Commission                                                                      a separate earnings claims statement
  received no comments in response to                      proposed disclosure document.zR7 The
                                                           Workshop Notice invited interested         attached to the basic disclosure
  this request.
     The Commission engaged a consultant                   parties to submit a request to participate
  with expertise in document design and                    as a panelist.2 88 Ultimately, the           '"' William Macl.,P.od ("MacLeod"). Although at
                                                           workshop featured five panelists who       the workshop Mr. MacLeod represented only his
  c~mprehension to evaluate the proposed                                                              own views, he had previously filed comment to the
  disclosure document to ensure that it                    represented a range of interests in the    INPR and RNPR on behalf of Planet Antares, which
  adequately conveyed lo consumers                         proposed Rule, including a federal law     markets vending machine businesses.
  information material to the prospective                  enforcer, 2119 a state law enforcer,zgo a    294 See, e.g., Jost, June 09 Tr at 12-15 (noting that


  business opportunity, and to determine                   consumer advocate, 291 the general         the simplicity of the form is the key to it being
                                                                                                      successful. "Having a one page document that
  whether the overall presentation of the                  counsel of a national multilevel-          focuses on the key issues such as legal actions,
  information in the proposed document                     marketing company, 292 and a former        earnings claims, and references will put the most
                                                                                                                    important information in the hands of the
  could be improved to make it more                                                                                 prospective purchaser."); MacLeod, June 09 Tr at 18
                                                             284   74 FR at 18714-15.
  useful and understandable.2a3                              285  See generally Macro Report.                       (same. and commending the staff for engaging a
  Following publication of the initial                       286  74 FR at 18714.
                                                                                                                    consumer research expert to copy test the
  proposed disclosure document, the                          287 Id. In response to the RNPR. three commenters
                                                                                                                    disclosure document); Cantone, June 09 Tr at 20
                                                                                                                    (stating that the disclosure document captures the
  consultant conducted extensive                           (ORA, Planet Antares, and Johnson) had originally
                                                                                                                    major components of business opportunity fraud,
                                                           requested a hearing as permitted in tho RNPR (see        including fraudulent earnings claims and false
    280 These include but are not limited to               73 FR at 16110). but later agreed that a public
                                                                                                                    refund offers); Taylor, June 09 Tr at 23 (noting that
  information about the seller; the business               workshop would address their issues and concerns         the disclosure document is "easy to understand and
  background of its principals and their litigation and    more efficiently.                                        short and accomplishes its purposes.").
                                                             288 The staff ~eceived requests to serve as
  bankruptcy histories; the terms and conditions of                                                                    2 " 5 Like the Franchise Rule and the interim
  the offer; statistical analyses of existing franchised   panelists from eight persons. It extended offers to      Business Opportunity Rule. the final Rule specifies
  and company-owned outlets; prior purchasers.             serve as panelists to each of these individuals, three   that only sellers of business opportunities have an
  including the names and addresses of at least 10         of whom declined.                                        obligation to prepare and furnish a basic disclosure
  purchasers nearest the prospective buyer; and              2 •°Konnoth Jost ("Jost"), DOJ, Office of Consumer
                                                                                                                    document. Other persons involved in the sale of a
  audited financial statements. Additional disclosure      Litigation.                                              business opportunity-such as brokers. locators, or
  and substantiation provisions apply if the seller          290 Dale C'..anlone ("Cantone"), Maryland Altomey
                                                                                                                    suppliers-have no obligation to prepare basic
  chooses to make any financial performance                General's Office.                                    ·   disclosure documents or to furnish such
  representations.                                           291 Jon Taylor ("Taylor"), Consumer Awareness          documents. The ultimate responsibility to ensure
    •• 1 73 FR at 16130-32.                                Institute.                                               that disclosures are accurately prepared and
    2112 Id. al 16132-33,                                    "'12 Maureen Morrissey ("Morrissey"),                  disseminated rests with the seller. See 71 FR at
    zn, See generally Macro Report.                        Tupperware,                                              19067.
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  document. 21m ThITd, sellers must                         Rule was promulgated, the Commission                    noting that if a seller had checked the
  disclose prior civil or criminal litigation               concluded that:                                         "no" box, but had, in fact, made an
  involving claims of misrepresentation,                      The failure to disclose such material                 earnings claim, the misrepresentation
  fraud, securities law violations, or                      information * * * may mislead the                       would be in violation of Section 5 of the
  unfair or deceptive business practices                    [prospect) as to tho business experience of             FTC Act, and the seller would be subject
  that involve the business opportunity or                  tho parties with whom ho or she is dealing              to civil penalties. 307 A couple of
  its key personnel. 297 Fourth, sellers                    and * * * could easily result in economic               workshop panelists, however, found the
  must disclose any cancellation or refund                  injury to the [prospect) because of the • * *           language confusing and believed that a
  policy. 298 Finally, sellers must provide                 dependence upon the business experience                 potential purchaser reading this
  contact information for at least 10 of                    and expertise of tho [business opportunity
                                                            seller]. soz                                            disclosure might not know who should
  their purchasers nearest to the                                                                                  be completing this section of the form-
  prospective purchaser's location.299 A                       This identifying information is                      the purchaser, or the seller. 308 Two of
  discussion of the record pertaining to                    material because it enables a                           the panelists had some suggestions for
  each of the required substantive                          prospective purchaser to contact the                    improving the language of the
  disclosures follows, along with changes                   seller and any salesperson for additional               disclosure. 309
  made in the final Rule and consistent                     information. This information also                        The Staff Report concluded that
  amendments made to the disclosure                         enables a prospective purchaser to                     revisions to the language of the earnings
  document. 300 The final disclosure                        perform additional, independent                         disclosure were unnecessary. The
  document is Appendix A to this Notice.                    research on the seller and salesperson.                Commission agrees. The initial
  The Spanish translation of the                            At the same time, for law enforcement                  proposed disclosure document,
  disclosure document is Appendix B to                      purposes, this disclosure provides a                   including the earnings disclosure,
  this Notice.                                              written record of who provided the                     underwent substantial revision based
                                                            required disclosures and when they did                 upon consumer testing. Testing of the
  a. Section 437.3(a)(1): Identifying                       so.3oa
  Information                                                                                                      format and language of the earnings
                                                            b. Section 437.3(a)(2): Earnings Claims                disclosure revealed that, contrary to the
     The first required disclosure under                                                                           panelists' concerns, consumers did
  the final Rule is the seller's identifying                   The final Rule permits sellers to make              understand the meaning of the earnings
  information. Specifically, § 437.3(a)(1)                  an earnings claim, provided there is a                 disclosure, and realized that "a check in
  requires that the seller disclose the                     reasonable basis for the claim and that                the 'No' box would contradict any
  name, business address, and telephone                     the seller can substantiate the claim at               previous earnings claim that a
  number of the seller, the name of the                     the time it is made. 3 04 If the seller                salesperson had made." :mi Indeed, the
  salesperson offering the opportunity,                     makes no earnings claim, § 437.3(a)(2)                 ultimate test for the effectiveness of the
  and the date when the disclosure                          directs the seller simply to check the                 disclosure document is whether, in
  document is furnished to the                              "no" box on the disclosure                             practice, the written form helps
  prospective purchaser. 301 The                            document. 305 Moreover,§ 437.3(1)(4)                   consumers detect a contradictory oral
  Commission has long recognized the                        specifies items of information necessary               statement made by the seller. On that
  materiality of a business opportunity                     to substantiate an earnings claim. If the              point, the revised proposed disclosure
  seller's identifying information. For                     seller does make an earnings claim, the                document proved effective-9 out of 10
  example, when the Original Franchise                      Rule requires the seller to check the                  participants in the FTC study who heard
                                                            "yes" box and attach to the basic                      a hypothetical oral sales presentation
    290    Section 437.3(a)(2).                             disclosure document a second                           understood that it had included an
    2 97   Section 437.3(a)(3). Key personnel include any   document, the earnings claim statement.                earnings claim, and when they
  of the business opportunity seller's principals,          The disclosure document advises the                    subsequently reviewed the disclosure
  officers, directors. and sales managers, as well as       prospective purchaser of this
  any individual who occupies "a position or                                                                       document, correctly identified a written
  performs a function similar to an officer, director,
                                                            requirement: "If the statement is yes,                 contradiction of the oral presentation. :n 1
  or sales manager of the seller."                          [the seller] must attach an Earnings                   Based on the results of the consumer
     2 9 s Section 437.3(a)(4). The IPBOR would have        Claim Statement to this form." aofl                    testing, the Commission is not
  required disclosure of the business opportunity              At the June 1, 2009 workshop, the                   persuaded that the workshop panelists'
  seller's cancellation or refund request history. Some     DOJ representative spoke approvingly of
  commenters argued that requiring disclosure of the                                                               suggestions would improve the
  seller's refund history would have had the wayward
                                                            the form and language of this disclosure,              comprehension of the earnings claim
  effect of discouraging legitimate businesses from                                                                disclosure, and therefore has not
  offering refunds. Because companies with liberal            ,02   43 FR at 59642.
  refund policies were more likely to have refund             303   The Workshop panelists did not discnss this
                                                                                                                   adopted any changes to it.
  requests than those offering no refunds, disclosure       required disclosure.                                   c. Section 437.3(a)(3): Legal Actions
  of refund requests could mislead consumers into              ,0 4 This is consistent with analogous provisions
  thinking that a company offering liberal refunds is       in the Amended Franchise Rule, 16 CFR 436. 9, and         Section 437.3(a)(3) addresses
  less reputable than tho company offering no               the interim Business Opportunity Rule, 437.1(c).       deceptive practices in the sale of
  refunds. The Commission was persuaded by those              :ms Ono workshop panelist commented that an          business opportunities by requiring
  c:ommenters and omitted this required disclosure          earnings claim is the most important selling feature
  from the RPBOR. See 73 FR at 16126.                                                                              sellers to disclose material information
                                                            of any business opportunity, and for that mason,
     2so Section 437.3(a)(5).                               sellers should not be permitted to state they make     about certain prior legal actions.
     3oo In response to the Staff Report, one commenter     no earnings claim. Taylor, June 09 Tr at 68. The       Specifically, § 437.3(a)(3)(i) requires
  suggested a myriad of additional changes to the           Commission agrees that the earnings claim is           business opportunity sellers to provide
  disclosure document such as fields for the buyer's        important to purchasers' investment decisions, but     prospective purchasers with
  contact information and additional fields for             recognizes that there is an important distinction
  information related to the salesperson. NG                between forcing sellers to make an earnings claims
  Franchise-Staff Report at 4-5. The Commission                                                                      307 Jost, June 09 Tr at 56.
                                                            and requiring them to substantiate any claims they
  finds the suggested changes unnecessary.                  choose to make.                                          ,oacantone, June 09 Tr at 55; Taylor, June 09 Tr
    301 Other Commission trade regulation rules               300 Business opportunity sellers must also make      at 56.
  similarly require dLsclosure of identifying               the following prescribed cautionary statement in         300 E.g., Taylor, June 09 Tr at 57; Cantone, June

  information. E.g., Wool Products Labeling Rule, 16        close proximity to the "yes" or "no" check boxes:      09 Tr at 57.
  CFR 300.14; Fur Products Labeling Rule, 16 CFR            "Read this statement carefully. You may wish to          ,10 Macro Report at 15.
  301.43.                                                   show this information to an advisor or accountant."      311Jd.
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  information about legal actions of or                     action including tmthful statements                      advent of the Internet* * * [because]
  against the seller, the seller's affiliates or            about the nature of the litigation or its                [m]any legal documents are now
  prior businesses, and certain key                         ultimate outcome. 316 One commenter                      routinely posted on court or related Web
  personnel that involve                                    stated that in some instances, litigation                sites." 3z 3 The Commission noted that
  "misrepresentation, fraud, securities                     may be mcritless and disposed of by                      since the disclosure document itself
  law violations, or unfair or deceptive                    means of short of formal adjudication-                   instructs potential purchasers that the
  practices, including violations of any                    for example through dismissal or                         legal actions disclosed pertain to
  FTC mle." Key personnel include "any                      settlement of nuisance lawsuits-and                      misrepresentation, fraud, securities law
  of the seller's officers, directors, sales                sellers should have the opportunity to                   violation, or unfair or deceptive
  managers, or any individual who                           provide an explanation of any disclosed                  practices, potential purchasers would
  occupies a position or performs a                         legal actions.317 A panelist at the                      have a basic understanding of the
  function similar to an officer, director,                 workshop agreed and also noted that the                  subject matter of the action.324
  or sales manager of the seller." :n 2 If the              FTC's expert report on the consumer                         The existence of legal actions against
  seller has such information to disclose,                  testing of the disclosure document                       the seller is not necessarily proof of
  it must check the "yes" box on the                        revealed that consumers had very                         fraud and that some legal actions may
  disclosure document. If there are no                      negative reactions to the existence of                   be without merit. The Commission
  actions to disclose, the seller must                      legal actions against the seller. 318 The                concludes, however, that the existence
  check the "no" box.                                       DOJ panelist, on the other hand,                         of legal actions of the type
     Comments on this section centered on                   expressed concern that, if allowed to                    enumerated-misrepresentation, fraud,
  two main issues. 313 First, some                          provide a description of disclosed legal                 securities law violations, or unfair or
  expressed concern that the legal action                   actions, sellers might craft misleading                  deceptive practices-against the
  disclosure might unfairly tarnish the                     descriptions.am He stated that he has                    business opportunity seller or its key
  image of a seller who had meritless                       seen such abuse in the context of the                    personnel is critical to assessing the
  lawsuits filed against it. Second, the                    Franchise Rule, 320 although he did                      financial risk of the proposed
  DOJ. focused on enhancing the                             acknowledge that it might be unfair to                   investment. ;iz 5 This is highly material
  government's ability to prosecute                         prohibit sellers from providing an                       information. Indeed, discovering that a
  violations of the Rule, and to that end,                  explanation when they have been                          seller has a history of violating laws and
  made recommendations to revise the                        sued.:121                                                regulations is perhaps the best
  form of the disclosure. 314 In addition,                    The Commission's initial decision not                  indication that a particular business
  DOJ submitted a comment in response                       to allow inclusions of details regarding                 opportunity is a high-risk investment. In
  to the INPR advising the Commission to                    the nature of each legal action, as is                   fact, in the Commission's law
  add to the title of the disclosure                        provided in the Amended Franchise                        enforcement experience, business
  document a citation to the legal                          Rule, was prompted by an attempt to                      opportunity promoters routinely have
  authority requiring the seller to provide                 minimize compliance costs to sellers.:122                hidden such material information from
  the basic disclosure document. 315 The                    Furthern1ore, the Commission reasoned                    prospective purchasers, to the detriment
  final Rule incorporates this suggestion.                  that if "armed with the full caption, a                  of those purchasers.326
  (1) Legal Action Disclosure Permits a                     prospective purchaser can seek                              The Staff Report cautioned that if the
  Brief Description                                         additional information if he or she so                   Rule allowed sellers to provide a
                                                            chooses," as "the public's ability to                    description of the legal action, it would
    Section 437.3(a)(3)(ii) requires that if                review complaints in legal proceedings
  the seller has litigation to disclose                                                                              provide an opportunity for dishonest
                                                            has become significantly easier since the                sellers to misrepresent or
  pursuant to§ 437.3(a)(3)(i), it must
  provide an attachment to the disclosure                                                                            mischaracterize such actions, including
  document with the full caption of each
                                                               316 73 FR at 1o12n-26.
                                                                                                                     their ultimate outcomes. 327
                                                               317Gary Hailey ("Hailey"}, Venable LLP, June 09
  legal matter (names of the principal                      Tr at 122.
                                                                                                                     Nevertheless, the Staff Report
  parties, case number, full name of court,                    ens MacLeod, June 09 Tr at 124. The panelist also     acknowledged that legitimate sellers
  and filing date). The RPBOR would have                    argued that lawsuits are often overpled and that         potentially could be harmed if not
  prohibited a seller from including any                    there may be instances where some claims (such as        afforded the opportunity to address in
                                                            constitutional claims) are not really of particular      writing the legal action they are
  additional information about the legal                    materiality to a prospective purchaser.
                                                               319Jost, June 09 Tr at 125.
    312 In the RNPR, the Commission solicited                  320 The Amended Franchise Rule requires that
                                                                                                                       32 3  Id. al n.165.
  comment on whether this provision adequately              legal actions against franchise sellers he disclosed       32•   Id. at 19068.
  captures the types of individuals whose litigation        to potential purchasers. 16 CFR 436.5(c)(3) requires         '" See supra Section Ill.A.1.
  history should be disclosed. It received no               that franchisors summarize, "the legal and factual           "" E.g., FTC v. Nat'] Vending Consultants . Inc.,
  comments responsive to that request. In addition,         nature of each claim in the action, the relief sought    No. CV-S-05-0160-RC)-PAL (D. Nev. 2005)
  in the RNPR, the Commission determined that it            or obtained, and any conclusion of law and fact,"        (failure to disclose guilty plea for mail fraud of de
  would not be appropriate to require the disclosure        and provide information about damages or                 facto corporate officer): FTC v. Netfran Dev. Corp.,
  of legal actions involving the seller's sales             settlement terms, terms of injunctive orders, dates      No. 1:05-cv-22223-UU (S.D. Fla. 2005) (failure to
  amployees, which would have been required under           of any convictions or pleas, and the sentence or         disclose FTC injunction against principal]; FTC v.
  the IPBOR. The Commission reasoned that the               penalty imposed. The interim Business Opportunity        Am. Entm't Distribs., lrw., No. 04-22431-Civ-
  burden of collecting the litigation histories for every   Rule requires that sellers disclose only, the identity   Martinez (S.D. Fla. 2004) (failure to disclose prior
  sales person was not outweighed by the                    and location of the court or agency; the date of         FTC injunction); United State.< v. We The People
  corresponding benefit to prospective purchasers. 73       conviction, judgment, or decision; the penalty           Form.< and SelV. Ctrs. USA, Inc., No. CV 04 10075
  FR at 16126.                                              imposed; the damages assessed; the terms of the          GHK FMOx (G.D. Cal. 2004) (failure to disclose
    313 In addition. discussion at the workshop             settlement or the terms of the order; and the date,      prior lawsuits); FTCv. Hayes, No. Civ.
  focused on whether a seller's bankruptcy history          nature, and issuer of each such mling. A seller may      4:96CV02162SNL (E.D. Mo 1996) (failure to disclose
  should be considered a legal action and required to       also include a summary opinion of counsel as to          prior state fines and injunctive actions); FTC v.
  be disclosed. As noted in Section III.A.l, discussing     any pending litigation, but only if counsel's consent     WhiteHead, Ltd, Bus. Franchise Guide (CCH)
  the definition of "action," the Commission has            to the use of such opinion is included in the            'll 10062 (D. Conn. 1992] (failure to disclose fraud
  determined not to require the disclosure of               disclosure statement. Interim Business Opportunity       action); FTCv. Tnv. Dev. Inc., Bus. Franchise Guide
  bankruptcy actions.                                       Rule § 437. l(a)(4](ii).                                 (CCH) 'll 9326 (E.D. La. 1989] (failure to disclose
    314 See 73 FR at 16125.                                   321 Jost. June 09 Tr at 125.                           insurance fraud convictions].
    31s Id.                                                   322 71 FR at 19069.                                        3z7 Staff Report at 75.
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  required to disclose. 3211 The staff                   provided as Appendix A and Appendix                         Workshop panelists raised two issues
  recommended, therefore, that                           B have also been revised to include this                 related to the disclosure of refund and
  § 437.3(a)(3)(ii) be revised to add the                language.                                                cancellation policies. First, panelists
  following sentence: "For each action,                  d. Section 437.3(a)(4): Cancellation or                  questioned whether information about
  the seller may also provide a brief                    Refund Policy
                                                                                                                  the percentage of purchasers requesting
  accurate statement not to exceed 100                                                                            and obtaining refunds should be part of
  words that describes the action." No           Section 437.3(a)(4) pertains to a                                the disclosure, and second, whether
  comments to the Staff Report addressed      common practice among fraudulent                                    § 437.3(a)(4) should specify particular
  this revision.                              business opportunity sellers: offering                              terms of a refund policy that must be
     Upon consideration of the record, the    prospective purchasers an illusory right                            disclosed to potential purchasers. The
  staffs recommendation, and the              to cancel or to seek a whole or partial                             sections that follow address each of
  rationale for that recommendation, the      refund. 3 :n The Rule does not require                              these concerns.
  Commission adopts§ 437.3(a)(3)(ii) as       any seller to offer cancellation or a
                                              refund; however, if the seller does offer                           (1) Percentage of Purchasers Requesting
  recommended in the Staff Report. Non-
  compliance with the restriction of this     a refund or the right to cancel the                                 and Obtaining Refunds
  provision (i.e., statements that exceed     purchase, it must "state the material                                  One panelist stated that information
  the word limitation or that                 terms of the refund or cancellation                                 concerning the percentage of purchasers
  mischaracterize the action or its           policy in an attachment to the                                      requesting and obtaining refunds would
  outcome) is a violation of the Rule.        disclosure document." :1 32 The                                     be relevant information to potential
                                              disclosure requirement is                                           purchasers. 334 Another panelist
   (2) Amendment to the Disclosure            complemented by a prohibition, al                                    disagreed, arguing that requiring
  Document                                    § 437.6(1), against failing "to provide a                           disclosure of this information might
     The DOJ panelist advocated for a         refund or cancellation when the                                     have the unintended consequence of
  small amendment to the "Legal               purchaser has satisfied the tenns and                               harming purchasers by discouraging
  Actions" section of the proposed            conditions pursuant to §437.3(a)(4)."                               sellers from offering refunds. n 5 The
  disclosure document published prior to The disclosure requirement is also                                       Commission previously considered this
  the Workshop. Specifically, the DOJ         complemented by prohibitions on other                               issue. The IPBOR would have required
  panelist recommended adding the             misrepresentations. a:n                                             a seller that had a cancellation or refund
  phrase "including violation of an FTC          As discussed below, the Commission                               policy to disclose the number of
  Rule" after the phrase "or unfair or        adopts the staff's recommendation that                              purchasers who had asked to cancel or
  deceptive act or practice * * *,"to         sellers be required to state the                                    who had sought a refund in the two
  make clear to business opportunity          "material" terms of the refund or                                   previous years. 3 :m In the INPR, the
  sellers that a violation of an FTC Rule     cancellation policy, and the term                                   Commission specifically sought
  is an unfair or deceptiveJractice.:,z  9    "material" is now included in the final                             comment on the proposed disclosure of
     The Staff Report agree that this         Rule provision. Under the final Rule, a                             the seller's refund history, particularly
  recommended addition to the "Legal          seller that offers a cancellation or refund                         on the likely effect this disclosure might
  Actions" section of the disclosure          policy must check the "yes" box on the                              have on the willingness of sellers lo
  document would assist enforcement           disclosure document and also must                                   offer refunds. 3 a7 Based upon arguments
  efforts by eliminating any significant      attach to the disclosure document a                                 articulated in the comments to the
  question as to whether the defendant        written description of its policy. To                               INPR, the Commission ~oncluded that
  had actual or implied knowledge that        minimize compliance costs, the seller                               this disclosure would not be useful to
  violation of an FTC rule is an unfair and may comply with this requirement by                                   consumers, and that disclosure of
  deceptive practice, and recommended         attaching to the disclosure document a                              refund history could be unduly
  that the disclosure document include        copy of a pre-existing document that                                prejudicial to business opportunities
  this language. 330 No comments to the       details the seller's cancellation or                                that offer and liberally provide refunds
  Staff Report addressed this addition.       refund policy. For example, a seller may                            to prior purchasers.:, 3 R Indeed, a
     Upon consideration of the record and detail its refund policy in a company                                   prospective pmchaser might compare
  the rationale for the recommendation,       brochure. If it does, the seller need only                          the refund requests of a fraudulent seller
  the Commission adopts the staffs            attach to the disclosure document the                               with no refund policy against a
  recommendation. Accordingly,                particular page setting forth the refund                            legitimate seller with a liberal refund
  § 437.3(a)(3)(i) of the final Rule requires policy. As in the other examples, if no                             policy and inaccurately conclude that
  disclosure of any civil or criminal action cancellation or refund is offered, then                              the legitimate seller offers a riskier
  for misrepresentation, fraud, securities · the seller need only check the "no" box.                             business venture. The requirement,
  law violations, or unfair or deceptive                                                                          therefore, could create a perverse
                                                331 Sec, e.g., FTCv. AMI' l'ubl'n .. Inc .. No. SACV-
  practices, "including violations of any                                                                         incentive to discontinue refund
                                              00-112-AHS-ANx (G.D. Cal. 2001); FTCv. Home
  FTC Rule." The disclosure documents         Professions, Inc., No. SACV 00-111 AHS (Eex) (G.D.                  policies.:, 3 !1 The Commission concluded
                                                         Cal. 2001): FTC v. Innovative Prods., No. 3:00-CV-       that disclosure of refund history would
    n• As lhe Commission previously noted in the         0312-D (N.D. Tex. 2000); FTCv. Encore Networking         not reliably remedy deception on this
  RNPR, however, nothing in the Rule would prevent       Servs., No. 00-1083 WJR (AIJx) (C.D. Cal. 2000);
  the seller from speaking with the consumer lo          FTC v. Medi works, Inc., No. 00-01079 (C.D. Cal.         issue, and it was eliminated in the
  explain the nature or outcome of any legal action      2000). Indeed, allegations that business opportunity     RPB0R.a4o
  disclosed on the form. 73 FR at 16125.                 sellers misrepresented their refund policies rank
     329
         Jost. June 09 Tr at 36.                         among the top 10 complaint allegations in                  334 Taylor, June 09 Tr at 48. One commenter
     330 The DOJ, upon request of the FTC, has the       Commission business opportunity cases brought
                                                                                                                  agreed. Brooks-Workshop comment.
  authority to seek civil penalties for violations of    under Section 5. See 71 FR 19069.
                                                                                                                    3as MacLeod, June 09 Tr at 50.
  trade regulation mies issued pursuant lo the FTC          332 The Commission adopted a similar approach
                                                                                                                    33 6 71 FR al 19088 (IPBOR !i437.3(a)(5)).
  Act, but lo obtain such penalties, the government      in the TSR. 16 CFR 310.3(a)(l)(iii) (if a seller makes
                                                                                                                    337 Id. at 19070.
  must prove "actual knowledge or knowledge fairly       a representation about a refurul policy, it must
                                                         disclose "a statement of all material tem1S and            330 73 FR at 16126.
  implied on the basis of objective circumstances that
  such act is unfair or deceptive and is prohibited by   conditions of such policy").                               "'° Id. at 16115.
  such rule." See 15 U.S.C. 56(a)(l); 45(m)(l)(A).          an See §437.6.                                          ,,.o Id. at 16126.
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     Panelists in favor of requiring the                  The TSR requires that if the seller or                    telephone number, and that this
  disclosure of seller's refund histories                 telemarketer makes a representation                       approach enables prospects to contact
  presented no arguments other than                       about a refund, cancellation, exchange,                   references while minimizing the
  those previously considered by the                      or repurchase policy, it must provide                     intrusion into prior purchasers'
  Commission. Accordingly, the final                      the purchaser with a statement of all                     privacy.349 Accordingly, neither the
  Rule docs not require this disclosure.                  material terms and conditions of its                      IPBOR, nor the RPBOR would have
  (2) Information To Be Disclosed About                   policy.a4o Requiring the disclosure of all                required sellers of business
  Refund and Cancellation Policies                        material terms of a refund or                             opportunities to disclose prior        .
                                                          cancellation policy most effectively                      purchasers' street address to potential
     Although workshop participants                       accomplishes the Commission's stated                      purchasers.aso As discussed below, the
  agreed that information abo~t.a s~ller's                purpose of ensuring that potential                        final Rule requires that sellers disclose
  cancellation and refund pohcies 1s an                   purchasers are provided with                              only prior purchasers' name, state, and
  important component of a potential                      information that would assist them in                     telephone number. Like the IPBOR and
  purchaser's evaluation of a business                    assessing the financial risk associated                   the RPBOR, the final Rule limits the
  opportunity, they were universally                      with the offer. Indeed, the commentary                    disclosure of references to those who
  concerned that§ 437.3(a)(4) did not                     to the IPBOR indicates that the                           purchased the business opportunity
  contain enough specificity about what                   Commission, in fact, intended to require                  within the three years prior to the date
  information must be disclosed to                        sellers to disclose all material terms of                 of the disclosure document. Moreover,
  potential purchasers and suggested that                 refund and repayment policies to
  additional guidance from the                                                                                      the final Rule requires the seller to
                                                          prospective purchasers. 347                               disclose this information by listing each
  Commission was necessary. 341 The                          Therefore, upon consideration of the
  panelist from the Maryland Attorney                                                                               prior purchaser (if fewer than 10), or
                                                          record, the Commission adopts the                         listing at least the 10 prior purchasers
  General's Office thought the Rule                       staff's recommendation. Accordingly,
  should specify that all material terms of                                                                         nearest to the prospective purchaser's
                                                          the penultimate sentence of§ 437.3(a)(4)                  location. In order to minimize
  a refund policy must be disclosed,                      of the final Rule has been clarified to
  because in the context of business                                                                                compliance costs, the final Rule also
                                                          read: "If so, state all material terms and                provides sellers with an alternative
  opportunity sales, it has been his                      conditions of the refund or cancellation
  experience that the requirements to                                                                               disclosure option-in l.ieu of a list of the
                                                          policy in an attachment to the                            10 prior purchasers nearest the
  obtain a refund are often so onerous that               disclosure document." As discussed in
  as a practical matter, no one is ever                                                                             prospect, a seller may furnish a prospect
                                                          Section III.A.9., the final Rule includes                 with a national list of all purchasers. 351
  eligible.a4z Some panelists felt the Rule               a definition of "material" similar to the
  should identify specific information to                                                                           In the INPR, the Commission noted that
                                                          definition used in the TSR. Specifically,                 this option would allow the seller to
  be disclosed. For example, one                          § 437. l(i) defines, in relevant part,
  commenter noted that the period of time                                                                           maintain a master list of purchasers that
                                                          "material" to mean "likely to affect a                    could be updated periodically, which
  a seller has Lo exercise a right to                     person's choice of, or conduct regarding,
  cancellation or refund, or any                                                                                    would allow the seller to avoid having
                                                          goods or services." Examples of material                  to tailor the disclosure to each
  conditions on return of unsold goods are                terms and conditions may include, for
  material and should be required to be                                                                             prospective purchaser. 352 A seller that
                                                          example, the period of time the                           chooses this option must insert into the
  disclosed to potential purchasers. 343                  purchaser has to cancel a purchase or
  One panelist suggested that the DSA                                                                               reference section of the disclosure
                                                          request a refund; the specific steps                      document the words "See Attached
  Code of Ethics' refund requirements                     necessary to cancel a purchase or
  might serve as a model to identify types                                                                          List," and attach a list of the references
                                                          request a refund; any fees or penalties                   to the disclosure document.:is:i
  of information that should be disclosed                 incurred for cancellation; and where
  to potential purchasers.:i 44                           unused inventory must be returned to                         Notwithstanding the fact that most of
     After considering these comments, the                and bv what method. The Commission                        Lhe information required by Lhe
  Staff Report recommended modifying                      decliries to enumerate in the final Rule                  reference disclosure is often available in
  § 437.3(a)(4) to track closely a similar                what terms are material, as materiality                   the public domain, in crafting this
  disclosure requirement in the TSR. 345                  may vary depending on the                                 section of the Rule, as discussed infra,
                                                          circumstances of the opportunity and                      the Commission considered potential
    :141 See June 09 Tr at 39-53.                                                                                   privacy concerns raised by the use of
    342 Cantone, June 09 Tr al 47 (providing as an        the refund or cancellation policy.
  example a company offering a 100% buy-back for                                                                    prior purchaser information. 354 To ..
                                                          e. Section 437.3(a)(5): References                        address these concerns,§ 437.3(a)(5)(n)
  vending machines and noting the company's failure
  to disclose that the cost of sending back the vending   (1) Background                                            requires that the disclosure document
  machine would be borne by the purchaser, and                                                                      stale the following language clearly and
  would often exceed any refund due, thereby                 The interim Business Opportunity
  rendering any potential refund worthless).              Rule required the disclosure of prior                     in immediate conjunction with the list
    ,., Taylor, June 09 Tr at 43.                         purchasers' name, street address, city,                   of references: "If you buy a business
    344 Morrissey, June 09 Tr al 45. The Commission       state, and telephone number. 348 In the                   opportunity from the seller, your
  has reviewed applicable provisions of the DSA
  Code of Ethics, but does not find them applicable.      INPR, the Commission concluded that
                                                          prospects could readily contact a prior                     3497fFRat 19071 n.180.
  DSA dictates the specific terms of its members'
                                                                                                                      35u 71 FR at 19088; 73 FR at 16135.
  refund policies. The RPBOR, by contrast, did not        purchaser if provided with the prior                        351 See §437.3(5)(i).
  specify the requirements of a seller's refund or        purchaser's name, city, state, and
  cancellation policy, or even whether the seller must                                                                352 71 FR at 19071. In the RNPR, the Commission

  have such policies. Instead, it attempted to ensure                                                               solicited comment on whether giving sellers the
  that if such policies existed, potential purchasers     n.166 (citing 16 CFR 310.3(a)(l)(iii) (if a seller        ability to provide prospective purchasers with a
  were aware of how they can exercise their rights        makes a representation about a refund policy, it          national list was a viable option. It received no
  under those policies.                                   must disclose "a stateme11l of all material terms allCI   comments responsive to that request.
    345 Specifically, in describing its approach          c:oniliti,ms of such policy")].                             353 Sellers that provide the disclosure document
  regarding refund and cancellation policy                  34616 CFR 310.3(a){l)(iii).                             electronically would be permitted to attach the
  disclosures, the Commission noted that it "adopted        :<47 See 71 FR 19069-70.                                national list of references in electronic form as well.
  the same approach in the TSR." 71 FR at 19069             348 72 FR 15565.                                          3'4 71 FR at 19071.
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  contact information can be disclosed in                The Commission is not persuaded by                           The commenter argues that business
  the future to other buyers."                           any of these contentions. :ma                             opportunity operators should be
                                                            First, the Commission rejects the                      considered consumers for purposes of
  (2) Privacy Concerns Raised in the                                                                               the Privacy Rule, and thus should have
  Record                                                 argument that the disclosure of
                                                         references creates an unnecessary risk of                 the right to opt out of having their
     In response to the INPR, a number of                theft or improper disclosure. As an                       contact information disclosed to
  commenters, primarily from the MLM                     initial matter, the Commission notes                      potential purchasers.ami The
  industry, expressed concern that the                   that a similar reference disclosure has                   commenter's interpretation is contrary
  reference disclosure requirement raised                been required for business opportunities                  to both prior Commission policy, and
  privacy and security concerns.:rn5 The                 and business format franchises covered                    the plain meaning of the language of the
  Commission, however, was and is not                    by the Original Franchise Rule for more                   Privacy Rule. As the Commission has
  persuaded that privacy concerns                        than 25 years, and it is required under                   previously stated, by investing in a
  outweigh the benefits of this disclosure.              the interim Business Opportunity Rule                     business opportunity, purchasers are
  The Commission finds that disclosure of                as well. 364 Moreover, the information to                 entering the world of commerce and
  prior purchasers is important to prevent               be collected and stored is not sensitive                  embarking upon the establishment of a
  fraud because it enables prospects to                  (e.g., no financial information, social                   business. a70 Financing a business
  evaluate the seller's claims based on                  security numbers, dates of birth, or                      venture is not "primarily for personal,
  information from an independent source                 street addresses). The commenter has                      family, or household purposes." 371 This
  with relevant experience.356                           not explained, nor does the Commission                    interpretation is consistent with
  Furthermore, the required reference                    understand, why the information would                     previous Commission guidance in an
  disclosures include no sensitive                       be particularly attractive to thieves.                    analogous situation,372 and with the
  personal information whatsoever-no                        Second, the Commission is not                          Commission's interpretation of
  social security numbers, birth dates,                  persuaded that§ 437.3(a)(5) creates                       "consumer" in the context of other mles
  financial account information, or even                 potential conflicts with the GLB Privacy                  it enforces. 373
  street addresses.as7                                   Rule, because the protections afforded                       Similarly, the reference disclosure is
                                                         by the Privacy Rule likely do not extend                  not in conflict with the California
     Following publication of the RNPR,                                                                            Constitution. A cause of action for
  one commenter continued to argue that                  to the contact information of business
                                                         opportunity purchasers. Congress                          invasion of privacy under the California
  the disclosures enumerated in                                                                                    Constitution exists only when a person
  § 437.3(a)(5) would raise privacy and                  enacted GLB to protect personal
                                                         financial information of individual                       has a reasonable expectation of privacy,
  data security concerns. 358 The                                                                                  which cannot exist if the person has
  commenter articulated three main                       consumers, but excluded from the ambit
                                                         of the law the protection of information                  been expressly informed that his or her
  concerns: (1) That requiring the seller to                                                                       contact information will be shared with
  "store purchasers' personal information                pertaining to businesses. The Privacy
                                                         Rule requires that a "financial                           prospective purchasers.:i74
  in a single location or document creates
  a target ripe for theft and improper                   institution" provide, under specified
                                                                                                                   Fair Credit Reporting Act ("FCRA") 15 U.S.C.
  disclosure;" (2) that requiring disclosure             circumstances, notice to its consumers                    1681(a)(4) (requiring various protections for
  of information of prior purchasers                     and customers of its privacy policies                     consumer information, including provisions
  conflicts with the FTC's Privacy of                    and practices? 65 including the                           addressing identity theft). There is no comparable
                                                         consumers' right to opt out of having                     statute that protects business information.
  Consumer Information Rule ("Privacy                                                                                 • 0 • The commenter argues that the purchase of a
  Rule" or "GLB Privacy Rule"),as9                       their personal information shared with                    business opportunity might be intended to "provide
  promulgated under the Gramm-Leach-                     third parties.,rn 6 For purposes of the                   a revenue stream" lo a purchaser and "nol
  Bliley Act ("GLB") 360 because it does                 Privacy Rule, a consumer is an                            necessarily a source of employment." Planet
                                                         individual who obtains financial                          Antares-RNPR at 18-21. The Commission finds this
  not allow those prior purchasers of the                                                                          distinction immaterial lo the analysis.
  business opportunity the right to opt out              products or services for personal, family
                                                                                                                      ,10 73 FR at 16127 & n.210.
  of having their contact information                    or household purposes.367 The
                                                                                                                      "' The Commission has not issued guidance
  disclosed to potential purchasers;a 01                 Commission need not consider the                          about the meaning of "personal, family, or
  and (3) that the mandatory disclosure of               limited circumstances where a business                    household purposes" because the plain moaning of
                                                         opportunity seller might be considered                    the language seems abundantly clear. Courts'
  references violates privacy obligations                                                                          interpretations of this phrase when used in other
  under the California Constitution.asz                  a financial institution, because the                      consumer protection laws are instructive. See, e.g.,
                                                         Privacy Rule is aimed at protecting the                   In re Runski, 102 F.3d 744,747 (4th Cir. 1996)
    355   See 73 FR at 16126.
                                                         non-public personal financial                             (noting in the bankruptcy context that courts have
                                                         information of consumers, not                             uniformly concluded that debt incurred for a
     '°" See id.                                         businesses. 368                                           business venture or v.ith a profit motive does not
     '" See id.                                                                                                    fall into the category of debt incurred for "personal.
     ssn Planet Antares-RNPR at 18-21.                                                                             family, or household purposes").
     359 16 CFR Part 313.                                   363 This same commenter argues that the required
                                                                                                                      S12 See "Frequently Asked Questions for the
     300 15 U.S.C. 6801 et seq.
                                                         reference information constitutes trade secrets that      Privacy Regulation," Question B-2 (Dec. 2001),
     361 The Commission received a few comments in
                                                         should be afforded special protections, but offers no     http://www.ftc.gov/privocy!glboct!glb-faq.htm
                                                         support for this contention. Id. at 14.                   (Privacy Rule does not apply when a financial
  response lo the INPR in support of allowing
                                                            30• 16 CFR 437.1[a)(16)[iii).                          institution makes a business Joan to a sole
  individual business opportunity purchasers to opt
                                                            3os 73 FR at 16127.                                    proprietor; although an individual, a sole proprietor
  out of having their contact information disclosed.
  The comment submitted by the DOJ however, urged           '"" 16 CFR 313.1(a)(3).                                is not a "consumer" for purposes of the Privacy
  the Commission to reject any opt-out believing it         ••116 CFR 313.3[e). Similarly. a customer is a         Rule where the financing is not for personal, family,
  would be an easy matter for sellers to talk            consumer with a continuing relationship with the          or household purposes).
  purchasers into opting out, describing to them what    financial institution. See 16 CFR 313.3(h).                  373 See, e.g., Preservation of Consumer's Claims
  a hassle it becomes for those who do not opt out          36 8 See 16 CFR 313.l(b) (expressly stating that the   and Defenses, 16 CFR 433. l(b); Credit Practices, 16
  because of all the demand that arises for their time   Privacy Rulo "does not apply lo information about         CFR 444.l(d).
  and attention. The Commission agreed with DOJ          companies or about individuals who obtain                    :,74 When personal information has been released
  and aner analyzing all of the commentary to            financial products or services for business,              witlwut consent, a cause of action for invasion of
  § 437.3[a)[5], declined to make any changes to that    commercial, or agricultural purposes"). Indeed,           privacy exists under the California Constitution
  section. See 73 FR at 16126-27.                        federal law often focuses on privacy concerns             only if: (1) the individual had a reasonable
    ' " 2 Planet Antares-RNPR at 20.                     affecting individuals, not businesses. See, e.g., the                                                 Continued
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     Privacy concerns relating to the                     subsequent purchasers. Purchasers who                   documents. A seller furnishing
  reference disclosure were also                          have privacy concerns, therefore, can                   disclosures online, either through email
  articulated at the June 1, 2009                         take steps to minimize personal                         or access to a Web site, has the burden
  workshop. A panelist representing a                     exposure, such as, for example,                         of establishing that the prospect was
  large MLM company stated that at least                  designating a separate phone number for                 actually able to access the electronic
  some of its representatives expressed                   business purposes.                                      document. 378 Completion and
  concern that under the proposed Rule,                      Nonetheless, the Staff Report noted                  submission of the receipt serves that
  their addresses and home telephone                      that the disclosure of information some                 purpose. The final Rule does not impose
  numbers could be provided to persons                    may consider private must be weighed                    any particular method of transmitting
  they did not know. The panelist noted                   against the benefits of providing that                  the receipt. In order to minimize
  that representatives often use their                    information to potential purchasers.                    compliance costs, sellers should have
  home telephone number as their                          After considering the purpose of                        flexibility to determine the best method
  business number, and that the same                      providing reference information, the                    to comply with this provision of the
  telephone number is also used by other                  Staff Report concluded that the                         Rule.:m Accordingly, § 437.3(a)(6)
  family members, including children.                     disclosure of the city where the                        would permit the seller to inform the
  The panelist wondered if additional                     reference is located is not necessary.                  prospective purchaser how to return the
  safeguards to protect purchasers'                       The staff recommended, therefore, that                  signed receipts, for example, by sending
  privacy could be taken and suggested                    the city where previous purchasers                      the receipt to a street address, to an
  requiring potential purchasers to contact               reside be eliminated from                               email address, or by facsimile.
  a seller's references through a                         § 437.3(a)(5)(i), and correspondingly,                     As noted above, the Staff Report
  centralized telephone number to be                      from the "References" section of the                    recommended adding a new definition
  administered by the seller.:m The DOJ                   disclosure document.                                    of "signature" or "signed" to make clear
  panelist opposed this suggestion,                          No comments in response to the Staff                 that the term "signature" or "signed"
  arguing that communications with prior                  Report addressed this recommended                       includes not only a person's
  purchasers could be subject to                          modification. The Commission agrees                     handwritten signature, but also an
  manipulation by the sellerP 6                           with the staffs recommendation.                         electronic or digital form of signature to
    The Commission does not believe that                  Accordingly, both§ 437.3(a)(5)(i) of the                the extent that such signature is
  requiring sellers to provide and                        final Rule and the related section of the               recognized as a valid signature under
  administer a centralized phone number                   disclosure document have been revised                   applicable federal law or state contract
  to screen references is necessary or                    to eliminate references to the city where               law.:iHn The receipt requirement
  advisable. The Commission agrees with                   prior purchasers reside. The                            received one comment. The commenter
  DOJ's comment that such a system may                    Commission reiterates, however, that                    noted that the requirement that a
  invite manipulation. It would also                      this amendment is intended to alleviate                 purchaser be provided with a second
  create an unjustified financial and                     privacy concerns, and it does not relieve               copy of the disclosure document
  administrative burden for sellers. As                   a seller of its obligation to provide a list            appears inconsistent with the Rule's
  noted above, the Commission does not                    of the ten purchasers within the past                   recognition that the disclosure
  view the disclosure of a purchaser's                    three years that are nearest lo the                     document can be provided to potential
  name, state, and telephone number as                    potential purchaser as an alternative to                purchasers through electronic media. 381
  creating privacy or security concerns, as               providing the full list of all prior                    The Commission disagrees with the
  this information is often available in the                                                                      commenter. Some sellers may post their
                                                          purchasers.
  public domain. The required disclosure                                                                          disclosure document on their Web sites,
  does not include street address                         f. Section 437.3(a)(6): Receipt                         and update it as needed. The
  information, and therefore, does not                       Section 437.3(a)(6) sets forth a receipt             requirement to provide a copy of the
  provide a "road map" to a purchaser's                   requirement for the disclosure                          electronic disclosure ensures that the
  residence, as the commenter suggests.                   document. This requirement is designed                  prospective purchaser will retain the
  Moreover, potential purchasers are                      to document proper disclosure by the                    document in a static format. This can be
  notified in writing, prior to the time of               seller. Specifically, the seller must                   accomplished as easily through
  purchase that their reference                           attach a duplicate copy of the disclosure               electronic means as it can through
  information will be available to                        document, which is to be signed and                     paper. In fact, allowing electronic
                                                          dated by the purchaser. A designation                   distribution should greatly reduce
  expec~alion that the information would be kept
                                                          for the signature and date is included at               sellers' compliance costs over the long
  private, and (2) disclosure of the information is                                                               run, especially costs associated with
  serious in nature, scope, and or potential impact to    the bottom of the disclosure
  cause an "egregious breach of social norms." See        document.377 The Commission believes                    printing and distributing disclosure
  Pioneer Elecs., Inc. v. Olmstead, 40 Cal. 4th 360,      that the receipt requirement is                         documents. Nevertheless, the final Rule
  370-71 (2007). Even when these criteria are met,
                                                          especially important to prove proper                    enables sellers to determine for
  the individual's privacy interest must be weighed                                                               themselves whether it is most efficient
  against legitimate and important competing              disclosure with respect to electronic
  interests. Id. When measured against this stat1clard,                                                           and cost-effective to provide the
  disclosure of purchaser information pursuant lo           377 As noted previously, the Commission engaged
                                                                                                                  disclosure document to prospective
  proposed§ 437.3(a)(5) would not give rise to a          a consultant with expertise in document design and      purchasers electronically or in printed
  privacy action. First, the disclosure document          comprehension to evaluate the initial proposed          form. Accordingly, the Commission
  plainly notifies potential purchasers that their        disclosure document. One of the changes suggested
  reference information will he provided to               by the consultant included adding a note below the
                                                                                                                  adopts the receipt provision as
  subsequent purchasers, thus they have no                signature line of the disclosure document stating       recommended in the Staff Report, with
  reasonable expectation that their information will      that the FTC requires that all business opportunity     one non-substantive modification: the
  be kept private. Second, the reference disclosure       sellers give the prospective purchaser at least seven   reference to a "disclosure page" has
  includes no sensitive personal information              calendar clays before asking him or her to sign a
  whatsoever, and the value to potential purchasers       purchase contract. A copy of the revised proposed
  of information about prior purchasers outweighs                                                                  37s   71 FR at 19072.
                                                          disclosure document, which incorporated this
  any potential detriment to those prior purchasers.                                                               ,10 Id.
                                                          change, was attached as Appendix A to the Federal
    '"Morrissey, June 09 Tr at 87.                        Register Notice announcing the June 1, 2009              sno See§ 437.l[r).
    "" Jost, June 09 Tr at 88.                            workshop. See 74 FR at 18715.                            3R1 Quixtar-INPR at 27.
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  been changed to "disclosure document"          basis for the claim at the time the claim          must be a single written document. The
  to conform it to the title of§ 437.3.          is made; (2) have in its possession                document must be titled "EARNINGS
                                                 written materials that substantiate the            CLAIM STATEMENT REQUIRED BY
  3. Section 437.3(b): Updating the                                                                 LAW" in capital, bold type letters. This
  Disclosure Document                            claim at the time the claim is made; (3)
                                                 make the written material available to             ensures that the prospective purchaser
     To ensure that a seller's disclosures       the prospect and the Commission upon               can readily determine from the face of
  are current, § 437 .3(b) requires sellers to   request; and (4) furnish the prospect              the document the importance of its text.
  update their disclosures at least              with an earnings claim statement.                  The title is followed by the name of the
  quarterly. Modeled on the Original             Section 437.4(b) sets forth disclosure             person making the claim, and the date
  Franchise Rule and interim Business            and other requirements for sellers                 of the claim. After the title and
  Opportunity Rule,382 the provision             making earnings claims in the general              identifying information, the Rule
  states that it would be a violation of the     media. In §437.4(c), the final Rule                requires the seller to state the specific
  Rule and Section 5 of the FTC Act for          addresses the use of industry financial            earnings claim or claims. The final Rule
  a seller to fail to update the disclosures     statistics or data to suggest or imply a           does not specify any particular format or
  to reflect any material changes in the         likely level of earnings. Finally,                 formula for an earnings claim. This is
  information presented in the basic             § 437.4(d) requires that sellers notify            intended to allow flexibility in
  disclosure document on at least a              prospects in vvriting of any changes in            presenting earnings information in the
  quarterly basis. The Commission has            earnings information before the prospect           manner that is appropriate for each
  concluded that quarterly updating              enters into a contract or provides any             opportunity, provided that any such
  strikes the right balance between the          consideration to the seller, directly or           claim has a reasonable basis and that
  need for accurate disclosure and the           indirectly through a third party. 386 Each         there is written substantiation for the
  costs and burdens more frequent                of these requirements is discussed in the          claim at the time it is made.a1111
  updating would entail. 383                     following sections.                                   The final Rule also requires a seller
     Section 437.3(b) includes a proviso                                                            making an earnings claim to disclose the
  that would require more frequent               1.  Section  437.4(a)(l)-(3):                      beginning and ending dates when the
  updating in one respect: the list of          Substantiation for Earnings Claims                  represented earnings were achieved. 389
  references. Specifically, a seller is             As noted throughout this proceeding, This information is material because a
  required to update the list of references     the making of false or unsubstantiated              prospective purchaser cannot begin to
  monthly until such time that it is able       earnings claims is the most prevalent               evaluate an earnings representation
  to include the full list of 10 references.    problem in the offering of business                 without knowing how recently the
  This is particularly necessary for start-     opportunities. To address this problem, supporting data was collected. For
  up opportunities that may have few or         § 437.4(a)(l) of the final Rule permits             example, a seller may have conducted a
  no prior references when they                 sellers to make an earnings claim                   survey of purchasers of its business
  commence business opportunity sales.          provided there is a reasonable basis for            opportunity in 2009. The Rule would
  The Commission has concluded that             the claim at the time the claim is                  not necessarily prohibit the use of that
  prospective purchasers' ability to            made.:rn 7 Further, § 437.4(a)(2) requires          survey information in 2010, but the
  contact at least 10 references in their       sellers that make earnings claims to                prospect should be made aware of the
  due diligence investigations of business have in their possession written                         applicable time period in order to assess
  opportunity offers outweighs any costs        substantiation for their earnings claims, the relevance of the claim to current
  of more frequent updating until the list      and §437.4(a)(3) requires sellers to                market conditions. Similarly, a prospect
  of 10 is compiled.as4                         make that written substantiation                    may reasonably give greater weight to a
     No comments were directed to the           available to the prospective purchaser,             survey of purchasers over an extended
  requirement of updating the disclosures, or to the Commission, upon request.                      period of time (for example, over a
  and the final Rule contains §437.3(b) as Requiring that a prospective purchaser                   three-year period), than a more limited
  recommended in the Staff Report.              can obtain and review, or have his or               survey (for example, over a three-month
  D. Section 437.4: Earnings Claims             her own advisor review, substantiation              period).a 9 o
                                                for earnings claims increases the                      Further, this section of the Rule
     Section 437 .4 of the final Rule           likelihood that sellers will make claims requires the disclosure of the number
  addresses earnings claims, and is             only for which they have a reasonable               and percentage of all purchasers who
  similar to the parallel sections of the       basis.                                              purchased the business opportunity
  Amended Franchise Rule and the                                                                    prior to the end of the represented time
  interim Business Opportunity Rule.        385 2.  Section   437.4(a)(4):   Earnings     Claim
                                                Statement                                           period who have achieved at least the
  Like both of those rules, the final Rule                                                          claimed earnings during that period.
  requires disclosure of earnings                   Seclion 437.4(a)(4) prescribes the              This information is material because it
  information only if a business                content of the earnings claim statement, enables the prospect to determine
  opportunity seller chooses to make a          which must be provided to a prospect                whether the claimed earnings of prior
  claim about potential earnings to             if a seller elects to make a representation purchasers are typicaJ.:rn 1 For example,
  prospective purchasers.                       about potential earnings. To ensure case a seller may claim that purchasers have
     Like the analogous provisions of the       of review, each earnings claim statement average earnings of $50,000 a year. Even
  Amended Franchise Rule and the
  interim Business Opportunity Rule,                                                                if true, this statement may not reflect the
                                                   '"" The Amended Franchise Rule contains similar
  § 437.4(a) requires a seller making an        requirements. See 16 CFR 436. l(d)(2) and
                                                                                                    experience of the typical purchaser
  earnings claim to: (1) Have a reasonable 436.1(0)(6) (each prospective franchisee to whom         because a few purchasers with
                                                the representation is made shall be notified of any unusually high earnings could skew the
                                                material change in the information contained in the average. Thus, the number and
    3a215 CFR 436.7(b) and interim Business      earnings claims document).
  Opportunity Rule§ 437.l(a)(22).                  ,a, As discussed in the INPR, the Commission did
   383 71 FR at 19072.                           not propose a "geographic relevance" requirement     388 71 FR at 1.9072.
   384 Id.
                                                 because that prerequisite is subsumed in the         3Bo Section 437.4(a)(4)(iv).
   '"' See 16 CFR 436.9 and interim Business     "reasonable basis" requirement. See 71 FR at 19072   ,no 71 FR at 19072.
  Opportunity Rule §§437.l(b), (c) and (e).      n.185.                                               '"' Id.
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  percentage of purchasers earning                    Report recommended that§ 437,4(11) be             3. Section 437,4(b): Earnings Claims in
  $50,000 a year might actually be very       adopted in the form proposed in the                       the General Media
   low.:rn2                                   RPBOR, but sought additional comment
      In addition, this section of the final  on §§437.4(a)(4)(iv) and (v), which                          Section 437.4(b) addresses the making
   Rule requires a seller making an           require any business opportunity seller                   of earnings claims in the general media,
   earnings claim to disclose any             that makes an earnings claim to identify                  such as on television, radio, the
   characteristics that distinguish           the beginning and ending dates of the                     Internet, in newspapers, etc.
   purchasers who achieved at least the       time period when those earnings were                      Specifically, a seller can make an
   represented level of earnings from those achieved (§ 437.4(a)(4)(iv)) and the                        earnings claim in the general media
   characteristics of the prospective         number and percentage of all purchasers                   provided the seller: (1) Has a reasonable
   purchasers.393 For example, a survey of who purchased the opportunity before                         basis for the claim at the time the claim
   ice cream vending route purchasers         the ending date and who achieved those                    is made; (2) has written material that
   operating only in the South may not be     earnings in that time period                              substantiates the claim at the time the
   readily applicable to other regions, such (§ 437.4(a)(4)(v)).a9a Section                             claim is made; and (3) states in
   as the North. Similarly, a survey limited 437.4(a)(4)(v) specifies Lhat in                           immediate conjunction with the claim
   to large urban areas may not be            calculating the number and percentage                     the beginning and ending date when the
   applicable to smaller, rural areas.        of purchasers who attained at least the                   represented earnings were achieved and
   Distinguishing characteristics of          represented level of earnings, the                        the number and percentage of those who
   purchasers who achieved a represenled business opportunity seller must                               have achieved the represented earnings
   level of earnings is material information include all purchasers who purchased                       in the given time period. These
   because it enables a prospect to assess    the opportunity prior to the ending date                  requirements are necessary to prevent
   the relevance of an earnings claim to his of the time period on which the                            deceptive and misleading earnings
   or her particular market,aB4               representation is based. The Staff Report                 representations in advertisements, as
     Finally, the Rule requires a seller      solicited comment on whether the                          well as to enable a prospect to assess the
   making an earnings claim to disclose to    results of such a calculation, which                      typicality of any advertised earnings
   the prospective purchaser that written    would include the experience of those                      claim.4oo
  substantiation for the claim will be       who purchased the business                                    The Commission received no
  made available upon request.a 95 As         opportunity toward the end of the stated                  comments about this provision. Based
  noted above, requiring that a              time period, present consumers with a                      on the record as a whole and its
  prospective purchaser can obtain and       realistic picture of their likely earnings                 enforcement experience, the
  review, or have his or her own advisor     with the business opportunity. In                          Commission concludes that the
  review, substantiation for earnings        addition, the Staff Report sought                          requirements of§ 437.4(b) are necessary
  claims increases the likelihood that       comment on whether this calculation                        to prevent misleading earnings
  sellers will make claims only for which would present prospective purchasers                          representations, and the final Rule
  they have a reasonable basis.:rn 5 This    with information that would be useful                      includes this provision as recommended
  requirement balances the prospective       in making an informed purchasing                           in the Staff Report.
  purchaser's need for material              decision, and questioned whether there
  information with the necessity of          were alternative approaches that might                     4. Section 437.4(c): Dissemination of
  minimizing the seller's compliance         be more useful.                                            Industry, Financial, Earnings, or
  costs. Thus, a seller need only provide       Only one comment received in                            Performance Information
  such substantiation upon request.          response to the Staff Report addressed
     In the RNPR, the Commission             these provisions. Specifically, DOJ                           Section 437.4(c) is intended to
  solicited comment on various aspects of agreed that any substantiation for                            address a prevalenl practice among
  the earnings claim statement including: earnings must be calculated using the                         business opportunity sellers-the use of
  (1) Whether the requirement that sellers number of all purchasers of the                              real or purported industry statistics in
  disclose the number and percentage of      opportunity prior to Lhe ending date of                    the marketing of business opportunity
  prior purchasers that achieved at least    the time period for which the earnings                     ventures. The Commission's law
  the stated level of earnings would create representation is based, noting that:                       enforcement experience reveals that it is
  difficulties for sellers, or whether there                                                            common for vending machine business
  were alternative approaches that could        In reality, many business opportunities                 opportunity promoters, for example, to
                                             begin and end in a short period of time,
  limit any such difficulties; and (2)       constantly reinventing themselves to avoid
                                                                                                        tout what are purported to be industry-
  whether the requirement that sellers       association with previous failures. Requiring              wide vending sales statistics. A matrix
  disclose any materially different          inclusion of all purchasers who purchased                  of potential earnings based upon an
  characleristics of prior purchasers that   before the ending date in any statistics in an             industry-average sliding scale of "vends
  attained at least the stated level of      earning claims document is necessary to                    per day" is typical. 401 The use of such
  earnings adequately covered the            force the seller to have the document be at                industry statistics in the promotion of a
  relevant earnings information that         all representative of the business as a whole.             business opportunity creates the
  should be disclosed.:rn7                   Any wiggle room in this regard will be                     impression that the level of sales or
     No comments were received in            exploited to create a document based on non-               earnings is typical in the industry, and
                                             representative sellers.a99
  response to the Commission's specific
  questions, nor were any comments           The Commission agrees and the final                           •oo E.g., FTCv. Inspired Ventures, Inc., No. 02-
  directed to this provision. The Staff      Rule includes§ 437.4(a)(4) as                              21760-CIV-Jordan (S.D. Fla. 2002); FTCv.
                                             recommended in the Staff Report.                           MegaKing. Inc., No. 00-00513-CIV-Lenard (S.D.
   :lllZid.                                                                                             f'la. 2000).
                                                                                                           401 E.g., FTCv. Tashman, 318 F.3d 1275 (11th Cir.
   :rn:i Section 437.4(a)(4)(vi).                       J9•Section 437.4(b)(3) requires similar
                                                      disclosures, calculated in the same way, in       2003); FTC v. Nat'/ Vending Consultants, lnc., No.
   394 71 FR at 17073.
                                                      conjunction with any earnings claim made in the   CV-S--05-0160-RC)-PAL (D. Nev. 2005); FTC v.
   395 Section 437.4(a)(4)(vii).
                                                      general media.                                    Inspired Ventures, Inc., No. 02-21760-CIV-Jordan
   ''"" See, e.g., 16 CFR 436.1(b){2); 436.l(c)(2).                                                     (S.D. Fla. 2002); FTCv. Inv. Dev. Inc., No. 89-0642
      7
   "" 73 FR at 16133.                                   399   DOJ-Staff Report at 2.                    (E.D. La. 1989).
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  implies that the prospective purchaser      business opportunities available in the    recommendation was based, in part, on
  will achieve similar results:•oa            industry. A start-up business              a long-standing Commission
     To prevent deceptive use of such         opportunity with no or very limited        enforcement policy, which advises that
  earnings claims, §437.4(c), as proposed prior sales, therefore, probably would         where a Commission order, rule, or
  in the RNPR, prohibited the use of          not be able to use industry statistics     guide requires the clear and
  industry financial, earnings, or            because it would lack a sufficient basis   conspicuous disclosure of certain
  performance information "unless the         to demonstrate that the industry           information in an advertisement or sales
  seller has written substantiation           statistics reflect the typical or ordinary material appearing in a non-English
  demonstrating that the information          experience of the start-up's prior         language publication, the disclosures
  reflects the typical or ordinary financial, purchasers.                                should be made in the predominant
  earnings, or performance experience of
  purchasers of the business opportunity      5. Section 437.4(d): Material Changes in language of the publication in which the
                                              Earnings   Claim Statement                 advertisement or sales material
  being offered for sale." 40:J                                                          appears.409 This policy is the result of
     In response to the RNPR, one                Section 437.4(d) addresses post-        the Commission's recognition that "with
  commenter noted that this provision         disclosure changes in earnings             increasing intensity, advertisers are
  would prohibit sellers from using           information. It prohibits any seller       making special efforts to reach foreign
  industry statistics in ways that could      making an earnings claim from failing to language-speaking consumers." 410
  assist potential purchasers in making       notify the prospective purchaser, before Under the policy, failure to provide the
  informed decisions. 404 For example,        the prospect enters into a contract or     required disclosures either in the
  hypothetically, the performance             pays any consideration, of any material    predominant language of the
  experience of prior purchasers of a         change that has occurred and that calls    publication or of the target audience
  business opportunity might contrast         into question the relevance or reliability could result in a civil penalty or other
  favorably against the industry average      of the information contained in its        law enforcement proceeding for
  and, if so, that information might help     earnings claim statement. For example,     violating the terms of any applicable
  a prospective purchaser assess the value "[s]uch material changes include the          Commission order or nile. 411
  of the investment against other             issuance of a new survey or other facts       The staffs recommendation to
  proposed businesses.                        that would lead the seller to conclude     address foreign-language sales also is
     The Staff Report noted that there may that a prior survey is no longer              based on its belief that when a business
  be a limited number of situations in        valid." 406 In crafting §437.4(d), the     opportunity seller purposefully reaches
  which providing industry statistics may Commission was cognizant of the high           out to a particular population by
  be beneficial to potential purchasers,      degree of materiality of earnings          marketing in the foreign language
  but expressed concern that industry         information for prospective purchasers, spoken by members of that community,
  statistics can be, and have been, used to but attempted to minimize compliance         all of the disclosures required by the
  imply to potential purchasers that their    costs during the time before the           Rule should be accessible and
  likely earnings with the promoted           prospective purchaser enters into a        comprehensible to each of those
  business opportunity will match the                                                4
                                              contract or pays any consideration. 0 In potential purchasers. 412 Accordingly,
                                                                                       7

  industry averages.4os                       the RNPR, the Commission explained         the Staff Report recommended that
     The Staff Report recommended a           that "[t]he proposal would not require a business opportunity sellers be required
  small change to Section 437.4(c) to state seller, for example, to prepare a revised to provide the disclosure document to
  that it is an unfair or deceptive practice earnings claim statement immediately,       potential purchasers in the language the
  to "disseminate industry financial,         but would simply require written           seller uses to conduct the offer for sale,
  earnings, or performance information        notification of the change." 408 No        sale, or promotion of the business
  unless the seller has written               comments in response to the RNPR or        opportunity.
  substantiation demonstrating that such      the Staff Report were directed at this        The Staff Report sought public
  information reflects, or does not exceed, provision. The Commission finds that         comment about whether this
  the typical or ordinary financial,          § 437.4(d) strikes the right balance       requirement adequately promotes the
  earnings, or performance experience of      between accurate disclosure to prevent     Commission's goal of ensuring that
  purchasers of the business opportunity      deception and the compliance costs that potential purchasers be provided with
  being offered for sale." The Commission would result from a more frequent than         information necessary lo make an
  received no comments on this                quarterly updating requirement of the      informed purchasing decision. It also
  provision.                                  full earnings claim document. The final solicited comment on what alternatives,
     The Commission concludes that the        Rule includes this provision as            if anv, the Commission should consider,
  recommended change is warranted.            recommended in the Staff Report.           and the costs and benefits of each
  Section 437.4(c) of the final Rule thus                                                alternative.
  includes the staffs recommended             E. Section 437.5: Sales Conducted in
                                              Spanish or Other Languages Besides            In response to the Staff Report, the
  language. Accordingly, under the final                                                 Commission received one comment
  Rule, a seller can use industry             English
                                                                                         addressing the disclosure requirements
  information only if it is able to measure     On its own initiative, the staff         for foreign-language sales. Specifically,
  the performance of existing purchasers      recommended in the Staff Report adding DOJ agreed with the staff's
  of that seller's offered business           a provision that would require sellers to
  opportunity and document that those         provide the disclosure document and          4011 FTC Enforcement Policy Statement

  existing purchasers' typical performance the disclosures required by the Rule to       Concerning Clear and Conspicuous Disclosures in
                                              potential purchasers in the same           Foreign Language Advertising and Sales Materials,
  equals or exceeds the average                                                          16 CFR 14.9(a). In the case of any other
  performance of purchasers of other          language that the seller uses to market    advertisement or sales material, the Commission
                                              the business opportunity. This             policy states that the disclosures should appear in
   402 71 FR at 19073.                                                                         the language of the target audience.
   403 73 FR at 16135.                            406 Id. at 100.                                410id.
   404 Planet Antares-RNPR at 25.                 401 Id.                                        411 Id.

   •os Staff Report at 99.                        •o• 71 FR at 19073.                            412StaffReport at 101.
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   recommendation that the required                   obtaining an accurate translation of the                 requiring "a prospective purchaser to
   disclosures should be made in the same             disclosure document.                                     waive reliance on, any statement made
   language as the sale, noting that the                 The Commission adopts the language                    in any document or attachment that is
   disclosures should be "as                          proposed in the Staff Report, with one                   required or permitted to be disclosed
   comprehensible to would-be buyers as               slight modification. Namely, §437.5 of                   under this Rule." 416 The purpose of this
   is the [seller's] sales pitch." 413                the final Rule makes clear that all                      provision is to preserve the reliability
      After consideration of the record, the          earnings disclosures required by                         and integrity of pre-sale disclosures.
   Commission's long-standing policy, and             § 437.4-rather than those identified                     Otherwise, the Rule's very purpose
   the rationale behind the staff's                   only in § 437.4(a)-must be made in the                   would be undermined by signaling to
   recommendation, the Commission                     language in which the business                           prospects that they cannot trust or rely
   agrees that an English disclosure                  opportunity sales are conducted.                         on the Rule's mandated disclosures.41 7
   document for business opportunities                Section 437.5 of the final Rule, entitled                   No comments received in response to
   marketed in Spanish and other foreign              "Sales conducted in Spanish and other                    the RNPR or the Staff Report were
   languages may have little utility for the          languages besides English" requires:                     directed to this provision, and the final
   targeted prospects. Accordingly, the                  (a) If the seller conducts the offer for              Rule includes§ 437.6(a) as
   final Rule contains disclosure                     sale, sale, or promotion of a business                   recommended in the Staff Report.
  requirements for sales conducted in                 opportunity in Spanish, the seller must                  2. Section 437.6(b): Making Inconsistent
   Spanish or other languages besides                 provide the disclosure document                          or Contradictory Claims
  English.                                            required by §437.3(a) in the form and
                                                      language set forth in Appendix B to this                    Section 437.6(b) prohibits sellers from
      Because the Commission's law                    part, and the disclosures required by                    making any representation, whether
  enforcement history demonstrates that               §§437.3(a) and 437.4 must be made in                     orally, visually, or in writing, that is
  fraudulent business opportunities have              Spanish; and                                             inconsistent with or that contradicts any
  specifically targeted Spanish-speaking                 (b) If the seller conducts the offer for              statement made in the basic disclosure
  communities, 414 the Staff Report                   sale, sale, or promotion of a business                   document or in any earnings claim
  recommended that the Rule contain a                 opportunity in a language other than                     disclosures required by the Rule.4111
  Spanish translation of the basic                    English or Spanish, the seller must                      Without this prohibition, a seller, for
  disclosure document as Appendix B. In               provide the disclosure document                          example, would be free to show a
  the Staff Report, the staff solicited               required by§ 437.3(a) using the form                     prospect a graph with earnings
  comment on whether the Spanish                      and an accurate translation of the                       information, even though the seller's
  translation of the disclosure document              language set forth in Appendix A to this                 disclosure document states that it does
  was adequate to convey to Spanish-                  part, and the disclosures required by                    not make an earnings claim. 41 9 The
  speaking potential purchasers the                   §§ 437.3(a) and 437.4 must be made in                    Commission's law enforcement
  meaning of the required disclosures, or             that language.                                           experience shows that this is a prevalent
  whether different word choices would                                                                         problem. 420 This provision, like the
  make the disclosures more meaningful.               Section 437.3(a) has been revised to                     anti-disclaimer provision, is necessary
  No comments addressed these issues.                 conform with this requirement.415                        to preserve the reliability and integrity
  Based on its law enforcement                        F. Section 437.6: Other Prohibited                       of the required disclosures.
  experience with business opportunity                Practices                                                   No comments received in response to
  sellers specifically targeting Spanish-                                                                      the RNPR or the Staff Report were
                                                         Section 437 .6 of the final Rule                      directed to this provision, and the final
  speaking consumers, the Commission                  prohibits sellers from engaging in a
  agrees that a Spanish translation of the                                                                     Rule includes§ 437.6(b) as
                                                      number of deceptive practices, whether                   recommended in the Staff Report.
  disclosure document is appropriate.                 directly or through a third party, that are
  Accordingly, a Spanish version of the               common in the sale of fraudulent                         3. Section 437.6(c): Including
  disclosure document is included as                  business opportunity ventures.                           Extraneous Materials in Disclosure
  Appendix B to the final Rule.                       Violation of any provision of this                       Document
     Although business opportunities may              section would be a violation of the Rule                    Section 437.6(c) prohibits the
  be marketed in dozens of languages                  and an unfair or deceptive act or                        inclusion of any additional information
  besides English and Spanish, the                    practice in violation of Section 5 of the                in the disclosure document that is not
  Commission's law enforcement                        FTC Act. Each of these prohibitions is                   explicitly required or permitted by the
  experience does not suggest that there              discussed below.                                         Rule. This prohibition is intended to
  are other particular languages in which                                                                      preserve the clarity, coherence,
  business opportunity sales are                      1. Section 437.6(a): Disclaiming Any
                                                      Required Disclosure                                      readability, and utility of the disclosures
  conducted. Moreover, the record is                                                                           by ensuring that the seller does not
  silent as to whether translations into                 Section 437.6(a) prohibits a business
  other languages are necessary.                      opportunity seller from disclaiming, or                    410 This provision is parallel lo the anti-
  Therefore, the Commission has                                                                                disclaimer prohibition in the Amended Franchise
  determined not to provide translations                4,s Section 437.3 or the final Rule makes it an        Rulo. See 16 CFR 436.9(h).
                                                                                                                 417 71 FR at 19073.
  of the disclosure document into other               unfair or deceptive act or practice for any seller to
                                                      fail to disclose to a prospective purchaser material       41 R This provision is similar to the Amended
  languages. Under§ 437.5(b), should a                information required by§§ 437.3 and 437.4 in a           Franchise Rule's prohibition against making
  business opportunity seller use a                   single written document in the form and using the        statements that contradict any required disclosure.
  language other than English or Spanish,             language set forth in Appendix A to the Rule; or if      See 16 CFR 436.9(a).
                                                                                                                  4 10 71 FR at 19074.
  the seller would be responsible for                 the offer for sale, sale, or promotion of a business
                                                      opportunity is conducted in Spanish, in tho form           •2° E.g., FTC v. Am. Entm't Distribs., lnc., No. 04-
                                                      and using the language Sill forth in Appendix B to       22431-CIV-Martinez (S.D. Fla. 2004); FTCv.
    4 ·1 :i DOJ-Staff Report
                        at 2.                         the Rule; or if the offer for sale, sale, or promotion   Inspired Ventures, Inc., No. 02-21760-CIV-Jordan
    414 See supm note 99 and accompanying text. DOJ   of a business nppmtunily is conducted in a               (S.D. Fla. 2002); FTCv. Mo1tgage Serv. Assocs., inc.,
  also commented that in its experience, business     language other than English or Spanish, using the        No. 395-CV-1362 (AVC) (D. Conn. 1995); FTCv.
  opportunities have been pitched to the Spanish      form and an accurate translation or the language set     Tower Cleaning Sys., Inc., No. 965844 (E.D. Pa.
  community. See DOJ-Staff Report at 2.               forth in Appendix A to the Rule.                         1996).
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  clutter the disclosure document with                   prior purchasers have earned. This                    consumers understand that if the seller
  extraneous materials that may                          prohibition complements the final                     supplies no references, it is because
  overwhelm purchasers, distracting them                 Rule's earnings substantiation                        none exist, or because the seller chooses
   from the required disclosures.421 To                  requirements in §437.4. Thus, both                    not to make such information available
   facilitate a prospective purchaser's                  unsubstantiated and false earnjngs                    in contravention of the Rule.427
  ability to maneuver through an                         claims are prohibited by the Rule.                       No comments received in response to
  electronic version of the disclosure                     No comments received in response to                 the RNPR or the Staff Report addressed
  document, this provision expressly                     the RNPR or the Staff Report addressed                this provision, and the final Rule
  permits the use of common navigational                 this provision, and the final Rule                    contains §437.6(e) as recommended in
  tools, such as scroll bars and internal                includes §437.6(d) as recommended in                  the Staff Report.
  links that facilitate review of an                     the Staff Report.
                                                                                                               6. Section 437.6(f): Failing To Provide
  electronic document. The provision                      5. Section 437.6(e): Misrepresentations              Written Substantiation for Earnings
  prohibits, however, other electronic                    Regarding the Law as to Earnings Claims Claims
  features-such as audio, video,                          and the Identity of Other Business
  animation, or pop-up screens-that may                                                                           Section 437.6(f) prohibits a seller who
                                                          Opportunity Purchasers                               makes an earnings claim from failing to
  distract attention from the core
  disclosures. 422                                           Section 437.6(e) prohibits sellers from provide written substantiation to
     The prohibition on including                         stating that any law or regulation                   prospective purchasers, and to the
  extraneous materials extends to                         prohibits seller from furnishing earnings Commission, upon request. 42s Rather
  information required or permitted by                    information. This provision is intended than mandating that business
  state law. One important goal of revising               to address a recurring problem                       opportunity sellers routinely include
  and tailoring the disclosure                            identified in the rulemaking record-                 documentation for earnings claims-
  requirements for business opportunity                   that sellers often misrepresent that                 which could be voluminous-in the
  sellers is to simplify and streamline the              federal law or the FTC prohibits the                  earnings claim statement itself, the final
  disclosures into a single-page document.                making of earnings claims. 424 In effect,            Rule's requirement is intended to
  Accordingly, the Commission has                         prohibiting these types of                           reduce compliance costs by requiring
  concluded that allowing business                        misrepresentations ensures that                      only that such materials be provided
  opportunity sellers to mix federal and                  prospective purchasers are not misled                when requested. Purchasers could then
  state disclosures into one document                    into believing that earnings information review the documentation if they so
  would be an invitation to sellers to                   is unavailable to them as a matter of                 choose. Therefore, although
  present lengthy and confusing                          law.425 In addition, the RPBOR added a substantiation for earnings claims must
  information to prospective                             second proposed prohibition to                        exist, in writing, at the time any such
  purchasers. 42 :i Such a result would be               § 43 7.6(e) that would prevent sellers                claims are made, that substantiation
  contrary to the Commission's goal of                   from misrepresenting that any law or                  need be provided to potential
  providing a simple, clear, and concise                 regulation prohibits a seller from                    purchasers (or to the Commission) only
  disclosure document. State laws offering               disclosing to prospective purchasers the upon request.
  equal or greater protections are not                   identity of other purchasers of the                      No comments received in response to
  preempted by the final Rule. The final                 business opportunity. The Commission                  the RNPR or the Staff Report addressed
  Rule only prohibits any sellers from                   proposed this change in response to a                 this provision, and the final Rule
  providing any disclosures required                     request from DOJ, which noted that fn                 contains § 43 7.6(f) as recommended in
  under state law together with the                      its experience, fraudulent business                   the Staff Report.
  disclosures required under the final                   opportunity sellers frequently deflect
                                                         potentia I purchasers' requests for the               7. Section 437.6(g): Misrepresenting
  Rule. No comments received in                                                                                Commissions     or Other Payments From
  response to the RNPR or the Staff Report               contact information of current
                                                         distributors by falsely claiming_ that the            the Seller
  were directed to this provision, and the
  final Rule includes§ 437.6(c) as                       law forbids disclosing those                             Section 437.6(g) prohibits sellers from
  recommended in the Staff Report.                       identities. 4w The Commission is                      misrepresenting how or when
                                                         convinced that the prohibition is                     commissions, bonuses, incentives,
  4. Section 437.6(d): Making False                                                                            premiums, or other payments from the
  Earnings Claims                                        appropriate because it will help
                                                                                                               seller to the purchaser will be calculated
     As previously noted, the making of                     •2 4 In the Amended Franchise Rule, the            or distributed. The Commission's law
  deceptive earnings claims is the most                  Commission addressed this problem in the context      enforcement experience shows that
  prevalent problem in the offer and sale                of sales of business format franchises through a new these kinds of misrepresentations
                                                         requirement that franchise sellers include a specific
  of business opportunities. Accordingly,                preamble in the financial performance section of      underlie deceptive work-al-home
  § 437.6(d) prohibits sellers from                      their disclosures. Among other things, the preamble opportunities, where prospective
  misrepresenting the amount of sales, or                makes clear that franchisors can make financial       purchasers rely on the seller as the
  gross or net income or profits a                       performance information available, assuming they      source of income, or where the seller
                                                         have a reasonable basis for their claims. See 16 CFR
  prospective purchaser may earn or that                 436.5(s](l). Although the same problem exists in the manages the system's cash flow.429 The
                                                         sale of business opportunities. the Commission, in
    4 21Indeed, in response to the INPR, DOJ urged the   an effort to streamline the business opportunity         421   Id.
  Commission to exclude state disclosures from the       disclosure document and reduce compliance costs,         4 2• The  Amended Franchise Rule and the interim
  proposed form. In DOJ's experience, "[p]urveyors of    proposed this different approach for the Business      Business Opportunity Rule have similar
  fraudulent business opportunities will seek every      Opportunity Rule. believing it sufficient to address   requirements. See 16 CFR 436.5{r)(3J(v); 437.l(b)(2);
  opportunity to water down this document with           deceptive business opportunity sales. The              and 437.1(c](2).
  extraneous information to hide any negative            Commission noted that "whereas the Franchise             •20 E.g., FTC v. Indep. Mktg. Exch., Inc., No. 10-
  information it may contain." 73 FR at 16128. The       Rule seeks to encourage franchisors to make            CV-00568-NLH-KMW (D.N.J. 2010); F1'Cv.
  Commission's experience supports OO['s                 earnings claims. 110 such encourageme11t is needed     Prefe1wd P/ati1111m Servs. Netwal'k, Inc., No.10--CV-
  conc:Jusions.                                          in the business opportunity lleld, where such          00538-MLC'.-LHG (D.N.J. 2010); FTC v. 81111 Ray
    4zz This is the same approach used in the            claims are all too common." 71 FR at 19075 n.211.      Traders, Inc., No. 05-20402-CIV-Seitz/Bandstra
  Amended Franchise Rule. See 16 CFR 436.6(d).             425 71 FR at 19075.
                                                                                                                (S.D. Fla. 2005); FTCv. Castle Pub/'g, No. A03CA
    423 See 73 FR at 16128.                                4 w 73 FR at 16127.                                                                             Continued
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  Commission concluded that absent this                    misrepresenting any material aspect of                   finding locations, as well as
  prohibition, the Rule would not address                  assistance it represents it will provide to              representations that the seller or other
  false promises about the compensation                    purchasers. 433 The Commission's                         third party has already found and
  sellers will provide post-sale.4ao                       enforcement experience shows that                        entered into contracts with location
     No comments received in response to                   misrepresentation of post-sale assistance                owners or customers. 438 The
  the RNPR or the Staff Report addressed                   offered to a prospective purchaser is an                 Commission has found that these types
  this provision, and the final Rule                       element common to many business                          of representations are material to a
  contains §437.6(g) as recommended in                     opportunity frauds targeted in                           prospective purchaser, because they
  the Staff Report.                                        Commission cases. 434 Also, consumer                     foster the expectation that a profitable
                                                           complaints about misrepresentations                      market exists for the goods or services
  8. Section 437.6(h): Misrepresenting
                                                           concerning the type and amount of                        the purchaser will sell.4:rn
  Costs, Performance, Efficacy or Material                                                                             No comments received in response to
                                                           assistance promised but not received are
  Characteristics of Business Opportunity                  among the top categories of reported                     the RNPR or the Staff Report addressed
    A common complaint of victims of                       deceptive business opportunity                           this provision, and the final Rule
  business opportunity fraud arises from                   practices. 435 The Commission has                        contains §437.6(j) as recommended in
  misrepresentations about the costs or                    concluded that the best way to address                   the Staff Report.
  the performance, efficacy, nature, or                    this deceptive practice is through a                     11. Section 437.6(k): Misrepresenting
  central characteristics of a business                    direct prohibition. 436                                  Cancellation or Refund Policy
  opportunity offered to a prospective                       No comments received in response to
  purchaser, or the goods or services                      the RNPR or the Staff Report addressed                      Section 437.6(k) prohibits a seller
  needed to operate the business                           this provision, and the final Rule                       from misrepresenting, directly or
  opportunity. For example, a seller may                   contains §437.6(i) as recommended in                     through a third party, the terms and
  misrepresent the total costs involved in                 the Staff Report.                                        conditions of any cancellation or refund
  purchasing or operating a business                                                                                policy. This prohibition does not
                                                           10. Section 437.6(j): Misrepresenting                    compel any seller to offer a cancellation
  opportunity. 431 In other instances, a                   Locations, Outlets, Accounts, or
  seller may misrepresent the quality of                                                                            or a refund, nor does it dictate the terms
                                                           Customers                                                and conditions under which a seller
  goods offered by the business
  opportunity seller, either for use in                       Section 437.6(j) prohibits sellers from               may offer such relief. Rather, it simply
  operating the business (e.g., vending                    misrepresenting "the likelihood that a                   ensures that any cancellation or refund
  machines) or for ultimate resale to                      seller, locator, or lead generator will                  offer a seller makes before the sale is
  consumers (e.g., novelty items).432                      find locations, outlets, accounts, or                    truthful and accurate. The
  Section 437.6(h) makes such deception                    customers for the purchaser."                            Commission's law enforcement
  actionable as a violation of the final                   Fraudulent business opportunity sellers                  experience demonstrates that, in many
  Rule.                                                    often promise that the seller or some                    instances, business opportunity sellers
    No comments received in response to                    other third party will find locations or                 falsely claim that they permit a
  the RNPR or the Staff Report addressed                   outlets for purchasers' equipment, or                    purchaser to cancel the purchase,
  this provision, and the final Rule                       accounts or customers for the                            guarantee a 100% refund, or promise to
  contains§ 437.6(h) as recommended in                     purchasers' services. 437 Such                           buy back some or all of the products
  the Staff Report.                                        representations include claims that a                    sold to a purchaser. 440 These
                                                           particular locator is successful in                      representations have lured prospective
  9. Section 437.6(i): Misrepresenting                                                                              purchasers into believing that the
  Post-Sale Assistance                                       433  71 FR at 19075 n.216.                             investment is either low-risk or even
     Section 437.6(i) prohibits business                     434 The    Commission has recognized that promises     risk-free.441
                                                           of assistance made to induce prospects to purchase          No comments received in response to
  opportunity sellers from                                 a franchise are material, especially to those
                                                           prospects with "little or no experience al running
                                                                                                                    the RNPR or the Staff Report were
  905 SS (W.D. Tex. 2003); FTC v. Trek Alliance, Inc ...   a business." 43 FR at 59676-77; see, e.g.. FTC v.        directed to this provision, and the final
  No. 02-9270 SJL (AJWx) (C.D. Cal. 2002); FTCv.           Am. Entm't Distribs., Inc., No. 04-22431-CIV-            Rule contains § 43 7.6(k) as
  Termnce Maurice Howard, No. SA02CA0344 (W.D.             Martinez (S.D. Fla. 2004); FTC v. USS Elder Enter.,      recommended in the Staff Report.
  Tex. 2002); FTCv. Am.'s Shopping Network, Inc.,          Inc., No. SA CV-04-1039 AHS (ANx) (C.D. Cal.
  No. 02-80540-CIV-Hurley (S.D. Fla. 2002).                2004); FTCv. Kitco of Nev., 612 F. Supp. 1282 (D.        12. Section 437.6(1): Failing To Provide
    ""' 71 FR at 19075.                                    Minn. 1985); FTC v. I,eading Edge Pmcessing, Inc.,       a Refund or Cancellation
    431 E.g., FTCv. World Traders Ass'n, Inc., No.         No. 6:02-CV-681-0RL-19 DAB (M.D. Fla. 2003);
  CV05 0591 AHM (CTx) (C.D. Cal. 2005); FTCv.              FTCv. Darrell Richmond, No. 3:02-3972-22 (D.S.C.           Section 437.6(1) prohibits a seller from
  Castle Publ'g, No. A03CA 905 SS (W.D. Tex. 2003);        2003); FTCv. Elec. Med. Billing, Inc., No. SAOZ-368      failing to cancel a purchase or make a
  FTCv. End70 Corp., No. 3 03CV--0940N (N.D. Tex.          AHS (ANX) (C.D. Cal. 2003); FTCv. Transwor/d             refund when the purchaser has qualified
  2003); FTCv. Darrell Richmond, No. 3:02-3972-22          Enters., Inc ... No. 00 8126-CIV--Craham (S.D. Fla.
                                                           2000); FTCv. Advanced Pub. Commc'ns Corp., No.           for such relief under the seller's
  (D.S.C. 2003); FTC v. Carousel of Toys USA, Inc.,
  No. 97-8587 CIV-Ungaro-Bonagos (S.D. Fla. 1997);         00-00515-CIV-Ungaro-Benages (S.D. Fla. 2000);
                                                           FTCv. Hi Tech Mint Sys .. Inc .. No. 98 C1V 5881            43a E.g., FTCv. Hart Mktg. Enters. Ltd., No. 98-
  FTCv. Pamde of Toys, Inc., No. 97-2367--CTV (D.
  Kan. 1997); FTCv. Te/ecomm. of Am., Inc., No. 95-        (JES) (S.D.N.Y. 1998); United States v. QX1nt'l, Inc.,   222-CIV-T-23 E (MD. Fla. 1998); FTCv. Vendors
  693-CIV-0Rlr22 (M.D. Fla. 1995). Pre-sale                No. 398-CV-0453-D (N.D. Tox. 1998).                      Fin. Servs., Inc., No. 98-1832 (D. Colo. 1998); FTC
  disclosure of cost information is a remedial               43> 71 FR at 19075 n.218.                              v. Hi Tech Mint Sys., Inc., No. 98 CIV 5881
  approach taken in many Commission trade                    430 71 FR at 19075.                                    (S.D.N.Y. 1998); FTCv. Infinity Multimedia, Inc.,
  regulation rules. E.g., 900 Number Rule, 16 CFR            4:'7 E.g., FTCv. Am. Entm't Distribs., Inc., No. 04-
                                                                                                                    No. 9f,-6671-CIV-Gonzalez (S.D. Fla. 1996).
  308.3(b]; TSR, 16 CFR 310.3; Funeral Rule, 16 CFR        22431-CIV-Martinez (S.D. Fla. 2004); FTCv. Int'l           .:rn 71 FR at 19076.
  453.2.·                                                  Trader, No. CV--02-02701 AHM (JTLx) (C.D. Cal.             440 E.g., FTC v. Med. Billers Network, No. 05 CV
    4 ' 2 E.g., FTC v. Kitco of Nev.. 612 F. Supp. 1282    2002); FTC v. Elec. Processing Servs., Inc., No. CV-     2014 (RJH) (S.D.N.Y. 2005); FTCv. Castle Publ'g,
  (D. Minn. 1985); FTCv. Associated Record Distribs.,      S-02--0500-L.H.-R.S. (D. Nev. 2002); FTCv. Home          No. A03CA 905 SS (W.D. Tex. 2003); FTCv. Am. 's
  Inc., No. 02-21754-CIV--Crabam/Garber (S.D. Fla.         Professions, Inc., No. SACV 00-111 AHS (Eex) (C.D.       Shopping Network, Inc., No. 02-80540-CIV-Hurley
  2002); FTCv. Home Professions, Inc., No. 00-111          Cal. 2001]; FTCv. Encore Networking Servs., No.          (S.D. Fla. 2002]; FTCv. Home Professions, Inc., No.
  (C.D. Cal. 2000); FTCv. Worldwide Mktg. fr Distrib.      00-1083 WJR (A!Jx) (C.D. Cal. 2000); FTC v. AMP          SACV 00-111 AHS (Eex] (C.D. C'.al. 2001 ); FTC v.
  Co., No. 95-8422-CIV-Roettger (S.D. Fla. 1995); see      Publ'n, Inc., No. SACV-00-112-AHS-ANx (C.D.              Encore Networking Servs., No. 00-1083 WJR [A!Jx]
  also FTC v. Med. Billers Network, No. 05 CV 2014         Cal. 2001); FTCv. Infinity Multimedia, Inc., No. 96-     (C.D. Cal. 2000).
  (RJH) (S.D.N.Y. 2005).                                   6671-CIV-Gonzalez (S.D. Fla. 1996).                        441 71 FR at 19076.
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  cancellation or refund policy.442 As                       No comments received in response to                   an exclusive territorial lock on their
  noted above, §437.6(k) prohibits a seller               the RNPR or the Staff Report were                        market find that their chances of success
  from misrepresenting, pre-sale, the                     directed to this provision, and the final                are materially reduced by competition
  seller's cancellation or refund policy.                 Rule contains§ 437.6(m) as                               from the other purchasers.
  Section 437.6(1) complements that                       recommended in the Staff Report.                            No comments received in response to
  section and is intended to address                                                                               the RNPR or the Staff Report were
                                                          14. Section 437.6(11): Misrepresenting                   directed to this provision, and the final
  sellers' post-sale conduct, prohibiting                 the Exclusivity of Territories
  the seller from failing to honor                                                                                 Rule contains§ 437.6(0) as
  cancellation or refund requests when                       Section 437.6(n) prohibits                            recommended in the Staff Report.
  purchasers have satisfied all the terms                 misrepresentations about the terms of
                                                          any territorial exclusivity or limited                    16. Section 437.6(p): Misrepresenting
  and conditions disclosed in the seller's                                                                         Third Party Endorsements or Other
  disclosure document for obtaining such                  territorial protection offered to a
                                                          prospective purchaser. 446 In the                        Affiliation
  relief.443 In the Commission's
  experience, the failure of business                     Commission's experience, false or                           Section 437.6(p) prohibits business
  opportunity sellers to make promised                    misleading promises about territories                    opportunity sellers from
  refunds or to honor cancellation policies               are a common deceptive practice                          misrepresenting that "any person,
  ranks high among issues raised by                       reported by business opportunity                         trademark or service mark holder, or
  business opportunity purchasers.444                     purchasers. 447 The Commission has                       governmental entity, directly or
     No comments received in response to                  stated that representations about                         indirectly benefits from, sponsors,
  the RNPR or the Staff Report were                       territorial exclusivity or more limited                  participates in, endorses, approves,
  directed to this provision, and the final               territorial protections are material                     authorizes, or is otherwise associated
  Rule contains § 43 7.6(1) as                            because they often induce a prospective                  with the sale of the business
  recommended in Lhe Staff Report.                        purchaser into believing that he or she                  opportunity or the goods or services
                                                          will not be competing for customers                      sold through the business
  13. Section 437.6(m): Misrepresenting                   with the seller or other purchasers,                     opportunity." 450 The Commission's
  Business Opportunity as an                              thereby increasing the purchaser's                       enforcement experience indicates that
  Employment Opportunity                                  likelihood of success.4411                               business opportunity frauds often lure
    Section 437.6(m) prohibits business                      No comments received in response to                   consumers by misrepresenting that their
  opportunity sellers from               .                the RNPR or the Staff Report were                        opportunities have been approved or
  misrepresenting a business opportunity                  directed to this provision, and the final                endorsed by a government agency or
  as an employment opportunity. The                       Rule contains § 437.6(n) as                              well-known third party. 451 In other
  Commission's law enforcement                            recommended in the Staff Report.                         instances, business opportunity sellers
  experience demonstrates that some                       15. Section 437.6(0): Assigning a
                                                                                                                   falsely claim that their opportunities are
  business opportunity sellers lure                       Purported Exclusive Territory to                         sponsored by or associated with a
  unsuspecting consumers by falsely                       Another Purchaser                                        charity, or that a charity will benefit
  representing that they are offering                                                                              from a percentage of sales. 452 The
                                                             Section 437.6(0) prohibits a seller                   Commission has concluded that such
  employment when, in fact, they are                      from assigning a single "exclusive"
  offering vending, work-at-home, or other                                                                         claims are material to a purchaser
                                                          territory to more than one purchaser.                    because an alleged endorsement or
  business opportunities. For example, in                 This prohibition complements
  some instances consumers have                                                                                    shared-profit arrangement may create
                                                          § 437.6(n), which prohibit sellers from                  the impression that the opportunity is
  responded to advertisements seeking                     misrepresenting territories. It is
  sales executives, only to discover that                                                                          legitimate or that the affiliation will
                                                          intended to address sellers' post-sale                   enhance sales and profits.45:J
  the "position" requires them to                         conduct, and prohibits the seller from                      No comments received in response to
  purchase equipment or products from                     failing to honor its promises regarding
  the seller and, in turn, to sell those                                                                           the RNPR or the Staff Report were
                                                          exclusive or protected territories.                      directed to this provision, and the final
  products. 445 The Commission concludes                  Consumer complaints indicate, and the                    Rule contains§ 437.6(p) as
  that this prohibition is necessary to                   Commission's law enforcement                             recommended in tlie Staff Report.
  protect consumers against false                         experience confirms, that fraudulent
  representations of employment                           business opportunity sellers often sell                  17. Section 437.6(q): Misrepresenting
  opportunities.                                          the same purportedly exclusive territory                 References (the Use of "Shills")
                                                          to several unsuspecting purchasers. 449                    Section 437.6(q) addresses one of the
    442
         This is consistent with the interim Business     In these circumstances, purchasers who                   most pernicious practices common in
 Opportunity Rule approach. See 16 CFR 437. l(h).
    4 " E.g., FTC v. AMP Publ'ns, Inc., No. SACV--00-
                                                          have been lured to invest in an                          fraudulent business opportunity sales-
 112-AHS-ANx (C.D. Cal. 2001) (failure to honor 90-       opportunity on the basis of promises of
 day money back guarantee); FTC v. Star l'ubl'g                                                                        °
                                                                                                                      •15 Cf. TSR, 16 CFR 310.3(a)(vii) (prohibiting
 Group, Inc., No. 00--023 (D. Wyo. 2000) (failure to        ••• 71 FR at 19076. In some instances, a business      misrepresentations concerning "affiliation with, or
 honor 90-day rel'und policy).                            opportunity seller may offer a prospect an exclusive     endorsement or sponsorship by, any person or
    444 73 FR at 19076.                                   territory. in which no other person has the right to     government entity").
    4 45 See, e.g., FTC v. Trek Alliance, Inc., No. 02-   compete within the territory. In other instances, a       - 451 E.g., FTCv. Stremnline Int'], No. 01-6885-

 9270 SJL (AJWx) (C.D. Cal. 2002) (defendants             seller may offer a more limited protection. For          CJV-Ferguson (S.D. Fla. 2001) [misrepresented FDA
 placed ads in "Help Wanted" sections of newspaper        example, the seller may prohibit other purchasers        approval); FTC v. Star Publ'g Group, Inc., No. 00-
 offering salaried position); FTCv. Leading Edge          from operating in the territory, hut reserve to itself   023 (D. Wyo. 2000) (misrepresented HUD approval);
 Processing, Inc ... No. 6:02-CV-681-0RL-19 DAB           the ability to conduct telemarking or Internet sales     FTCv. Bus. Opportunity Ctr., Inc., No. 95 8429-
 (M.D. Fla. 2003) (defendants sent emails to job          in the territory. Regardless of the scope of the         CIV-Zloch (S.D. Fla. 1995) (misrepresented FDA
 seekers who posted their resumes on job Web sites,       territorial protection.§ 437.6(n) prohibits business     approval); se" C1lso FTC v. Hawthorne Commc'ns,
 falsely representing tlrn availability of jobs and       opportunity sellers from misrepresenting the nature      No. 93-7002 AAH (JGX) (C.D. Cal. 1993) (order
 guaranteeing a steady stream of work); FTC v. David      of the territory.                                        restricting use of testimonials and endorsements in
                                                            447 Id. at 19065.
 Martinelli, Jr., No. 3:99 CV 1272 (D. Conn. 2000)                                                                 the sale of business opportunities).
                                                            448 ld. at 19075.                                         45 •E.g., FTCv. Global Assistance Netwo1·kfor
 (defendants sent unsolicited emails falsely offering
 a $13.50 per hour position processing applications         449 E.g., FTC v. Am. Safe Mktg., No. 1:89-CV-          Charities, No. 96-2494 PHX RCB (D. Ariz. 1996).
 for credit, loans. or employment).                       462-RLV (N.D. Ga. 1989).                                    453 71 FR at 19077.
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  the use of "shill" references to lure                     Section 437.6(r) prohibits a seller from              following five types of records for a
  unsuspecting consumers to invest in a                     failing to disclose payments to                       period of three years:
  business opportunity. 454 The                             individuals identified as references, as                 (1) Section 437.7(a): Each materially
  Commission has brought many actions                       well as any personal relationships the                different version of all documents
  against business opportunity sellers                      seller has with such individuals. Such                required by the Rule;
  who provided prospects with the names                     prohibitions are necessary because an                    (2) Section 437.7(b): Each purchaser's
  of individuals they falsely claimed were                  individual with a personal relationship               disclosure receipt;
  independent prior purchasers or                           with the seller, or who has been paid for                (3) Section 437.7(c): Each executed
  independent third parties, but who, in                    his or her assessment of an opportunity,              written contract with a purchaser;
  fact, were paid by the seller to give                     is likely to be biased, and any story of                 (4) Section 437.7(d): Each oral or
  favorable false reports confirming the                    success or high earnings from any such                written cancellation or refund request
  seller's claims, especially their earnings                person is suspect.457 The final Rule                  received from a purchaser; and
  claims. 4 5 5 The use of paid shills to give              clarifies that the term "consideration" is               (5) Section 437.7(e): All substantiation
  false reports induces prospective                         to be interpreted broadly to include not              upon which the seller relies from the
  purchasers into believing that the                        only direct cash payments, but indirect               time an earnings claim is made.
  opportunity is a safe and lucrative                       financial benefits, such as forgiveness of               The Commission finds that these
  investment.                                               debt, as well as other tangible benefits              limited recordkeeping requirements
     To address this deceptive practice,                    such as equipment, services, and                      strike the right balance, requiring no
  § 437.6(q) contains two related                           discounts. 458                                        more than necessary for effective law
  prohibitions. First, it prohibits any                                                                           enforcement, while minimizing
                                                               The RPBOR modified slightly the                    compliance costs. 461 Moreover, records
  seller from misrepresenting that any
  person "has purchased a business                          language of this provision to make clear              can be retained electronically. helping
  opportunity from the seller." This                        that the information that must be                     lo further minimize compliance costs.
  prevents a seller, for example, from                      disclosed to a potential purchaser is not                No comments received in response to
  claiming that a company employee,                         only the payment of any consideration                 the RNPR or the Staff Report were
  locator, or other third party is a prior                  to the reference by the seller, but also              directed to this provision, and the final
  purchaser of the opportunity, when that                   the existence of any relationship                     Rule contains§ 437.7 as recommended
  is not the case. Second, the provision                    between the seller and the reference. 459             in the Staff Report.
  prohibits a seller from misrepresenting                   Therefore, the RPBOR added clarifying
                                                            language to the opening clause of                     H. Section 437.8: Franchise Exemption
  that any person-such as a locator,
  broker, or organization that purports to                  § 437.6(r) so that it prohibits a failure to             Section 437.8 is designed to eliminate
  be an independent trade association-                      disclose any consideration paid, any                  potential overlap between the final
  "can provide an independent or reliable                   personal relationship, or other past or               Rule's scope of coverage and that of the
  report about the business opportunity or                  current business relationship other than              Amended Franchise Rule, so that no
  the experiences of any current or former                  as the purchaser of the business                      business would face duplicative
  purchaser." Providing a prospect with a                   opportunity being offered.                            compliance burdens. 462 Accordingly,
  list of brokers who are paid to give                         No comments, either in response to                 § 437.8 exempts from the final Rule's
  favorable reports, for example, would                     the RNPR or the Staff Report, addressed               coverage those business opportunities
  violate this provision because any                        this provision. Because the Commission                that: (1) Satisfy the definitional
  statement a person on such a list makes                   finds that the small clarification to                 elements of the term "franchise" under
  would not be independent and                              § 437.6(r) more accurately identifies the             the Amended Franchise Rule; (2) entail
  reliable. 456                                             information that must be disclosed to a               a written contract between the seller
     No comments received in response to                    potential purchaser, the Commission                   and the business opportunity buyer; and
  the RNPR or the Staff Report were                         adopts§ 437.6(r) in the final Rule in the             (3) require the buyer to make a payment
  directed to this provision, and the final                 form recommended in the Staff Report.                 that meets the Amended Franchise
  Rule contains§ 437.6(q) as                                                                                      Rule's minimum payment requirement.
                                                            G. Section 437.7: Record Retention
  recommended in the Staff Report.                                                                                These criteria were designed to
  18. Section 437.6(r): Failing To Disclose                    Section 437.7 establishes the minimal              accomplish two ends: to ensure that
  Consideration Paid to or Prior                            record retention requirements necessary               certain categories of businesses "carved
                                                            to document compliance and permit                     out" from the Amended Franchise Rule
  Relationship With Prior Purchaser
                                                            effective Rule enforcement. This section              are not inappropriately subjected to
     Section 437.6(r) is intended to                        applies to both the business opportunity              coverage by the Business Opportunity
  complement the prohibition in                             seller and its principals, to ensure that             Rule; 463 and, simultaneously, to obviate
  § 437.6(q) regarding the use of "shills."                 records required by the Rule are not
                                                            destroyed if the seller goes out of                     4fi1Jd.
    454   See id. at n.236 ("After earnings claims, false                                                           ••21d.; see also 15 U.S.C. 57a(g) (authorizing the
  testimonials and shill references are the most
                                                            business or otherwise ceases                          Commission to exempt persons or classes from all
  common Section 5 allegations in Commission                operations. 460 As detailed below, sellers            or part of rule coverage).
  business opportunities cases.")                           and their principals must keep, and                      463 For example, businesses exempt from

     455 E.g., FTCv. Am. Entm't Distribs., Inc., No. 04-    make available to the Commission, the                 Amended Franchise Rule coverage pursuant to the
  22431-CIV-Martinez (S.D. Fla. 2004); United States                                                              exemption for fractional franchises would not be
  v. Vauglm, No. 01-20077-01-KHV (D. Kan. 2001);                                                                  subject to coverage by the Business Opportunity
                                                              4 " Indeed, the Commission has long held that the
  FTCv. Hart Mktg. Enters. Ltd., No. 98-222--CIV-T-                                                               Rule because such businesses would meet the
  23 E (M.D. Fla. 1998); FTCv. lnetintl.com, No. 98-        failure to disclose compensation paid to an           criteria of§437.8. This is an appropriate result
  2140 (G.D. Cal. 1998); FTC v. Infinity Multimedia,        endorser is a deceptive practice in violation of      because the same rationale underlying exemption of
  Inc., No. 96-6671-CIV-Gonzalez (S.D. Fla. 1996);          Section 5. See 71 FR at 19077; see also Guides        these types of businesses from the Amended
  FTC v. A/lstot" Bus. Consultants Group, Inc., No.         Concerning the Use of Endorsements and                Franchise Rule would also dictate that they not be
  95-6634-CIV-Ryskamp (S.D. Fla. 1995).                     Testimonials in Advertising, 16 CFR 255 (Oct. 15,     covered by the Business Opportunity Rule-i.o., the
    4so E.g., FTCv. Aj]iliated Vendors Ass'n, Inc., No.
                                                            2009).                                                franchisor is not likely to deceive the prospective
                                                              458 71 FR at 19078.                                 franchisee or to subject the prospective franchisee
  02-CV-0679-D (N.D. Tex. 2002); FTCv. Raymond
  Urso, No. 97-2680-CIV-Ungaro-Benages (S.D. Fla.             •so 73 FR at 16128, 16136.                          to significant investment risk. Therefore, imposing
  1997); see also 71 FR at 19077 n. 238.                      •"o 71 FR at 19078.                                 the requirements of either the Amended Franchise
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   any l?ophole that could be exploited by             expand the exemptions beyond those           that recommendation, the Commission
   certam other types of business                      identified in the RPBOR. The                 has decided to modify the text of tliis
   opportunities that are exempt from the              Commission adopts§ 437.8 as                  provision in the manner recommended
   Amended Franchise Rule but that                     recommended in the Staff Report.             in the Staff Report. As the Commission
   should be regulated by the Business                                                              has stated previously, all determinations
   Opportunity Rule.                                   I. Section 437.9: Outstanding Orders;
                                                       Preemption
                                                                                                    under this provision regarding the
     On the other hand, certain businesses                                                          amendment of orders will be made on
   carved out of Amended Franchise Rule                 1. Section 437.9(a): Effect on Prior        a case-by-case basis.
   coverag~ should not escape regulation                Commission Orders
   by the fmal Rule-specifically, those                                                             2. Section 437.9(b): Preemption
   exempt from the Amended Franchise                       Section 437.9(a) addresses the effect
                                                        the Ru~e 1;Ilay have on outstanding            S~cti~n ~37.9(b) adopts a preemption
  Rule's coverage due to the minimum                                                                pohcy s1m1lar to that embodied in the
   payment exemption 464 or the oral                    Comm1ss10n orders. The Commission           Amended Franchise Rule.477 rt provides
   agreement exemption.465 The                          recognizes that the final Rule
                                                                                                    that the Commission does not intend to
   Commission has concluded that while                  significantly changes the disclosure
                                                        obligations for those sellers who are       preempt state or local business
  these two exemptions are warranted in                                                             opportunity laws, except to the extent of
  the franchise context to ensure that the              now under order in prior Commission
                                                                                                    any conflict with the Rule. Further, a
   significant disclosure costs imposed by              actions. To enable business opportunity
                                                                                                    law docs not conflict if it affords
  the Amended Franchise Rule are cost-                  sellers to take advantage of the final
                                                                                                    prospe~tive purchasers equal or greater
  justified, they do not apply to the final             Rule's reduced disclosure obligations, as
                                                                                                    protection, such as a requirement for
  Rule, with its significantly lighter                  well as to reduce any potential conflicts
                                                                                                    registration of disclosure documents or
  disclosure burden. 466                               between existing orders and the final        more extensive disclosures.478
     In the RNPR, the Commission                        Rule,§ 437.9(a) permits persons under
                                                                                                       One commenter suggested tliat the
  solicited comment on whether the                     order to petition the Commission for
                                                                                                    FTC should preempt conflicting state
  exemption was overly broad or overly                  relief consistent with the provisions of
                                                       the new Rule. Under the RPBOR                business opportunity rules, noting its
  narrow. 4117 In response to the RNPR,                                                             belief that "enforcement of a nationwide
  some commenters, primarily from the                  business opportunities required hy FTC
                                                       or court order to follow the Franchise       standard by the FTC is preferable to a
  MLM industry, suggested limitations on                                                            patchwork series of laws and
                                                       Rule, 16 CFR Part 436, would have been
  the Rule by granting a safe harbor to                                                             regulations." 479 The Staff Report noted
  exempt firms that require very low                    permitted to petition the Commission to
                                                                                                    that the commenter is suggesting that all
  registration fees; 4n11 firms that offer ·           amend the order so that the business
                                                                                                    state laws and regulations that do not
  r~nmds on inventory purchases; 409                   opportunity could follow the provisions      mirror exactly the Business Opportunity
  firms that are publicly-traded; 470 firms            of the Business Opportunity Rule             Rule would be in conflict with the Rule,
  that have a high net worth; 471 or firms             instead.475
                                                                                                    and should therefore be preempted. The
  that are members of a self-regulatory                    Although no comments received in
                                                                                                    Commission has long recognized that
  body, such as the DSA. 472 These are not             response to the RNPR addressed this
                                                                                                    state laws and regulations that afford
  novel suggestions; each also was made                provision, the Staff Report noted that       equal or greater protections than do FTC
  in response to the INPR.47:< In the RNPR             while the_ C?mm_ission could modify an       trade regulations are not subject Lo
  the Commission concluded that none of                FTC admm1stral1ve order, it would not        preemption, 480 and therefore declines to
  these factors is determinative of whether            have the authority to modify any order
                                                                                                    follow this commenter's
  a company is, in fact, a pyramid scheme              entered by a court. 476 In the case of a     recommendation.
  or otherwise engaged in deceptive                    court order, the Commission could
  conduct. Furthermore, the Commission                 however, stipulate to an amendme~t of        J. Section 437.10: Severability
  noted that the effort to craft a workable            the order by the court to allow the            Finally, § 437.10 adopts the
  rule using these criteria could                      business opportunity to follow the           severability provision recommended by
  undermine law enforcement efforts, as it             provisions of the Business Opportunity       the Staff Report with one non-
  would, at least in the case of minimum               Rule. The Staff Report recommended,          substantive change: The Commission
  payment thresholds, provide scam                     therefore, tliat § 437.9(a) be revised to    removed the superfluous phrase, "it is
  operators with a means to circumvent                 add the phrase "or to stipulate to an        the Commission's intention that" from
  the Rule. 474 The Staff Report                       amendment of the court order" as             the provision. This provision makes
  recommended that the Commission not                  follows: "A business opportunity             clear that, if any part of the Rule is held
                                                       required by prior FTC or court order to
  Rule or the Business Opportunity Rule would not      follow the Franchise Rule, 16 CFR part          477 16 CFR 436.10. This approach is consistent

  be justified. See 71 FR at 19078.                    436, may petition the Commission to          with other Commission trade regulation rules. See,
    404 16 CFR 436.2(a)(3)(iii).                       amend the order or to stipulate to an        e.g., Appliance Labeling Rule, 16 CFR 305.17·
     165 16 CFR 436.2(a)(3)(iv).
                                                       amendment of the court order so that         Cooling-Off Rulo, 16 CFR 429.2; Mail Order Rule
    466 71 FR at 19078.                                                                             16 CFR 435.3(b)(2).                                ,
                                                       the business opportunity may follow the         478 Although state laws offering equal or greater
    467 73 FR at 16133.

    468 See, e.g .. Babener-RNPR; Pre-Paid Legal-
                                                       provisions of this part."                    I?,rolectums are not preempted, §437.6(c] of the
  RNPR.
                                                          In addition, the Staff Report noted       hnal Rule prohibits providing state and federal
                                                       that the first sentence of§ 437.9(a)         disclosures together in one document.
    • 00 See, e.g., Pre-Paid Legal-RNPR; Tupperware-
                                                                                                       47 "Tupperware-RNPR (5/28/2008). No other
  RNPR; IBA-RNPR.                                      proposed in tlie RPBOR was                   comments were received. At the June 2009
    470 Id.                                            superfluous, and recommended deleting        Workshop, however, the panelist from the
    47 ·1 See, e.g., IBA-RNPR.
                                                       it. No comments in response to the Staff     Maryla_nd_ Attorney General"s Office expressed
    472 S1,e, e.g., DSA-RNPR.
                                                       Report were directed at this provision.      app~~iatJon that ~tales were not preempted from
    "" 73 FR at 16119-20. Moreover, none of the        Upon consideration of the staff's            :equ1nn~ th~t busmess opportunity sellers provide
  comm enters offered any new rationale for                                                         mformat10n rn addition to that required by the
  expanding the proposed categories of exemption       recommendation and the rationale for         proposed Rule. Cantone, June 2009 Tr at 20.
  that had not previously been considered by the                                                      480 See_. e.g., Mail Order Rule, 16 CFR 435.3(b)(2)

  Commission.                                           475   Id. at 16136 (RPBOR § 437.B(a)).      (rule does not preempt state or local laws that afford
    474 Id. at 16120.                                   476   Staff Report at 127.                  equal or greater protections).
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  invalid by a court, the remainder will             opportunity sellers market in languages                 requires that sellers provide potential
  still be in effect. 481 No comments                other than English or Spanish. 402                      purchasers with the Spanish version of
  received in response to the RNPR or the                                                                    the disclosure document (Appendix B to
                                                     A. Disclosure Requirements
  Staff Report were directed to this                                                                         the Rule) and provide all other required
  provision.                                           As discussed below, the final Rule is                 disclosures in Spanish. For sales
                                                     designed to streamline and substantially                conducted in a language other than
  IV. Paperwork Reduction Act                        reduce the quantity of information                      English or Spanish, the final Rule
                                                     business opportunity sellers are                        requires that sellers make the required
      The Commission is submitting the
                                                     required to disclose under the interim                  disclosures in the same language as the
   final Rule and a Supplemental
                                                     Business Opportunity Rule. The final                    sale, using the form and an accurate
   Supporting Statement to the Office of             Rule impacts sellers differently,
   Management and Budget (0MB) for                                                                           translation of the language set forth in
                                                     depending upon whether they are                         Appendix A, as well as any additional
   review under the Paperwork Reduction              currently covered by the interim
   Act (PRA), 44 U.S.C. 3501-21. The final                                                                   required disclosures. As discussed in
                                                     Business Opportunity Rule and what                      the Statement of Basis and Purpose, this
   Rule amends a trade regulation rule               language they use to market the
   governing business opportunity sales.                                                                     translation requirement is supported by
                                                     business opportunities.                                 long-standing Commission policy, the
   The final Rule covers those business                                                                      Commission's law enforcement
   opportunities currently covered by the            1. Mandatory Disclosures
                                                                                                             experience, the rulemaking record, and
   interim Business Opportunity Rule (and               For the 2,500 vending machine, rack                  the rationale supporting staffs
   formerly covered by the Original                  display, and other business opportunity                 recommendation.
   Franchise Rule, as explained above), as           sellers currently covered by the interim
   well as certain others not covered by the         Business Opportunity Rule, the final                    2. Incorporation of Existing Materials
   interim Business Opportunity Rule,                Rule substantially reduces the                             The final Rule reduces collection and
   such as sellers of work-at-home                   disclosures from more than 20                           dissemination costs from those imposed
   programs. The final Rule requires                 categories of information to five-the                   by the interim Business Opportunity
   business opportunity sellers to disclose          seller's identifying information,                       Rule, by permitting sellers to reference
   specified information and to maintain             earnings claims, lawsuits, refund and                   in their disclosure documents materials
   certain records relating to business              cancellation policies, and prior                        already in their possession. For
   opportunity sales transactions. The               purchasers. This streamlining also will                 example, a seller need not repeat its
  currently approved estimate for the                minimize compliance costs for the 550                   refund policy in the text of the
   disclosure and recordkeeping burden               business opportunity sellers that will be               disclosure document, but may
   under the interim Business Opportunity            newly subject to the Rule. Business                     incorporate its contract or brochures, or
  Rule is 16,750 hours for business                  opportunity sellers must disclose                       other materials that already provide the
   opportunity sellers. That estimate was            whether or not they make earnings                       necessary details.
  based on an estimated 2,500 business               claims. The decision to make an
  opportunity sellers. As discussed below,                                                                    3. Use of Electronic Dissemination of
                                                     earnings claim, however, is optional.                   Information
  the final Rule reduces the existing                While the disclosures of references and
  burden on business opportunity sellers             earnings claims retain, for the most part,                  The final Rule defines the term
  by streamlining disclosure requirements            the interim Business Opportunity Rule                   "written" to include electronic media.
  to minimize compliance costs.                      requirements, the required disclosure of                Accordingly, all business opportunities
     In the RNPR, Commission staff                   lawsuits is reduced from the interim                    covered by the final Ruic are permitted
  estimated there were approximately                 Business Opportunity Rule.4BJ                           to use the Internet and other electronic
  3,050 business opportunity sellers                   The final Rule imposes one additional                 media to furnish disclosure documents.
  covered by the RPBOR. This figure                  requirement that was not present in                     Allowing this distribution method
  consisted of an estimated 2,500 vending            either the interim Business Opportunity                 should greatly reduce sellers'
  machine, rack display, and other                   Rule or the RPBOR, which was                            compliance costs over the long run,
  opportunity sellers currently covered by           introduced in the Staff Report. For                     especially costs associated with printing
  the interim Business Opportunity Rule,             business opportunities marketed in                      and distributing disclosure documents.
  and an estimated 550 work-at-home                  Spanish, § 43 7.5 of the final Rule                     As a result of this proposal, the
  opportunity sellers, which would be                                                                        Commission expects sellers' compliance
  newly covered entities under the final               ••2  To estimate how many of the 3,050 sellers        costs will decrease substantially over
                                                     market business opportunities in languages other        time.
  Rule. Because the final Rule is no                 than English, staff relied upon 2009 United States
  different than the RPBOR regarding the             Census Bureau ("Census") data. Calculations based       4. Use of Computerized Data Collection
  types of entities to which it applies, and         upon a recent Census survey reveal that                 Technology
  the Commission received no                         approximately 5.7% of the U.S. population speaks
                                                     Spanish or Spanish Creolo at home and speak                Finally, because of advances in
  information suggesting the need to                 English less than "very well." Calculations based       computerized data collection
  update these prior estimates, the                  upon that same survey reveal that approximately         technology, the Commission anticipates
  Commission retains them for the final              2.6% of the U.S. population speaks a language other
                                                     than Spanish, Spanish Creole, or English at home        that the costs of collecting information
  Rule. Additionally, Commission staff               and speak English less than "very well." Staff          and recordkeeping requirements
  estimates that approximately 174 of                therefore projected that 5.7% of all entities selling   imposed by the final Rule will be
  those sellers market business                      business opportunities market in Spanish or             minimal. For example, a seller can
  opportunities in Spanish and that                  Spanish Creole and 2.6% of all entities selling
                                                     business opportunities market in languages other        easily maintain a spreadsheet of its
  approximately 79 of the 3,050 business             than English, Spanish and Spanish Creole. http://       purchasers, which can be sorted by
                                                     factfindor.census.gov!servlet!STTable?._ bm=y&-         location. This would enable a seller to
    ••1This provision is comparable lo the           geo_id=n.t OOOUS&-                                      easily comply with the reference
  severability provision in the Amended Franchise    qr_nome=ACS_2009_1 YR_ GOO_S1601&-
  Rule, 16 CFR 436.11, as well as the severability   ds_name=ACS_2009_1 YR_ GOO_ &-_lm1g=e11&-               disclosure requirement (at least 10 prior
  provisions in other Commission rules. See, e.g.,   redoLog=false.                                          purchasers in the last three years who
  TSR, 16 CFR 310.9.                                   48:i See supra Section III.C.2.                       are located nearest to the prospective
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  purchaser, or, if there are not 10 prior            the associated PRA burden. 486 The                      2. Estimated Labor Cost: $2,633,333
  purchasers, then all prior purchasers).             Commission received just one comment                       Labor costs are determined by
  In the alternative, the final Rule permits          on the new disclosure translation                       applying applicable wage rates to
  a seller to maintain a national list of             requirement. 407                                        associated burden hours. Commission
  purchasers.                                                                                                 staff assumes that an attorney likely
                                                       1. Estimated Hours Burden: 10,533
  B. Recordkeeping Requirements                                                                               would prepare or update the disclosure
                                                          The estimated 2,500 vending                         document at an estimated hourly rate of
     Section 437.7 of the final Rule                   machine, rack display, and related                     $250. As noted above, Commission staff
  prescribes recordkeeping requirements                opportunity sellers currently covered by estimates that 13,300 hours will be
  necessary for effective enforcement of               the interim Business Opportunity Rule                  needed to prepare, file, and store the
  the Rule. Specifically, sellers of a                 (and, previously, the Original Franchise disclosure document and required
  covered business opportunity, and their              Rule) will have a disclosure document                  records in the first year, for a total cost
  principals, must retain for at least three           that needs merely streamlining and                     of $3,325,000 [13,300 hours x $250 per
  years the following types of documents:              updating to comply with the final Rule. hour].
  (1) Each materially different version of             Thus, FTC staff estimates that these                      As noted above, Commission staff
  all documents required by the Rule; (2)              businesses likely will require no more                 expects that there will be a reduction in
  each purchaser's disclosure receipt; (3)             than 3 hours to complete those tasks.                  the annual hours burden after the first
  each executed written contract with a                Conversely, staff estimates that for                   year to approximately 9,150 hours.
  purchaser; and (4) all substantiation                existing businesses that were not                      Accordingly, staff estimates that the
  upon which the seller relies for each                covered by the interim Business                        labor cost burden for subsequent years
  earnings claim made. The final Rule                  Opportunity Rule but will be covered by will be reduced to $2,287,500 [9,150
  requires that these records be made                  the final Rule, e.g., work-at-home                     hours x $250 per hour]. Thus, the
  available for the Commission's                      opportunities, approximately 5 hours                   average annual cost is approximately
  inspection, but does not otherwise                   will be required to prepare a new                     $2,633,333 [(($3,325,000) + ($2,287,500
  require their production. As previously              disclosure document. Staff further                    x 2)) + 3]. when averaged over a
  noted, because of advances in
                                                      estimates that the total hours required in prospective three-year 0MB clearance.
  computerized data collection                                                                               Should disclosure or recordkeeping
  technology, the Commission anticipates              the first year to develop a disclosure
  that the costs of collecting information             document will be 10,250 [(2,500 entities obligations be performed by clerical
                                                       x 3 hours per entity) + (550 entities x               staff, the total labor costs would be
  and recordkeeping requirements                                                                             significantly less.
  imposed by the final Rule will be                    5 hours per entity)]. In addition, all
  minimal.                                            these businesses likely will require                   3. Estimated Capital and Other Non-
                                                      approximately one hour per year to file                Labor Costs: $3,068,838
  C. Estimated Hours Burden and Labor                 and store records, for a total of 3,050                    Business opportunity sellers must
  Cost                                                hours [3,050 entities x 1 hour per                     also incur costs to print and distribute
                                                      entity]. Accordingly, the estimated total the single-page disclosure document,
     For the RNPR, the Commission                     hours burden for the first year of
  submitted the RPBOR and associated                                                                         plus any attachments; These costs vary
                                                      implementation of these amendments                     based upon the length of the
  documentation under the PRA for 0MB
  review.4B4 The Commission did not                   would be 13,300 hours [10,250 hours+                   attachments and the number of copies
  receive any public comments regarding               3,050 hours]. Commission staff                         produced to meet the expected demand.
  staffs PRA burden estimates. The                    estimates that in subsequent years, the                Commission staff estimates that 3,050
  instant burden estimates differ from                3,050 existing businesses will require no business opportunity sellers will print
  those previously submitted in the RNPR              more than approximately two hours to                   and mail approximately 1,000
  in two respects: (1) They account for the           update the disclosure document [6,100                  disclosure documents per year at a cost
  final Rule's requirement that sellers               total hours] and approximately one hour of $1.00 per document, for a total cost
  must provide the disclosure document                to file and store records [3,050 total                 of $3,050,000. This is a conservative
  and other required disclosures to                   hours], for a total of9,150 hours [6,100               estimate because Commission staff
  potential purchasers in the same                    hours + 3,050 hours] per year to meet                  anticipates that these costs will be
  language the seller uses to market the              the final Rule requirements.                           reduced by many business opportunity
  business opportunity; 485 and (2) they                  Thus, cumulative average annual                    sellers electing to furnish disclosures
  incorporate the one hour recordkeeping              burden for affected sellers, based on a                electronically, e.g., via email or the
  burden estimate included in the                     prospective three-year 0MB clearance is Internet.
  currently approved interim Business                 10,533 hours [((13,300 hours)+ 18,300                     For sales conducted in a language
  Opportunity Rule's burden estimates                 hours (2 years x 9,150 hours per year))                other than English and Spanish, the
  under the PRA.                                      +3].                                                   final Rule requires that sellers use the
                                                                                                             form appearing in Appendix A and
    Through the Staff Report, the                                                                            accurately translate it into the language
  Commission sought comment on the                       480 Seci Buman of Consumer Protection. Staff
                                                                                                             used for sale. Thus, sellers marketing in
  new foreign language disclosure                     Report to the Federal Trade Commission and
                                                      Pmposed Revised Trade Regulation Rule ( 16 CFR         languages other than English or Spanish
  requirement, including the usefulness               Part 437) (Nov. 2010) ("Staff Report"), available at   will incur costs to translate the
  and sufficiency of the added foreign                littp:l!www.ftc.gov/os/fedreg/2010/octoberl            disclosure document, and these sellers
  language disclosure requirement. The                101028businessopportunitiesstaffreport.pdf. In
                                                                                                             may also need to translate the other
  Staff Report, however, did not address              November, the Commission published a notice in
                                                      the Federal RegistL'I' announcing the availability of, required disclosures that may be
                                                      and seeking comment on, the Staff Report. See 75       attached to the disclosure document.
    48473 FR at 16129.                                FR 68559 (Nov. 8, 2010).                               Commission staff estimates that sellers
    485As discussed within the Statement of Basis        48 7 DOJ Staff Report al 2. The comment, from the
                                                                                                             marketing business opportunities in
  and Purpose, this requirement was not present in    Office of Consumer Litigation. U.S. Department of
  the RNPR. Rather, it was recommended in the Staff   Justice, registered strong support for the             languages other than English and
  Report, and ultimately adopted in the final Rule.   requirement.                                           Spanish will incur a cost of
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   approximately $6,705 to translate the                  the disclosure document and the              Administration of the agency's
   disclosure document in the first year.                 additional required disclosures would        certification of no significant impact.
   This figure is based upon Commission                   be $3,068,838 [(($3,050,000 X 3) +           Nonetheless, the Commission
   staffs estimate that it will cost                      $6,705 + $27,672 + ($11,069 X 2)) + 3].      determined that it was appropriate to
   approximately 17 .5 cents to translate                                                              publish an IRFA in order to inquire into
   each word into the language the sellers                 V. Regulatory Analysis and Regulatory
                                                           Flexibility Act
                                                                                                       the impact of the proposed Rule on
   use to market the opportunities.4aa                                                                 small entities. Based on the IRFA set
   There are 485 words in Appendix A.                         Under Section 22 of the FTC Act, 15      forth in the Commission's earlier notice
   Therefore, the total cost burden to                     U.S.C. 57b, the Commission must issue       of proposed rulemaking, a review of the
   translate the disclosure document is                    a regulatory analysis for a proceeding to   public comments submitted in response
   approximately $6,705 [79 sellers x (17.5                amend a rule only when it: (1) Estimates    to that notice and additional
   cents per word x 485 words)]. In                        that the amendment will have an annual      information and analysis by
   subsequent years, the existing business                 effect on the national economy of           Commission staff, the Commission
   opportunities sellers will not incur                    $100,000,000 or more; (2) estimates that    submits this FRFA.
   additional costs to translate the                       the amendment will cause a substantial
                                                           change in the cost or price of certain      A. Need for and Objectives of the Final
   Appendix A as it will already have been
   translated during the first year. The 17 4              categories of goods or services; or (3)     Rule
   sellers marketing business opportunities                otherwise determines that the                  The Commission's law enforcement
   in Spanish will not incur any additional                amendment will have a significant effect    experience provides ample evidence
   costs to translate Appendix A, as a                     upon covered entities or upon               that fraud is pervasive in the sale of
   Spanish version of that document is                     consumers. The Commission has               many business opportunities marketed
   provided for them, as Appendix B lo the                 determined that the final Rule will not     to consumers. Yet, the Commission
   final Rule.                                             have such an annual effect on the           believes that the current requirements of
      Commission staff estimates that in the               national economy, on the cost or prices     the interim Business Opportunity Rule
   first year, sellers marketing business                  of goods or services sold through           are more extensive than necessary to
   opportunities in languages other than                  business opportunities, or on covered        protect prospective purchasers of
  English will incur a total cost burden of               businesses or consumers. As noted in         business opportunities from deception.
  approximately $27,672 [(79 sellers+ 174                 the Paperwork Reduction Act                  The pre-sale disclosures provided by the
  sellers) x (17.5 cents per word x 625                   discussion above, the Commission staff       final Rule will give consumers the
  words)] to translate their responses to                 estimates each business affected by the      information they need to protect
  the five mandatory disclosures required                 Rule will likely incur only minimal          themselves from fraudulent sales
  in the disclosure document. This                        compliance costs.                            claims, while minimizing the
  estimate is based upon assumptions that                    The Regulatory Flexibility Act            compliance costs and burdens on
  all sellers marketing business                           ("RFA"), 5 U.S.C. 601-612, requires an      sellers.
  opportunities in languages other than                   agency lo provide an Initial Regulatory         The objective of the final Rule is to
  English: (1) Are marketing in both                      Flexibility Analysis ("IRFA") with a         provide consumers considering the
  English and another language; (2) are                   proposed rule and a Final Regulatory         purchase of a business opportunity with
  not incorporating any existing materials                Flexibility Analysis ("FRFA") with the       material information they need to
  into their disclosure document; (3) have                final rule, if any, unless the agency        investigate the offering thoroughly so
  been the subject of civil or criminal                   certifies that the rule will not have a      they can protect themselves from
  legal actions; (4) are making earnings                  significant economic impact on a             fraudulent claims, while minimizing the
  claims; (5) have a refund or cancellation               substantial number of small entities.4H9     compliance burdens on sellers. The
  policy; and (6) because of all of the                      The FTC does not expect that the final    legal basis for the final Rule is Section
  above assumptions, require                              Rule will have a significant economic        18 of the FTC Act, 15 U.S.C. 57a, which
  approximately 625 words                                 impact on a substantial number of small      authorizes the Commission to
  (approximately 2.5 standard, double-                    entities and this document serves as         promulgate, modify, and repeal trade
  spaced pages) to provide the required                   notice to the Small Business                 regulation rules that define with
  information. In reality, because it is                  Administration of the agency's               specificity acts or practices in or
  unlikely that all such assumptions will                 certification of no significant impact.      affecting commerce that are unfair or
  apply lo every seller marketing business                The abbreviated disclosure and               deceptive within the meaning of Section
  opportunities in languages other than                   recordkeeping requirements of the final      (5)(a)(1) of the FTC Act, 15 U.S.C.
  English, the cost burden will likely be                 Rule are the minimum necessary to give       45(a)(1).
  much lower. In subsequent years, due to                 consumers the information they need to
                                                          protect themselves and permit effective      B. Significant Issues Raised by Public
  the final Rule's requirement that sellers                                                            Comments, Summmy of Agency's
  must update their disclosures,                          enforcement of the Rule. Companies
                                                          previously covered by the interim            Assessment of These Issues, and
  Commission staff estimates that sellers                                                              Changes, if Any, Made in Response
  may incur an additional cost burden of                  Business Opportunity Rule will
  $11,069 [253 sellers x (17.5 cents per                  experience a reduction in their                In crafting the final Rule, the
  word x 250 words-approximately one                      compliance burden, while companies           Commission has carefully considered
  standard, double-spaced page)] to                       not previously covered will have             the comments received throughout the
  translate the updates.                                  minimal new disclosure obligations. As       Rule amendment proceeding. Section III
     Therefore, cumulative average cost for               such, the economic impact of the final       of this document provides a more
  affected sellers, based on a prospective                Rule will be minimal. In any event, the      detailed discussion of the comments
  three-year 0MB clearance, to print and                  burdens imposed on small entities are        received by the Commission and the
  distribute the disclosure document and                  likely to be relatively small.               Commission's response to those
  any attachments and to translate both                      In the RNPR, the Commission               comments.
                                                          provided notice to the Small Business          In sum, in response to INRP, the
   • 11 n 17.5 c.ents is staffs estimate of the current
                                                                                                       Commission received more than 17,000
  market translation rate per word.                        48 "   See 5 U.S.C. 603-605.                comments, the overwhelming majority
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  of which came from the MLM industry.            standards.4~m The FTC staff estimates           all documents required by the Rule; (2)
  The MLM industry urged the                      that as many as 70% of business                 each purchaser's disclosure receipt; (3)
  Commission to exclude MLM plans                 opportunities, as defined by the Rule,          each executed written contract with a
  from the scope of IPBOR due to the              are small businesses.                           purchaser; and (4) all substantiation
  burdens imposed on them through the                                                             upon which the seller relies for each
                                             D. Description of the Projected                      earnings claim made. The final Rule
  IPBOR and the IPBOR's failure to           Reporting, Recordkeeping, and Other
  differentiate between unlawful pyramid                                                          requires that these records be made
                                             Compliance Requirements of the Final                 available for inspection by the
  schemes and legitimate companies           Rule, Including an Estimate of the
  using an MLM model. In consideration                                                            Commission, but does not otherwise
                                             Classes of Small Entities That Will Be               require production of the records.
  of the comments received in response to    Subject to the Requirements, and the
  the INPR, and a reassessment of the        Type of Professional Skills That Will Be                Commission staff assumes that sellers
  Commission's law enforcement history,      Necessary To Comply                                  will hire an attorney to complete,
  the Commission subsequently issued a                                                            update, file, and store the disclosure
                                                As discussed in the Paperwork                     documents. If applicable, sellers may
  RNPR, in which the Commission
                                             Reduction Act analysis of this notice                require translation services to comply
  decided to narrow the scope of the         (Section IV), the final Rule will impose
  IPBOR to avoid broadly sweeping in all                                                          with the disclosure requirements.
                                             compliance requirements (e.g ..
  sellers of MLM plans. In addition, Lhe     disclosure) and minor recordkeeping                  E. Steps the Agency Has Taken in the
  Commission proposed a more narrowed        requirements on those entities covered               Final Rule To Minimize Any Significant
  definition of "business opportunity"       by the final Rule. Specifically, the final           Economic Impact of the Final Rule on
  and also eliminated two required           Rule imposes disclosure and                          Small Entities, Consistent With
  disclosures-information about legal        recordkeeping requirements, within the               Applicable Statutory Objectives,
  actions pertaining to a business           meaning of the Paperwork Reduction                   Including the Factual and Legal Basis
  opportunity seller's sales personnel, and  Act, on the "sellers" of business                    for the Alternatives Adopted and Those
  the number of cancellation or refund       opportunities and their principals.                  Rejected
  requests the seller received. The             The disclosure and recordkeeping                     As discussed throughout this
  Commission received fewer than 125         requirements are fewer in number and                 document, the Commission has
  comments and rebuttal comments in          lesser in extent than requirements                   attempted to reduce compliance costs
  response to RNPR addressing these          currently applicable to such entities                wherever possible. Compliance with the
  changes. The Commission received           now covered by the interim Business                  final Rule's disclosure requirements is
  written comment from six individuals       Opportunity Rule and formerly covered                significantly less burdensome than with
  and entities following the public         by the Original Franchise Rule. Section               the interim Business Opportunity Ruic.
  workshop held by the Commission.          437.2 of the final Rule requires "sellers"            The final Rule's disclosure and
  Finally, the Commission received 27       of covered business opportunities to                  recordkeeping requirements are
  comments in response to the Staff         provide potential purchasers with a one-              designed to impose the minimum
  Report. Many of those comments             page disclosure document, as specified               burden on all affected business
  opposed the Commission's decision to      by§ 437.3 and Appendix A and if                       opportunity sellers, regardless of size. In
  narrow the scope of the Rule to avoid     applicable, Appendix B, at least seven                formulating the final Rule, the
  broadly sweeping in the MLMs.             calendar days before they sign a contract             Commission has taken a number of
                                            or pay any money toward a purchase.                   significant steps to minimize the
  C. Description and an Estimate of the     For business opportunities marketed in                burdens it would impose on large and
  Number of Small Entities to Which the     Spanish, §437.5 of the final Rule                     small businesses. These include: (1)
  Final Rule Will Apply, or Explanation     requires that sellers provide potential               Limiting the required pre-sale
  Why No Estimate Is Available              purchasers with the Spanish version of                disclosure to a one-page document, with
                                             the disclosure document (Appendix B to               check boxes provided to simplify
    The final Rule primarily applies to     the Rule) and provide any required
  "sellers" of business opportunities,                                                            disclosure responses; (2) allowing the
                                            disclosures in Spanish. For sales                     disclosure to refer to information in
  including vending, rack display,          conducted in a language other than
  medical billing, and work-at-home (e.g., English or Spanish, the final Rule                     other existing documents to avoid
  craft assembly, envelope stuffing)                                                              needless duplication; (3) permitting the
                                            requires that sellers use the form and an             disclosure document itself to be
  opportunities. The Commission believes accurate translation of the language set
                                                                                                  furnished in electronic form to
  that many of these sellers fall into the  forth in Appendix A.                                  minimize printing and distribution
  category of small entities. Determining      Section 437.7 of the final Rule                    costs; and (4) employing specific
  the precise number of small entities      prescribes recordkeeping requirements                 prohibitions in place of affirmative
  affected by the final Rule, however, is   necessary for effective enforcement of                disclosures whenever possible.
  difficult due to the wide range of        the Rule. Specifically, sellers of a                  Moreover, because the majority of
  businesses engaged in business            covered business opportunity, and their               sellers covered by the final Rule are
  opportunity sales. The staff estimates    principals, must retain for at least three            already required to comply with the
  that there are approximately 3,050        years the following types of documents:               Commission's interim Business
  business opportunity sellers, including   (1) Each materially different version of              Opportunity Rule and the business
  some 2,500 vending machine, rack                                                                opportunity laws in 22 states, F~C staff
  display, and related opportunity sellers       Since October 2000, SBA size standards have
                                                   <100
                                                                                                  anticipates that the final Rule will
  and 550 work-at-home opportunity          been based on the North American Industry
                                            Classification System ("NAICS"], in place of the      drastically reduce their current
  sellers. Most established and some start- Standard Industrial Classification. ("SIC") systmu.   compliance costs, while imposing
  up business opportunities would likely    In general. a company in a non-manufacturing          exceedingly modest ongoing compliance
  be considered small businesses            indnstrv is a small business if its average annual    cosls on all covered sellers.
  according to the applicable Small         receipts are $7 million or less. See http:!/
                                            www.sba.gov/content!sumnw,y-size-standards-           Consequently, the Commission believes
  Business Administration (''SBA") size     indust,y.                                             that the final Rule will not have a
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  significant economic impact upon small          (1) A seller solicits a prospective          (i) Material means likely to affect a
  businesses.                                   purchaser to enter into a new business;     person's choice of, or conduct regarding,
    The final Rule requires business           and                                          goods or services.
  opportunity sellers to provide only five        (2) The prospective purchaser makes          (j) New business means a business in
  affirmative disclosures in a one-page        a required payment; and                      which the prospective purchaser is not
  disclosure document. This is a                  (3) The seller, expressly or by           currently engaged, or a new line or type
  significant reduction from the more than     implication, orally or in writing,           of business.
  20 disclosures now required by the           represents that the seller or one or more       (k) Person means an individual,
  Commission's interim Business                designated persons will:                     group, association, limited or general
  Opportunity Rule, with which many               (i) Provicfe locations for the use or     partnership, corporation, or any other
  business opportunity sellers are now         operation of equipment, displays,            business entity.
  obligated to comply.                         vending machines, or similar devices,           (1) Prior business means:
                                               owned, leased, controlled, or paid for by       (1) A business from which the seller
   VI. Final Rule Language                     the purchaser; or                            acquired, directly or indirectly, the
   List of Subjects in 16 CFR. Part 437           (ii) Provide outlets, accounts, or        major portion of the business' assets; or
                                               customers, including, but not limited to,       (2) Any business previously owned or
      Reporting and recordkeeping
   requirements, Trade practices.              Internet outlets, accounts, or customers,    operated by the seller, in whole or in
                                               for the purchaser's goods or services; or    part.
     By direction of the Commission.              (iii) Buy back any or all of the goods       (m) Providing locations, outlets,
   Donald S. Clark,                            or services that the purchaser makes,        accounts, or customers means
   Secretary.                                  produces, fabricates, grows, breeds,         furnishing the prospective purchaser
      For the reasons set forth in the         modifies, or provides, including but not     with existing or potential locations,
   preamble, the Federal Trade                 limited to providing payment for such        outlets, accounts, or customers;
   Commission amends title 16, Code of         services as, for example, stuffing           requiring, recommending, or suggesting
  Federal Regulations, by revising part        envelopes from the purchaser's home.         one or more locators or lead generating
  437 to read as follows:
                                                  (d) Designated person means any           companies; providing a list of locator or
                                               person, other than the seller, whose         lead generating companies; collecting a
   PART 437-BUSINESS OPPORTUNITY goods or services the seller suggests,                     fee on behalf of one or more locators or
  RULE                                         recommends, or requires that the             lead generating companies; offering to
                                               purchaser use in establishing or             furnish a list of locations; or otherwise
  Sec.                                         operating a new business.                    assisting the prospective purchaser in
  437.1 Definitions.                              (e) Disclose or state means to give       obtaining his or her own locations,
  437.2 The obligation to furnish written      information in writing that is clear and
        documents.
                                                                                            outlets, accounts, or customers,
  437.3 The disclosure document.
                                               conspicuous, accurate, concise, and          provided, however, that advertising and
  437.4 Earnings claims.                       legible.                                    general advice about business
  437.5 Sales conducted in Spanish or other      (0 Earnings claim means any oral,         development and training shall not be
        languages besides English.            written, or visual representation to a       considered as "providing locations,
  437.6 Other prohibited practices.            prospective purchaser that conveys,          outlets, accounts, or customers."
  437.7 Record retention.                     expressly or by implication, a specific         (n) Purchaser means a person who
  437.8 Franchise exemption.                  level or range of actual or potential        buys a business opportunity.
  437.9 Outstanding orders; preemption.       sales, or gross or net income or profits.       (o) Quarterly means as ofJanuary 1,
  437.10 Severability.                        Earnings claims include, but are not
  Appendix A to Part 437-Disclosure of
                                                                                           April 1, July 1, and October 1.
       Important Information About Business
                                              limited to:                                     (p) Required payment means all
       Opportunity                               (1) Any chart, table, or mathematical     consideration that the purchaser must
  Appendix B to Part 437-Disclosure of        calculation that demonstrates possible       pay to the seller or an affiliate, either by
       Important Information About Business   results based upon a combination of          contract or by practical necessity, as a
       Opportunity (Spanish-Language Version) variables; and                               condition of obtaining or commencing
     Authority: 15 U.S.C. 41-58.                 (2) Any statements from which a           operation of the business opportunity.
                                              prospective purchaser can reasonably         Such payment may be made directly or
  §437.1 Definitions.                         infer that he or she will earn a minimum     indirectly through a third party. A
     The following definitions shall apply    level of income (e.g., "earn enough to       required payment does not include
  throughout this part:                       buy a Porsche," "earn a six-figure           payments for the purchase of reasonable
     (a) Action means a criminal              income," or "earn your investment back       amounts of inventory at bona fide
  information, indictment, or proceeding; within one year").                               wholesale prices for resale or lease.
  a civil complaint, cross claim,                (g) Exclusive territory means a              (q) Seller means a person who offers
  counterclaim, or third party complaint      specified geographic or other actual or      for sale or sells a business opportunity.
  in a judicial action or proceeding;         implied marketing area in which the             (r) Signature or signed means a
  arbitration; or any governmental            seller promises not to locate additional     person's affirmative steps to
  administrative proceeding, including,       purchasers or offer the same or similar      authenticate his or her identity.
  but not limited to, an action to obtain     goods or services as the purchaser              It includes a person's handwritten
  or issue a cease and desist order, an       through alternative channels of              signature, as well as an electronic or
  assurance of voluntary compliance, and distribution.                                     digital form of signature to the extent
  an assurance of discontinuance.                (h) General media means any               that such signature is recognized as a
     (b) Affiliate means an entity            instrumentality through which a person       valid signature under applicable federal
  controlled by, controlling, or under        may communicate with the public,             law or state contract law.
  common control with a business              including, but not limited to, television,      (s) Written or in writing means any
  opportunity seller.                         radio, print, Internet, billboard, Web       document or information in printed
     (c) Business opportunity means a         site, commercial bulk email, and mobile      form or in any form capable of being
  commercial arrangement in which:            communications.                              downloaded, printed, or otherwise
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  preserved in tangible form and read. It            immediately preceding the date that the         at least quarterly to reflect any changes
  includes: type-set, word processed, or             business opportunity is offered, check          in the required information, including,
  handwritten documents; information on              the "yes" box:                                  but not limited to, any changes in the
  computer disk or CD-ROM; information                  (A) The seller;                              seller's refund or cancellation policy, or
  sent via email; or information posted on              (B) Any affiliate or prior business of       the list of references; provided, however,
  the Internet. It does not include mere             the seller; or                                  that until a seller has 10 purchasers, the
  oral statements.                                      (C} Any of the seller's officers,            list of references must be updated
                                                     directors, sales managers, or any               monthly.
  § 437.2 The obligation to furnish written          individual who occupies a position or
  documents.                                         performs a function similar to an officer,      §437.4   Earnings claims.
    In connection with the offer for sale,           director, or sales manager of the seller.           In connection with the offer for sale,
  sale, or promotion of a business                      (ii) If the "yes" box is checked,             sale, or promotion of a business
  opportunity, it is a violation of this Rule        disclose all such actions in an                  opportunity, it is a violation of this Rule
  and an unfair or deceptive act or                  attachment to the disclosure document.           and an unfair or deceptive act or
  practice in violation of Section 5 of the          State the full caption of each action            practice in violation of Section 5 of the
  Federal Trade Commission Act ("FTC                 (names of the principal parties, case            FTC Act, for the s.eller to:
  Act") for any seller to fail to furnish a          number, full name of court, and filing              (a) Make any earnings claim to a
  prospective purchaser with the material            date). For each action, the seller may           prospective purchaser, unless the seller:
  information required by §§437.3(a) and            also provide a brief accurate statement              (1) Has a reasonable basis for its claim
  437.4(a) of this part in writing at least          not to exceed 100 words that describes           at the time the claim is made;
  seven calendar days before the earlier of         the action.                                          (2) Has in its possession written
  the time that the prospective purchaser:              (iii) If there are no actions to disclose,    materials that substantiate its claim at
    (a) Signs any contract in connection            check the "no" box.                               the time the claim is made;
  with the business opportunity sale; or                (4) Cancellation or refund policy. If            (3) Makes the written substantiation
    (b) Makes a payment or provides other            the seller offers a refund or the right to       available upon request to the
  consideration to the seller, directly or          cancel the purchase, check the "yes"              prospective purchaser and to the
  indirectly through a third party.                 box. If so, state all material terms and          Commission; and
                                                    conditions of the refund or cancellation             (4) Furnishes to the prospective
  § 437.3 The disclosure document.                  policy in an attachment to the
     In connection with the offer for sale,                                                           purchaser an earnings claim statement.
                                                    disclosure document. If no refund or             The earnings claim statement shall be a
  sale, or promotion of a business                  cancellation is offered, check the "no"
  opportunity, it is a violation of this Rule                                                         single written document and shall state
                                                    box.                                             the following information:
  and an unfair or deceptive act or                    (5) References. (i) State the name,
  practice in violation of Section 5 of the         state, and telephone number of all                   (i) The title "EARNINGS CLAIM
  FTC Act, for any seller to:                       purchasers who purchased the business            STATEMENT REQUIRED BYLAW" in
     (a) Fail to disclose to a prospective          opportunity within the last three years.         capital, bold type letters;
  purchaser the following material                  If more than 10 purchasers purchased                 (ii) The name of the person making
  information in a single written                   the business opportunity within the last         the earnings claim and the date of the
  document in the form and using the                three years, the seller may limit the            earnings claim;
  language set forth in appendix A to this          disclosure by stating the name, state,              (iii) The earnings claim;
  part; or if the offer for sale, sale, or          and telephone number of at least the 10             (iv) The beginning and ending dates
  promotion of a business opportunity is            purchasers within the past three years           when the represented earnings were
  conducted in Spanish, in the form and             who are located nearest to the                   achieved;
  using the language set forth in appendix          prospective purchaser's location.                   (v) The number and percentage of all
  B to this part; or if the offer for sale, sale,   Alternatively, a seller may furnish a            persons who purchased the business
  or promotion of a business opportunity            prospective buyer with a list disclosing         opportunity prior to the ending date in
  is conducted in a language other than             all purchasers nationwide within the             paragraph (a)(4)(iv) of this section who
  English or Spanish, using the form and            last three years. If choosing this option,       achieved at least the stated level of
  an accurate translation of the language           insert the words "See Attached List"             earnings;
  set forth in appendix A to this part:             without removing the list headings or               (vi) Any characteristics of the
     (1) Identifying information. State the         the numbers 1 through 10, and attach a           purchasers who achieved at least the
  name, business address, and telephone             list of the references to the disclosure         represented level of earnings, such as
  number of the seller, the name of the             document.                                        their location, that may differ materially
  salesperson offering the opportunity,                (ii) Clearly and conspicuously, and in        from the characteristics of the
  and the date when the disclosure                  immediate conjunction with the list of           prospective purchasers being offered the
  document is furnished to the                      references, state the following: "If you         business opportunity; and
  prospective purchaser.                            buy a business opportunity from the                 (vii) A statement that written
     (2) Earnings claims. If the seller             seller, your contact information can be          substantiation for the earnings claim
  makes an earnings claim, check the                disclosed in the future to other buyers."        will be made available to the
  "yes" box and attach the earnings                    (6) Receipt. Attach a duplicate copy of       prospective purchaser upon request.
  statement required by§ 437.4. If not,             the disclosure document to be signed                (b) Make any earnings claim in the
  check the "no" box.                               and dated by the purchaser. The seller           general media, unless the seller:
     (3) Legal actions. (i) If any of the           may inform the prospective purchaser                (1) Has a reasonable basis for its claim
  following persons has been the subject            how to return the signed receipt (for            at the time the claim is made;
  of any civil or criminal action for               example, by sending to a street address,            (2) Has in its possession written
  misrepresentation, frauf, securities law          email address, or facsimile telephone            material that substantiates its claim at
  violations, or unfair or deceptive                number).                                         the time the claim is made;
  practices, including violations of any               (b) Fail to update the disclosures               (3) States in immediate conjunction
  FTC Rule, within the 10 years                     required by paragraph (a) of this section        with the claim:
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     (i) The beginning and ending dates          §§ 43 7.3 (basic disclosure document)       overlapping areas already assigned to
  when the represented earnings were             and 437.4 (earnings claims document) of     another purchaser;
  achieved; and                                  this Ruic;                                     (p) Misrepresent that any person,
     (ii) The number and percentage of all          (c) Include in any disclosure            trademark or service mark holder, or
  persons who purchased the business             document or earnings claim statement        governmental entity, directly or
  opportunity prior to the ending date in        any materials or information other than     indirectly benefits from, sponsors,
  paragraph (b)(3)(i) of this section who        what is explicitly required or permitted    participates in, endorses, approves,
  achieved at least the stated level of          by this Rule. For the sole purpose of       authorizes, or is otherwise associated
  earnings.                                      enhancing the prospective purchaser's       with the sale of the business
    (c) Disseminate industry financial,          ability to maneuver through an              opportunity or the goods or services
  earnings, or performance information           electronic version of a disclosure          sold through the business opportunity;
  unless the seller has written                  document or earnings statement, the            (q) Misrepresent that any person:
  substantiation demonstrating that the          seller may include scroll bars and             (1) Has purchased a business
  information reflects, or does not exceed,      internal links. All other features (e.g.,   opportunity from the seller or has
  the typical or ordinary financial,             multimedia tools such as audio, video,      operated a business opportunity of the
  earnings, or performance experience of         animation, or pop-up screens) are           type offered by the seller; or
  purchasers of the business opportunity         prohibited;                                    (2) Can provide an independent or
  being offered for sale.                           (d) Misrepresent the amount of sales,    reliable report about the business
    (d) Fail to notify any prospective           or gross or net income or profits a         opportunity or the experiences of any
  purchaser in writing of any material           prospective purchaser may earn or that      current or former purchaser.
  changes affecting the relevance or             prior purchasers have earned;                  (r) Fail to disclose, with respect to any
  reliability of the information contained          (e) Misrepresent that any                person identified as a purchaser or
  in an earnings claim statement before          governmental entity, law, or regulation     operator of a business opportunity
  the prospective purchaser signs any            prohibits a seller from:                    offered by the seller:
  contract or makes a payment or provides           (1) Furnishing earnings information to      (1) Any consideration promised or
  other consideration to the seller,             a prospective purchaser; or                 paid to such person. Consideration
  directly or indirectly, through a third           (2) Disclosing to prospective            includes, but is not limited to, any
  party.                                         purchasers the identity of other            payment, forgiveness of debt, or
                                                 purchasers of the business opportunity;     provision of equipment, services, or
  §437.5 Sales conducted in Spanish or                                                       discounts to the person or to a third
  other languages besides English.                  (f) Fail to make available to
                                                prospective purchasers, and to the           party on the person's behalf; or
    (a) If the seller conducts the offer for                                                   (2) Any personal relationship or any
  sale, sale, or promotion of a business        Commission upon request, written
                                                substantiation for the seller's earnings     past or present business relationship
  opportunity in Spanish, the seller must                                                    other than as the purchaser or operator
  provide the disclosure document               claims;
                                                    (g) Misrepresent how or when             of the business opportunity being
  required by §437.3(a) in the form and                                                      offered by the seller.
  language set forth .in appendix B to this     commissions, bonuses, incentives,
  part, and the disclosures required by         premiums, or other payments from the         §437.7     Record retention.
  §§ 437.3(a) and 437.4 must be made in         seller to the purchaser will be calculated      To prevent the unfair and deceptive
  Spanish.                                      or distributed;                              acts or practices specified in this Rule,
    (bl If the seller conducts the offer for       (h) Misrepresent the cost, or the         business opportunity sellers and their
  sale, sale, or promotion of a business        performance, efficacy, nature, or central    principals must prepare, retain, and
  opportunity in a language other than          characteristics of the business              make available for inspection by
  English or Spanish, the seller must           opportunity or the goods or services         Commission officials copies of the
  provide the disclosure document               offered to a prospective purchaser;          following documents for a period of
  required by§ 437.3(a) using the form             (i) Misrepresent any material aspect of   three years:
  and an accurate translation of the            any assistance offered to a prospective         (a) Each materially different version of
  language set forth in appendix A to this      purchaser;                                   all documents required by this Rule;
  part, and the disclosures required by            (j) Misrepresent the likelihood that a       (b) Each purchaser's disclosure
  §§437.3(a) and 437.4 must be made in          seller, locator, or lead generator will      receipt;
  that language.                                find locations, outlets, accounts, or           (c) Each executed written contract
                                                customers for the purchaser;                 with a purchaser; and
  § 437.6   Other prohibited practices.            (k) Misrepresent any term or                 (d) All substantiation upon which the
     In connection with the offer for sale,     condition of the seller's refund or          seller relies for each earnings claim from
  sale, or promotion of a business              cancellation policies;                       the time each such claim is made.
  opportunity, it is a violation of this part      (1) Fail to provide a refund or
  and an unfair or deceptive act or             cancellation when the purchaser has          § 437 .8   Franchise exemption.
  practice in violation of Section 5 of the     satisfied the terms and conditions             The provisions of this Rule shall not
  FTC Act for any seller, directly or           disclosed pursuant to§ 437.3(a)(4);          apply to any business opportunity that
  indirectly through a third party, to:            (m) Misrepresent a business               constitutes a "franchise," as defined in
     (a) Disclaim, or require a prospective     opportunity as an employment                 the Franchise Rule, 16 CFR part 436;
  purchaser to waive reliance on, any           opportunity;                                 provided, however, that the provisions
  statement made in any document or                (n) Misrepresent the terms of any         of this Rule shall apply to any such
  attachment that is required or permitted      territorial exclusivity or territorial       franchise if it is exempted from the
  to be disclosed under this Rule;              protection offered to a prospective          provisions of part 436 because, either:
     (bl Make any claim or representation,      purchaser;                                      (a) Under§ 436.B(a)(l), the total of the
  orally, visually, or in writing, that is         (o) Assign to any purchaser a             required payments or commitments to
  inconsistent with or contradicts the          purported exclusive territory that, in       make a required payment, to the
  information required to be disclosed by       fact, encompasses the same or                franchisor or an affiliate that are made
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  any time from before to within six          petition the Commission to amend the       disclosure documents or more extensive
  months after commencing operation of        order or to stipulate to an amendment      disclosures. All such disclosures,
  the franchisee's business is less than      of the court order so that the business    however, must be made in a separate
  $500, or                                    opportunity may follow the provisions      state disclosure document.
    (b) Under § 436.8(a)(7), there is no      of this part.
  written document describing any               (bl The FTC does not intend to           §437.10 Severability.
  material term or aspect of the              preempt the business opportunity sales       The provisions of this part arc
  relationship or arrangement.                practices laws of any state or local       separate and severable from one
                                              government, except to the extent of any
  §437.9 Outstanding orders; preemption.                                                 another. If any provision is stayed or
                                              conflict with this part. A law is not in
    (a) A business opportunity required       conflict with this Rule if it affords      determined to be invalid, the remaining
  by prior FTC or court order to follow the   prospective purchasers equal or greater    provisions shall continue in effect.
  Franchise Rule, 16 CFR part 436, may        protection, such as registration of        BILLING CODE 6750-01-P


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                APPENDIX A to PART 437
                 DISCLOSURE OF IMPORTANT INFORMATION ABOUT BUSINESS OPPORTUNITY
                                   Required by the Federal Trade Commission, Rule 16 C.F.R. Part 437

          Name of Seller:                                    Address:
          Phone:                             Salesperson:                    Date:

          [Name of Seller] has completed this form, which provides important information about the business opportunity it
          is offering you. The Federal Trade Commission, an agency of the federal government, requires that [Name of
          Seller] complete this form and give it to you. However, the Federal Trade Commission has not seen this completed
          form or checked that the information is true. Make sure that this Information is the same as what the
          salesperson told you about this opportunity.

          LEGAL ACTIONS: Has !Name of Seller] or any of its key personnel been the subject of a civil or criminal
          action involving misrepresentation, fraud, securities law violation, or unfair or deceptive practices, including
          violations of any FTC Rule, within the past 10 years?
               CJ YES~ lfthe answer is yes, [Name of Seller) must attach a list of all such legal actions to this form.
               CJNO
          CANCELLATION OR REFUND POLICY: Does [Name of Seller] offer a cancellation or refund policy'!
               CJ YES ~ If the answer is yes, [Name of Seller] must attach a statement describing this policy to this form.
               CJ~o
          EARNINGS: Has [Name of Seller) or its salesperson discussed how much money purchasers of this business
          opportunity can earn or have earned? In other words, have they stated or implied that purchasers can cam a
          specific level of sales, income, or profit?
               CJ YES 7 If the answer is yes, [Name of Seller] must attach an Earnings Claims Statement to this.form.
                           Read thi.t statement carefully. You may wish to show !his information to an advisor or
                           accountant.
               CJNO
          REFERENCES: In the section below, (Name of Seller! must provide you with contact information for at least
          l Opeople who have purchased a business opportunity from them. If fewer than IO are listed, this is the total list
          of all purchasers. You may wish to contact the people below to compare their experiences with what
          [Name of Seller) told you about the business opportunity.
          Note: If you purchase a business opportunity from [Name of Seller), your contact information can be disclosed
          in the future to other potential buyers.
                 Name                State      Tele12hone Number            Name         State.      Telenhonc Number
          L                                                             6.
          2.                                                            7.
          3.                                                            8.
          4.                                                            9.
          5.                                                            10


          Signature:--·--------------                                   Date:-------

          By signing above, you are acknowledging that you have received this form. This is !J.Q! a purchase contract. To
          give you enough time to research this opportunity, the Federal Trade Commission requires that after you receive
          this form, [Name of Seller} must wait at least seven calendar da;ys before asking you to sign a purchase contract or
          make any payments.
          For more information about business opportunities in general: Visit the FTC's website at www.ftc,govJbjzonns
          or call 1-877-FTC-HELP (877-382-4357). You can also contact your state's Attorney General.
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                    APPENDIX B to PART 437
                    DIVULGACION DE INFORMACION IMPORTANTE SOBRE OPORTUNIDAD DE NEGOCIO
                                Fonnulario requcrido por la Comision Federal de Comercio (FTC)
                                 Regla 16 de la Parte 437 del Codigo de Regulaciones Federales
          Nombre de! Vcndedor:                                    Domicilio:
          Telefono:                              Representante de Ventas:                             Fecha:

          [Nombrc del Vendedoc] complet6 el presentc form.ulario y en el mismo le suministra informaci6n importante sobre la oportunidad de
          negocio que le esta ofreciendo. La Comision Federal de Comercio (Federal Trade Commission, FTC), una agencia de! gobiemo
          federal, le requiere a la compaiiia [?Sombre del \'.rrult.'<lor) que complete el prcsentc formulario y que sc lo entregue a usted. Pero la
          FTC !1Q ha visto este fonnulario completado por la compaiifa ni ha verificado que la infonnaci6n indicada sea veraz. Asegurese de
          que la information contenida en el presente formulario coindda con lo que le dijo el representante de ventas respecto de esta
          oportunldad.

           ACCIONES LEGALES: t,La compaiiia [!:sombre del Vendedorj o alguno de los principalcs miembros de su personal ha sido sujeto
           de una accion civil o penal, que involucre falscdad, fraude, infraccion de las !eyes de titulos y valores, o practicas deslcales o
           cngailosas, incluyendo infracciones de las Reglas o Normas de la FTC, dcntro de los IO ultimos ailos?
           0 SI-+ SI la respuesra es ajirmativa, [!Somb~ del Vep...i1£dm:}debe adjuntar a!formulario una lista compfeta de dichas
           acciones legales.
           ONO

           POLiTJCA DE CANCELACl6S O REINTEGRO: t,Ofrece (Nombrc de! VendedQr] una politica de cancelaci6n o reintegro?
           0 Si '"7 Si la respuesta es afirmativa, fNombre del Vcndedor) debe adjuntar al formulario una declaracion con la descripci6n de
           dicha politico.
           ONO

           JNGRESOS: t,La compania [Nombre del Vendedor) o alguno de sus representantes de ventas ha manifestado la cantidad de dinero
           que pueden ganar o que ban ganado los compradores de esta oportunidad de negocio? t,Dicho en otras palabras, ban expresado de
           mancra explicita o implicita quc los compradores puedcn alcanzar un nivel especifico de ventas, o ganar un nivel especifico de
           ingresos?
           0 Si '"7 Si la respuesra es afirmativa, lNombre de! Vendedor] debe adjuntar a este formulario una Declaracion de las lngresos
           Proclamados. Lea esta declaraciim atentamente. Puede que desee a11alizar esta informacit'm cnn 1111 asesor o contador.
           ONO

           REFERENCIAS: En esta seccion dcl formulario. (NQmbre del Vcndedor] debe listar la infonnaci6n de contacto de por lo mcnos 10
           pcrsonas quc le hayan comprado una oportunidad de negocio. Si le suministran los datos de mcnos de lOpersonas, es porquc esa es
           la lista completa de todos los compradores. Puede que desee romunlcarse con las personas llstadas a continuac16n para
           comparar sus respectivas experiencias con lo que le dijo [Nombrc de! Vcndcdorl sobre la oportunldad de negoclo que le esta
           ofreciendo.

           Nota: Si usted compra una oportunidad de negocio de [Nombre dcl Vcndedorl, podra divulgarse su infonnacion de contacto a otros
           posibles compradores.

                 Nombre             ~                Nyrncro ge TclefQDQ                 Nombrc           Estado           Numero de Isl~[ono
            I.                                                                     6.
           2.                                                                      7.
           3.                                                                      8.
           4.                                                                      9.
         :l 5.                                                                     10.

          Finna: _ _ _ _ _ _ _ _ _ _ _ _ __                                        Fccha:

          Por mcdio de su firma, usted acusa recibo dcl presente fonnulario. Esto !lQ es un contrato de compra. La Comision Federal de
          Comercio (FTC) cstableee que con el fin de concederle el tiempo necesario para que ustcd investigue esta oporrunidad, [Nombrc dcl
          VendedQrl dcbe esperar un minimo de sicte dias naturales o corrjdos a partir de la fecha en que le entreguc este fonnulario antes de
          pedirle quc frnne un contrato de compra o que efectlie un pago.                                                       ·

          Para mas informacion sobre oportunidades de negodo en general: Visite el sitio Web de la FTC www.ftc.gov.lbizopm; o llame al
          1·877-FTC-HELP (877-382-4357). Usted tambien puede cstab!ecer contacto con cl Fiscal General de su cstado de residencia.


  [FR Doc:. 2011-30597 Filed 12-7-11; 8:45 am]
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                                               FEDERAL TRADE COMMISSION

                                  FINANCIAL STATEMENT OF INDIVIDUAL DEFENDANT

 Definitions and Instructions:

    1.   Complete all items. Enter "None" or "N/A" ("Not Applicable") in the first field only of any item that does not apply
         to you. If you cannot fully answer a question, explain why.

    2.   "Dependents· include your spouse, live-in companion, dependent children, or any other person, whom you or your
         spouse (or your children's other parent) claimed or could have claimed as a dependent for tax purposes at any
         time during the past five years.

    3.   "Assets· and "Liabilities· include ALL assets and liabilities, located within the United States or any foreign country
         or territory, whether held individually or jointly and whether held by you, your spouse, or your dependents, or held
         by others for the benefit of you, your spouse, or your dependents.

    4.   Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
         being continued. On the continuation page(s), identify the Item number(s) being continued.

    5.   Type or print legibly.

    6.   Initial each page in the space provided in the lower right corner.

    7.   Sign and date the completed financial statement on the last page.


Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) "in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government of the
United States, knowingly and willfully falsifies, conceals or covers up by any trick, scheme, or devise a material fact;
makes any materially false, fictitious or fraudulent statement or representation; or makes or uses any false writing or
document knowing the same to contain any materially false, fictitious or fraudulent statement or entry" (18 U.S.C. § 1001 );

          (2) "in any ... statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
willfully subscribes as true any material matter which he does not believe to be true" (18 U.S.C. § 1621); or

        (3) "in any ( ... statement under penalty of perjury as permitted under section 1746 of title 28, United States
Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any false
material declaration or makes or uses any other information ... knowing the same to contain any false material
declaration" (18 U.S.C. § 1623).

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross
loss. 18 U.S.C. § 3571.




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                                                                                                                                                           I'


 Item 1. Information About You
 Full Name                                                                    Social Security No.

 Current Address of Primary Residence                                         Driver's License No.                                                                  I
                                                                                                                                                                    State Issued

                                                                              Phone Numbers                          Date of Birth:               I             I
                                                                              Home: (   )                                          (mm/dd/yyyy}
                                                                              Fax:       (   )                       Place of Birth

 DRent DOIM1                  From (Date):     I   I                          E-Mail Address
                                             (mm/dd/wvvl
 Internet Home Page

                                                                                                                                                                                        ',
 Previous Addresses for past five years {iffeq1,1ired, use. additional pages at end of form)
 Address                                                                                                 From:            I           I                Until:               I       I
                                                                                                                     (mm/dd/yyyy)                                   (mm/dd/yyyy)

                                                                                                         DRent DOIM1
 Address                                                                                                                          I                                     I       I
                                                                                                         From:            I                           Until:



                                                                                                         DRent Down
 Address                                                                                                                          I                                     I       I
                                                                                                         From:            I                           Until:



                                                                                                         DRent DOIM1
Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they
were used:


                                                                                                 '   '
Item 2. ·Information About Your Spouse or Live-In Companion
Spouse/Companion's Name                                                       Social Security No.                         Date of Birth
                                                                                                                              I           I
                                                                                                                          (mm/dd/vvvvl
Address (if different from yours)                                             Phone Number                                Place of Birth
                                                                              (      )
                                                                              DRent Down                         From (Date):                 I        I
                                                                                                                                          (mm/dd/yyyy)
 Identify any other name(s) and/or social security number(s) you have used, and the time period(s) during which they were used:


Employer's Name and Address                                                   Job Title

                                                                              Years in Present Job       Annual Gross Salary/Wages
                                                                                                         $


Item 3•. lnformat1ori 1~boutYour Previous Spouse
Name and Address                                                                                         Social Security No.

                                                                                                         Date of Birth
                                                                                                             I        I
                                                                                                         (mm/dd/yyyy)

Item 4. Contact Information             (name and address of closest living relative other than your spouse)
Name and Address                                                                                         Phone Number
                                                                                                         (       )




                                                                                                                                                                        Initials:

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Item 5. Information About Dependents {whetnyr or not they reside with you)
 Name and Address                                                                 Social Security No.                  Date of Birth
                                                                                                                          I    I
                                                                                                                       (mm/dd/yyyy)
                                                                                  Relationship

Name and Address                                                                  Social Security No.                  Date of Birth
                                                                                                                          I    I
                                                                                                                       (mm/dd/vvvvl
                                                                                  Relationship


Name and Address
                                                                                  Social Security No.                 I DateI of Birth
                                                                                                                                 I
                                                                                                                          (mm/dd/vvvvl
                                                                                  Relationship


Name and Address
                                                                                  Social Security No.                 I   Date of Birth
                                                                                                                             I    I
                                                                                                                          (mm/dd/vwvl
                                                                                  Relationship


ltem6.CE~leyrnent Information/Employment Income
Provide the following information for this year-to-date and for each of the pr~vious five full years, for each business entity of which you wer~ a director,
officer, member, partner, employee (including self-employment), agent, owne~. shareholder, contractor, participant or consultant at any time' during that
period. "Income· includes, but is not limited to, any Sc!lary, commissions, distributions, draws, consulting fees, loans, loan payments, .dividends,
royalties, and benefits for which you did not pay (e.g., health insurance premiums, automobile lease or loan payments) received by you or anyone else
on your behalf.
Company Name and Address                                                              Dates Employed                 Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                     Year                  Income
                                                                   From (Month/Year)             To (Month/Year)
                                                                          I                           I              20                    $
Ownership Interest? OYesD No                                                                                                               $
Positions Held                                                     From (Month/Year)             To (Month/Year)                           $
                                                                          I                           I                                    $
                                                                              I                         I                                  $
                                                                              I                         I                                  $
Company Name and Address                                                              Dates Employed                 Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                     Year                  Income
                                                                   From (Month/Year)             To (Month/Year)
                                                                          I                            I             20                    $
Ownership Interest? DYesD No                                                                                                               $
Positions Held                                                     From (Month/Year)             To (Month/Year)                           $
                                                                          I                           I                                    $
                                                                              I                         I                                  $
                                                                           I                            I                                  $
Company Name and Address                                                              Dates Employed                 Income Received: Y-T-D & 5 Prior Yrs.

                                                                                                                     Year                  Income
                                                                   From (Month/Year)             To (Month/Year)
                                                                          I                           I              20                    $
Ownership Interest? 0Yes0 No                                                                                                               $
Positions Held                                                     From (Month/Year)             To (Month/Year)                           $
                                                                          I                            I                                   $
                                                                           I                            I                                  $
                                                                           I                            I                                  $



                                                                                                                                           Initials:

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Item 7. Pending Lawsuit$ F'.lle~ By or Against You or Your Spouse
List all pending lawsuim .that ha~ bflen flied by or against you or your spouse in any court or before an administrative agency in the United States or in
any foreign country onerrttory/ Notti: Ai Item 12, list lawsuits that resulted in final judgments or settlements in your favor. At Item 21, list lawsuits that
resulted in final judgments or settlements against you.                                    ·
                                                                                                    Nature of                                        Status or
        Caption of Proceeding              Court or Agency and Location          Case No.                                 Relief Requested
                                                                                                   Proceeding                                       Disoosition




Item 8. Safe Deposit Boxes
List all safe deposit boxes., located .within the United States or in any foreign country or territory, whether held individually or jointly and whether held by
you, your spouse, or any of your dependents, or held by others for the benefit of you, your spouse. or any of your dependents.
          Name of Owner(s)                         Name & Address of Depository Institution                     Box No.                      Contents




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                                                                         ASSETS
Item 9. Cash, Bank, and Money Market Accounts
List cash on hand (as opposed to cash in bank accounts or other financial accounts) and all bank accounts, money market accounts 1 or other financial
accounts, including but not limited to checking accounts, savings accounts, and certificates of deposit. The term "cash on hand" includes but is not
limited to cash in the form of currency, uncashed checks, and money .orders.

   a. Amount of Cash on Hand $                                              Form of Cash on Hand

   b. Name on Account                          Name & Address of Financial Institution                          Account No.                     Current Balance

                                                                                                                                            $




                                                                                                                                            $




                                                                                                                                            $




                                                                                                                                            $




                                                                                                                                            $




Item 10. Publicly Traded Secu.rit.les . .
List all publicly traded securities, including but not limited to, stocks, stock options, corporate bonds, mutual funds, u.s: government securiti.es (including
but not limited to treasury bills and treasury notes), arid state and municipal bonds. Also list any U.S. savings bonds.
Owner of Security                                                                Issuer                         Type of Security        No. of Units Owned


Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security         No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $
Owner of Security                                                                Issuer                        Type of Security         No. of Units Owned

Broker House, Address                                                            Broker Account No.

                                                                                 Current Fair Market Value                Loan(s) Against Security
                                                                                 $                                        $




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 Item .1t Non-Public Business and Financial Interests
                                                                                  '   ,,

 List all n~n-publlc business. and financial interests, including but not limited t6 any interest in a non-public corporation, subchapter-S corporation,. limited
 liability corporation ("LLC), general or limited partnership, joint venture, sole proprietorship, international business corporation or personal investment
 corporation, and oil or mineral lease.
                                                           Type of Business or Financial                    Owner              Ownership          If Officer, Director, Member
              Entity's Name & Address
                                                          Interest (e.g., LLC, partnership)          (e.g., self, spouse)         %                  or Partner, Exact Title




 Item 12. Amounts Owed to You, YourSpouse,.or'YourDependents                                                                                            ....
 Debtor's Name & Address                                   Date Obligation                  Original Amount Owed       Nature of Obligation (if the result of a final court
                                                        Incurred (Month/Year)              $                           judgment or settlement, provide court name
                                                                  I                                                    and docket number)
                                                        Current Amount Owed                Payment Schedule
                                                        $                                  $
 Debtor's Telephone                                     Debtor's Relationship to You


 Debtor's Name & Address                                    Date Obligation                  Original Amount Owed      Nature of Obligation (if the result of a final court
                                                         Incurred (Month/Year)              $                          judgment or settlement, provide court name
                                                                   I                                                   and docket number)
                                                        Current Amount Owed                 Payment Schedule
                                                        $                                   $
 Debtor's Telephone                                     Debtor's Relationship to You


 Item 13. Life Insurance Policies
 List all life insurance policies (including t,rid()Wmi:t~ policies) with any cash surrender value.
 Insurance Company's Name, Address, & Telephone No.                     Beneficiary                                         Policy No,                  Face Value
                                                                                                                                                        $
                                                                        Insured                                             Loans Against Policy        Surrender Value
                                                                                                                            $                           $

 Insurance Company's Name, Address, & Telephone No,                     Beneficiary                                         Policy No.                  Face Value
                                                                                                                                                        $
                                                                        Insured                                             Loans Against Policy        Surrender Value
                                                                                                                            $                           $

 Item 14. Deferred Income Arrangements
 List all deferred iocome arrangements, including but not limited to, deferred annuities, pensions plans, profit-sharing plans, 401 (k) plans, IRAs, Keoghs,
 other retirement accounts, and college savings plans (e.g., 529 Plans).
 Trustee or Administrator's Name, Address & Telephone No.                        Name on Account                             Account No. I
                                                                                           Date Established     Type of Plan                    Surrender Value before
                                                                                             I   I                                              Taxes and Penalties
                                                                                           (mm/dd/yyyy)                                         $
 Trustee or Administrator's Name, Address & Telephone No.                                  Name on Account                               I   Account No.

                                                                                           Date Established     Type of Plan                   Surrender Value before
                                                                                             I    I                                            Taxes and Penalties
                                                                                                                                               $



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 Item 15.    Paneling ·~suran~~ Payrp;n~                or Inheritances
 List any pending insurance paym!!!pls or lpll~rltan.ces owed to you.
 Type                                                                                                                  Amount Expected     Date Expected (mm/dd/yyyy)
                                                                                                                   $                          I     I
                                                                                                                   $                          I     I



 Item 16. VehiC?l~s .
                      .,                                                                              .. ··. ··.
                                                                                                                   $                          I     I


 List all ca~, tr1,1c1t&;motqrcyctes, boats, airplanes, and other vehicles.       .
 Vehicle Type      I Year            Registered Owner's Name              Purchase Price
                                                                          $
                                                                                                                       Original Loan Amount
                                                                                                                       $
                                                                                                                                                  Current Balance
                                                                                                                                                  $
 Make                                Registration State & No.             Account/Loan No.                             Current Value              Monthly Payment
                                                                                                                       $                          $
 Model                               Address of Vehicle's Location        Lender's Name and Address




 Vehicle Type    I Year              Registered Owner's Name              Purchase Price
                                                                          $
                                                                                                                       Original Loan Amount
                                                                                                                       $
                                                                                                                                                  Current Balance
                                                                                                                                                  $
 Make                                Registration State & No.             Account/Loan No.                             Current Value              Monthly Payment
                                                                                                                       $                          $
 Model                               Address of Vehicle's Location        Lender's Name and Address




 Vehicle Type    I Year              Registered Owner's Name              Purchase Price
                                                                          $
                                                                                                             Original Loan Amount
                                                                                                             $
                                                                                                                                              Current Balance
                                                                                                                                              $
 Make                                Registration State & No.             Account/Loan No.                   Current Value                    Monthly Payment
                                                                                                             $                                $
 Model                               Address of Vehicle's Location        Lender's Name and Address




 Vehicle Type    I Year              Registered Owner's Name             Purchase Price
                                                                         $
                                                                                                            Original Loan Amount
                                                                                                            $
                                                                                                                                              Current Balance
                                                                                                                                              $
 Make                                Registration State & No.            Account/Loan No.                   Current Value                     Monthly Payment
                                                                                                            $                                 $
 Model                               Address of Vehicle's Location        Lender's Name and Address




Item 17. Other Personal Property
List all other personal property not listed.in ltems 9-16 by category, whether held for personal use, investment or any other reason, including but not
limited to coins, stamps, artwork, gemstone~. jewelry. bullion, other collectibles. copyrights, patents, and other intellectual property.

    Property Category
                                       Name of Owner                              Property Location                             Acquisition Cost             Current Value
  (e.g., artwork. jewelry)

                                                                                                                                $                       $


                                                                                                                               $                        $


                                                                                                                               $                        $




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 Item 18. Real Property            <        .<
 List all real prope!'ty int~ts (includi~. any land contr~qt)
 Property's Location                        Type of Property                              Name(s) on Title or Contract and Ownership Percentages



 Ajuisi~on Date (mm/dd/yyyy)         I ;urchase Price                            I ~urrent Value                      Basis of Valuation

 Lender's Name and Address                                         Loan or Account No.                                Current Balance On First Mortgage or
                                                                                                                      Contract
                                                                                                                      $
                                                                                                                      Monthly Payment
                                                                                                                      $
 Other Mortgage Loan(s) (describe)                                       Monthly Payment                              0    Rental Unit
                                                                         $
                                                                         Current Balance                              Monthly Rent Received
                                                                         $                                            $
 Property's Location                        Type of Property                              Name(s) on Title or Contract and Ownership Percentages



 Ajuisi~on Date (mm/dd/yyyy)         I ;urchase Price                            I    ~urrent Value                   Basis of Valuation

 Lender's Name and Address                                         Loan or Account No.                                Current Balance On First Mortgage or
                                                                                                                      Contract
                                                                                                                      $
                                                                                                                      Monthly Payment
                                                                                                                      $
 Other Mortgage Loan(s) (describe)                                       Monthly Payment                              0    Rental Unit
                                                                         $
                                                                         Current Balance                              Monthly Rent Received
                                                                         $                                            $

                                                                             LIABILITIES

 ltem.1~. Cl'editCards
.List ea.ch credit card account held by you, your spouse, or your dependents, and any other crooit cards that you, your spouse, or your dependents use,
 whether issued by a United States or foreign financial institution.       <     ·
  Name of Credit Card (e.g., Visa,
                                                           Account No.                                Name(s) on Account                        Current Balance
  MasterCard, Department Store)
                                                                                                                                          $
                                                                                                                                          $
                                                                                                                                          $
                                                                                                                                          $

                                                           .. ,,
                                                                                                                                         $
                                             ·.   ..   /                         ..
Item 20. Taxes Payable                          •
List all taxes, such as income taxes orrec11 estat~ taxes, owed by you, .your spouse, or your dependents.                     .
                           Type of Tax                                                    Amount Owed                                    Year Incurred
                                                                             $
                                                                             $
                                                                             $




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 Item 21. Other Amounts Owed.by You, Your Spouse, or Your Dependents
 List all other amounts, not lis\ed elsewhere in this financial statement, owed by you, your spouse, or your dependents.
 Lender/Creditor's Name, Address, and Telephone No.              Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                                 number)


                                                                 Lender/Creditor's Relationship to You


Date Liability Was Incurred
  I    I
(mm/dd/vvvv)
                                      I
                                     ~riginal Amount Owed                          I
                                                                         ~urrent Amount Owed                            I
                                                                                                              Payment Schedule

Lender/Creditor's Name, Address, and Telephone No. Nature of Debt (if the result of a court judgment or settlement, provide court name and docket
                                                      number)


                                                                 Lender/Creditor's Relationship to You



Date Liability Was Incurred
  I    I                              I   ~riginal Amount Owed                      I   ~urrent Amount Owed             I Payment Schedule
(mm/dd/vvvv)

                                                     OTHER FINANCIAL INFORMATION
Item 22. Trusts and E$~re:>ws ·               :
List all funds and. other asse~ t~!II ~re being held in trust or escrow by any person or entity for you, your spouse, or your dependents. Include any legal
retainers being held Qn. your bel'lalt;~Y legal co.unset Also list all funds or other assets that are being held in trust or escrow by you, your spouse, or your
dependents, for any pe!;Son .or entity. ..                                             ·
                                                      Date Established
 Trustee or Escrow Agent's Name & Address                                     Grantor              Beneficiaries               Present Market Value of Assets*
                                                        (mm/dd/vvvvl
                                                          I    I                                                             $




                                                        I        I                                                          $




                                                        I        I                                                          $




*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.
                                                            ..
Item 23. Transfers of Assets
List each person or entity to whom. yoo    have,trll°'~ferred, iq the aggregate, more than $5,000 in funds or other assets during lhe previous five years by
loan, gift, sale, or other trans~r (exclud~,Rf'l11°'ary arld ~ssary living and business expenses paid to unrelated tl'lird parties). For each such person or
entity, state the total amount tra:nsfetr~ during th~ period,         .                                                 ·'
                                                                                                               Transfer Date             Type ofTransfer
 Transferee's Name, Address, & Relationship           Property Transferred              Aggregate Value*
                                                                                                               (mm/dd/yyyy)              (e.g., Loan, Gift)
                                                                                        $                      I    I




                                                                                        $                      I   I




                                                                                        $                      I   I



*If the market value of any asset is unknown, describe the asset and state its cost, if you know it.


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   Item 24. Document Requests
   Provide copies of the following documents wit~ your completed Financial Statement.
                          Federal tax returns filed during the last three years by or on behalf of you, your spouse, or your dependents.
                          All applications for bank loans or other extensions of credit (other than credit cards) that you, your spouse, or your
                          dependents have submitted within the last two years, including by obtaining copies from lenders if necessary.
    ltem9                 For each bank account listed in Item 9, all account statements for the past 3 years.
                          For each business entity listed in Item 11, provide (including by causing to be generated from accounting records) the
   Item 11                most recent balance sheet. tax return, annual income statement, the most recent year-to-date income statement, and all
                          general ledger files from account records.
                          All appraisals that have been prepared for any property listed in Item 17, including appraisals done for insurance
   Item 17                purposes. You may exclude any category of property where the total appraised value of all property in that category is
                          less than $2,000.
   Item 18                All appraisals that have been prepared for real property listed in Item 18.
   Item 21                Documentation for all debts listed in Item 21.
                          All executed documents for any trust or escrow listed in Item 22. Also provide any appraisals, including insurance
   Item 22
                          appraisals that have been done for any assets held by any such trust or in any such escrow.

                                         . ""; . : ;~ir.~l~~~.~.IAL SCHEDULES                                                     ··ti/' V"(SP . · . j,. . . . . ,;:•• i <?·'
i •••   > " ,, •. ,', •                                                                                               .   ,,,',                                                 ...

   Item 25. Combined Balance Sheet forYou;.Yo11r Spouse, and Your Dependents
   Assets                                                                      Liabilities
   Cash on Hand (Item 9)                                          $            Loans Against Publicly Traded Securities (Item 10)                              $
   Funds Held in Financial Institutions (Item 9)                  $            Vehicles - Liens (Item 16)                                                      $
   U.S. Government Securities (Item 10)                           $            Real Property - Encumbrances (Item 18)                                          $
   Publicly Traded Securities (Item 10)                           $            Credit Cards (Item 19)                                                          $
   Non-Public Business and Financial Interests (Item 11)          $            Taxes Payable (Item 20)                                                         $
   Amounts Owed to You (Item 12)                                  $            Amounts Owed by You (Item 21)                                                   $
   Life Insurance Policies (Item 13)                              $            Other Liabilities (Itemize)
   Deferred Income Arrangements (Item 14)                         $                                                                                            $
   Vehicles (Item 16)                                             $                                                                                            $
   Other Personal Property (Item 17)                              $                                                                                            $
   Real Property (Item 18)                                        $                                                                                            $
   Other Assets (Itemize)                                                                                                                                      $
                                                                  $                                                                                            $
                                                                  $                                                                                            $
                                                                  $                                                                                            $
                                               Total Assets       $            Total Liabilities                                                               $
  Item 26. Combined Current Monthly Income and Expenses for You, Your Spouse, and Your Depelldf:!nts
   Provide the current monthly income and expenses fOryou,. your spouse, and your dependents. Do not include credit card payments separately; rather.
   include credit card expenditures in the appropriate categories. ·
   Income (State source of each item)                                      Expenses
  Salary - After Taxes                                                     Mortgage or Rental Payments for Residence(s)
                                                              $                                                                                                    $
  Source:
  Fees, Commissions, and Royalties                                         Property Taxes for Residence(s)
                                                              $                                                                                                    $
  Source:
  Interest                                                                 Rental Property Expenses, Including Mortgage Payments, Taxes,
                                                              $            and Insurance                                                                           $
  Source:
  Dividends and Capital Gains                                              Car or Other Vehicle Leas~ or Loan Payments
                                                              $                                                                                                    $
  Source:
  Gross Rental Income                                                      Food Expenses
                                                              $                                                                                                    $
  Source:
  Profits from Sole Proprietorships                                        Clothing Expenses
                                                              $                                                                                                    $
  Source:
  Distributions from Partnerships, S-Corporations,                         Utilities
  and LLCs                                                    $                                                                                                    $
  Source:

                                                                                                                                                             Initials:

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item 26. cornlhi~'Egrrent
Distributions from Trusts and Estates                                        Medical Expenses, Including Insurance
                                                          $                                                                                                       $
Source:
Distributions from Deferred Income Arrangements                              Other Insurance Premiums
                                                          $                                                                                                       $
Source:
Social Security Payments                                  $                  Other Transportation Expenses                                                        $
Alimony/Child Support Received                            $                  Other Expenses (Itemize)
Gambling Income                                           $                                                                                                       $
Other Income (Itemize)                                                                                                                                            $
                                                          $                                                                                                       $
                                                          $                                                                                                       $
                                                          $                                                                                                       $
                                      Total Income        $                  Total Expenses                                                                       $
   :     .   .   ... :;.   .·.·                                                                                                                                           ; ii;:< .•

                                                                        ..              ENIS                         .         .·;\ c;T;::ii!iii;{,i::: :•; .•.       :;..:,Hi:
Item 27. Documents Attached to this Financla1Statement
List all documents that are being submitted with this   finansi;;il stat?ment.   For any Item 24 documents that are not attached, explalni,vhy.

Item No. Document Relates To                                                                    Description of Document




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.


Executed on:


(Date)                                                           Signature




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                                            FEDERAL TRADE COMMISSION

                             FINANCIAL STATEMENT OF CORPORATE DEFENDANT



 Instructions:

 1.      Complete all items. Enter "None" or "N/A" ("Not Applicable") where appropriate. If you cannot fully answer a
         question, explain why.

 2.      The font size within each field will adjust automatically as you type to accommodate longer responses.

 3.      In completing this financial statement, "the corporation" refers not only to this corporation but also to each of its
         predecessors that are not named defendants in this action.

4.      When an Item asks for information about assets or liabilities ''held by the corporation," include ALL such assets
        and liabilities, located within the United States or elsewhere, held by the corporation or held by others for the
        benefit of the corporation.

5.      Attach continuation pages as needed. On the financial statement, state next to the Item number that the Item is
        being continued. On the continuation page(s), identify the Item number being continued.

6.      Type or print legibly.

7.      An officer of the corporation must sign and date the completed financial statement on the last page and initial
        each page in the space provided in the lower right comer.




Penalty for False Information:

Federal law provides that any person may be imprisoned for not more than five years, fined, or both, if such person:

        (1) "in any matter within the jurisdiction of any department or agency of the United States knowingly and
        willfully falsifies, conceals or covers up by any trick, scheme, or device a material fact, or makes any false,
        fictitious or fraudulent statements or representations, or makes or uses any false writing or document knowing the
        same to contain any false, fictitious or fraudulent statement or entry" (18 U.S.C. § 1001);

        (2) "in any ... statement under penalty of perjury as permitted under section 1746 of title 28, United States Code,
        willfully subscribes as true any material matter which he does not believe to be true" (18 U.S.C. § 1621); or

        (3) "in any( ... statement under penalty of perjury as permitted under section 1746 of title 28, United States
        Code) in any proceeding before or ancillary to any court or grand jury of the United States knowingly makes any
        false material declaration or makes or uses any other information ... knowing the same to contain any false
        material declaration." (18 U.S.C. § 1623)

For a felony conviction under the provisions cited above, federal law provides that the fine may be not more than the
greater of (i) $250,000 for an individual or $500,000 for a corporation, or (ii) if the felony results in pecuniary gain to any
person or pecuniary loss to any person other than the defendant, the greater of twice the gross gain or twice the gross loss.
18 u.s.c. § 3571.
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                                           BACKGROUND INFORMATION


 Item 1.            General Information

 Corporation's Full N a m e - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
 Primary Business Address ________________________ From (Date) _ _ __

 Telephone No. - - - - - - - - - - - - - Fax No. - - - - - - - - - - - - -

 E-Mail Address                                  Internet Home Page_ _ _ _ _ _ _ _ _ __

All other current addresses & previous addresses for past five years, including post office boxes and mail drops:

Address                                                                             From/Until- - - - - - - - -

 Address- - - - - - - - - - - - - - - - - - - - - - - - - - From/Until- - - - - - - - -

Address                                                                             From/Until- - - - - - - - -

AII predecessor companies for past five years:

Name & Address - - - ~ - - - - - - - - - - - - - - - - - - - - - From/Until - - - - - -

Name & Address                                                                            From/Until - - - - - -

Name & Address                                                                            From/Until - - - - - -


 Item 2.            Legal Information

Federal Taxpayer ID No. _ _ _ _ _ _ _ _ _ _ _ State & Date of Incorporation _ _ _ _ _ _ _ _ _ __

State Tax ID No.                           State                      Profit or Not For Profit _ _ _ _ _ _ _ __

Corporation's Present Status: Active                      Inactive                     Dissolved _ _ _ _ _ _ __

If Dissolved: Date dissolved                                 By Whom _________________

Reasons - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Fiscal Year-End (Mo./Day) _ _ _ _ _ _ _ Corporation's Business Activities _ _ _ _ _ _ _ _ _ _ _ __


Item 3.             Registered Agent

Name of Registered Agent _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Telephone No. _ _ _ _ _ _ __




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Item 4.            Principal Stockholders

List all persons and entities that own at least 5% of the corporation's stock.

                                            Name & Address                                                   %Owned




Item 5.            Board Members

List all members of the corporation's Board of Directors.

                                   Name & Address                                        % Owned       Term (From/Until}




Item 6.            Officers

List all of the corporation's officers, including de facto officers (individuals with significant management responsibility
whose titles do not reflect the nature of their positions).

                                            Name & Address                                                  %Owned




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Item 7.            Businesses Related to the Corporation

List all corporations, partnerships, and other business entities in which this corporation has an ownership interest.

                                  Name & Address                                        Business Activities     % Owned




                                                                             ---------------···--




State which of these businesses, if any, has ever transacted business with the corporation _ _ _ _ _ _ _ _ _ __




Item 8.            Businesses Related to Individuals

List all corporations, partnerships, and other business entities in which the corporation's principal stockholders, board
members, or officers (i.e., the individuals listed in Items 4 - 6 above) have an ownership interest.

 Individual's Name                       Business Name & Address                         Business Activities     % Owned




State which of these businesses, if any, have ever transacted business with the corporation _ _ _ _ _ _ _ _ _ __




Item 9.            Related Individuals

List all related individuals with whom the corporation has had any business transactions during the three previous fiscal
years and current fiscal year-to-date. A "related individual" is a spouse, sibling, parent, or child of the principal
stockholders, board members, and officers (i.e., the individuals listed in Items 4 - 6 above).

                           Name and Address                                  Relationship           Business Activities




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Item 10.         Outside Accountants

List all outside accountants retained by the corporation during the last three years.

                                   Firm Name                                  Address                        CPA/PA?




Item 11.         Corporation's Record keeping

List all individuals within the corporation with responsibility for keeping the corporation's financial books and records for
the last three years.

                             Name, Address, & Telephone Number                                       Position(s) Held




Item 12.         Attorneys

List all attorneys retained by the corporation during the last three years.

                                      Firm Name                                         Address




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Item 13.        Pending Lawsuits Filed by the Corporation

List all pending lawsuits that have been filed by the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments or settlements in favor of the corporation in Item 25).

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No. _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address______ - - - - - - - - - - - - - - - - - - - - - - ·

Court's Name & Address
                         ---------------------------------
Docket No.- - - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit- - - - - - - - -

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         ---------------------------------
Docket No.        Relief Requested
          -------                 - - - - - - - - - Nature of Lawsuit- - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No. _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

Docket No. _ _ _ _ _ _ _ _ ReliefRequested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No._ _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



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Item 14.         Current Lawsuits Filed Against the Corporation

List all pending lawsuits that have been filed against the corporation in court or before an administrative agency. (List
lawsuits that resulted in final judgments, settlements, or orders in Items 26 - 27).

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No._ _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No. _ _ _ _ _ _ _ _ Relief Requested_ _ _ _ _ _ _ _ _ Nature of Lawsuit_ _ _ _ _ _ _ __

- - - - - - - - - - - - - - - - - Status- - - - - - - - - - - - - - - - - - - - - - - -

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         ---------------------------------
Docket No.- - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit- - - - - - - - -

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No.- - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit- - - - - - - - -


- - - - - - - - - - - - - - - - Status- - - - - - - - - - - - - - - - - - - - - - - -
Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Docket No.- - - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit- - - - - - - - -

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Status_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         ---------------------------------
Docket No.- - - - - - - - Relief Requested- - - - - - - - - Nature of Lawsuit- - - - - - - - -


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Item 15.         Bankruptcy Information

List all state insolvency and federal bankruptcy proceedings involving the corporation.

Commencement Date - - - - - - - - Termination Date - - - - - - - - Docket No. - - - - - - - -

If State Court: Court & County      · - - - - - - - - - lf Federal         Court: District - - - - - - - - - - - -

Disposition
              --------------------------------------

Item 16.                  Safe Deposit Boxes

List all safe deposit boxes, located within the United States or elsewhere, held by the corporation, or held by others for the
benefit of the corporation. On a separate page, describe the contents of each box.

Owner's Name             Name & Address of Depository Institution                                                   Box No.




                                               FINANCIAL INFORMATION

REMINDER: When an Item asks for information about assets or liabilities "held by the corporation," include
ALL such assets and liabilities, located within the United States or elsewhere, held by the corporation or held by
others for the benefit of the corporation.

Item 17.         Tax Returns

List all federal and state corporate tax retums filed for the last three complete fiscal years. Attach copies of all returns.

  Federal/       Tax Year       Tax Due       Tax Paid       Tax Due       Tax Paid               Preparer's Name
 State/Both                     Federal       Federal         State         State

                            $             $              $             $

                            $             $              $             $

                            $             $              $             $




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Item 18.         Financial Statements

List all financial statements that were prepared for the corporation's last three complete fiscal years and for the current
fiscal year-to-date. Attach copies of all statements, providing audited statements ff available.

               Balance Sheet     Profit & Loss Statement    Cash Flow Statement Changes in Owner's Equity Audited?




Item 19.         Financial Summary

For each of the last three complete fiscal years and for the current fiscal year-to-date for which the corporation has not
provided a profit and loss statement in accordance with Item 18 above, provide the following summary financial
information.
                               Current Year-to-Date         1 Year Ago             2 Years Ago             3 Years Ago

 Gross Revenue             $                          $                       $- - - - - - -           $_ _ _ _ __

 Expenses                  $                          $                       $_ _ _ _ _ _ _           $
                                                                                                        -------
 Net Profit After Taxes    $

 Payables                  $

 Receivables               $

Item 20.         Cash, Bank, and Money Market Accounts

List cash and all bank and money market accounts, including but not limited to, checking accounts, savings accounts, and
certificates of deposit, held by the corporation. The term "cash" includes currency and uncashed checks.

Cash on Hand$_ _ _ _ _ _ _ _ _ _ _ Cash Held for the Corporation's Benefit$_ _ _ _ _ _ _ _ __


  Name & Address of Financial Institution                 Signator(s) on Account           Account No.           Current
                                                                                                                 Balance
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _

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Item 21.          Government Obligations and Publicly Traded Securities

List all U.S. Government obligations, including but not limited to, savings bonds, treasury bills, or treasury notes, held by
the corporation. Also list all publicly traded securities, including but not limited to, stocks, stock options, registered and
bearer bonds, state and municipal bonds, and mutual funds, held by the corporation.

Issuer _ _ _ _ _ _ _ _ _ _ _ _ _ _ Type of Security/Obligation _ _ _ _ _ _ _ _ _ _ _ _ _ __

No. of Units Owned - - - - Current Fair Market Value$- - - - - - - - Maturity Date - - - - - - -

Issuer _ _ _ _ _ _ _ _ _ _ _ _ _ _ Type of Security/Obligation _ _ _ _ _ _ _ _ _ _ _ _ _ __

No. of Units Owned _ _ _ _ Current Fair Market Value$_ _ _ _ _ _ _ _ Maturity Date _ _ _ _ _ __


Item 22.          Real Estate

List all real estate, including leaseholds in excess of five years, held by the corporation.

Type of Property_ _ _ _ _ _ _ _ _ _ _ _ _ _ Property's Location_ _ _ _ _ _ _ _ _ _ _ _ _ __

Name(s) on Title and Ownership Percentages_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Current Value$
                  - - - - - - - - - Loan or Account No. - - - - - - - - - - - -
Lender's Name and Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Current Balance On First Mortgage $_ _ _ _ _ _ _ Monthly Payment $_ _ _ _ __

Other Loan(s) (describe)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Current Balance$_ _ _ _ _ __

Monthly Payment$_ _ _ _ _ _ _ _ Rental Unit'?_ _ _ _ _ _ _ Monthly Rent Received$_ _ _ _ __



Type of Property_ _ _ _ _ _ _ _ _ _ _ _ _ _ Property's Location_ _ _ _ _ _ _ _ _ _ _ _ _ __

Name(s) on Title and Ownership Percentages_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Current Value   ·------·----
                                            Loan or Account No. - - - - - - - - -

Lender's Name and Address
                             --------------------------------
Current Balance On First Mortgage$_ _ _ _ _ _ Monthly Payment$_ _ _ _ __

Other Loan(s) (describe)_ _ _ _ _ _ _ _ _ _ _ _ _ __                                Current Balance $- - - - - - - -

Monthly Payment$_ _ _ _ _ _ _ _ Rental Unit?_ _ _ _ _ _ _ Monthly Rent Received$_ _ _ _ __




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Item 23.          Other Assets

List all other property, by category, with an estimated value of $2,500 or more, held by the corporation, including but not
limited to, inventory, machinery, equipment, furniture, vehicles, customer lists, computer software, patents, and other
intellectual property.

           Property Category                               Property Location                         Acguisition       Current
                                                                                                        Cost           Value

                                                                                                 $                 $

                                                                                                 $                 $

                                                                                                 $                 $

                                                                                                 $                 $

                                                                                                 $                 $

                                                                                                 $                 $

                                                                                                 $                 $

                                                                                                 $                 $

                                                                                                 $                 $


Item 24.          Trusts and Escrows

List all persons and other entities holding funds or other assets that are in escrow or in trust for the corporation.


           Trustee or Escrow Agent's                      Description and Location of Assets                Present Market
                Name & Address                                                                              Value of Assets

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ __

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ __

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_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ _ _

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Item 25.         Monetary Judgments and Settlements Owed To the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed to the corporation.

Opposing Party's Name & Address
                                  -----------------------------
Court's Name & Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Docket No. _ _ _ _ __

Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount $_ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                         - - - - - - - - - - - - - - - - - - - - - - - Docket No.- - - - - -
Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount $_ _ _ __



Item 26.         Monetary Judgments and Settlements Owed By the Corporation

List all monetary judgments and settlements, recorded and unrecorded, owed by the corporation.

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address                                                                    Docket No.
                         -----------------------                                                       ------
Nature of Lawsuit- - - - - - - · - - - - - - - - - - Date- - - - - - Amount $- - - - - -

Opposing Party's Name & Address
                                  -----------------------------
Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Docket No. _ _ _ _ __

Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount$_ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Docket No. _ _ _ _ __

Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _ _ _ _ _ Amount $_ _ _ __

Opposing Party's Name & Address_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address                                                                   Docket No.
                         -----------------------                                                      ------
Nature of Lawsuit_ _ _ _ _ _ _ _ _ _ _ _ _ Date of Judgment_ _ _.,--_ _ _ Amount$_ _ _ __

Opposing Party's Name & Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Court's Name & Address
                        - - - - - - - - - - - - - - - - - - - - - - - Docket No.- - - - - -
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Item 27.          Government Orders and Settlements

List all existing orders and settlements between the corporation and any federal or state government entities.

Name of Agency
                   - - - - - - - - - - - - - - - - - - - - Contact Person - - - - - - - - - - - -
Address _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Telephone No. _ _ _ _ _ __

Agreement Date _ _ _ _ _ _ Nature of Agreement _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Item 28.          Credit Cards

List all of the corporation's credit cards and store charge accounts and the individuals authorized to use them.


           Name of Credit Card or Store                            Names of Authorized Users and Positions Held




Item 29.          Compensation of Employees

List all compensation and other benefits received from the corporation by the five most highly compensated employees,
independent contractors, and consultants (other than those individuals listed in Items 5 and 6 above), for the two previous
fiscal years and current fiscal year-to-date. "Compensation" includes, but is not limited to, salaries, commissions,
consulting fees, bonuses, dividends, distributions, royalties, pensions, and profit sharing plans. "Other benefits" include,
but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to the
individuals, or paid to others on their behalf.


           Name/Position                 Current Fiscal       I Year Ago       2 Years Ago       Comgensation or
                                         Year-to-Date                                            Tyge of Benefits

                                     $                    $                $

                                     $                    $                $

                                     $                    $                $

                                     $                    $                $

                                     $                    $                $




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Item 30.          Compensation of Board Members and Officers

List all compensation and other benefits received from the corporation by each person listed in Items 5 and 6, for the
current fiscal year-to-date and the two previous fiscal years. "Compensation" includes, but is not limited to, salaries,
commissions, consulting fees, dividends, distributions, royalties, pensions, and profit sharing plans. "Other benefits"
include, but are not limited to, loans, loan payments, rent, car payments, and insurance premiums, whether paid directly to
the individuals, or paid to others on their behalf.

           Name/Position                  Current Fiscal       1 Year Ago       2 Years Ago         Compensation or
                                          Year-to-Date                                              Type of Benefits

                                      $                    $                $

                                     $                     $                $

                                      $                    $                $

                                     $                     $                $

                                     $                     $                $

                                     $                     $                $

                                     $                     $                $

                                     $                     $                $

Item 31.          Transfers of Assets Including Cash and Property

List all transfers of assets over $2,500 made by the corporation, other than in the ordinary course of business, during the
previous three years, by loan, gift, sale, or other transfer.

 Transferee's Name, Address, & Relationship             Property                Aggregate     Transfer   Type of Transfer
                                                       Transferred               Value         Date      (e.g., Loan. Gift)



_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ _ _ _ _ - - - - - - - - - - -


_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ $_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


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Item 32.           Documents Attached to the Financial Statement

List all documents that are being submitted with the financial statement.

  Item No. Document       Description of Document
      Relates To




         I am submitting this financial statement with the understanding that it may affect action by the Federal Trade
Commission or a federal court. I have used my best efforts to obtain the information requested in this statement. The
responses I have provided to the items above are true and contain all the requested facts and information of which I have
notice or knowledge. I have provided all requested documents in my custody, possession, or control. I know of the
penalties for false statements under 18 U.S.C. § 1001, 18 U.S.C. § 1621, and 18 U.S.C. § 1623 (five years imprisonment
and/or fines). I certify under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Executed on:


(Date)                                            Signature



                                                  Corporate Position




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                   CONSENT TO RELEASE OF FINANCIAL RECORDS

             L                                           of                                          , do
      hereby direct any bank, savings and loan association, credit union, depository institution, finance
      company, commercial lending company, credit card processor, credit card processing entity,
      electronic funds transfer processing agent, automated clearinghouse processing agent, demand
      draft processing agent, brokerage house, escrow agent, money market or mutual fund, title
      company, commodity trading company, trustee, or person that holds, controls or maintains
      custody of assets, wherever located that are owned or controlled by me or at which I have an
      account of any kind, or at which a corporation or other entity has a bank account of any kind
      upon which I am authorized to draw, and its officers, employees and agents, to disclose all
      information and deliver copies of all documents of every nature in your possession or control
      which relate to the said accounts to any attorney of the Federal Trade Commission, and to
      give evidence relevant thereto, in the matter of Federal Trade Commission v. AWS, LLC, et al.,
      No. 2:18-cv-00442-JCM-PAL, now pending in the United States District Court for the
      District of Nevada, and this shall be irrevocable authority for so doing.

             This direction is intended to apply to the laws of countries other than the United States of
      America which restrict or prohibit the disclosure of bank or other financial information without
      the consent of the holder of the account, and shall be construed as consent with respect thereto,
      and the same shall apply to any of the accounts for which I may be a relevant principal.

          Dated_ _ _ _ _ _., 2018.


          Signature_ _ _ _ _ _ _ _ _ _ _ _ __
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                 EXHIBIT 3
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            Illinois Bar # 6270874 (Admitted pursuant to LR IA 11-3)
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            Email: ranguizola@ftc.gov
        3
            Miry Kim
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            Tel. (202) 326-3622
        5   Email: mkim@ftc.gov
            Gregory J. Evans
        6   DC Bar # 1033184 (Admitted pursuant to LR IA 11-3)
            Tel. (202) 326-3425
        7   Email: gevans2@ftc.gov
        8   Federal Trade Commission
            600 Pennsylvania Avenue, NW
        9   Mail Drop CC-8528
            Washington, DC 20580
      10
            Attorneys for Plaintiff
      11    FEDERAL TRADE COMMISSION
                                           UNITED STATES DISTRICT COURT
      12                                        DISTRICT OF NEVADA
      13      FEDERAL TRADE COMMISSION,

      14              Plaintiff,                                   CASE NO. 2:18-cv-00442-JCM-PAL
                      v.
      15                                                           STIPULATED ORDER FOR
              AWS, LLC, a Nevada limited liability company;        PERMANENT INJUNCTION AND
      16      ADAMS CONSULTING, LLC, a California limited          MONETARY JUDGMENT AS TO
              liability company; FBA DISTRIBUTORS, LLC, a          DEFENDANTS AWS, LLC, FBA
      17      Massachusetts limited liability company; FBA         DISTRIBUTORS, LLC, FBA
              STORES, LLC, a Nevada limited liability company;     STORES, LLC, INFO PROS, LLC,
      18      GLOBAL MARKETING SERVICES L.L.C., a                  INFO SOLUTIONS, LLC, ONLINE
              Nevada limited liability company; INFO PROS,         AUCTION LEARNING CENTER,
      19      LLC, a Nevada limited liability company; INFO        INC. (MASS. CORP.), ONLINE
              SOLUTIONS, LLC, a Nevada limited liability           AUCTION LEARNING CENTER,
      20      company; ONLINE AUCTION LEARNING                     INC. (NEV. CORP.),
              CENTER, INC., a Massachusetts corporation;           CHRISTOPHER F. BOWSER,
      21      ONLINE AUCTION LEARNING CENTER, INC.,                ADAM S. BOWSER, AND JODY L.
              a Nevada corporation; CHRISTOPHER F.                 MARSHALL
      22      BOWSER; ADAM S. BOWSER; JODY L.
              MARSHALL; and JEFFREY A. GOMEZ,
      23
                      Defendants.



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        1            Plaintiff, the Federal Trade Commission (“Commission” or “FTC”), filed its Complaint

        2   for Permanent Injunction and Other Equitable Relief, as amended, (“Complaint”), in this matter,

        3   pursuant to Sections 13(b) and 19 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C.

        4   §§ 53(b) and 57b. The Commission and Defendants AWS, LLC, FBA Distributors, LLC, FBA

        5   Stores, LLC, Info Pros, LLC, Info Solutions, LLC, Online Auction Learning Center, Inc. (Mass.

        6   Corp.), Online Auction Learning Center, Inc. (Nev. Corp.), Christopher F. Bowser, Adam S.

        7   Bowser, and Jody Marshall (“Settling Defendants”) stipulate to the entry of this Stipulated Order

        8   for Permanent Injunction and Monetary Judgment (“Order”) to resolve all matters in dispute in

        9   this action between them.

      10             THEREFORE, IT IS ORDERED as follows:

      11                                                     FINDINGS

      12             1.      This Court has jurisdiction over this matter.

      13             2.      The Complaint charges that Settling Defendants participated in deceptive and

      14    unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45, and in violation

      15    of the Business Opportunity Rule, 16 C.F.R. Part 437, in connection with the advertising,

      16    marketing, distribution, promotion and sale of business opportunities to consumers throughout

      17    the United States.

      18             3.      Settling Defendants neither admit nor deny any of the allegations in the

      19    Complaint, except as specifically stated in this Order. Only for purposes of this action, Settling

      20    Defendants admit the facts necessary to establish jurisdiction.

      21             4.      Settling Defendants waive and release any claims that they may have against the

      22    Commission and the Receiver, including against any agent of the Commission or the Receiver,

      23    that relate to this action.




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        1            5.      Settling Defendants waive all rights to appeal or otherwise challenge or contest

        2   the validity of this Order.

        3            6.      Individual Defendant Jody Marshall filed a petition for relief under Chapter 13 of

        4   the Bankruptcy Code on January 5, 2016. In re Jody L. Marshall, No. BKS-16-10016-MKN

        5   (Bankr. D. Nev.) (“Marshall Bankruptcy Case”). The Commission’s prosecution of this action

        6   and the Order are actions to enforce the Commission’s policy or regulatory power. As a result, if

        7   the Marshall Bankruptcy Case is pending as of the date of entry of this Order, then these actions

        8   are excepted from the automatic stay pursuant to 11 U.S.C. § 362(b)(4).

        9                                                DEFINITIONS

      10             For the purpose of this Order, the following definitions apply:

      11    A.       “Business Coaching Program” means any program, plan, good, or service, including

      12    those related to business opportunities, that is represented, expressly or by implication, to coach,

      13    train or teach a participant or Purchaser how to establish, operate, or improve the Purchaser’s

      14    business.

      15    B.       “Business Opportunity” means a commercial arrangement in which:

      16             1.      A Seller solicits a prospective Purchaser to enter into a new business; and

      17             2.      The prospective Purchaser makes a required payment; and

      18             3.      The Seller, expressly or by implication, orally or in writing, represents that the

      19                     Seller or one or more Designated Persons will:

      20                     (i)     Provide locations for the use or operation of equipment, displays, vending
      21                     machines, or similar devices, owned, leased, controlled, or paid for by the
      22                     Purchaser; or
      23




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        1                    (ii)    Provide outlets, accounts, or customers, including Internet outlets,

        2                    accounts, or customers, for the Purchaser’s goods or services; or

        3                    (iii)   Buy back any or all of the goods or services that the Purchaser makes,

        4                    produces, fabricates, grows, breeds, modifies, or provides, including providing

        5                    payment for such services as, for example, stuffing envelopes from the

        6                    Purchaser’s home.

        7   C.       “Designated Person” means any Person, other than the Seller, whose goods or services

        8   the Seller suggests, recommends, or requires that the Purchaser use in establishing or operating a

        9   new business.

      10    D.       “Document” is synonymous in meaning and equal in scope to the usage of “document”

      11    and “electronically stored information” in Federal Rule of Civil Procedure 34(a),

      12    Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs, sound and

      13    video recordings, images, internet sites, web pages, websites, electronic correspondence,

      14    including e-mail and instant messages, contracts, accounting data, advertisements (including

      15    advertisements placed on the World Wide Web), FTP Logs, Server Access Logs, USENET

      16    Newsgroup postings, books, written or printed records, handwritten notes, telephone logs,

      17    telephone scripts, receipt books, ledgers, personal and business canceled checks and check

      18    registers, bank statements, appointment books, computer records, customer or sales databases,

      19    and any other electronically stored information, including Documents located on remote servers

      20    or cloud computing systems, and other data or data compilations from which information can be

      21    obtained directly or, if necessary, after translation into a reasonably usable form. A draft or non-

      22    identical copy is a separate document within the meaning of the term.

      23




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        1   E.       “Earnings Claim” means any oral, written, or visual representation to a consumer,

        2   prospective Purchaser or investor that conveys, expressly or by implication, a specific level or

        3   range of actual or potential sales, or gross or net income or profits. Earnings claims include, but

        4   are not limited to any: (1) chart, table, or mathematical calculation that demonstrates possible

        5   results based upon a combination of variables; and (2) statements from which a consumer,

        6   prospective Purchaser or investor can reasonably infer that he or she will earn a minimum level

        7   of income (e.g., “earn enough to buy a Porsche,” “earn a six-figure income,” or “earn your

        8   investment back within one year”).

        9   F.       “Person” means a natural person, organization, or legal entity, including a corporation,

      10    partnership, proprietorship, association, cooperative, government or governmental subdivision or

      11    agency, or any other group or combination acting as an entity.

      12    G.       “Providing locations, outlets, accounts, or customers” means furnishing the

      13    prospective Purchaser with existing or potential locations, outlets, accounts, or customers;

      14    requiring, recommending, or suggesting one or more locators or lead generating companies;

      15    providing a list of locator or lead generating companies; collecting a fee on behalf of one or more

      16    locators or lead generating companies; offering to furnish a list of locations; or otherwise

      17    assisting the prospective Purchaser in obtaining his or her own locations, outlets, accounts, or

      18    customers.

      19    H.       “Purchaser” means a Person who buys a Business Opportunity or Business Coaching

      20    Program.

      21    I.       “Receiver” means Robb Evans & Associates LLC, the receiver appointed in Section XI

      22    of the Temporary Restraining Order issued on March 14, 2018 [ECF No. 29], and whose

      23




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        1   appointment is continued in Section VI of this Order, and any deputy receivers that shall be

        2   named by Robb Evans & Associates LLC.

        3   J.       “Receivership Estate” means the assets identified in Section III.C of this Order and all

        4   assets of the Settling Corporate Defendants, including: (a) any assets of the Settling Corporate

        5   Defendants currently in the possession of the Receiver; (b) all the funds, property, premises,

        6   accounts, documents, mail, and all other assets of, or in the possession or under the control of the

        7   Settling Corporate Defendants, wherever situated, the income and profits therefrom, all sums of

        8   money now or hereafter due or owing to the Settling Corporate Defendants, and any other assets

        9   or property belonging or owed to the Settling Corporate Defendants; (c) any assets of the Settling

      10    Corporate Defendants held in asset protection trusts; (d) any reserve funds or other accounts

      11    associated with any payments processed on behalf of any Settling Corporate Defendant,

      12    including such reserve funds held by a payment processor, credit card processor, or bank; and (e)

      13    all proceeds from the sale of such assets, except those assets the sale of which the Receiver

      14    determines will not add appreciably to the value of the estate.

      15    K.       “Seller” means a person who offers for sale or sells a Business Opportunity or Business

      16    Coaching Program.

      17    L.       “Settling Corporate Defendants” means AWS, LLC, FBA Distributors, LLC, FBA

      18    Stores, LLC, Info Pros, LLC, Info Solutions, LLC, Online Auction Learning Center, Inc. (Mass.

      19    Corp.), Online Auction Learning Center, Inc. (Nev. Corp.), and any of their subsidiaries,

      20    affiliates, successors, and assigns.

      21    M.       “Settling Defendants” means all of the Settling Individual Defendants and the Settling

      22    Corporate Defendants, individually, collectively, or in any combination.

      23




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        1   N.       “Settling Individual Defendants” means Christopher F. Bowser, Adam S. Bowser, and

        2   Jody L. Marshall, individually or collectively.

        3                                                    ORDER

        4              I.       BUSINESS OPPORTUNITY AND BUSINESS COACHING BAN

        5            IT IS ORDERED that Settling Defendants are permanently restrained and enjoined from

        6   advertising, marketing, distributing, promoting, or offering for sale, or assisting in the

        7   advertising, marketing, distributing, promoting, or offering for sale of, any Business Opportunity

        8   or Business Coaching Program.

        9                             II.     PROHIBITED BUSINESS ACTIVITIES

      10             IT IS FURTHER ORDERED that Settling Defendants, Settling Defendants’ officers,

      11    agents, employees, and attorneys, and all other Persons in active concert or participation with

      12    them, who receive actual notice of this Order, whether acting directly or indirectly, in connection

      13    with promoting or offering for sale any good or service, are permanently restrained and enjoined

      14    from:

      15             A.      making any Earnings Claim, unless the Earnings Claim is non-misleading, and, at

      16    the time such claim is made, Settling Defendants: (1) have a reasonable basis for their claim; (2)

      17    have in their possession written materials that substantiate the claim; and (3) make the written

      18    substantiation available upon request to the consumer, potential Purchaser or investor, and to the

      19    Commission; or

      20             B.      misrepresenting or assisting others in misrepresenting, expressly or by implication

      21    any other fact material to consumers concerning any product or service, such as the total costs;

      22    any material restrictions, limitations, or conditions; or any material aspect of its performance,

      23    efficacy, nature, or central characteristics.




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        1                   III. MONETARY JUDGMENT AND PARTIAL SUSPENSION

        2            IT IS FURTHER ORDERED that:

        3            A.      Judgment in the amount of One Hundred Two Million, Four Hundred Eighty-One

        4   Thousand, Five Hundred Ninety-Six Dollars ($102,481,596.00) is entered in favor of the

        5   Commission against Settling Defendants, jointly and severally, as equitable monetary relief.

        6            B.      Settling Individual Defendants are ordered to make the following payments to the

        7   Commission, which, as Settling Individual Defendants stipulate, their undersigned counsel holds

        8   in escrow for no purpose other than payment to the Commission:

        9            1.      Individual Defendant Christopher F. Bowser is ordered to pay to the Commission

      10                     Three Hundred, Twenty-Five Thousand Dollars ($325,000.00);

      11             2.      Individual Defendant Adam S. Bowser is ordered to pay to the Commission Three

      12                     Hundred, Twenty-Five Thousand Dollars ($325,000.00); and

      13             3.      Individual Defendant Jody Marshall is ordered to pay to the Commission

      14                     Seventy-Five Thousand Dollars ($75,000.00).

      15    Such payments must be made within 7 days of entry of this Order by electronic fund transfer in

      16    accordance with instructions previously provided by a representative of the Commission.

      17             C.      In addition to the payments to the Commission specified in Subsection B above,

      18    immediately upon entry of this Order, the Settling Defendants are ordered to surrender to the

      19    Commission all control, title, dominion, and interest each has to the following assets:

      20             1.      All interest the Settling Defendants have in funds in any accounts in the name of

      21                     the Settling Corporate Defendants, eLearn Service, LLC, E-Learn Services, Ltd.,

      22                     EMWW, LLC, Finn Rich Wireless, LLC, Plaza TowneHomes, LLC, Sell On

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        1                    AMZ Inc., Surf Cellular Express, LLC, Vmerica, Inc., Buy Box Wholesale Inc.,

        2                    Auction Profit Builders LLC, Insider Online Secrets LLC, or Sellers Hangout;

        3            2.      All cash held by the Receiver;

        4            3.      All assets owned by the Settling Corporate Defendants, eLearn Service, LLC, E-

        5                    Learn Services, Ltd., EMWW, LLC, Finn Rich Wireless, LLC, Plaza

        6                    TowneHomes, LLC, Sell On AMZ Inc., Surf Cellular Express, LLC, Vmerica,

        7                    Inc., Buy Box Wholesale Inc., Auction Profit Builders LLC, Insider Online

        8                    Secrets LLC, or Sellers Hangout, including any real, personal, or intellectual

        9                    property, chattel, goods, instruments, equipment, fixtures, general intangibles,

      10                     effects, leaseholds, contracts, mail, or other deliveries, shares or stock, securities,

      11                     inventory, checks, notes, accounts, credits, receivables, insurance policies, lines of

      12                     credit, cash, trusts (including asset protection trusts), lists of consumer names and

      13                     reserve funds or any other accounts associated with any payments processed by,

      14                     or on behalf of, any Settling Corporate Defendants, eLearn Service, LLC, E-Learn

      15                     Services, Ltd., EMWW, LLC, Finn Rich Wireless, LLC, Plaza TowneHomes,

      16                     LLC, Sell On AMZ Inc., Surf Cellular Express, LLC, Vmerica, Inc., Buy Box

      17                     Wholesale Inc., Auction Profit Builders LLC, Insider Online Secrets LLC, or

      18                     Sellers Hangout;

      19             4.      All funds held by Bank of America N.A., in the name of Info Pros LLC dba

      20                     “Online Seller”, including the accounts ending in 1812 and 6059;

      21             5.      All funds held by Bank of America N.A., in the name of FBA Stores LLC dba

      22                     “AWS”, including the accounts ending in 6155 and 3425;

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        1            6.      All funds held by Bank of America N.A., in the name of FBA Stores LLC,

        2                    including the account ending in 2607;

        3            7.      All funds held by Bank of America N.A., in the name of FBA Distributors LLC,

        4                    including the account ending in 5349;

        5            8.      All funds held by Bank of America N.A., in the name of EMWW, LLC LLC,

        6                    including the account ending in 8299;

        7            9.      All funds held by Bank of America N.A., in the name of Elearn Services LLC dba

        8                    “Edominance”, including the account ending in 1867;

        9            10.     All funds held by Bank of America N.A., in the name of Finn Rich Wireless LLC,

      10                     including the account ending in 2342;

      11             11.     All funds held by Bank of America N.A., in the name of Vmerica Inc., including

      12                     the account ending in 5607;

      13             12.     All funds held by America First Credit Union, in the name of Info Solutions LLC,

      14                     including the account ending in 7992;

      15             13.     All funds held by Washington Federal Bank, in the name of Info Pros LLC,

      16                     including the account ending in 9156;

      17             14.     All funds held by Washington Federal Bank, in the name of EMWW, LLC,

      18                     including the account ending in 8182;

      19             15.     All funds held by Rockland Trust Company, in the name of Online Auction

      20                     Learning Center, Inc., including the Demand Deposit accounts ending in 1323 and

      21                     2412;

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        1            16.     All funds held by Rockland Trust Company, in the name of Auction Profit

        2                    Builders LLC dba “Insider Online Secrets”, including the Demand Deposit

        3                    account ending in 1538;

        4            17.     All funds held by Rockland Trust Company, in the name of Finn Rich Wireless

        5                    LLC, including the Demand Deposit account ending in 6468;

        6            18.     All funds held by Rockland Trust Company, in the name of Surf Cellular Express

        7                    LLC, including the Demand Deposit account ending in 7031;

        8            19.     All funds held by JP Morgan Chase & Co., in the name of Info Pros LLC,

        9                    including the account ending in 3922;

      10             20.     All funds held by JP Morgan Chase & Co., in the name of Plaza TowneHomes,

      11                     LLC, including the account ending in 3929;

      12             21.     All reserve funds or any other accounts held, controlled, or serviced by Stripe,

      13                     Inc. and associated with any payments processed by, or on behalf of FBA

      14                     Distributors LLC, including the merchant account with the merchant

      15                     identification number (“MID”) ending in uiJvd;

      16             22.     All reserve funds or any other accounts held, controlled, or serviced by Stripe,

      17                     Inc. and associated with any payments processed by, or on behalf of Adam

      18                     Bowser dba “AWS”, including the merchant account with the MID ending in

      19                     K9Yc2;

      20             23.     All reserve funds or any other accounts held, controlled, or serviced by Electronic

      21                     Merchant Systems and associated with any payments processed by, or on behalf

      22                     of FBA Stores LLC, including the merchant account with the MID ending in

      23                     0179;




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        1            24.     All reserve funds or any other accounts held, controlled, or serviced by Electronic

        2                    Merchant Systems and associated with any payments processed by, or on behalf

        3                    of Online Auction Learning Center, Inc., including the merchant accounts with

        4                    the MID ending in 0908;

        5            25.     All reserve funds or any other accounts held, controlled, or serviced by EVO

        6                    Payments International, LLC and associated with any payments processed by, or

        7                    on behalf of FBA Stores LLC, including the merchant account with the MID

        8                    ending in 4353;

        9            26.     All reserve funds or any other accounts held, controlled, or serviced by EVO

      10                     Payments International, LLC and associated with any payments processed by, or

      11                     on behalf of Online Auction Learning Center, Inc., including the merchant

      12                     accounts with the MIDs ending in 2829 and 7498;

      13             27.     All reserve funds or any other accounts held, controlled, or serviced by PayPal,

      14                     Inc. and associated with any payments processed by, or on behalf of FBA Stores,

      15                     LLC, including the merchant account with the MID ending in 3735;

      16             28.     All reserve funds or any other accounts held, controlled, or serviced by PayPal,

      17                     Inc. and associated with any payments processed by, or on behalf of Info Pros

      18                     LLC, including the merchant account with the MID ending in 4079;

      19             29.     All reserve funds or any other accounts held, controlled, or serviced by PayPal,

      20                     Inc. and associated with any payments processed by, or on behalf of Info

      21                     Solutions, LLC, including the merchant account with the MID ending in 0073;

      22             30.     All reserve funds or any other accounts held, controlled, or serviced by PayPal,

      23                     Inc. and associated with any payments processed by, or on behalf of Online




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        1                    Auction Learning Center, Inc., including the merchant accounts with the MIDs

        2                    ending in 8564 and 1083;

        3            31.     All reserve funds or any other accounts held, controlled, or serviced by Qualpay

        4                    and associated with any payments processed by, or on behalf of FBA Stores LLC,

        5                    including the merchant account with the MID ending in 0602; and

        6            32.     All reserve funds or any other accounts held, controlled, or serviced by Global

        7                    Payments, Inc. and associated with any payments processed by, or on behalf of

        8                    Info Pros LLC dba “On Line Seller” or “Online Seller”, including the merchant

        9                    account with the MID ending in 3060.

      10             D.      To the extent they are not already in the possession of the Receiver, Settling

      11    Defendants shall deliver the assets identified in Subsection C above to the Receiver’s possession

      12    within 7 days of the entry of this Order.

      13             E.      The Receiver shall, as soon as practicable, commence the sale of the unliquidated

      14    assets identified in Subsection C above and surrendered pursuant to this Order using a

      15    commercially reasonable procedure. The Receiver shall hold the surrendered assets, and the

      16    proceeds from the sale of the unliquidated assets, for future transfer in accordance with further

      17    instructions from the Court.

      18             F.      Upon delivery of the payments specified in Subsection B above to the

      19    Commission, and of all the assets specified in Subsection C above to the Receiver, the remainder

      20    of the judgment is suspended, subject to Subsections G-O below.

      21             G.      The Commission’s agreement to the suspension of part of the judgment is

      22    expressly premised upon the truthfulness, accuracy, and completeness of Settling Defendants’

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        1   sworn financial statements and related Documents (collectively, “financial representations”)

        2   submitted to the Commission, namely:

        3            1.      the Financial Statement of Individual Defendant Christopher F. Bowser signed on

        4                    March 21, 2018, including the attachments;

        5            2.      the Financial Statement of Individual Defendant Adam S. Bowser signed on

        6                    March 27, 2018, including the attachments;

        7            3.      the Financial Statement of Individual Defendant Jody Marshall, signed on March

        8                    28, 2018, including the attachments;

        9            4.      the Financial Statement of Corporate Defendant FBA Stores, LLC signed by

      10                     Alma Kelly, Internal Accountant, on March 21, 2018, including the attachments;

      11                     and

      12             5.      the Financial Statement of Corporate Defendant Online Auction Learning Center,

      13                     Inc. (Mass. Corp.), signed by Christopher F. Bowser, Owner, on March 21, 2018,

      14                     including the attachments.

      15             H.      The suspension of the judgment will be lifted as to any Settling Defendant if,

      16    upon motion by the Commission, the Court finds that Settling Defendant failed to disclose any

      17    material asset, materially misstated the value of any asset, or made any other material

      18    misstatement or omission in the financial representations identified above.

      19             I.      If the suspension of the judgment is lifted, the judgment becomes immediately

      20    due as to that Settling Defendant in the amount specified in Subsection A above (which the

      21    parties stipulate only for purposes of this Section represents the consumer injury and unjust

      22    enrichment alleged in the Complaint), less any payments previously made pursuant to this

      23    Section, plus interest computed from the date of entry of this Order.



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        1             J.     Settling Defendants relinquish dominion and all legal and equitable right, title,

        2   and interest in all assets transferred pursuant to this Order and may not seek the return of any

        3   assets.

        4             K.     The facts alleged in the Complaint will be taken as true, without further proof, in

        5   any subsequent civil litigation by or on behalf of the Commission, including in a proceeding to

        6   enforce its rights to any payment or monetary judgment pursuant to this Order, such as a

        7   nondischargeability complaint in any bankruptcy case.

        8             L.     The facts alleged in the Complaint establish all elements necessary to sustain an

        9   action by the Commission pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, 11 U.S.C.

      10    § 523(a)(2)(A), and this Order will have collateral estoppel effect for such purposes.

      11              M.     Settling Defendants acknowledge that their Taxpayer Identification Numbers

      12    (Social Security Numbers or Employer Identification Numbers), which Settling Defendants

      13    previously submitted to the Commission, may be used for collecting and reporting on any

      14    delinquent amount arising out of this Order, in accordance with 31 U.S.C. §7701.

      15              N.     All money paid to the Commission or assets ultimately surrendered to the

      16    Commission pursuant to this Order (or any subsequent Court order issued in this matter) and

      17    further instructions from the Court may be deposited into a fund administered by the

      18    Commission or its designee to be used for equitable relief, including consumer redress and any

      19    attendant expenses for the administration of any redress fund. If a representative of the

      20    Commission decides that direct redress to consumers is wholly or partially impracticable or

      21    money remains after redress is completed, the Commission may apply any remaining money for

      22    such other equitable relief (including consumer information remedies) as it determines to be

      23    reasonably related to Settling Defendants’ practices alleged in the Complaint. Any money not




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        1   used for such equitable relief is to be deposited to the U.S. Treasury as disgorgement. Settling

        2   Defendants have no right to challenge any actions the Commission or its representatives may

        3   take pursuant to this Subsection.

        4            O.      The asset freeze imposed by the March 14, 2018 Temporary Restraining Order

        5   [ECF No. 29], is modified to permit the payment and transfers identified in Subsections B and C

        6   above. Upon completion of those payment and transfers, the asset freeze as to Settling

        7   Defendants is dissolved. Any existing asset freeze as to the remaining non-settling Defendants

        8   shall remain in full force and effect.

        9                                    IV. CUSTOMER INFORMATION

      10             IT IS FURTHER ORDERED that Settling Defendants, and their representatives, agents,

      11    employees, and attorneys, and all other persons in active concert or participation with any of

      12    them, who receive actual notice of this Order, are permanently restrained and enjoined from

      13    directly or indirectly:

      14             A.      failing to provide sufficient customer information to enable the Commission to

      15    efficiently administer consumer redress. Settling Defendants represent that they have provided

      16    this redress information to the Commission. If a representative of the Commission requests in

      17    writing any information related to redress, Settling Defendants must provide it, in the form

      18    prescribed by the Commission, within 14 days.

      19             B.      disclosing, using, or benefitting from customer information, including the name,

      20    address, telephone number, email address, social security number, other identifying information,

      21    or any data that enables access to a customer’s account (including a credit card, bank account, or

      22    other financial account), that any Settling Defendant obtained prior to entry of this Order in

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        1   connection with the advertising, marketing, distribution, promotion and sale of business

        2   opportunities to consumers throughout the United States; and

        3            C.      failing to destroy such customer information in all forms in their possession,

        4   custody, or control within 30 days after receipt of written direction to do so from a representative

        5   of the Commission.

        6            Provided, however, that customer information need not be disposed of, and may be

        7   disclosed, to the extent requested by a government agency or required by law, regulation, or

        8   court order.

        9                                             V. COOPERATION

      10             IT IS FURTHER ORDERED that Settling Defendants must fully cooperate with

      11    representatives of the Commission in this case and in any investigation related to or associated

      12    with the transactions or the occurrences that are the subject of the Complaint. Settling

      13    Defendants must provide truthful and complete information, evidence, and testimony. Settling

      14    Individual Defendants must appear and Settling Corporate Defendants must cause Settling

      15    Corporate Defendants’ officers, employees, representatives, or agents to appear for interviews,

      16    discovery, hearings, trials, and any other proceedings that a Commission representative may

      17    reasonably request upon 5 days written notice, or other reasonable notice, at such places and

      18    times as a Commission representative may designate, without the service of a subpoena.

      19                                             VI. RECEIVERSHIP

      20             IT IS FURTHER ORDERED that Robb Evans & Associates LLC is hereby appointed

      21    equity Receiver for the Settling Corporate Defendants for the purpose of taking the necessary

      22    steps to wind down the businesses of the Settling Corporate Defendants, liquidate assets, and pay

      23    any net proceeds to the Commission to satisfy the monetary judgment in this Order. In carrying




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        1   out these duties, the Receiver shall be the agent of this Court, shall be accountable directly to this

        2   Court, and is authorized and directed to:

        3            A.      Take any and all steps that the Receiver concludes are appropriate to wind down

        4   the affairs of the Settling Corporate Defendants.

        5            B.      Continue to exercise full control over the Settling Corporate Defendants and

        6   continue to collect, marshal, and take custody, control, and possession of all the funds, property,

        7   premises, accounts, documents, mail, and other assets of, or in the possession or under the

        8   control of the Settling Corporate Defendants, wherever situated, the income and profits

        9   therefrom, and all sums of money now or hereafter due or owing to the Settling Corporate

      10    Defendants.

      11             C.      Continue to have full control over the management and personnel of the Settling

      12    Corporate Defendants.

      13             D.      Take all steps necessary or advisable, including issuing subpoenas, to locate and

      14    liquidate all other assets of the Settling Corporate Defendants, cancel the Settling Corporate

      15    Defendants’ contracts, collect on amounts owed to the Settling Corporate Defendants, and take

      16    such other steps as may be necessary to wind-down the Settling Corporate Defendants

      17    efficiently.

      18             E.      To the extent not already completed, the Receiver shall as soon as practicable

      19    after the entry of this Order, take exclusive custody, control, and possession of all assets

      20    identified in Section III.C of this Order.

      21             F.      The Receiver shall give reasonable notice to the Commission of any settlements

      22    or compromises by the Receiver concerning the Receivership Estate, before the settlement or

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        1   compromise is consummated. Within 20 days of this notice, the Commission shall have the

        2   opportunity to object to any such settlement, by filing a motion with the Court.

        3            G.      Make payments and disbursements from the Receivership Estate that are

        4   necessary or advisable for carrying out the directions of, or exercising the authority granted by,

        5   this Order. The Receiver shall apply to the Court for prior approval of any payment of any debt

        6   or obligation incurred by the Settling Corporate Defendants prior to the date of entry of the

        7   temporary restraining order in this action, except payments that the Receiver deems necessary or

        8   advisable to ensure assets of the Settling Corporate Defendants are not lost, stolen, or dissipated.

        9            H.      Institute actions or proceedings in state, federal, or foreign courts as the Receiver

      10    deems necessary and advisable to preserve or recover the assets of the Settling Corporate

      11    Defendants, or that the Receiver deems necessary and advisable to carry out the Receiver’s

      12    mandate under this Order, including actions challenging fraudulent or voidable transfers.

      13             I.      Defend any or all actions or proceedings instituted against the Settling Corporate

      14    Defendants, as the Receiver deems necessary and advisable to preserve the assets of the Settling

      15    Corporate Defendants.

      16             J.      Continue to maintain accurate records of all receipts and expenditures incurred as

      17    the Receiver.

      18             K.      Perform all acts necessary or advisable to complete an accurate accounting of

      19    assets of the Receivership Estate, and prevent unauthorized transfer, withdrawal, or

      20    misapplication of said assets.

      21             L.      Continue to be entitled to reasonable compensation for the performance of the

      22    Receiver’s duties pursuant to this Order, including duties performed by the Receiver’s agents,

      23    including accountants and lawyers, and for the cost of actual out-of-pocket expenses incurred by




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        1   them, from the assets of the Receivership Estate, at the hourly rate previously agreed to by the

        2   Receiver and used as the bases for prior fee applications approved by the Court.

        3                                  VII. ORDER ACKNOWLEDGMENTS

        4            IT IS FURTHER ORDERED that Settling Defendants obtain acknowledgments of

        5   receipt of this Order:

        6            A.      Each Settling Defendant, within 7 days of entry of this Order, must submit to the

        7   Commission an acknowledgment of receipt of this Order sworn under penalty of perjury.

        8            B.      For 10 years after entry of this Order, each Settling Individual Defendant for any

        9   business that such Settling Defendant, individually or collectively with any other Settling

      10    Defendants, is the majority owner or controls directly or indirectly, and each Settling Corporate

      11    Defendant, must deliver a copy of this Order to: (1) all principals, partners, officers, directors,

      12    and LLC managers and members; (2) all employees, agents, and representatives who participate

      13    in conduct related to the subject matter of the Order; and (3) any business entity resulting from

      14    any change in structure as set forth in the Section titled Compliance Reporting. Delivery must

      15    occur within 7 days of entry of this Order for current personnel. For all others, delivery must

      16    occur before they assume their responsibilities.

      17             C.      From each individual or entity to which a Settling Defendant delivered a copy of

      18    this Order, that Settling Defendant must obtain, within 30 days, a signed and dated

      19    acknowledgment of receipt of this Order.

      20                                     VIII. COMPLIANCE REPORTING

      21             IT IS FURTHER ORDERED that Settling Defendants make timely submissions to the

      22    Commission:

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        1            A.      One year after entry of this Order, each Settling Defendant must submit a

        2   compliance report, sworn under penalty of perjury:

        3            1.      Each Settling Defendant must: (a) identify the primary physical, postal, and email

        4                    address and telephone number, as designated points of contact, which

        5                    representatives of the Commission may use to communicate with Settling

        6                    Defendant; (b) identify all of that Settling Defendant’s businesses by all of their

        7                    names, telephone numbers, and physical, postal, email, and Internet addresses; (c)

        8                    describe the activities of each business, including the goods and services offered,

        9                    the means of advertising, marketing, and sales, and the involvement of any other

      10                     Settling Defendant (which Settling Individual Defendants must describe if they

      11                     know or should know due to their own involvement); (d) describe in detail

      12                     whether and how that Settling Defendant is in compliance with each Section of

      13                     this Order; and (e) provide a copy of each Order Acknowledgment obtained

      14                     pursuant to this Order, unless previously submitted to the Commission.

      15             2.      Additionally, each Settling Individual Defendant must: (a) identify all telephone

      16                     numbers and all physical, postal, email and Internet addresses, including all

      17                     residences; (b) identify all business activities, including any business for which

      18                     such Settling Defendant performs services whether as an employee or otherwise

      19                     and any entity in which such Settling Defendant has any ownership interest; and

      20                     (c) describe in detail such Settling Defendant’s involvement in each such

      21                     business, including title, role, responsibilities, participation, authority, control,

      22                     and any ownership.

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        1            B.      For 20 years after entry of this Order, each Settling Defendant must submit a

        2   compliance notice, sworn under penalty of perjury, within 14 days of any change in the

        3   following:

        4            1.      Each Settling Defendant must report any change in: (a) any designated point of

        5                    contact; or (b) the structure of any Settling Corporate Defendant or any entity that

        6                    Settling Defendant has any ownership interest in or controls directly or indirectly

        7                    that may affect compliance obligations arising under this Order, including:

        8                    creation, merger, sale, or dissolution of the entity or any subsidiary, parent, or

        9                    affiliate that engages in any acts or practices subject to this Order.

      10             2.      Additionally, each Settling Individual Defendant must report any change in: (a)

      11                     name, including aliases or fictitious name, or residence address; or (b) title or role

      12                     in any business activity, including any business for which such Settling Defendant

      13                     performs services whether as an employee or otherwise and any entity in which

      14                     such Settling Defendant has any ownership interest, and identify the name,

      15                     physical address, and any Internet address of the business or entity.

      16             C.      Each Settling Defendant must submit to the Commission notice of the filing of
      17    any bankruptcy petition, insolvency proceeding, or similar proceeding by or against such Settling
      18    Defendant within 14 days of its filing.
      19             D.      Any submission to the Commission required by this Order to be sworn under
      20    penalty of perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by
      21    concluding: “I declare under penalty of perjury under the laws of the United States of America
      22    that the foregoing is true and correct. Executed on: _____” and supplying the date, signatory’s
      23    full name, title (if applicable), and signature.



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        1            E.      Unless otherwise directed by a Commission representative in writing, all

        2   submissions to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or

        3   sent by overnight courier (not the U.S. Postal Service) to: Associate Director for Enforcement,

        4   Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,

        5   Washington, DC 20580. The subject line must begin: FTC v. AWS, LLC et al., X180026.

        6                                           IX. RECORDKEEPING

        7            IT IS FURTHER ORDERED that Settling Defendants must create certain records for 20

        8   years after entry of the Order, and retain each such record for 5 years. Specifically, Settling

        9   Corporate Defendants and each Settling Individual Defendant for any business that such Settling

      10    Defendant, individually or collectively with any other Settling Defendants, is a majority owner

      11    or controls directly or indirectly, must create and retain the following records:

      12             A.      accounting records showing the revenues from all goods or services sold;

      13             B.      personnel records showing, for each person providing services, whether as an

      14    employee or otherwise, that person’s: name; addresses; telephone numbers; job title or position;

      15    dates of service; and (if applicable) the reason for termination;

      16             C.      records of all consumer complaints and refund requests, whether received directly

      17    or indirectly, such as through a third party, and any response;

      18             D.      all records necessary to demonstrate full compliance with each provision of this

      19    Order, including all submissions to the Commission; and

      20             E.      a copy of each unique advertisement or other marketing material.

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        1                                    X. COMPLIANCE MONITORING

        2             IT IS FURTHER ORDERED that, for the purpose of monitoring Settling Defendants’

        3   compliance with this Order, including the financial representations upon which part of the

        4   judgment was suspended and any failure to transfer any assets as required by this Order:

        5             A.     Within 14 days of receipt of a written request from a representative of the

        6   Commission, each Settling Defendant must: submit additional compliance reports or other

        7   requested information, which must be sworn under penalty of perjury; appear for depositions;

        8   and produce Documents for inspection and copying. The Commission is also authorized to

        9   obtain discovery, without further leave of court, using any of the procedures prescribed by

      10    Federal Rules of Civil Procedure 29, 30 (including telephonic depositions), 31, 33, 34, 36, 45,

      11    and 69.

      12              B.     For matters concerning this Order, the Commission is authorized to communicate

      13    directly with each Settling Defendant. Settling Defendant must permit representatives of the

      14    Commission to interview any employee or other person affiliated with any Settling Defendant

      15    who has agreed to such an interview. The person interviewed may have counsel present.

      16              C.     The Commission may use all other lawful means, including posing, through its

      17    representatives, as consumers, suppliers, or other individuals or entities, to Settling Defendants

      18    or any individual or entity affiliated with Settling Defendants, without the necessity of

      19    identification or prior notice. Nothing in this Order limits the Commission’s lawful use of

      20    compulsory process, pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

      21              D.     Upon written request from a representative of the Commission, any consumer

      22    reporting agency must furnish consumer reports concerning Settling Individual Defendants,

      23    pursuant to Section 604(1) of the Fair Credit Reporting Act, 15 U.S.C. §1681b(a)(1).




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        1                                  XI. RETENTION OF JURISDICTION

        2            IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for

        3   purposes of construction, modification, and enforcement of this Order.

        4              June 15,day
                                2018.
            SO ORDERED this        of                             , 2018.
        5

        6                                                         ______________________________
                                                                  United States District Judge
        7

        8

        9

      10

      11    STIPULATED AND AGREED TO BY:

      12    FOR SETTLING DEFENDANTS:

      13
                                                                        
      14    _________________________________                     Date:_________________________
            Suzette Michele M. Moore
      15    Shumaker
            Bank of America Plaza, Suite 2800
      16    101 East Kennedy Boulevard
            Tampa, FL 33602
      17    Tel. (813) 227-2272
            Email: smoore@slk-law.com
      18
            Attorney for defendants AWS, LLC, FBA
      19    Distributors, LLC, FBA Stores, LLC, Info
            Pros, LLC, Info Solutions, LLC, Online
      20    Auction Learning Center, Inc. (Mass.
            Corp.), Online Auction Learning Center,
      21    Inc. (Nev. Corp.), Christopher F. Bowser,
            Adam S. Bowser, and Jody L. Marshall
      22

      23




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        1   DEFENDANTS:
                                                                   
        2   ________________________________                  Date:_____________________________
            Christopher F. Bowser, Individually and as
        3   Vice President and Manager of FBA
            Distributors, LLC; Vice President of FBA
        4   Stores, LLC, Managing Member of Info
            Solutions, LLC; President of Online Auction
        5   Learning Center (Mass. Corp.) and Online
            Auction Learning Center (Nev. Corp.)
        6
                                                                   
        7   ____________________________________              Date:______________________________
            Adam S. Bowser, Individually and as Manager
        8   of AWS, LLC; Manager and President of FBA
            Distributors, LLC; Managing Member of Info
        9   Solutions, LLC; Officer of Online Auction
            Learning Center (Mass. Corp.) and Online
      10    Auction Learning Center (Nev. Corp.)

      11

      12    ____________________________________              Date: ______________________________
                                                                      04/23/2018
            Jody L. Marshall, Individually and as Manager
      13    of Info Pros, LLC; Managing Member of Info
            Solutions, LLC; Owner of FBA Distributors,
      14    LLC

      15

      16

      17
            FOR FEDERAL TRADE COMMISSION:
      18

      19

      20
                                                                      6/12/2018
                                                              Date: ______________________________
      21    Roberto Anguizola
            Illinois Bar # 6270874
      22    (Admitted pursuant to LR IA 11-3)
            Tel. (202) 326-3284
      23    Email: ranguizola@ftc.gov




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        1   Miry Kim
            Washington Bar # 31456
        2   (Admitted pursuant to LR IA 11-3)
            Tel. (202) 326-3622
        3   Email: mkim@ftc.gov

        4   Gregory J. Evans
            DC Bar # 1033184
        5   (Admitted pursuant to LR IA 11-3)
            Tel. (202) 326-3425
        6   Email: gevans2@ftc.gov

        7   Federal Trade Commission
            600 Pennsylvania Avenue, N.W.
        8   Mail Drop CC-8528
            Washington, D.C. 20580
        9
            Attorneys for Plaintiff
      10    FEDERAL TRADE COMMISSION

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on June 12, 2018, I caused the foregoing document to be filed with

 3   the Clerk of the Court via the Court’s CM/ECF electronic filing system. Additionally, I served

 4   all of the counsel and parties listed on the attached Service List by the methods indicated therein.

 5
                                                    /s/ Roberto Anguizola
 6                                                 Roberto Anguizola
                                                   Attorney for Plaintiff
 7                                                 FEDERAL TRADE COMMISSION

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 1                                       SERVICE LIST

 2   Suzette Michele M. Moore                      Ronald D. Green (NV Bar No. 7360)
     S. Moore Law                                  LaTeigra C. Cahill (NV Bar No. 14352)
 3   4720 Cleveland Heights Blvd.                  Randazza Legal Group, PLLC
     Suite 201                                     4035 S. El Capitan Way
 4   Lakeland, FL 33813                            Las Vegas, NV 89147
     Tel. (863) 229-2140                           Tel. (702) 420 2001
 5   Email: s.moore@smoorelaw.com                  Email: lcc@randazza.com,
                                                   rdg@randazza.com
 6   Attorney for defendants AWS, LLC, FBA
     Distributors, LLC, FBA Stores, LLC,           Attorney for defendants AWS, LLC,
 7   Info Pros, LLC, Online Auction Learning       FBA Distributors, LLC, FBA Stores,
     Center, Inc. (Mass. Corp.), Online            LLC, Info Pros, LLC, Online Auction
 8   Auction Learning Center, Inc. (Nev.           Learning Center, Inc. (Mass. Corp.),
     Corp.), Christopher F. Bowser, Adam S.        Online Auction Learning Center, Inc.
 9   Bowser, and Jody Marshall                     (Nev. Corp.), Christopher F. Bowser,
                                                   Adam S. Bowser, and Jody Marshall
10   Seeking admission Pro Hac Vice
                                                   Served via email
11   Served via email

12   Brick Kane                                    Gary Owen Caris
     President                                     Barnes & Thornburg LLP
13   Robb Evans & Associates LLC                   2029 Century Park E., Suite 300
     11450 Sheldon Street                          Los Angeles, California 90067-2904
14   Sun Valley, California 91352-1121             Tel. (424) 363-2920
     Tel: (818) 768-8100                           Email: gcaris@btlaw.com
15   Fax: (818) 768-8802
     Email: bkane@robbevans.com                    Attorney for the Court Appointed
16                                                 Receiver Robb Evans & Associates
     Court Appointed Receiver                      LLC
17
     Served via email                              Served via email
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 1   James C. Bastian, Jr.
     Shulman Hodges & Bastian LLP
 2   100 Spectrum Center Drive, Suite 600
     Irvine, CA 92618
 3   Tel. (949) 340-3400
     Email: jbastian@shbllp.com
 4
     Attorney for defendants Adams
 5   Consulting, LLC, Global Marketing
     Services L.L.C, and Jeffery A. Gomez
 6
     Served via email
 7

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 7                               STATE OF WASHINGTON
                              KING COUNTY SUPERIOR COURT
 8
     STATE OF WASHINGTON,                             NO. 17-2-31392-1 -SEA
 9
                               Plaintiff,             JUDGMENT AND CONSENT
10                                                    DECREE
        v.
11                                                    [CLERK'S ACTION REQUIRED]
     ADAM BOWSER, individually and on
12   behalf of his marital community;
     CHRISTOPHER BOWSER, individually
13   and on behalf of his marital community; ·
     A WS, LLC, a Nevada limited liability
14   company; FBA DISTRIBUTORS, LLC, a
     Massachusetts limited liability company;
15   FBA STORES, LLC, a Nevada limited
     liability company; and DOE Companies
16   1-20,
17                             Defendants.
18
                                  I.        JUDGMENT SUMMARY
19
             1.1   Judgment Creditor:                        State of Washington
20
             1.2   Judgment Debtors:                         A WS, LLC, FBA Distributors,
21                                                           LLC, and FBA Stores, LLC
                                                             Uointly and severally)
22
             1.3   Principal Judgment Amount:                NIA.
23
             1.4   Post Judgment Interest Rate:              NIA.
24
             1.5   Attorneys for Judgment Creditor:          M. Elizabeth Howe,
25                                                           Joshua G. Studor, and
                                                             Andrea M. Alegrett
26                                                           Assistant Attorneys General
                                                                    ATIORNEY GENERAL OF WASHINGTON
     JUDGMENT AND CONSENT DECREE - 1                                     Consumer Protection Division
                                                                         800 Fifth Avenue, Suite 2000
                                                                           Seattle, WA 98104-3188
                                                                                (206) 464-7745
       Case 2:17-cv-01830-RSL Document 49 Filed 04/26/19 Page 226 of 237




            1.6    Attorneys for Judgment Debtors:              Gary Owen Caris and
                                                                Jennifer C. Baker
 2                                                              Barnes & Thornburg LLP,
                                                                attorneys for Robb Evans &
 3                                                              Associates LLC, Receiver of A WS,
                                                                LLC, FBA Distributors, LLC and
 4                                                              FBA Stores, LLC, et al.
 5                      II.     BACKGROUND AND FTC SETTLEMENT
 6          2.1    Plaintiff State of Washington (State) conducted an investigation and commenced

 7   this action by filing a Complaint pursuant to RCW 19 .86, the Consumer Protection Act (CPA),

 8   and RCW 19.110, the Business Opportunity Fraud Act (BOFA), against Defendants AWS, LLC,

 9   FBA Distributors, LLC, and 'FBA Stores, LLC (FBA Defendants) and Defendants Adam Bowser

IO   and Christopher Bowser (Bowser Defendants) (collectively, Defendants).           The Complaint

11   alleges that Defendants committed violations of the CPA and BOFA while offering or selling

12   business opportunities within the State of Washington and to Washington consumers.

13   See Dkt. No. 1.

14          2.2    While the State's action was pending, the State cooperated with the Federal Trade

15   Commission (FTC) in the FTC's investigation of Defendants for potential violations of federal

16   law with respect to consumers in Washington and elsewhere. The FTC subsequently filed a

17   separate action against Defendants, among others, in the United States District Court for the

18   District of Nevada (Nevada District Court), alleging violations of Section 5(a) of the FTC Act,

19   15 U.S.C. § 45(a), and the Business Opportunity Rule, 16 C.F.R. Part 437. See Fed. Trad.

20   Comm. v. AWS, LLC, eta!., No. 2:18-cv-00442-JCM-PAL (D. Nev., Mar. 12, 2018) (0kt. No. 1).

21          2.3    On March 14, 2018, the Nevada District Court entered Temporary Restraining

22   Order and appointed Robb Evans & Associates LLC, as Temporary Receiver for FBA

23   Defendants, et al. (Receiver). See Id. (Dkt. No. 29) (Temporary Restraining Order). Defendants'

24

25

26

      JUDGMENT AND CONSENT DECREE - 2                                  A'ITORNEY GENERAL OF WASHINGTON
                                                                             Consumer Protection Division
                                                                             800 Fifth Avenue, Suite 2000
                                                                               Seattle, WA98104-3188
                                                                                    (206) 464-7745
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     business was shut down and their assets frozen pending a hearing on the Temporary Restraining
 2   Order, and the Receiver was given temporary control of FBA Defendants. Id.
 3              2.4    On June 15, 2018, the Nevada District Court entered a Stipulated Order for
 4   Permanent Injunction and Monetary Judgment approving a settlement between the FTC and
 5   Defendants, among others, in the fTC's action. Id. (Dkt. No. 80) (FTC Consent Order), at 19.
 6   Pursuant to the FTC Consent Order,judgment was entered against the Defendants, among others,
 7   in the amount of One Hundred Two Million, Four Hundred Eighty-One Thousand, Five Hundred
 8   Ninety-Six Dollars ($102,481,596.00). Id. at 8. This judgment will be suspended in part
 9   following rece,ipt of an anticipated settlement amount of approximately $10.8 million from all
10   settling     defendants.    Id.    at   14;   Press   Release,   June    18,      2018       (available       at
11   https://www.ftc.gov/news-events/press-releases/2018/06/operators-get-rich-amazon-scheme-
12   settle-fie) (FTC Press Release).
13              2.5   Pursuant to the FTC Consent Order, the settling defendants in the FTC's action
14   (including I>efendants in the instant action) are subject to injunctive terms and have been ordered
15   to pay certain sums to the FTC to "be deposited into a fund administered by the Commission or
16   its designee to be used for equitable relief, including consumer redress." Id. at 15; see also FTC
17   Press Release (describing that Defendants are "banned from marketing and selling business
18   opportunities and business coaching services" and "will surrender millions of dollars for return
19   to consumers."). It is anticipated that all affected consumers (including Washington consumers)
20   will be able to seek some form ofredress from the FTC for consumer losses stemming from FBA
21   Defendants' activities.
22              2.6   The FTC Consent Order also permanently ·appointed the Receiver as equity
23   receiver for FBA Defendants "for the purpose of taking the necessary steps to wind down the
24   business of [FBA Defendants, et al.] liquidate assets, and pay any net proceeds to the
25
26

      JUDGMENT AND CONSENT DECREE - 3                                        ATIORNEY GENERAL OF WASHINGTON
                                                                                    Consumer Protection Division
                                                                                    800 Fifth Avenue, Suite 2000
                                                                                      Seattle, WA 98104-3188
                                                                                          (206) 464-7745
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      Commission to satisfy the money judgment in this Order." FTC Consent Order at 17. FBA

 2    Defendants have agreed and been ordered to pay all of their assets to the FTC. Id. at 9.

 3                          III.    PARTIES' INTENT TO C0l\i1PROM1SE
 4           3.1     FBA Defendants having been served with the Summons and Complaint in this

 5    action or having waived service; and the State, appearing by and through its attorneys, Robert

 6    Ferguson, Attorney General, and M. Elizabeth Howe, Joshua G. Studor, and Andrea M. Alegrett,

 7    Assistant Attorneys General; and the Receiver, appearing by and though its attorneys, Barnes &

 8.   Thornburg, LLP, being authorized to appear and appearing on behalf of FBA Defendants; and

 9           3.2     Receiver, being authorized and directed to "[ d]efend any or all actions or

IO    proceedings instituted against the [FBA Defendants, et al.], as the Receiver deems necessary and

11    advisable to preserve the assets of' FBA Defendants, FTC Consent Order at 19, and to pay such

12    assets to the FTC "for equitable relief, including consumer redress," id. at 15; and

13           3.3     The State, acknowledging that all assets of FBA Defendants are to be liquidated

14    pursuant to the FTC Consent Order and the net proceeds paid in settlement to the FTC for the

15    purpose of equitable relief, including consumer redress, id. at 9; and

16           3.4     The State, acknowledging that the Receiver now "exercise[s] full control" over

17    FBA Defendants as an agent of the Nevada District Court, id. at 18, and that FBA Defendants

18    are no longer operated, controlled, or administered by Bowser Defendants or any other persons

19    or entities whom the State's Complaint alleges to have violated the CPA or BOFA; and

20           3.5     The State and the Receiver having agreed on a basis for the settlement of the

21    matters alleged in the Complaint and to the entry of this Judgment and Consent Decree against

22    FBA Defendants without the need for trial or adjudication of any issue of law or fact; and

23           3.6     The Receiver, on behalf of FBA Defendants, recognizes and states this Judgment

24    and Consent Decree is entered into voluntarily and that no promises, representations, or threats

25    have been made by the Attorney General's Office or any member, officer, agent, or

26
       JUDGMENT AND CONSENT DECREE - 4                                    ATTORNEY GENERAL OF WASHINGTON
                                                                               Consumer Protection Division
                                                                               800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                                                                                     (206) 464,7745
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     representative thereof to induce the Receiver to enter into this Judgment and Consent Decree,

 2   except for the promises and representations provided herein; and

 3          3.7     The Receiver, on behalf of FBA Defendants, waives any right it may have to

 4   appeal from this Judgment and Consent Decree or to otherwise contest the validity of this

 5   Judgment and Consent Decree; and

 6          3.8     The Receiver, on behalf of FBA Defendants, further agrees this Court will retain

 7   jurisdiction of this action and jurisdiction over FBA Defendants for the purpose of implementing

 8   and enforcing the terms and conditions of this Judgment and Consent Decree and for all other

 9   purposes related to this matter; and

IO          The Court, finding no just reason for delay;

11          NOW, THEREFORE, it is hereby ORDERED, ADJUDGED, AND DECREED as

12   follows:

13                                           IV.   GENERAL

14          4.1     This Court has jurisdiction of the subject matter of this action and of FBA

15   Defendants as relates to the subject matter herein.

16          4.2     This Judgment and Consent Decree or the fact of its entry does not constitute

17   evidence or an admission by any party regarding the existence or non-existence of any issue,

18   fact, or violation of any law alleged by the State. To the contrary, FBA Defendants have denied

19   and continue to deny any and all wrongdoing of any kind whatsoever and retain, and do not

20   waive, any and all defenses FBA Defendants may have with respect to such matters.

21          4.3     The Receiver, and any successor receiver or designee, consistent with its

22   fiduciary duties and orders of the Nevada District Court, agrees to cooperate with the State in its

23   continued litigation against Bowser Defendants in the above-captioned action, and any other

24   owner, manager, employee, or agent of FBA Defendants, for as long as Receiver remains

25   receiver of FBA Defendants, by providing access to documents or other information obtained

26   from FBA Defendants by Receiver that are relevant to the State's claims in this action and that

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                                                                               Consumer Protection Division
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     are in Receiver's possession, custody, or control. The State will coordinate with Receiver to
 2   minimize costs and expenses incurred in the course of such cooperation and prevent diminution
 3   of the receivership estate.
 4           4.4     This Judgment and Consent Decree fully and finally resolves and forever
 5   discharges and releases all claims and causes of action under the CPA and BOFA that the State
 6   has filed or may in the future file against FBA Defendants arising out of or relating to the facts

 7   and matters specifically described in the Complaint, except that FBA Defendants'. material
 8   failure to comply with this Judgment and Consent Decree and/or the FTC Consent Order will

 9   permit the Attorney General of Washington to take such further action against FBA Defendants
10   as provided for herein. This Judgment and Consent Decree will not be construed to operate as a
11   release of the State's claims against Bowser Defendants, or any other owner, manager, employee,

12   or agent of FBA Defendants.

13                                        V.      INJUNCTIONS
14           5.1    The injunctive provisions of this Judgment and Consent Decree will apply to FBA
15   Defendants and to their successors and assigns. However, nothing herein may be construed in
16   any manner to require the Receiver to breach its fiduciary duties or violate any Court Order

17   issued by the Nevada District Court.
18           5.2     FBA Defendants agree, acknowledge, and declare that each and every contract

19   between FBA Defendants and any Washington consumers for the provision of educational,

20   coaching, advisory, wholesaler, supplier, or distributor services related to online sales is void,
21   and will not demand or accept any fees in connection with those contracts, or make any attempt

22   to enforce those contracts.
23           5.3     FBA Defendants will not advertise, market, distribute, promote, or offer for sale
24   or lease any products or services related to online sales (including, but not limited to educational,
25   coaching, advisory, wholesaler, supplier, or distributor services) in any way that is false,
26   misleading, deceptive, or unfair, including without limitation using trademarks or trade dress

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 1   associated with Amazon.com, Inc. (Amazon), expressly or implicitly misrepresenting the total
 2   cost, value, or investment or time commitment associated with products or services offered,
 3   making unsubstantiated or misleading earnings claims, or subjecting consumers to high pressure
 4   sales techniques.
 5          5.4     FBA Defendants will not advertise, market, distribute, promote, or offer for sale
 6   or lease any products or services in any manner designed to give consumers the net impression
 7   that FBA Defendants and Bowser Defendants are affiliated with, sponsored by, or otherwise
 8   endorsed by Amazon.
 9          5.5     FBA Defendants will not advertise, market, distribute, promote, or offer for sale
IO   or lease any products or services in any manner designed to give consumers the net impression
11   that FBA Defendants and Bowser Defendants have developed strategies, secrets, insider
12   knowledge, or expertise that will result in substantial financial gain for purchasers of their

13   business opportunities.
14          5.6     FBA Defendants will not advertise, market, distribute, promote, or offer for sale
15   or lease any products or services in any manner designed to give consumers the net impression
16   that purchasers of business opportunities from FBA Defendants and Bowser Defendants will
17   make substantial profits by purchasing those opportunities.

18          5.7     FBA Defendants will not engage in unfair and deceptive practices within the

19   meaning of RCW 19.86.020.
20          5.8     FBA Defendants will comply with all statutory requirements for the offer, sale,
21   or lease, in Washington or to Washington consumers, of products, equipment, supplies or
22   services to enable a purchaser to start a business. See RCW 19.110.020.
23          5.9     FBA Defendants will register with the Washington State Department of Financial
24   Institutions (DFI) prior to advertising, soliciting, or making any offer, sale, or lease of any
25   business opportunity in Washington or to Washington consumers. See RCW 19.110.050.
26

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            5.10    FBA Defendants will include a valid DFI registration number in every business

 2   opportunity advertisement in Washington. See RCWl 9.1'10.050.
 3          5.11    FBA Defendants will provide purchasers of any business opportunity in

 4   Washington or by Washington consumers with written disclosures conforming to those set forth
 5   by statute at least forty-eight hours in advance of requiring a purchaser to sign any business

 6   opportunity contract. See RCW 19.110.070.
 7          5.12    FBA Defendants will not request or require the payment of consideration by any

 8   purchaser in advance of such purchaser's signing of a business opportunity contract. See RCW

 9   19.110.110.
JO          5 .13   FBA Defendants will include the disclosures set forth by statute in every business
11   opportunity contract in Washington, including, but not limited to provisions setting forth the

12   right to cancel the contract for any reason within seven days. See RCW 19.110.110.

13          5.14    FBA Defendants will permit cancellation of business opportunity contracts and
14   return payments and products within the time requirements and in the manner required by statute.

15   See RCW 19.110.110.

16          5 .15   FBA Defendants wi II not make misleading statements of material fact or

17   omissions of material fact in Washington or to Washington consumers in connection with the

18   offer, sale, or lease of any business opportunity. See RCW 19.110.120.

19          5 .16   FBA Defendants will fully comply with all requirements and obligations of the

20   FTC Consent Order, and such compliance will be deemed a material condition of this Judgment

21   and Consent Decree.
22                                     VI.     ENFORCEMENT

23          6.1     FBA Defendants must be in full compliance with all requirements and obligations
24   this Judgment and Consent Decree imposes on FBA Defendants by the date of entry of this
25   Judgment and Consent Decree, except as otherwise indicated herein.
26

      JUDGMENT AND CONSENT DECREE - 8                                   ATTORNEY GENERAL OF WASHINGTON
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            6.2     For the duration of Receiver's appointment as Receiver for FBA Defendants,

 2   Receiver will provide notice to the State of any change in the name, ownership, corporate

 3   structure or status, officers, directors, or principal place of business of any FBA Defendant within

 4   ten (10) business days of such change. Receiver will provide the State with notice of the filing

 5   of any insolvency proceeding, bankruptcy petition, or court or regulatory proceeding brought by

 6   or against any FBA Defendant within ten (10) business days of instituting or receiving notice of

 7   such proceeding. In the event that Receiver ceases to be Receiver for any FBA Defendant for

 8   any reason other than the dissolution and winding up of such FBA Defendant, Receiver will

 9   provide notice to the State within five (5) business days of the event leading to tennination of

10   Receiver's appointment as Receiver with respect to such FBA Defendant. For the avoidance of

11   doubt, FBA Defendants' duties to comply with all requirements and obligations imposed by this

12   Judgment and Consent Decree will survive the tennination of Receiver's appointment as

13   Receiver.

14          6.3     If any FBA Defendant violates a material condition of this Judgment and Consent
15   Decree, and if such FBA Defendant does not cure the violation within a reasonable time after

16   notice by the State, the State may seek the imposition of additional conditions, civil penalties of

17   up to $25,000.00 per violation pursuant to RCW 19.86.140, restitution, injunctive relief,

18   attorney's fees, costs, and such other remedies as the Court may deem appropriate at an

19   evidentiary hearing in which such FBA Defendant has an opportunity to be heard, if the Court

20   finds by a preponderance of the evidence that such FBA Defendant has violated a material

21   condition of this Judgment and Consent Decree. In any successful action to enforce this

22   Judgment and Consent Decree against such FBA Defendant, the FBA Defendant will bear the

23   State's reasonable costs, including reasonable attorneys' fees.

24          6.4     Jurisdiction is retained by this Court for the purpose of enabling any party to this

25   Judgment and Consent Decree to apply to the Court, to the extent pennitted herein, for

26

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       enforcement of compliance with this Judgment and Consent Decree, to punish violations thereof,

   2   or otherwise address the provisions of this Judgment and Consent Decree.

   3          6.5     Nothing in this Judgment and Consent Decree will grant any third-party

   4   beneficiary or other rights to any person who is not a party to this Judgment and Consent Decree.

   5          6.6     Nothing in this Judgment and Consent Decree will be construed to limit or bar

   6   any other governmental entity or person from pursuing other available remedies against FBA

   7   Defendants or any other persons.

   8          6.7     Under no circumstances will this Judgment and Consent Decree, or the name of

   9   the State of Washington, this Court, the Office of the Attorney General, the Consumer Protection

 10    Division, or any of their employees or representatives be used by FBA Defendants or any of

 11    their respective successors and assigns, in connection with any selling, advertising, or promotion

 12    of products or services, or as an endorsement or approval of FBA Defendants' acts, practices, or

 13    conduct of business.

 14           6.8     This Judgment and Consent Decree in no way limits the State from conducting

 15    any lawful non-public investigation to monitor FBA Defendants' compliance with this Judgment

 16    and Consent Decree or to investigate other alleged violations of the CPA and BOFA, which may

 17    include, but is not limited to, interviewing customers or former employees of FBA Defendants.

 18           6.9     This Judgment and Consent Decree will be binding upon and inure to the benefit

 19    of FBA Defendants' successors and assigns. FBA Defendants and their successors and assigns

 20    will notify the Attorney General's Office at least thirty (30) days prior to any change-in-control

· 21   of any FBA Defendant that would change the identity of the corporate entity responsible for

 22    compliance obligations arising under this Judgment and Consent Decree; including, but not

 23    limited to, dissolution, assignment, sale, merger, or other action that would result in the

 24    emergence of a successor corporation; the creation or dissolution of a subsidiary, parent, or

 25    affiliate that engages in any acts or practices subject to this order; the proposed filing of a

 26    bankruptcy petition; or a change in the corporate name or address. Provided, however, that with

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     respect to any proposed change in the corporation about which FBA Defendants and their

 2   successors and assigns learn less than thirty (30) days prior to the date such action is to take

 3   place, FBA Defendants and their successors and assigns must notify the Attorney General's

 4   Office as soon as is practicable after obtaining such knowledge.

 5          6.10    Any notice or other communication required or permitted under this Judgment

 6   and Consent Decree must be in writing and delivered to the following persons or any person

 7   subsequently designated by the parties:

 8
                    For FBA Defendants:
 9
                           Robb Evans & Associates LLC, Receiver
10                         c/o Gary Owen Caris, Esq.
                           Barnes & Thornburg LLP
11
                           2029 Century Park E., Suite 300
12                         Los Angeles, CA, 90067-2904
                           gcaris@btlaw.com
13                         Tel.: (424) 363-2920

14                  For the State of Washington:
15                         M. Elizabeth Howe
                           Assistant Attorney General
16                         bethh2@atg.wa.gov
                           Tel.: (206) 233-3380
17

18                         Joshua G. Studor
                           Assistant Attorney General
19                         joshuas@atg.wa.gov
                           Tel.: (206) 233-3388
20
                           Andrea M. Alegrett
21
                           Assistant Attorney General
22                         andreaa l@atg.wa.gov
                           Tel.: (206) 389-3813
23
                           Consumer Protection Division
24                         Office of the Washington Attorney General
                           800 Fifth A venue, Suite 2000
25
                           Seattle, WA 98104
26

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            6.11     Pursuant to CR 54(b), the Court expressly directs that final judgment be entered

 2   immediately against FBA Defendants. The Court finds that there is no just reason for delaying

 3   final entry of judgment against FBA Defendants for the following reasons: (i) immediate entry

 4   of judgment against FBA Defendants will facilitate administration of the receivership estate;

 5   (ii) immediate entry of final judgment will facilitate payment and distribution of restitution funds

 6   from the receivership estate pursuant to the FTC Consent Order; (iii) immediate entry of final

 7   judgment against FBA Defendants is equitable because FBA Defendants have waived their right

 8   to appeal from this Judgment and Consent Decree; (iv) immediate entry of final judgment against

 9   FBA Defendants will reduce or eliminate further expenditures by the Receiver relating to this

10   case, thereby conserving the receivership estate's assets for payment for equitable relief pursuant

11   to the FTC Consent Order; (v) immediate entry of final judgment against FBA Distributors will

12   not prejudice the remaining defendants, who remain free to dispute their own individual liability.

13          6.12     The Clerk of the Court is ordered to immediately enter the foregoing Judgment

14   and Consent Decree, which shall be a final judgment pursuant to CR 54(b), immediately.

15          DONE IN OPEN COURT this _ _ day of November, 2018.

16

17
                                                    SUPERIOR COURT JUDGE/ COMMISSIONER
18
     Presented by:                                      Notice of Presentment Waived and
19                                                      Approved as to Form by:
     ROBERT W. FERGUSON
20   Attorney General                                   BARNES & THORNBURG LLP

21

22   ?!b~ ~40
     Joshua G. Studor, WSBA # 47183
                                                        Jen ifer C.
                                                        Gary Owen aris
                                                                       er, WSBA # 33950

                                                        Attorneys for Robb Evans & Associates LLC,
23   Andrea M. Alegrett, WSBA # 50236
                                                        Receiver of AWS, LLC, FBA Distributors,
     Assistant Attorneys General                        LLC and FBA Stores, LLC, et al.
24   Attorneys for Plaintiff State of Washington        2029 Century Park E., Suite 300
     800 Fifth A venue, Suite 2000                      Los Angeles, CA, 90067-2904
25   Seattle, WA 98104                                  (310) 284-3880
26   (206) 464-7744

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Case Number:       17-2-31392-1
Case Title:        STATE OF WASHINGTON VS BOWSER ET AL

Document Title:    Order


Signed by:         Brad Moore
Date:              11/7/2018 10:26:41 AM




Judge/Commissioner: Brad Moore




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